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               Exhibit B
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   Instructions for Federal Financial Assistance Program Analysis in Support of M-25-13


 All Federal agencies that provide Federal financial assistance are required by February 7, 2025
 to complete the attached spreadsheet and submit it to OMB. The information requested must be
 provided for any program that has funding or activities planned through March 15. Agencies are
 encouraged to complete this task for all their programs as soon as possible. OMB will be
 following up with additional deadlines for subsequent periods.

 Using the spreadsheet provided, locate or filter the spreadsheet to isolate the agency’s list of
 Federal programs (by Assistance Listing number) and complete the requested information for
 each program (represented in columns C-G). Agencies should add additional lines to the
 spreadsheet to include any programs not listed in the spreadsheet.

 Column B:          Sub-Agency or component.
 Column C-G:        These columns contain pre-populated information on each Assistance Listing
                    program.
 Column H:          Identify the email of the senior political appointee responsible for overseeing
                    this program.
 Column I:          Indicate if the program has any pending funding announcements.
 Column J:          Indicate if this program has any anticipated obligations or disbursement of
                    funds through 3/15/2025.
 Column K:          Indicate if this program has any statutory requirements mandating the
                    obligation or disbursement of funds through 3/15/2025.
 Column L:          Provide the estimated date of the next obligation or disbursement of funds.
 Column M-T:        Provide responses to each of the questions (Yes/No).
 Column U:          Provide any additional relevant information on program or project activities.

 Submit the spreadsheet no later than February 7, 2025 to: FFAPlans@omb.eop.gov.

 OMB will review each agency submission and will communicate additional information to each
 Federal agency through the agency Senior Financial Assistance Official and the Points of
 Contact provided.
                                                                                        Case 1:25-cv-00039-JJM-PAS                                                                                                                               Document 1-2                                                                     Filed 01/28/25                                                                    Page 3 of 53 PageID #:
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                                                                                                                                                                                                                                                                                                                                                                                                                                                       Does this program provide
                                                                                                                                                                                                                                                                                                                                                                                                                                                       funding that is implicated by
                                                                                                                                                                                                                                                                                                                                                                                                                                                       the directive to end
                                                                                                                                                                                                                                                                                                                                                                                                                                                       discriminatory programs,
                                                                                                                                                                                                                                                                                                                                                                                                                                                       including illegal DEI and
                                                                                                                                                                                                                                                                                                                                                                                                                                                       “diversity, equity, inclusion,                                                         If not covered in the
                                                                                                                                                                                                                                                                                                                                                                                                                          Does this program include    and accessibility” (DEIA)                                                              preceding columns, does
                                                                                                                                                                                                                                                                                                                                                                                                                          activities that impose an    mandates, policies,                                                                    this program support any
                                                                                                                                                                                                                                                                                                                                                                                                                          undue burden on the          programs, preferences, and                                                             activities that must not be
                                                                                                                                                                                                                                                                                                                                  Does this program provide                                                               identi cation, development, activities, under whatever                                                              supported based on
                                                                                                                                                                                                                                                                                                                                  Federal funding to non-                                                                 or use of domestic energy    name they appear, or other                                                             executive orders issued on
                                                                                                                                                                                                                                                                              Does this program have any    Provide the estimated governmental organizations                                Does this program provide resources (including             directives in the same EO,                               Does this program promote     or after January 20, 2025
                                                                                                                                                                                  USA Please identify the email of                               Does the program have any    statutory requirements        date of the next      supporting or providing      Is this program a foreign    funding that is implicated by through funding under the    including those related to                               or support in any way         (including executive orders
                                                                                                                                                                                  Spen the senior political          Does the program have any   anticipated obligations or   mandating the obligation or   obligation or         services, either directly or assistance program, or       the revocation and recission In ation Reducing Act of      “environmental justice”                                  abortion or other related     released following the        Provide additional
                                                                                                                                                                          SAM ding appointee responsible for         pending funding             disbursement of funds        disbursement of funds         disbursement of       indirectly, to removable or  provide funding or support   of the U.S. International     2022; and the Infrastructure programs or “equity-related” Does this program promote   activities identi ed in the   dissemination of this         information on program or
                         FEDERAL AGENCY                                                 SUB-AGENCY   ASSISTANCE LISTING
                                                                                                                   TITLENUMBER               OBJECTIVE                    Link Link       overseeing this program    announcements?              before 3/15/2025?            through 3/15/2025?            funds                 illegal aliens?              activities overseas?         Climate Finance Plan?         Investment and Jobs Act)? grants?                           gender ideology?          Hyde Amendment?               spreadsheet)?                 project activities
                         Agency for International Development                                        98.001        USAID Foreign             The Foreign Assistance       https:/ https:/
                                                                                                                   Assistance for            Program works to             /       /
                                                                                                                   Programs Overseas         support long-term and        sam.g www.
                         Agency for International Development                                        98.002         Cooperative              equitable
                                                                                                                                             Deliver theeconomic
                                                                                                                                                         quality and      ov/fal/ https:/
                                                                                                                                                                          https:/ usasp
                                                                                                                    Development Program      magnitude of support         /       /
                                                                                                                    (CDP)                    necessary for CDOs to        sam.g www.
                                                                                                                                             attract the nancial,         ov/fal/ usasp
                         Agency for International Development                                        98.003         Ocean Freight            Reimburses registered        https:/ https:/
                                                                                                                    Reimbursement            U.S. private voluntary       /       /
                                                                                                                    Program (OFR)            organizations (PVOs) to      sam.g www.
                         Agency for International Development                                        98.004         Non-Governmental         ship NGO
                                                                                                                                             The  commodities             ov/fal/ https:/
                                                                                                                                                                          https:/ usasp
                                                                                                                    Organization             Strengthening program        /       /
                                                                                                                    Strengthening (NGO)      aims to help local           sam.g www.
                                                                                                                                             indigenous non-              ov/fal/ usasp
                         Agency for International Development                                        98.005         Institutional Capacity   To strengthen the            https:/ https:/
                                                                                                                    Building (ICB)           capacity of new and          /       /
                                                                                                                                             experienced Food for         sam.g www.
                         Agency for International Development                                        98.006         Foreign Assistance to    Peace  Title II of
                                                                                                                                             The purpose     Partners,
                                                                                                                                                                the       ov/fal/
                                                                                                                                                                          https:/ usasp
                                                                                                                                                                                  https:/
                                                                                                                    American Schools and     American Schools and         /       /
                                                                                                                    Hospitals Abroad         Hospitals Abroad             sam.g www.
                         Agency for International Development                                        98.007         (ASHA)
                                                                                                                    Food for Peace           (ASHA)
                                                                                                                                             To      program
                                                                                                                                                improve       is to
                                                                                                                                                        access,           ov/fal/ https:/
                                                                                                                                                                          https:/ usasp
                                                                                                                    Development              availability and             /       /
                                                                                                                    Assistance Program       utilization of food in       sam.g www.
                                                                                                                    (DAP)                    food insecure                ov/fal/ usasp
                         Agency for International Development                                        98.008         Food for Peace           To improve access,           https:/ https:/
                                                                                                                    Emergency Program        availability and             /       /
                                                                                                                    (EP)                     utilization of food in       sam.g www.
                         Agency for International Development                                        98.009         John Ogonowski           food insecure
                                                                                                                                             Improve   global food        ov/fal/ https:/
                                                                                                                                                                          https:/ usasp
                                                                                                                    Farmer-to-Farmer         production and               /       /
                                                                                                                    Program                  marketing by                 sam.g www.
                         Agency for International Development                                        98.010         Denton Program           transferring
                                                                                                                                             To           technical
                                                                                                                                                put the empty  space      ov/fal/ https:/
                                                                                                                                                                          https:/ usasp
                                                                                                                                             on U.S. Military             /       /
                                                                                                                                             transport to good use        sam.g www.
                         Agency for International Development                                        98.011         Global Development       by
                                                                                                                                             Theproviding
                                                                                                                                                  Global                  ov/fal/
                                                                                                                                                                          https:/ usasp
                                                                                                                                                                                  https:/
                                                                                                                    Alliance                 Development Alliance         /       /
                                                                                                                                             (GDA) business model         sam.g www.
                         Agency for International Development                                        98.012         USAID Development        provides
                                                                                                                                             The      a framework
                                                                                                                                                 purpose   of the         ov/fal/ https:/
                                                                                                                                                                          https:/ usasp
                                                                                                                    Partnerships for         program is to support        /       /
                                                                                                                    University Cooperation   and advance the              sam.g www.
                                                                                                                    and Development          achievement of               ov/fal/ usasp
                         Appalachian Regional Commission                                             23.001         Appalachian Regional     To help the regional         https:/ https:/
                                                                                                                    Development (See         economy become more          /       /
                                                                                                                    individual Appalachian   competitive by putting in    sam.g www.
                         Appalachian Regional Commission                                             23.002         Programs)
                                                                                                                    Appalachian Area         place
                                                                                                                                             To    the
                                                                                                                                                help   building
                                                                                                                                                     the regional         ov/fal/ https:/
                                                                                                                                                                          https:/ usasp
                                                                                                                    Development           economy become more /             /
                                                                                                                                          competitive by putting in sam.g www.
                         Appalachian Regional Commission                                             23.003         Appalachian           place
                                                                                                                                          To     the building
                                                                                                                                              provide  a highway    ov/fal/ usasp
                                                                                                                                                                    https:/ https:/
                                                                                                                    Development Highway   system which, in          /       /
                                                                                                                    System                conjunction with other    sam.g www.
                                                                                                                                          federally-aided           ov/fal/ usasp
                         Appalachian Regional Commission                                             23.009         Appalachian Local     To provide planning and https:/ https:/
                                                                                                                    Development District  development resources /           /
                                                                                                                    Assistance            in multicounty areas; to sam.g www.
                         Appalachian Regional Commission                                             23.011                               help
                                                                                                                    Appalachian Research, To    develop
                                                                                                                                              expand   thethe       ov/fal/ https:/
                                                                                                                                                                    https:/ usasp
                                                                                                                    Technical Assistance, knowledge of the region /         /
                                                                                                                    and Demonstration     to the fullest extent     sam.g www.
                                                                                                                    Projects              possible by means of      ov/fal/ usasp
                         Barry Goldwater Scholarship and Excellence in Education Fund                85.200         Barry M. Goldwater    To honor former           https:/ https:/
                                                                                                                    Scholarship Program   Senator Barry             /       /
                                                                                                                                          Goldwater through the     sam.g www.
                         Consumer Product Safety Commission                                          87.002                               operation
                                                                                                                    Virginia Graeme Baker To  reduce of
                                                                                                                                                      theannumber   ov/fal/ https:/
                                                                                                                                                                    https:/ usasp
                                                                                                                    Pool and Spa Safety      of drowning and drain        /       /
                                                                                                                                             entrapment-related           sam.g www.
                         Consumer Product Safety Commission                                          87.003         Nicholas and Zachary     injuries and
                                                                                                                                             Promote   thedeaths   of
                                                                                                                                                           installation   ov/fal/ https:/
                                                                                                                                                                          https:/ usasp
                                                                                                                    Burt Memorial Carbon     of carbon monoxide           /       /
                                                                                                                    Monoxide Poisoning       alarms in residential        sam.g www.
                                                                                                                    Prevention Grants        homes and dwelling           ov/fal/ usasp
                         Corporation for National and Community Service                              94.002         AmeriCorps Seniors       RSVP provides grants         https:/ https:/
                                                                                                                    Retired and Senior       that support volunteers      /       /
                                                                                                                    Volunteer Program        55 years and older           sam.g www.
                         Corporation for National and Community Service                              94.003         (RSVP) 94.002
                                                                                                                    AmeriCorps  State        serving
                                                                                                                                             To      in aadiverse
                                                                                                                                                develop    State plan,    ov/fal/ https:/
                                                                                                                                                                          https:/ usasp
                                                                                                                    Commissions Support      to assist States in the      /       /
                                                                                                                    Grant                    application process,         sam.g www.
                                                                                                                                             and to provide oversight     ov/fal/ usasp
                         Corporation for National and Community Service                              94.006         AmeriCorps State and     AmeriCorps State and         https:/ https:/
                                                                                                                    National 94.006          National grants are          /       /
                                                                                                                                             awarded to eligible          sam.g www.
                         Corporation for National and Community Service                              94.008         AmeriCorps               organizationsisthat
                                                                                                                                             AmeriCorps      seeking      ov/fal/ https:/
                                                                                                                                                                          https:/ usasp
                                                                                                                    Commission Investment to expand the capacity   /       /
                                                                                                                    Fund 94.008            (knowledge, skills, and sam.g www.
                         Corporation for National and Community Service                              94.011         AmeriCorps Seniors     resources)
                                                                                                                                           The Foster of State
                                                                                                                                                      Grandparent  ov/fal/ usasp
                                                                                                                                                                   https:/ https:/
                                                                                                                    Foster Grandparent     Program (FGP)           /       /
                                                                                                                    Program (FGP) 94.011 provides grants to        sam.g www.
                                                                                                                                           quali ed agencies and   ov/fal/ usasp
                         Corporation for National and Community Service                              94.012         AmeriCorps September The purpose of the        https:/ https:/
                                                                                                                    11th National Day of   September 11th          /       /
                                                                                                                    Service and            National Day of Service sam.g www.
                         Corporation for National and Community Service                              94.013         Remembrance
                                                                                                                    AmeriCorps     Grants AmeriCorps
                                                                                                                                Volunteers and Remembrance         ov/fal/ https:/
                                                                                                                                                       Volunteers https:/  usasp
                                                                                                                    In Service to America    in Service to America        /       /
                                                                                                                    94.013                   (VISTA) is the national      sam.g www.
                         Corporation for National and Community Service                              94.014         AmeriCorps Martin        service program
                                                                                                                                             The purpose       of
                                                                                                                                                           of the         ov/fal/
                                                                                                                                                                          https:/ usasp
                                                                                                                                                                                  https:/
                                                                                                                    Luther King Jr. Day ofMartin Luther King Jr.          /       /
                                                                                                                    Service Grants 94.014 Day of Service grant            sam.g www.
                                                                                                                                          funding is to mobilize          ov/fal/ usasp
                         Corporation for National and Community Service                              94.016         AmeriCorps Seniors    The Senior Companion            https:/ https:/
                                                                                                                    Senior Companion      Program (SCP)                   /       /
                                                                                                                    Program (SCP) 94.016 provides grants to               sam.g www.
                         Corporation for National and Community Service                              94.017         AmeriCorps Seniors    quali
                                                                                                                                          To    ed agencies
                                                                                                                                             provide  grants toand        ov/fal/ https:/
                                                                                                                                                                          https:/ usasp
                                                                                                                    Senior Demonstration quali ed agencies for            /       /
                                                                                                                    Program (FGP) 94.017 the purpose of                   sam.g www.
                                                                                                                                          conducting innovative           ov/fal/ usasp
                         Corporation for National and Community Service                              94.020         AmeriCorps CNCS       The AmeriCorps                  https:/ https:/
                                                                                                                    Disaster Response     Disaster Response               /       /
                                                                                                                    Cooperative Agreement Cooperative Agreement           sam.g www.
                         Corporation for National and Community Service                              94.021         94.020
                                                                                                                    AmeriCorps            (DRCA)
                                                                                                                                Volunteer The      is an initiative
                                                                                                                                              Volunteer                   ov/fal/ https:/
                                                                                                                                                                          https:/ usasp
                                                                                                                    Generation Fund          Generation Fund              /       /
                                                                                                                    94.021                   focuses on investments       sam.g www.
                         Corporation for National and Community Service                              94.026         AmeriCorps National      in
                                                                                                                                             Tovolunteer
                                                                                                                                                further achieve its       ov/fal/
                                                                                                                                                                          https:/ usasp
                                                                                                                                                                                  https:/
                                                                                                                    Service and Civic        mission, AmeriCorps          /       /
                                                                                                                    Engagement Research has a strong belief in            sam.g www.
                                                                                                                    Competition 94.026       the importance of            ov/fal/ usasp
                         Delta Regional Authority                                                    90.200         Delta Regional Authority The Delta Regional           https:/ https:/
                                                                                                                                             Authority (DRA) is a         /       /
                                                                                                                                             federal-state                sam.g www.
                         Denali Commission                                                           90.003         Denali Commission        partnership
                                                                                                                                             The          serving a
                                                                                                                                                  Denali Commission       ov/fal/ https:/
                                                                                                                                                                          https:/ usasp
                                                                                                                    Program                  is a Federal agency          /       /
                                                                                                                                             designed to provide          sam.g www.
                                                                                                                                             funding and partner          ov/fal/ usasp
                         Denali Commission                                                           90.100         Denali Commission        The Denali Commission        https:/ https:/
                                                                                                                    Program                  is a Federal agency          /       /
                                                                                                                                             designed to provide          sam.g www.
                         Denali Commission                                                           90.199         Shared Services          funding and
                                                                                                                                             Delivery     partner of
                                                                                                                                                      of services         ov/fal/ https:/
                                                                                                                                                                          https:/ usasp
                                                                                                                                             the federal government       /       /
                                                                                                                                             in the most cost-            sam.g www.
                         Department of Agriculture                                                   10.001         Agricultural Research    effective
                                                                                                                                             There aremanner
                                                                                                                                                       over 600by         ov/fal/
                                                                                                                                                                          https:/ usasp
                                                                                                                                                                                  https:/
                                                                                                                    Basic and Applied        research and                 /       /
                                                                                                                    Research                 development projects         sam.g www.
                                                                                                                                             being conducted by           ov/fal/ usasp
                         Department of Agriculture                                                   10.025         Plant and Animal         To protect U.S.              https:/ https:/
                                                                                                                    Disease, Pest Control,   agriculture from             /       /
                                                                                                                    and Animal Care          economically injurious       sam.g www.
                         Department of Agriculture                                                   10.028         Wildlife Services        plant
                                                                                                                                             To    and animal
                                                                                                                                                reduce  damage            ov/fal/ https:/
                                                                                                                                                                          https:/ usasp
                                                                                                                                            caused by mammals             /       /
                                                                                                                                            and birds and those           sam.g www.
                                                                                                                                            mammal and bird               ov/fal/ usasp
                         Department of Agriculture                                                   10.030         Indemnity Program       Animal and Plant Health       https:/ https:/
                                                                                                                                            Inspection Service            /       /
                                                                                                                                            administers regulations       sam.g www.
                         Department of Agriculture                                                   10.047                                 at 9 CFR
                                                                                                                    Tribal Food Sovereignty The  USDA parts 50 to 56
                                                                                                                                                       Indigenous         ov/fal/ https:/
                                                                                                                                                                          https:/ usasp
                                                                                                                                          Food Sovereignty            /       /
                                                                                                                                          Initiative promotes         sam.g www.
                         Department of Agriculture                                                   10.048         Tribal Agriculture    traditional foodTechnical
                                                                                                                                          The Intertribal  ways,      ov/fal/
                                                                                                                                                                      https:/ usasp
                                                                                                                                                                              https:/
                                                                                                                    Technical Assistance  Assistance Network          /       /
                                                                                                                                          (ITAN) was established sam.g www.
                                                                                                                                          to increase access and ov/fal/ usasp
                         Department of Agriculture                                                   10.049         Tribal Youth &        To increase the             https:/ https:/
                                                                                                                    Workforce Development engagement of tribal        /       /
                                                                                                                                          members within the          sam.g www.
                         Department of Agriculture                                                   10.051         Commodity Loans and Tofood  and agricultural
                                                                                                                                              improve                 ov/fal/ https:/
                                                                                                                                                        and stabilize https:/ usasp
                                                                                                                    Loan De ciency           farm income, to assist       /       /
                                                                                                                    Payments                 in bringing about a          sam.g www.
                         Department of Agriculture                                                   10.053         Dairy Indemnity          better
                                                                                                                                             To     balance
                                                                                                                                                protect dairybetween      ov/fal/ https:/
                                                                                                                                                                          https:/ usasp
                                                                                                                    Payment Program          operations and               /       /
                                                                                                                                             manufacturers of dairy       sam.g www.
                                                                                                                                             products who through         ov/fal/ usasp
                         Department of Agriculture                                                   10.054         Emergency                To enable farmers to         https:/ https:/
                                                                                                                    Conservation Program     perform emergency            /       /
                                                                                                                                             conservation measures        sam.g www.
                                                                                                                                             to control wind erosion      ov/fal/ usasp




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                                                                                                                                                                              51
                                                    Department of Agriculture        10.056   Farm Storage Facility    The Farm Storage            https:/ https:/
                                                                                              Loans                    Facility Loan (FSFL)        /       /
                                                                                                                       Program provides low-       sam.g www.
                                                    Department of Agriculture        10.069   Conservation Reserve     interest
                                                                                                                       CRP   is a nancing
                                                                                                                                  voluntaryfor     ov/fal/ https:/
                                                                                                                                                   https:/ usasp
                                                                                              Program                  program which               /       /
                                                                                                                       contracts directly with     sam.g www.
                                                    Department of Agriculture        10.072   Wetlands Reserve         agricultural producersin
                                                                                                                       To assist landowners        ov/fal/
                                                                                                                                                   https:/ usasp
                                                                                                                                                           https:/
                                                                                              Program                  restoring and protecting    /       /
                                                                                                                       wetlands on eligible        sam.g www.
                                                                                                                       lands on which they         ov/fal/ usasp
                                                    Department of Agriculture        10.087   Biomass Crop             The purpose of BCAP is      https:/ https:/
                                                                                              Assistance Program       to encourage the            /       /
                                                                                                                       production of biofuels.     sam.g www.
                                                    Department of Agriculture        10.089   Livestock Forage         BCAP
                                                                                                                       The    accomplishes
                                                                                                                            objective of LFP is    ov/fal/ https:/
                                                                                                                                                   https:/ usasp
                                                                                              Disaster Program         to provide nancial          /       /
                                                                                                                       assistance from the         sam.g www.
                                                    Department of Agriculture        10.093                           Agricultural
                                                                                              Voluntary Public Access The  primaryDisaster
                                                                                                                                   objective of    ov/fal/ https:/
                                                                                                                                                   https:/ usasp
                                                                                              and Habitat Incentive   VPA-HIP is to                /       /
                                                                                              Program                 encourage owners and         sam.g www.
                                                                                                                      operators of privately-      ov/fal/ usasp
                                                    Department of Agriculture        10.096   Marketing Assistance    MASC will provide            https:/ https:/
                                                                                              for Specialty Crops     eligible specialty crop      /       /
                                                                                                                      producers with               sam.g www.
                                                    Department of Agriculture        10.097   Water-Saving            marketing  assistance
                                                                                                                      Water-Savings                ov/fal/
                                                                                                                                                   https:/ usasp
                                                                                                                                                           https:/
                                                                                              Commodities Grant        Conservation Grants         /       /
                                                                                                                       (WSCG) provide              sam.g www.
                                                                                                                       targeted nancial            ov/fal/ usasp
                                                    Department of Agriculture        10.098   Reimbursement            The intended goal of        https:/ https:/
                                                                                              Transportation Cost      the program is to           /       /
                                                                                              Payment Program for      provide direct              sam.g www.
                                                    Department of Agriculture        10.099   Geographically
                                                                                              Conservation Loans       reimbursement
                                                                                                                       To provide access to        ov/fal/ https:/
                                                                                                                                                   https:/ usasp
                                                                                                                     credit for farmers who    /       /
                                                                                                                     need and want to          sam.g www.
                                                    Department of Agriculture        10.102   Emergency Forest       implement
                                                                                                                     The   object conservation
                                                                                                                                   of EFRP is  ov/fal/ usasp
                                                                                                                                               https:/ https:/
                                                                                              Restoration Program    to make nancial           /       /
                                                                                                                     assistance available to sam.g www.
                                                                                                                     eligible participants on  ov/fal/ usasp
                                                    Department of Agriculture        10.108   Livestock Indemnity    LIP provides bene ts to https:/ https:/
                                                                                              Program-2014 Farm Bill eligible livestock owners /       /
                                                                                                                     or livestock contract     sam.g www.
                                                    Department of Agriculture        10.109   Livestock Forage       growers    for
                                                                                                                     LFP provides   livestock  ov/fal/
                                                                                                                                               https:/ usasp
                                                                                                                                                       https:/
                                                                                              Disaster Program     compensation to eligible        /       /
                                                                                                                   livestock producers that        sam.g www.
                                                                                                                   have suffered grazing           ov/fal/ usasp
                                                    Department of Agriculture        10.110   Emergency Assistance ELAP provides nancial           https:/ https:/
                                                                                              for Livestock,       assistance to eligible          /       /
                                                                                              Honeybees and Farm- producers of livestock,          sam.g www.
                                                    Department of Agriculture        10.111   Raised
                                                                                              Tree    Fish Program
                                                                                                    Assistance     honeybees
                                                                                                                   TAP providesandnancial
                                                                                                                                    farm-          ov/fal/ https:/
                                                                                                                                                   https:/ usasp
                                                                                              Program              assistance to eligible          /       /
                                                                                                                   orchardists and nursery         sam.g www.
                                                    Department of Agriculture        10.112   Price Loss Coverage  tree Price
                                                                                                                   The  growers to replant
                                                                                                                              Loss                 ov/fal/ https:/
                                                                                                                                                   https:/ usasp
                                                                                                                       Coverage program            /       /
                                                                                                                       (PLC) is carried over       sam.g www.
                                                                                                                       from the 2014 Farm Bill.    ov/fal/ usasp
                                                    Department of Agriculture        10.113   Agriculture Risk         The ARC program             https:/ https:/
                                                                                              Coverage Program         carried over from the       /       /
                                                                                                                       2014 Farm Bill. The         sam.g www.
                                                    Department of Agriculture        10.116   The Margin Protection    ARC   program
                                                                                                                       MPP-Dairy      is an
                                                                                                                                   offers a        ov/fal/
                                                                                                                                                   https:/ usasp
                                                                                                                                                           https:/
                                                                                              Program                  protection plan which       /       /
                                                                                                                       provides payments to        sam.g www.
                                                    Department of Agriculture        10.120   2017 Wild res and        dairy2017
                                                                                                                       The   operations
                                                                                                                                 WHIP iswhen       ov/fal/ https:/
                                                                                                                                                   https:/ usasp
                                                                                              Hurricanes Indemnity     directly reimbursing        /     /
                                                                                              Program                  producers for crop          sam.g www.
                                                    Department of Agriculture        10.123   Market Facilitation      production
                                                                                                                       MFP         losses in
                                                                                                                             provides         ov/fal/ usasp
                                                                                                                                              https:/ https:/
                                                                                              Program               assistance to producers /         /
                                                                                                                    with commodities that     sam.g www.
                                                    Department of Agriculture        10.127                         have been
                                                                                              Dairy Margin Coverage DMC   offerssigni cantly https:/
                                                                                                                                 a dairy      ov/fal/ https:/
                                                                                                                                                      usasp
                                                                                                                    margin protection plan    /       /
                                                                                                                    which provides            sam.g www.
                                                                                                                    payments to dairy         ov/fal/ usasp
                                                    Department of Agriculture        10.128   Heirsâ€™ Property     As speci ed in 7 U.S.C. https:/ https:/
                                                                                              Relending Program     1936c(c), HPRP            /       /
                                                                                                                    provides loan funds to    sam.g www.
                                                    Department of Agriculture        10.129   Wild res and          intermediaries
                                                                                                                    The WHIP Plus iswho  will ov/fal/
                                                                                                                                              https:/ usasp
                                                                                                                                                      https:/
                                                                                              Hurricanes Indemnity     directly reimbursing       /       /
                                                                                              Program Plus             producers for crop, tree, sam.g www.
                                                    Department of Agriculture        10.130   Coronavirus Food         bush, and
                                                                                                                       CFAP        vine losses
                                                                                                                              provides   direct   ov/fal/ usasp
                                                                                                                                                  https:/ https:/
                                                                                              Assistance Program 1      nancial assistance to     /       /
                                                                                                                       producers of eligible      sam.g www.
                                                                                                                       agricultural               ov/fal/ usasp
                                                    Department of Agriculture        10.131   Seafood Trade Relief     STRP provides              https:/ https:/
                                                                                              Program (STRP)           payments to eligible       /       /
                                                                                                                       commercial shermen         sam.g www.
                                                    Department of Agriculture        10.132   Coronavirus Food         of seafood
                                                                                                                       CFAP         commodities
                                                                                                                              2 provides          ov/fal/ https:/
                                                                                                                                           direct https:/ usasp
                                                                                              Assistance Program 2     nancial assistance to       /       /
                                                                                                                      producers of eligible        sam.g www.
                                                                                                                      agricultural                 ov/fal/ usasp
                                                    Department of Agriculture        10.133   Quality Loss Adjustment The Quality Loss             https:/ https:/
                                                                                              Program                 Adjustment (QLA)             /       /
                                                                                                                      Program provides             sam.g www.
                                                    Department of Agriculture        10.134   Oriental Fruit Fly      assistance
                                                                                                                      The purpose  to of
                                                                                                                                      producers
                                                                                                                                         the       ov/fal/
                                                                                                                                                   https:/ usasp
                                                                                                                                                           https:/
                                                                                              Program                  Oriental Fruit Fly          /       /
                                                                                                                       Program is to provide       sam.g www.
                                                    Department of Agriculture        10.135   Supplemental Dairy       direct payments
                                                                                                                       Supplemental      to
                                                                                                                                       Dairy       ov/fal/ https:/
                                                                                                                                                   https:/ usasp
                                                                                              Margin Coverage          Margin Coverage             /       /
                                                                                                                       (Supplemental DMC) is       sam.g www.
                                                                                                                       a program                   ov/fal/ usasp
                                                    Department of Agriculture        10.138   Pandemic Livestock       The Pandemic                https:/ https:/
                                                                                              Indemnity Program        Livestock Indemnity         /       /
                                                                                                                       Program (PLIP)              sam.g www.
                                                    Department of Agriculture        10.139   Organic and              providesprovides
                                                                                                                       OTECP    direct nancial
                                                                                                                                        direct     ov/fal/ https:/
                                                                                                                                                   https:/ usasp
                                                                                              Transitional Education     nancial assistance to     /       /
                                                                                              and Certi cation         certi ed organic and        sam.g www.
                                                                                              Program                  transitional operations     ov/fal/ usasp
                                                    Department of Agriculture        10.142   Food Safety              FSCSC provides direct       https:/ https:/
                                                                                              Certi cation for           nancial assistance to     /       /
                                                                                              Specialty Crops          eligible specialty crop     sam.g www.
                                                    Department of Agriculture        10.143   Program
                                                                                              Pandemic Assistance      operations  that incurred
                                                                                                                       PARP provides    direct     ov/fal/
                                                                                                                                                   https:/ usasp
                                                                                                                                                           https:/
                                                                                              Revenue Program           nancial support for        /       /
                                                                                                                       eligible producers of       sam.g www.
                                                    Department of Agriculture        10.144   Spot Market Hog          agricultural
                                                                                                                       SMHPP     provides          ov/fal/ https:/
                                                                                                                                                   https:/ usasp
                                                                                              Pandemic Program         assistance to producers     /       /
                                                                                                                       that sold hogs through      sam.g www.
                                                                                                                       a spot market sale from     ov/fal/ usasp
                                                    Department of Agriculture        10.146   Farm Service Agency      The American Rescue         https:/ https:/
                                                                                              Taxpayer Outreach        Plan Act 2021, H.R.         /       /
                                                                                              Education and            1319, signed into law       sam.g www.
                                                    Department of Agriculture        10.147   Technical Education
                                                                                              Outreach  Assistance     on March
                                                                                                                       EOTA       11, 2021,
                                                                                                                              provides  nancial    ov/fal/ https:/
                                                                                                                                                   https:/ usasp
                                                                                              and Technical            assistance to eligible      /       /
                                                                                              Assistance               recipients to perform       sam.g www.
                                                    Department of Agriculture        10.148   Emergency Livestock      outreach
                                                                                                                       The       and technical
                                                                                                                            Emergency              ov/fal/ https:/
                                                                                                                                                   https:/ usasp
                                                                                              Relief Program           Livestock Relief            /       /
                                                                                                                       Program (ELRP)              sam.g www.
                                                                                                                       provides direct nancial     ov/fal/ usasp
                                                    Department of Agriculture        10.153   Market News              To provide timely and       https:/ https:/
                                                                                                                       accurate information on     /       /
                                                                                                                       prices, demand,             sam.g www.
                                                    Department of Agriculture        10.155   Marketing Agreements     movement,Agreements
                                                                                                                       Marketing   volume, and     ov/fal/ https:/
                                                                                                                                                   https:/ usasp
                                                                                              and Orders              and Orders are               /       /
                                                                                                                      designed to stabilize        sam.g www.
                                                                                                                      market conditions and        ov/fal/ usasp
                                                    Department of Agriculture        10.156   Federal-State Marketing To explore and identify      https:/ https:/
                                                                                              Improvement Program new market                       /       /
                                                                                                                      opportunities for U.S.       sam.g www.
                                                    Department of Agriculture        10.162                           food
                                                                                              Inspection Grading and To    and agricultural
                                                                                                                         develop  and apply        ov/fal/ https:/
                                                                                                                                                   https:/ usasp
                                                                                              Standardization         standards of quality and /         /
                                                                                                                      condition for agricultural sam.g www.
                                                    Department of Agriculture        10.163   Market Protection and   commodities;
                                                                                                                      The            to
                                                                                                                           Federal Seed          ov/fal/ usasp
                                                                                                                                                 https:/ https:/
                                                                                              Promotion               Program prevents           /       /
                                                                                                                      mislabeled seed from       sam.g www.
                                                                                                                      moving in interstate       ov/fal/ usasp
                                                    Department of Agriculture        10.164   Wholesale Farmers and Wholesale Farmers and https:/ https:/
                                                                                              Alternative Market      Alternative Market         /       /
                                                                                              Development             Development works to       sam.g www.
                                                    Department of Agriculture        10.165                           improve
                                                                                              Perishable Agricultural To reducemarket
                                                                                                                                 unfairaccess
                                                                                                                                        and      ov/fal/ https:/
                                                                                                                                                 https:/ usasp
                                                                                              Commodities Act         fraudulent practices in      /       /
                                                                                                                      the marketing of             sam.g www.
                                                                                                                      perishable agricultural      ov/fal/ usasp
                                                    Department of Agriculture        10.167   Transportation Services The Transportation           https:/ https:/
                                                                                                                      Services program             /       /
                                                                                                                      develops and promotes        sam.g www.
                                                    Department of Agriculture        10.170   Specialty Crop Block    ef cient
                                                                                                                      The  U.S.agriculture
                                                                                                                                Department of      ov/fal/ https:/
                                                                                                                                                   https:/ usasp
                                                                                              Grant Program - Farm     Agricultureâ€™s             /       /
                                                                                              Bill                     (USDA) Agricultural         sam.g www.
                                                    Department of Agriculture        10.171   Organic Certi cation     Marketing
                                                                                                                       The        Service
                                                                                                                           objective of            ov/fal/ https:/
                                                                                                                                                   https:/ usasp
                                                                                              Cost Share Programs      Organic Certi cation        /       /
                                                                                                                       Cost Share Programs         sam.g www.
                                                                                                                       (OCCSP) is to provide       ov/fal/ usasp
                                                    Department of Agriculture        10.173   Sheep Production and     To develop projects that    https:/ https:/
                                                                                              Marketing Grant          strengthen and              /       /
                                                                                              Program                  enhance the production      sam.g www.
                                                    Department of Agriculture        10.174   Acer Access              andsupport
                                                                                                                       To   marketing
                                                                                                                                  the of sheep
                                                                                                                                      efforts of   ov/fal/ https:/
                                                                                                                                                   https:/ usasp
                                                                                              Development Program      such States, tribal         /       /
                                                                                                                       governments, and            sam.g www.
                                                    Department of Agriculture        10.175   Farmers Market and       research institutions
                                                                                                                       The Farmers   Market to     ov/fal/
                                                                                                                                                   https:/ usasp
                                                                                                                                                           https:/
                                                                                              Local Food Promotion     and Local Food              /       /
                                                                                              Program                  Promotion Program           sam.g www.
                                                    Department of Agriculture        10.176   Dairy Business           (FMLFPP)
                                                                                                                       The       is a
                                                                                                                           Dairy Business          ov/fal/ https:/
                                                                                                                                                   https:/ usasp
                                                                                              Innovation Initiatives
                                                                                                                   Innovation (DBI)                /       /
                                                                                                                   Initiatives connects the        sam.g www.
                                                    Department of Agriculture        10.177                        Agricultural
                                                                                              Regional Food System RFSP           Marketing
                                                                                                                            is a component         ov/fal/ https:/
                                                                                                                                                   https:/ usasp
                                                                                              Partnerships         of the Local Agricultural       /       /
                                                                                                                   Marketing Program               sam.g www.
                                                                                                                   (LAMP). RFSP supports           ov/fal/ usasp




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                                 Case 1:25-cv-00039-JJM-PAS                                                               Document 1-2   Filed 01/28/25   Page 5 of 53 PageID #:
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     Department of Agriculture        10.179   Micro-Grants for Food       Eligible agricultural        https:/ https:/
                                               Security Program            agencies or                  /       /
                                                                           departments                  sam.g www.
     Department of Agriculture        10.180   Meat and Poultry         competitively
                                                                        To             distribute
                                                                           assist eligible meat         ov/fal/ https:/
                                                                                                        https:/ usasp
                                               Inspection Readiness     and poultry slaughter           /       /
                                               Grants â€                and processing facilities       sam.g www.
     Department of Agriculture        10.181   “Pandemic
                                                 Supplemental
                                                          ReliefFunding with costs incurred
                                                                        The purpose    of thisin        ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                               Activities: Farm and        program is to defray         /       /
                                               Food Worker Relief          worker expenses              sam.g www.
                                               Grant Program               incurred preparing for,      ov/fal/ usasp
     Department of Agriculture        10.182   Pandemic Relief             1.       Provide an          https:/ https:/
                                               Activities: Local Food      opportunity for State,       /       /
                                               Purchase Agreements         Local and Tribal             sam.g www.
     Department of Agriculture        10.183   with States,Market
                                               Pandemic      Tribes, and   governments to
                                                                           USDA-Agricultural            ov/fal/ https:/
                                                                                                        https:/ usasp
                                               Volatility Assistance       Marketing Service will       /       /
                                               Program (PMVAP)             make pandemic                sam.g www.
     Department of Agriculture        10.184   Pandemic Relief        assistance
                                                                      This        payments,
                                                                            program                     ov/fal/ https:/
                                                                                                        https:/ usasp
                                               Activities: Meat and   establishes technical             /       /
                                               Poultry Processing     assistance to support             sam.g www.
                                               Capacity - Technical   the applicants and                ov/fal/ usasp
     Department of Agriculture        10.185   Local Food for Schools 1.        Provide an              https:/ https:/
                                               Cooperative Agreement opportunity for States to          /       /
                                               Program                strengthen their local            sam.g www.
     Department of Agriculture        10.186   Regional Food          and
                                                                      This regional
                                                                            programfood
                                                                                     supports           ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                               Business Centers            regional food supply         /       /
                                                                           chains by creating           sam.g www.
                                                                           Regional Food                ov/fal/ usasp
     Department of Agriculture        10.187   The Emergency Food          To support the               https:/ https:/
                                               Assistance Program          additional food              /       /
                                               (TEFAP) Commodity           purchases from the           sam.g www.
     Department of Agriculture        10.188   Credit Corporation
                                               Organic Market              Commodity
                                                                           The  OrganicCredit
                                                                                         Market         ov/fal/ https:/
                                                                                                        https:/ usasp
                                               Development Grant           Development Grant            /       /
                                               (OMDG) Program              (OMDG) program will          sam.g www.
     Department of Agriculture        10.189   Local Meat Capacity         support
                                                                           The     the of this
                                                                               purpose                  ov/fal/ https:/
                                                                                                        https:/ usasp
                                               Grants                      program is to build          /       /
                                                                           resilience in the meat       sam.g www.
                                                                           and poultry supply           ov/fal/ usasp
     Department of Agriculture        10.190   Resilient Food System       This program will            https:/ https:/
                                               Infrastructure Program      provide funds to states      /       /
                                                                           and territories to           sam.g www.
     Department of Agriculture        10.191   Pandemic Assistance         support  entities
                                                                           The Pandemic                 ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                               for Cotton           Assistance for Cotton               /       /
                                               Merchandisers (PACM) Merchandisers (PACM)                sam.g www.
                                                                    program, considering                ov/fal/ usasp
     Department of Agriculture        10.193   Commodity Credit     Indian Tribal                       https:/ https:/
                                               Corporation (CCC)    Organizations (ITOs)                /       /
                                               Funding to Alleviate and State agencies                  sam.g www.
     Department of Agriculture        10.194   Emergency Credit
                                               Commodity   Supply   operating the
                                                                    Commodity     Food
                                                                                Credit                  ov/fal/ https:/
                                                                                                        https:/ usasp
                                               Corporation (CCC)           Corporation (CCC)            /       /
                                               Funding to Alleviate        Funding to Alleviate         sam.g www.
     Department of Agriculture        10.195   Emergency
                                               Organic     Supply
                                                       Dairy  Product      Emergency
                                                                           â€¢         Supply
                                                                                   To increase          ov/fal/ https:/
                                                                                                        https:/ usasp
                                               Promotion                   domestic consumption         /       /
                                                                           of organic dairy             sam.g www.
                                                                           products to children and     ov/fal/ usasp
     Department of Agriculture        10.200   Grants for Agricultural     To carry out research,       https:/ https:/
                                               Research, Special           to facilitate or expand      /       /
                                               Research Grants             promising                    sam.g www.
     Department of Agriculture        10.202   Cooperative Forestry        breakthroughs     in areas
                                                                           The goal of McIntire-        ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                               Research                Stennis Cooperative              /       /
                                                                       Forestry Research                sam.g www.
     Department of Agriculture        10.203   Payments to             funding
                                                                       To assistisState
                                                                                   to increase          ov/fal/ https:/
                                                                                                        https:/ usasp
                                               Agricultural Experiment Agricultural Experiment          /       /
                                               Stations Under the      Stations, the District of        sam.g www.
     Department of Agriculture        10.205   Hatch Act to 1890
                                               Payments                Columbia,
                                                                       To support and    the U.S.
                                                                                    continuing          ov/fal/ https:/
                                                                                                        https:/ usasp
                                               Land-Grant Colleges     agricultural research at         /       /
                                               and Tuskegee            colleges eligible to             sam.g www.
     Department of Agriculture        10.207   University
                                               Animal  Health and      receive
                                                                       The     fundsof
                                                                            purpose     under
                                                                                          this the      ov/fal/ https:/
                                                                                                        https:/ usasp
                                               Disease Research            funding is to increase       /       /
                                                                           animal health and            sam.g www.
                                                                           disease research             ov/fal/ usasp
     Department of Agriculture        10.210   Higher Education            The purpose of the NNF       https:/ https:/
                                               National Needs              Grants Program is to         /       /
                                               Graduate Fellowship         train students for           sam.g www.
     Department of Agriculture        10.212   Grants
                                               Small Business              Masterâ€™s     and/or of
                                                                           The National Institute       ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                               Innovation Research     Food and Agriculture             /       /
                                               (SBIR) Program / Small (NIFA) administers the            sam.g www.
     Department of Agriculture        10.215   Business Technology
                                               Sustainable             U.S. purpose
                                                           Agriculture The  Department   of
                                                                                    of the              ov/fal/ https:/
                                                                                                        https:/ usasp
                                               Research and                SARE program, under          /       /
                                               Education                   assistance listing           sam.g www.
                                                                           10.215, is to encourage      ov/fal/ usasp
     Department of Agriculture        10.216   1890 Institution            The Capacity Building        https:/ https:/
                                               Capacity Building           Grants (CBG) Program         /       /
                                               Grants                      is designed to build the     sam.g www.
     Department of Agriculture        10.217   Higher Education -          institutional
                                                                           The   purposeteaching,
                                                                                          of the        ov/fal/ https:/
                                                                                                        https:/ usasp
                                               Institution Challenge       Higher Education             /       /
                                               Grants Program              Challenge Grants             sam.g www.
                                                                           Program, under               ov/fal/ usasp
     Department of Agriculture        10.219   Biotechnology Risk          The purpose of the           https:/ https:/
                                               Assessment Research         BRAG program                 /       /
                                                                           Assistance Listing           sam.g www.
     Department of Agriculture        10.220   Higher Education -          10.219, is tothe
                                                                           To increase   support
                                                                                            ethnicthe   ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                               Multicultural Scholars      and cultural diversity of /       /
                                               Grant Program               the food and agricultural sam.g www.
     Department of Agriculture        10.221   Tribal Colleges             scienti
                                                                           The      c and
                                                                                 Tribal Colleges     ov/fal/ usasp
                                                                                                     https:/ https:/
                                               Education Equity            Education Equity          /       /
                                               Grants                      Grants (TCEG) program sam.g www.
                                                                           (assistance listing       ov/fal/ usasp
     Department of Agriculture        10.222   Tribal Colleges             To enhance educational https:/ https:/
                                               Endowment Program           opportunities at the      /       /
                                                                           thirty-four (34) Land     sam.g www.
     Department of Agriculture        10.223   Hispanic Serving            Grant
                                                                           The     Institutions
                                                                                 objective       by
                                                                                             of this ov/fal/ https:/
                                                                                                     https:/ usasp
                                               Institutions Education      program is to promote        /       /
                                               Grants                      and strengthen the           sam.g www.
                                                                           ability of Hispanic-         ov/fal/ usasp
     Department of Agriculture        10.225   Community Food              The primary goals of         https:/ https:/
                                               Projects                    the Community Food           /       /
                                                                           Projects Competitive         sam.g www.
     Department of Agriculture        10.226   Secondary Education,        Grant   Program
                                                                           The Secondary                ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                               Two-Year                    Education, Two-Year          /       /
                                               Postsecondary               Postsecondary                sam.g www.
     Department of Agriculture        10.227   Education,
                                               1994        and
                                                    Institutions           Education,
                                                                           The        and
                                                                               Tribal Colleges          ov/fal/ https:/
                                                                                                        https:/ usasp
                                               Research Grants         Research Grants                  /       /
                                                                       Program (TCRGP) (aka             sam.g www.
                                                                       1994 Institutions                ov/fal/ usasp
     Department of Agriculture        10.228   Alaska Native Serving The purpose of this                https:/ https:/
                                               and Native Hawaiian     program is to promote            /       /
                                               Serving Institutions    and                              sam.g www.
     Department of Agriculture        10.229   Education Collaborative
                                               Extension Grants        strengthen
                                                                       Funds       the abilityfor
                                                                              are provided      of      ov/fal/ https:/
                                                                                                        https:/ usasp
                                               on Immunization             support the Extension        /       /
                                               Teaching &                  Collaborative on             sam.g www.
     Department of Agriculture        10.230   Engagement
                                               Farm of the Future          Immunization
                                                                           Farm          Teaching
                                                                                 of the Future is a     ov/fal/ https:/
                                                                                                        https:/ usasp
                                                                           competitive grant            /       /
                                                                           program that                 sam.g www.
                                                                           establishes an               ov/fal/ usasp
     Department of Agriculture        10.231   Agriculture Business        National Institute of        https:/ https:/
                                               Innovation Center at        Food and Agriculture         /       /
                                               HBCU                        issues a competitive         sam.g www.
     Department of Agriculture        10.232   Blue Ribbon                 grantBlue-Ribbon
                                                                           The   to support the
                                                                                              Panel     ov/fal/ https:/
                                                                                                        https:/ usasp
                                                                    on Land-grant                       /       /
                                                                    Cooperation and                     sam.g www.
                                                                    Collaboration (PLCC) is             ov/fal/ usasp
     Department of Agriculture        10.233   Open Data Standards  This program will build             https:/ https:/
                                                                    the framework needed                /       /
                                                                    to create a neutral and             sam.g www.
     Department of Agriculture        10.234                        secure
                                               American Rescue Plan The     data
                                                                         goal     repository
                                                                              of this                   ov/fal/ https:/
                                                                                                        https:/ usasp
                                               Technical Assistance program is to fund                  /       /
                                               Investment Program   organizations, to be                sam.g www.
     Department of Agriculture        10.236   Bioproduct Pilot     known
                                                                    The     as Cooperators,
                                                                         Bioproduct   Pilot             ov/fal/ https:/
                                                                                                        https:/ usasp
                                               Program                  Program will advance            /       /
                                                                        development of cost-            sam.g www.
                                                                        competitive bioproducts         ov/fal/ usasp
     Department of Agriculture        10.237   From Learning to         The Next Gen Program            https:/ https:/
                                               Leading: Cultivating the represents one part in a        /       /
                                               Next Generation of       series of efforts led by        sam.g www.
     Department of Agriculture        10.238   Diverse Food
                                               Institute      and
                                                         of Rural       USDA to780
                                                                        Section   achieve
                                                                                      of the FY         ov/fal/ https:/
                                                                                                        https:/ usasp
                                               Partnership (GP 780)  2022 Consolidated                  /       /
                                                                     Appropriations Act (P.L.           sam.g www.
                                                                     117-103), appropriated             ov/fal/ usasp
     Department of Agriculture        10.239   Human Health and Soil The Agriculture                    https:/ https:/
                                               Health Study          Subcommittee on                    /       /
                                                                     Appropriations provides            sam.g www.
     Department of Agriculture        10.241   Institute of Rural    $1,000,000
                                                                     Section 778for  the FY
                                                                                  of the                ov/fal/ https:/
                                                                                                        https:/ usasp
                                               Partnerships (GP 778)       2022 Consolidated            /       /
                                                                           Appropriations Act (P.L.     sam.g www.
     Department of Agriculture        10.243   American Rescue Plan        117-103),
                                                                           The MPPRI appropriated
                                                                                       Program is       ov/fal/ https:/
                                                                                                        https:/ usasp
                                               Centers of Excellence       part of the broader          /       /
                                               for Meat and Poultry        USDA investment to           sam.g www.
                                               Processing and Food         transform the food           ov/fal/ usasp
     Department of Agriculture        10.244   Special Supplemental        The Special                  https:/ https:/
                                               Nutrition Program for       Supplemental Nutrition       /       /
                                               Women, Infants, and         Program for Women,           sam.g www.
     Department of Agriculture        10.245   ChildrenHen
                                               Laying    â€“and
                                                             National
                                                                Turkey     Infants,
                                                                           The      andHen
                                                                                Laying   Children,
                                                                                             and        ov/fal/ https:/
                                                                                                        https:/ usasp
                                               Research Program        Turkey Research                  /       /
                                                                       program under                    sam.g www.
     Department of Agriculture        10.246   Research Facilities Act assistance listing
                                                                       The Research    Facilities       ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                               Program                 Act Program seeks to             /       /
                                                                       strengthen the quality           sam.g www.
     Department of Agriculture        10.247   Emergency Citrus        and expand
                                                                       Section 12605theofscope
                                                                                          the           ov/fal/ https:/
                                                                                                        https:/ usasp
                                               Disease Research and 2018 Farm Bill (Pub. L.             /     /
                                               Extension Program      115-334) also                     sam.g www.
     Department of Agriculture        10.250                          established
                                               Agricultural and Rural To          the Citrus
                                                                         provide economic           ov/fal/ https:/
                                                                                                    https:/ usasp
                                               Economic Research,          and other social science /       /
                                               Cooperative                 information and          sam.g www.
                                               Agreements and              analysis for public and  ov/fal/ usasp




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                         Department of Agriculture             10.253   Consumer Data and         To provide economic      https:/ https:/
                                                                        Nutrition Research        and other social science /       /
                                                                                                  information and          sam.g www.
                         Department of Agriculture             10.255   Research Innovation       analysis
                                                                                                  To       foreconomic
                                                                                                     provide   public and  ov/fal/
                                                                                                                           https:/ usasp
                                                                                                                                   https:/
                                                                        and Development           and other social science /       /
                                                                        Grants in Economic        information and          sam.g www.
                         Department of Agriculture             10.290   (RIDGE)
                                                                        Agricultural Market and   analysis
                                                                                                  To conduct cooperative https:/ usasp
                                                                                                           for public and  ov/fal/ https:/
                                                                        Economic Research         economic research and         /       /
                                                                                                  analyses in support of        sam.g www.
                                                                                                  the Of ce of the Chief        ov/fal/ usasp
                         Department of Agriculture             10.291   Agricultural and Food     To conduct research           https:/ https:/
                                                                        Policy Research           and education                 /       /
                                                                        Centers                   programs that are             sam.g www.
                         Department of Agriculture             10.292   Food Loss and Waste       objective,
                                                                                                  To conductoperationally
                                                                                                             research           ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Reduction                 and related activities        /       /
                                                                                                  that support                  sam.g www.
                         Department of Agriculture             10.303   Integrated Programs       USDAâ€™sNIFA
                                                                                                  GENERAL:     strategy to      ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                                                  Integrated Programs           /       /
                                                                                                  provide support for           sam.g www.
                                                                                                  integrated research,          ov/fal/ usasp
                         Department of Agriculture             10.304   Food and Agriculture      To provide funding to         https:/ https:/
                                                                        Defense Initiative        protect the food supply       /       /
                                                                        (FADI)                    and agricultural              sam.g www.
                         Department of Agriculture             10.305   International Science     production.
                                                                                                  The purposeThis    is is to
                                                                                                                of ISE          ov/fal/
                                                                                                                                https:/ usasp
                                                                                                                                        https:/
                                                                        and Education Grants      support the                   /       /
                                                                                                  internationalization of       sam.g www.
                                                                                                  food, agriculture and         ov/fal/ usasp
                         Department of Agriculture             10.307   Organic Agriculture       The Organic Agriculture       https:/ https:/
                                                                        Research and              Research and                  /       /
                                                                        Extension Initiative      Extension Initiative          sam.g www.
                         Department of Agriculture             10.308   Resident Instruction,     (OREI)
                                                                                                  In      seeks
                                                                                                     General.    to solve
                                                                                                              -The              ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Agriculture, and Food     Secretary of Agriculture      /       /
                                                                        Science Facilities and    shall make competitive        sam.g www.
                         Department of Agriculture             10.309   EquipmentCrop
                                                                        Specialty   Grants        grants
                                                                                                  The    to eligible
                                                                                                       purpose   of the         ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Research Initiative       SCRI program is to            /       /
                                                                                                  address the critical          sam.g www.
                                                                                                  needs of the specialty        ov/fal/ usasp
                         Department of Agriculture             10.310   Agriculture and Food      The Agriculture and           https:/ https:/
                                                                        Research Initiative       Food Research                 /       /
                                                                        (AFRI)                    Initiative (AFRI) awards      sam.g www.
                         Department of Agriculture             10.311   Beginning Farmer and      research,
                                                                                                  The primary education,
                                                                                                                goal of         ov/fal/
                                                                                                                                https:/ usasp
                                                                                                                                        https:/
                                                                        Rancher Development    BFRDP is to help                 /       /
                                                                        Program                beginning farmers and            sam.g www.
                                                                                               ranchers in the United           ov/fal/ usasp
                         Department of Agriculture             10.312   Biomass Research and To carry out research              https:/ https:/
                                                                        Development Initiative on and development               /       /
                                                                        Competitive Grants     and demonstration of:            sam.g www.
                         Department of Agriculture             10.313   Program (BRDI)
                                                                        Veterinary Medicine    The program responds             ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Loan Repayment         to the current shortage          /       /
                                                                        Program                of large animal                  sam.g www.
                         Department of Agriculture             10.318                          veterinarians
                                                                        Women and Minorities The    Women andin rural           ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        in Science, Technology, Minorities (WAMS) in            /       /
                                                                        Engineering, and        Science, Technology,            sam.g www.
                                                                        Mathematics Fields      Engineering and                 ov/fal/ usasp
                         Department of Agriculture             10.319   Farm Business           To establish a                  https:/ https:/
                                                                        Management and          competitive research            /       /
                                                                        Benchmarking            and extension grants            sam.g www.
                         Department of Agriculture             10.320   Competitive  Grants
                                                                        Sun Grant Program       program  for the
                                                                                                This program     purpose
                                                                                                               responds         ov/fal/
                                                                                                                                https:/ usasp
                                                                                                                                        https:/
                                                                                                   to the need to enhance       /       /
                                                                                                   national energy security     sam.g www.
                         Department of Agriculture             10.322   Distance Education         with purpose
                                                                                                   The  biobasedofenergy
                                                                                                                     the        ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Grants for Institutions of DEG program is to            /       /
                                                                        Higher Education in        strengthen the capacity      sam.g www.
                         Department of Agriculture             10.326   Insular Areas
                                                                        Capacity  Building for     of institutions
                                                                                                   To              of higher
                                                                                                       assist the NLGCA         ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Non-Land Grant            Institutions in               /       /
                                                                        Colleges of Agriculture   maintaining and               sam.g www.
                         Department of Agriculture             10.328   (NLGCA)
                                                                        Food Safety Outreach      expanding
                                                                                                  The         their
                                                                                                        National  Food          ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Program                  Safety Training,               /       /
                                                                                                 Education, Extension,          sam.g www.
                                                                                                 Outreach, and Technical        ov/fal/ usasp
                         Department of Agriculture             10.329   Crop Protection and      The purpose of the             https:/ https:/
                                                                        Pest Management          Crop Protection and            /       /
                                                                        Competitive Grants       Pest Management                sam.g www.
                         Department of Agriculture             10.330   Program
                                                                        Alfalfa Seed and Alfalfa (CPPM)
                                                                                                 To improveprogram
                                                                                                              alfalfa and       ov/fal/
                                                                                                                                https:/ usasp
                                                                                                                                        https:/
                                                                        Forage Systems           forage yield and seed          /       /
                                                                        Program                  yield of crops grown for       sam.g www.
                         Department of Agriculture             10.331   Gus Schumacher           propagation,
                                                                                                 The            improve
                                                                                                      Gus Schumacher            ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Nutrition Incentive    Nutrition Incentive              /       /
                                                                        Program                Program (GusNIP)                 sam.g www.
                                                                                               allows the Secretary to          ov/fal/ usasp
                         Department of Agriculture             10.332   Agricultural Genome to The National Institute of        https:/ https:/
                                                                        Phenome Initiative     Food and                         /       /
                                                                                               Agricultureâ€™s                  sam.g www.
                         Department of Agriculture             10.333   Urban, Indoor, and     Agricultural
                                                                                               To           Genome to
                                                                                                   make competitive             ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Other Emerging            grants in support of          /       /
                                                                        Agricultural Production   research, education,          sam.g www.
                                                                        Research, Education,      and extension activities      ov/fal/ usasp
                         Department of Agriculture             10.334   Enhancing Agricultural    The Enhancing                 https:/ https:/
                                                                        Opportunities for         Agricultural                  /       /
                                                                        Military Veterans         Opportunities for             sam.g www.
                         Department of Agriculture             10.336   Competitive  Grants
                                                                        Veterinary Services       Military Veterans
                                                                                                  The purpose   of the          ov/fal/
                                                                                                                                https:/ usasp
                                                                                                                                        https:/
                                                                        Grant Program           Veterinary Services        /       /
                                                                                                Grant Program (VSGP) sam.g www.
                         Department of Agriculture             10.342   Conservation and        is to relieve
                                                                                                This  program veterinarian
                                                                                                                has two    ov/fal/ usasp
                                                                                                                           https:/ https:/
                                                                        Urban Resources         parts:                     /       /
                                                                        Extension               1.) Capacity Assistance sam.g www.
                                                                                                â€“ Urban Agriculture      ov/fal/ usasp
                         Department of Agriculture             10.350   Technical Assistance to To develop and             https:/ https:/
                                                                        Cooperatives            administer research,       /       /
                                                                                                technical assistance,      sam.g www.
                         Department of Agriculture             10.351   Rural Business          statistical,
                                                                                                To  promoteand             ov/fal/ https:/
                                                                                                              sustainable https:/  usasp
                                                                        Development Grant         economic development          /       /
                                                                                                  and facilitate the            sam.g www.
                                                                                                  development of small          ov/fal/ usasp
                         Department of Agriculture             10.352   Value-Added Producer      To help agricultural          https:/ https:/
                                                                        Grants                    producers enter into          /       /
                                                                                                  value-added activities        sam.g www.
                         Department of Agriculture             10.376   Biobased Market           related to the provides
                                                                                                  The program                   ov/fal/
                                                                                                                                https:/ usasp
                                                                                                                                        https:/
                                                                        Development and        grants for domestic              /       /
                                                                        Access Grant Program Integrated                         sam.g www.
                         Department of Agriculture             10.377   (BDAP)
                                                                        Agriculture Innovation Demonstration
                                                                                               The purpose of Units
                                                                                                               this             ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Center Demonstration program is to establish            /       /
                                                                        Program                and operate Agriculture          sam.g www.
                                                                                               Innovation Centers that          ov/fal/ usasp
                         Department of Agriculture             10.378   Biofuel Producer       The Biofuel Producer             https:/ https:/
                                                                        Program                Program will make                /       /
                                                                                               payments to eligible             sam.g www.
                         Department of Agriculture             10.380   Food Supply Chain      biofuel
                                                                                               The     producers
                                                                                                    Food         for
                                                                                                          Supply Chain          ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Guaranteed Loan           Guaranteed Loan               /       /
                                                                        Program                   Program will make loan        sam.g www.
                         Department of Agriculture             10.381   Meat and Poultry          guarantees
                                                                                                  USDA       to lenders
                                                                                                        is making  grant        ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Processing Expansion      funding available to          /       /
                                                                        Program                   meat and poultry              sam.g www.
                                                                                                  processors for start-up       ov/fal/ usasp
                         Department of Agriculture             10.382   Meat and Poultry          Grants can be made to         https:/ https:/
                                                                        Intermediary Lending      intermediaries to             /       /
                                                                        Program                   facilitate nancing to         sam.g www.
                         Department of Agriculture             10.383   Fertilizer Product        qualipurpose
                                                                                                  The     ed ultimate
                                                                                                                  of FPEP is    ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Expansion Program         to expand capacity,           /       /
                                                                                                  improve competition,          sam.g www.
                                                                                                  and increase supply           ov/fal/ usasp
                         Department of Agriculture             10.384   Indigenous Animals        This program will             https:/ https:/
                                                                        Harvesting and Meat       provide funds to Tribal       /       /
                                                                        Processing Grant          governments as de ned         sam.g www.
                         Department of Agriculture             10.385   Program
                                                                        Timber Production         by the
                                                                                                  The    Federally
                                                                                                       TPEP  will provide       ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Expansion Guaranteed nancial assistance                 /       /
                                                                        Loans                through loan                       sam.g www.
                         Department of Agriculture             10.404   Emergency Loans      guarantees
                                                                                             FSA         to lenders
                                                                                                  provides                      ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                                                  emergency loans to            /       /
                                                                                                  help producers recover        sam.g www.
                                                                                                  from production and           ov/fal/ usasp
                         Department of Agriculture             10.405   Farm Labor Housing        To provide decent, safe,      https:/ https:/
                                                                        Loans and Grants          and sanitary low-rent         /       /
                                                                                                  housing and related           sam.g www.
                         Department of Agriculture             10.406   Farm Operating Loans      facilities
                                                                                                  The   FarmforService
                                                                                                                domestic        ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        and Loan Guarantees  Agency (FSA) offers                /       /
                                                                                             direct and guaranteed              sam.g www.
                                                                                             loans to farmers and               ov/fal/ usasp
                         Department of Agriculture             10.407   Farm Ownership Loans To assist farmers and              https:/ https:/
                                                                        and Loan Guarantees ranchers become                     /       /
                                                                                             owner-operators of                 sam.g www.
                         Department of Agriculture             10.410                        family
                                                                        Very Low to Moderate To     farms,
                                                                                                assist veryimprove
                                                                                                            low, low-           ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Income Housing Loans income, and moderate-              /       /
                                                                        and Loan Guarantees income households to                sam.g www.
                         Department of Agriculture             10.411   Rural Housing Site   obtain
                                                                                             To     modest,
                                                                                                assist public decent,
                                                                                                              or                ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Loans and Self Help       private nonpro t              /       /
                                                                        Housing Land              organizations interested      sam.g www.
                                                                        Development Loans         in providing sites for        ov/fal/ usasp
                         Department of Agriculture             10.415   Rural Rental Housing      To provide economically       https:/ https:/
                                                                        Loans                     designed and                  /       /
                                                                                                  constructed rental and        sam.g www.
                         Department of Agriculture             10.417   Very Low-Income           cooperative
                                                                                                  Section  504 housing
                                                                                                               loans and        ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Housing Repair Loans     grants are intended to         /       /
                                                                        and Grants               help very low-income           sam.g www.
                         Department of Agriculture             10.420   Rural Self-Help Housing owner-occupants
                                                                                                 Self-Help Technical in         ov/fal/
                                                                                                                                https:/ usasp
                                                                                                                                        https:/
                                                                        Technical Assistance     Assistance Grants              /     /
                                                                                                 provide nancial                sam.g www.
                         Department of Agriculture             10.421                            assistance
                                                                        Indian Tribes and Tribal To          to quali
                                                                                                    assist Indian tribesed to
                                                                                                                          ov/fal/ usasp
                                                                                                                          https:/ https:/
                                                                        Corporation Loans       become owners of          /       /
                                                                                                additional property       sam.g www.
                         Department of Agriculture             10.427                           within
                                                                        Rural Rental Assistance To     the reservation
                                                                                                   reduce   the tenant to ov/fal/ usasp
                                                                                                                          https:/ https:/
                                                                        Payments                contribution paid by      /       /
                                                                                                low-income families       sam.g www.
                                                                                                occupying eligible Rural ov/fal/ usasp




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                                                          Case 1:25-cv-00039-JJM-PAS                                                              Document 1-2   Filed 01/28/25   Page 7 of 53 PageID #:
                                                                                                                                                           54
                              Department of Agriculture        10.433   Rural Housing          To assist very low- and          https:/ https:/
                                                                        Preservation Grants    low-income rural                 /       /
                                                                                               residents individual             sam.g www.
                              Department of Agriculture        10.435                          homeowners,
                                                                        State Mediation Grants To             rental
                                                                                                  assist States  in             ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                                               establishing and                 /       /
                                                                                               administering mediation          sam.g www.
                              Department of Agriculture        10.438   Section 538 Rural      programs   andhas
                                                                                               This program    services
                                                                                                                   been         ov/fal/
                                                                                                                                https:/ usasp
                                                                                                                                        https:/
                                                                        Rental Housing             designed to increase         /       /
                                                                        Guaranteed Loans           the supply of affordable     sam.g www.
                                                                                                   multifamily housing in       ov/fal/ usasp
                              Department of Agriculture        10.443   Outreach and               The overall goal of the      https:/ https:/
                                                                        Assistance for Socially    2501 Program is to           /       /
                                                                        Disadvantaged and          encourage and assist         sam.g www.
                              Department of Agriculture        10.446   Veteran
                                                                        Rural   Farmers and
                                                                              Community            socially
                                                                                                   To       disadvantaged
                                                                                                      develop   the capacity    ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Development Initiative     and ability of private,      /       /
                                                                                                   nonpro t community-          sam.g www.
                              Department of Agriculture        10.447   Rural Multi-Family      based
                                                                                                To     housing
                                                                                                   preserve  andand             ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Housing Revitalization revitalize existing rural        /       /
                                                                        Demonstration Program rental housing and farm           sam.g www.
                                                                        (MPR)                   labor housing projects          ov/fal/ usasp
                              Department of Agriculture        10.448   Rural Development       The Rural Housing               https:/ https:/
                                                                        Multi-Family Housing    Voucher Demonstration           /       /
                                                                        Rural Housing Voucher program is designed to            sam.g www.
                              Department of Agriculture        10.449   Program
                                                                        Boll Weevil Eradication provide
                                                                                                To assistrental housing
                                                                                                          producers  and        ov/fal/
                                                                                                                                https:/ usasp
                                                                                                                                        https:/
                                                                        Loan Program               state government             /       /
                                                                                                   agencies in the              sam.g www.
                                                                                                   eradication of boll          ov/fal/ usasp
                              Department of Agriculture        10.450   Crop Insurance             Risk Management              https:/ https:/
                                                                                                   Agencyâ€™s (RMA)             /       /
                                                                                                   mission is serving           sam.g www.
                              Department of Agriculture        10.451   Noninsured Crop            Americaâ€™s
                                                                                                   To provide nancial           ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Disaster Assistance    assistance to producers          /       /
                                                                        Program                of non-insurable crops           sam.g www.
                              Department of Agriculture        10.460   Risk Management        when
                                                                                               To    low yields,
                                                                                                  deliver trainingloss
                                                                                                                    andof       ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Education Partnerships information as well as           /       /
                                                                                               outreach activities in the       sam.g www.
                                                                                               management of                    ov/fal/ usasp
                              Department of Agriculture        10.461   Pandemic Cover Crop Agricultural producers              https:/ https:/
                                                                        Program                who have coverage                /       /
                                                                                               under most crop                  sam.g www.
                              Department of Agriculture        10.462   Transitional and       insurance
                                                                                               Agriculturepolicies  are
                                                                                                            producers           ov/fal/
                                                                                                                                https:/ usasp
                                                                                                                                        https:/
                                                                        Organic Grower         who have crop                    /       /
                                                                        Assistance Program     insurance coverage on            sam.g www.
                                                                                               crops in transition to           ov/fal/ usasp
                              Department of Agriculture        10.464   Socially Disadvantaged The Policy Research              https:/ https:/
                                                                        Farmers and Ranchers Center was established             /       /
                                                                        Policy Research Center to collect, analyze, and         sam.g www.
                              Department of Agriculture        10.466   Minority-Serving       evaluate
                                                                                               The       data of
                                                                                                    objective  to this          ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Institutions Partnership program is to             /       /
                                                                                                 strengthen the            sam.g www.
                              Department of Agriculture        10.467   Student Internship       partnership
                                                                                                 To increase between   the ov/fal/
                                                                                                               the number          usasp
                                                                                                                           https:/ https:/
                                                                        Programs                 of students studying      /       /
                                                                                                 agriculture, food,        sam.g www.
                                                                                                 natural resources,        ov/fal/ usasp
                              Department of Agriculture        10.475   Cooperative              To supply Federal         https:/ https:/
                                                                        Agreements with States assistance to States        /       /
                                                                        for Intrastate Meat and desiring to operate a      sam.g www.
                              Department of Agriculture        10.477   Poultry
                                                                        Meat, Poultry, and Egg To assure that all meat, https:/ usasp
                                                                                 Inspection      meat  and  poultry        ov/fal/ https:/
                                                                        Products Inspection        poultry and egg          /       /
                                                                                                   products produced in     sam.g www.
                              Department of Agriculture        10.479   Food Safety                plants
                                                                                                   To     and the
                                                                                                       reduce  shipped  in
                                                                                                                  incidence ov/fal/ usasp
                                                                                                                            https:/ https:/
                                                                        Cooperative                of foodborne illnesses   /       /
                                                                        Agreements                 associated with meat,    sam.g www.
                              Department of Agriculture        10.494   Multi-Family Housing       poultry, and
                                                                                                   Provides     egg to
                                                                                                             grants         ov/fal/ https:/
                                                                                                                            https:/ usasp
                                                                        Non-Pro t Transfer         quali ed nonpro ts (NP) /         /
                                                                        Technical Assistance       and public housing        sam.g www.
                              Department of Agriculture        10.495   Grants
                                                                        Farm Labor Housing         authorities
                                                                                                   Provide      (PHA)
                                                                                                             grant     which
                                                                                                                   funds to  ov/fal/ usasp
                                                                                                                             https:/ https:/
                                                                        Technical Assistance       quali ed private and      /       /
                                                                        Grants                     public nonpro t (NP)      sam.g www.
                                                                                                   agencies to provide       ov/fal/ usasp
                              Department of Agriculture        10.500   Cooperative Extension      The Cooperative           https:/ https:/
                                                                        Service                    Extension Service         /       /
                                                                                                   (CES) has an important sam.g www.
                              Department of Agriculture        10.511   Smith-Lever Extension      role in reducing
                                                                                                   The Smith-Lever   the     ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                        Funding                    Special Needs                /       /
                                                                                                   Competitive Grants           sam.g www.
                              Department of Agriculture        10.512   Extension Services at      Program
                                                                                                   The      (SLSNCGP),
                                                                                                       purpose of this          ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        1890 Colleges and          funding is to support        /       /
                                                                        Tuskegee University,       agricultural and forestry    sam.g www.
                                                                        West Virginia State        extension activities at      ov/fal/ usasp
                              Department of Agriculture        10.513   Facility Improvements      1890 Facilities Grants       https:/ https:/
                                                                        at 1890 Facilities (Sec.   Program provides             /       /
                                                                        1447)                      funding for                  sam.g www.
                              Department of Agriculture        10.514   Expanded Food and          the acquisition
                                                                                                   The  purpose ofand
                                                                                                                    this        ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Nutrition Education     funding is to increase          /       /
                                                                        Program                 the impact of nutrition         sam.g www.
                                                                                                education disseminated          ov/fal/ usasp
                              Department of Agriculture        10.515   Renewable Resources     The goal of this                https:/ https:/
                                                                        Extension Act           program is to support           /       /
                                                                                                extension activities            sam.g www.
                              Department of Agriculture        10.516   Rural Health and Safety designed
                                                                                                The Ruralto  assistand
                                                                                                           Health               ov/fal/
                                                                                                                                https:/ usasp
                                                                                                                                        https:/
                                                                        Education Competitive      Safety RHSE program          /       /
                                                                        Grants Program             addresses the health         sam.g www.
                              Department of Agriculture        10.517   Tribal Colleges            and well-being
                                                                                                   The             of rural
                                                                                                       Tribal College           ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Extension Programs         Extension Program            /       /
                                                                                                   supports the 1994            sam.g www.
                                                                                                   Land-Grants to create        ov/fal/ usasp
                              Department of Agriculture        10.518   Food Animal Residue        The purpose of the           https:/ https:/
                                                                        Avoidance Databank         FARAD is to provide          /       /
                                                                                                   livestock producers,         sam.g www.
                              Department of Agriculture        10.519   Equipment Grants           extension
                                                                                                   The        specialists,
                                                                                                        Equipment  Grants       ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Program (EGP)        Program (EGP) serves               /       /
                                                                                             to increase access to              sam.g www.
                                                                                             shared-use special                 ov/fal/ usasp
                              Department of Agriculture        10.520   Agriculture Risk     To establish a                     https:/ https:/
                                                                        Management Education competitive grants                 /       /
                                                                        Partnerships         program for the purpose            sam.g www.
                              Department of Agriculture        10.521   Competitive  Grants
                                                                        Children, Youth and  of
                                                                                             To educating agricultural
                                                                                                 marshal resources  of          ov/fal/
                                                                                                                                https:/ usasp
                                                                                                                                        https:/
                                                                        Families At-Risk           the Land-grant               /       /
                                                                                                   Institutions (LGIs) and      sam.g www.
                              Department of Agriculture        10.522   Food and Agriculture       Cooperative
                                                                                                   The   purposesExtension
                                                                                                                   of the       ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Service Learning           Program are-                 /       /
                                                                        Program                    (1) to increase capacity     sam.g www.
                                                                                                   for food, garden, and        ov/fal/ usasp
                              Department of Agriculture        10.523   Centers of Excellence      The Centers of               https:/ https:/
                                                                        at 1890 Institutions       Excellence at 1890           /       /
                                                                                                   Institutions Program will    sam.g www.
                              Department of Agriculture        10.524   Scholarships for           establish
                                                                                                   The        new federally-
                                                                                                         Scholarships for       ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Students at 1890           students at 1890             /       /
                                                                        Institutions               Institutions program         sam.g www.
                              Department of Agriculture        10.525                         was purpose
                                                                        Farm and Ranch Stress The authorized of by
                                                                                                                the             ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Assistance Network    Farm and Ranch Stress             /       /
                                                                        Competitive Grants    Assistance Network                sam.g www.
                                                                        Program               (FRSAN) Program is to             ov/fal/ usasp
                              Department of Agriculture        10.527   New Beginning for     The purpose of the                https:/ https:/
                                                                        Tribal Students       NBTS grant program,               /       /
                                                                                              Assistance Listing                sam.g www.
                              Department of Agriculture        10.528                         10.527,
                                                                        USDA WIC Telehealth The       is to increase
                                                                                                  purpose    of the             ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Evaluation                 Telehealth Intervention      /       /
                                                                        Collaborative              Strategies for WIC           sam.g www.
                                                                                                   (THIS-WIC) is to             ov/fal/ usasp
                              Department of Agriculture        10.529   Food Distribution          The Food and Nutrition       https:/ https:/
                                                                        Program on Indian          Service (FNS)                /       /
                                                                        Reservations (FDPIR)       administers 15 Federal       sam.g www.
                              Department of Agriculture        10.531   Nutrition
                                                                        State Agency: Farm to      nutrition
                                                                                                   The  Farmassistance
                                                                                                             to School          ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        School Program             Cooperative Agreement        /       /
                                                                        Training and Curricula     solicitation is open to      sam.g www.
                              Department of Agriculture        10.532   School Nutrition           organizations
                                                                                                   School           with
                                                                                                            Nutrition           ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Training Grants            Training Grant for Allied    /       /
                                                                                                   Professional                 sam.g www.
                                                                                                   Organizations funds will     ov/fal/ usasp
                              Department of Agriculture        10.533   SNAP-Ed Toolkit            The Supplemental             https:/ https:/
                                                                                                   Nutrition Education          /       /
                                                                                                   (SNAP-Ed) Toolkit:           sam.g www.
                              Department of Agriculture        10.535   SNAP Fraud                  - Hosts
                                                                                                   The      a database
                                                                                                        purpose  of the of      ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Framework              SNAP Fraud                       /       /
                                                                        Implementation Grant   Framework                        sam.g www.
                                                                                               Implementation Grant             ov/fal/ usasp
                              Department of Agriculture        10.537   Supplemental Nutrition These grants provide             https:/ https:/
                                                                        Assistance Program     support to State                 /       /
                                                                        (SNAP) Employment      agencies in developing           sam.g www.
                              Department of Agriculture        10.539   and Training
                                                                        CNMI           (E&T)
                                                                               Nutrition       the
                                                                                               Thecapacity
                                                                                                   Nutritionto collect          ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Assistance             Assistance Program               /       /
                                                                                               (NAP) in the                     sam.g www.
                              Department of Agriculture        10.540   Participant Research   Commonwealth
                                                                                               The objective of of the
                                                                                                                this            ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Innovation Laboratory      opportunity was to           /       /
                                                                        for Enhancing WIC          announce the                 sam.g www.
                                                                        Services                   availability of funds to     ov/fal/ usasp
                              Department of Agriculture        10.541   Child Nutrition-           The purpose of the           https:/ https:/
                                                                        Technology Innovation      Child Nutrition Non-         /       /
                                                                        Grant                      Competitive Technology       sam.g www.
                              Department of Agriculture        10.542   Pandemic EBT Food          Innovation
                                                                                                   The          Grants
                                                                                                        objective   of the of   ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Bene ts                    the Pandemic                 /     /
                                                                                                   Electronic Bene t            sam.g www.
                              Department of Agriculture        10.545   Farmersâ€™ Market          Transfer (P-EBT)
                                                                                                   These funds  are            ov/fal/
                                                                                                                               https:/ usasp
                                                                                                                                       https:/
                                                                        Supplemental Nutrition     intended to support the /           /
                                                                        Assistance Program         participation of            sam.g www.
                              Department of Agriculture        10.551   Support GrantsNutrition
                                                                        Supplemental               farmersâ€™
                                                                                                   SNAP    Bene ts:markets  in ov/fal/
                                                                                                                      Improve          usasp
                                                                                                                               https:/ https:/
                                                                        Assistance Program         nutrition of eligible low- /        /
                                                                                                   income households by        sam.g www.
                              Department of Agriculture        10.553   School Breakfast           ensuring
                                                                                                   To assist access
                                                                                                              States into      ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                        Program                    implementing a               /       /
                                                                                                   nutritious nonpro t          sam.g www.
                                                                                                   breakfast service for        ov/fal/ usasp




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                                                                                                                                                            55
                              Department of Agriculture         10.555   National School Lunch     To assist States,             https:/ https:/
                                                                         Program                   through cash grants           /       /
                                                                                                   and food donations, in        sam.g www.
                              Department of Agriculture         10.556   Special Milk Program      providing
                                                                                                   To provideasubsidies
                                                                                                               nutritious to     ov/fal/ https:/
                                                                                                                                 https:/ usasp
                                                                         for Children              schools and institutions      /       /
                                                                                                   to encourage the              sam.g www.
                              Department of Agriculture         10.557   WIC Special               consumption   of uid
                                                                                                   To provide income-            ov/fal/
                                                                                                                                 https:/ usasp
                                                                                                                                         https:/
                                                                         Supplemental Nutrition    eligible pregnant,            /       /
                                                                         Program for Women,        breastfeeding and             sam.g www.
                                                                         Infants, and Children     postpartum women,             ov/fal/ usasp
                              Department of Agriculture         10.558   Child and Adult Care      To assist States,             https:/ https:/
                                                                         Food Program              through grants-in-aid         /       /
                                                                                                   and other means, to           sam.g www.
                              Department of Agriculture         10.559   Summer Food Service       initiate
                                                                                                   The      and maintain
                                                                                                         United States           ov/fal/ https:/
                                                                                                                                 https:/ usasp
                                                                         Program for Children      Department of                 /       /
                                                                                                   Agriculture (USDA)            sam.g www.
                              Department of Agriculture         10.560   State Administrative      operates
                                                                                                   To provideSFSP
                                                                                                              eachinState        ov/fal/ https:/
                                                                                                                                 https:/ usasp
                                                                         Expenses for Child      agency with funds for its       /       /
                                                                         Nutrition               administrative expenses         sam.g www.
                                                                                                 in supervising and              ov/fal/ usasp
                              Department of Agriculture         10.561   State Administrative    SNAP State                      https:/ https:/
                                                                         Matching Grants for the Administrative                  /       /
                                                                         Supplemental Nutrition Expenses: Provide                sam.g www.
                              Department of Agriculture         10.565   Assistance
                                                                         Commodity  Program      Federal  nancial
                                                                                                 To improve  the health of       ov/fal/
                                                                                                                                 https:/ usasp
                                                                                                                                         https:/
                                                                         Supplemental Food        low-income elderly             /       /
                                                                         Program                  persons at least 60            sam.g www.
                                                                                                  years of age by                ov/fal/ usasp
                              Department of Agriculture         10.566   Nutrition Assistance For An alternative to the          https:/ https:/
                                                                         Puerto Rico              Special Nutrition              /       /
                                                                                                  Assistance Program             sam.g www.
                              Department of Agriculture         10.567   Food Distribution        (SNAP)
                                                                                                  The     to Distribution
                                                                                                       Food  provide             ov/fal/ https:/
                                                                                                                                 https:/ usasp
                                                                         Program on Indian         Program on Indian             /       /
                                                                         Reservations              Reservations (FDPIR)          sam.g www.
                              Department of Agriculture         10.568   Emergency Food            is ahelp
                                                                                                   To   nutrition assistance
                                                                                                            supplement   the     ov/fal/ https:/
                                                                                                                                 https:/ usasp
                                                                         Assistance Program        diets of low-income           /       /
                                                                         (Administrative Costs)    persons by making             sam.g www.
                                                                                                   funds available to            ov/fal/ usasp
                              Department of Agriculture         10.569   Emergency Food            To help supplement the        https:/ https:/
                                                                         Assistance Program        diets of low-income           /       /
                                                                         (Food Commodities)        persons by making             sam.g www.
                              Department of Agriculture         10.572   WIC Farmers' Market       USDA   Foods available
                                                                                                   The purposes    of the        ov/fal/
                                                                                                                                 https:/ usasp
                                                                                                                                         https:/
                                                                         Nutrition Program         WIC Farmersâ€™                /       /
                                                                         (FMNP)                    Market Nutrition              sam.g www.
                                                                                                   Program (FMNP) are:           ov/fal/ usasp
                              Department of Agriculture         10.574   Team Nutrition Grants     The goal of the Fiscal        https:/ https:/
                                                                                                   Year(FY) 2024 Team            /       /
                                                                                                   Nutrition Training            sam.g www.
                              Department of Agriculture         10.575   Farm to School Grant      Grants
                                                                                                   The     for to
                                                                                                        Farm   Meal  Pattern
                                                                                                                  School         ov/fal/ https:/
                                                                                                                                 https:/ usasp
                                                                         Program               program exists in order           /       /
                                                                                               to assist eligible                sam.g www.
                              Department of Agriculture         10.576                         entities,
                                                                         Senior Farmers Market The       through
                                                                                                    purposes    of grants
                                                                                                                   the           ov/fal/ https:/
                                                                                                                                 https:/ usasp
                                                                         Nutrition Program     Senior Farmersâ€™                 /       /
                                                                                               Market Nutrition                  sam.g www.
                                                                                               Program (SFMNP) are               ov/fal/ usasp
                              Department of Agriculture         10.577   SNAP Partnership      The purpose of the                https:/ https:/
                                                                         Grant                 SNAP Partnership                  /       /
                                                                                               grants is to establish            sam.g www.
                              Department of Agriculture         10.578   WIC Grants To States interstate   data State
                                                                                               To assist WIC                     ov/fal/
                                                                                                                                 https:/ usasp
                                                                                                                                         https:/
                                                                         (WGS)                     agencies, through             /       /
                                                                                                   grants and cooperative        sam.g www.
                              Department of Agriculture         10.579   Child Nutrition           agreements,
                                                                                                   National     in making
                                                                                                            School Lunch         ov/fal/ https:/
                                                                                                                                 https:/ usasp
                                                                         Discretionary Grants   Program (NSLP)                   /       /
                                                                         Limited Availability   Equipment Assistance             sam.g www.
                              Department of Agriculture         10.580                          Grants
                                                                         Supplemental Nutrition The     are of these
                                                                                                     purpose                     ov/fal/ https:/
                                                                                                                                 https:/ usasp
                                                                         Assistance Program,    grants is to support             /       /
                                                                         Process and            efforts by State                 sam.g www.
                              Department of Agriculture         10.582   Technology
                                                                         Fresh Fruit and        agencies
                                                                                                To         and their
                                                                                                   assist States,                ov/fal/ https:/
                                                                                                                                 https:/ usasp
                                                                         Vegetable Program         through cash grants, in       /       /
                                                                                                   providing free fresh          sam.g www.
                                                                                                   fruits and vegetables to      ov/fal/ usasp
                              Department of Agriculture         10.585   FNS Food Safety           The Food and Nutrition        https:/ https:/
                                                                         Grants                    Serviceâ€™s Food              /       /
                                                                                                   Safety Branch provides        sam.g www.
                              Department of Agriculture         10.587   National Food Service     funding  to support
                                                                                                   The Institute       its
                                                                                                                 of Child        ov/fal/
                                                                                                                                 https:/ usasp
                                                                                                                                         https:/
                                                                         Management Institute      Nutrition (ICN), formerly /       /
                                                                         Administration and        known as the National     sam.g www.
                              Department of Agriculture         10.593   StafEmerson
                                                                         Bill ng GrantNational     FoodBill
                                                                                                   The    Service
                                                                                                            Emerson          ov/fal/ usasp
                                                                                                                             https:/ https:/
                                                                         Hunger Fellows and        Hunger Fellowship         /       /
                                                                         Mickey Leland             Program is to address     sam.g www.
                                                                         International Hunger      hunger and poverty in     ov/fal/ usasp
                              Department of Agriculture         10.594   Food Distribution         The Food Distribution     https:/ https:/
                                                                         Program on Indian         Program Nutrition         /       /
                                                                         Reservations Nutrition    Education grant offered sam.g www.
                              Department of Agriculture         10.600   Education
                                                                         Foreign    Grants
                                                                                  Market           funding
                                                                                                   FMD      totaling
                                                                                                         award   recipients  ov/fal/ https:/
                                                                                                                             https:/ usasp
                                                                         Development           will implement various            /       /
                                                                         Cooperator Program    market development                sam.g www.
                                                                                               activities in foreign             ov/fal/ usasp
                              Department of Agriculture         10.601   Market Access Program MAP award recipients              https:/ https:/
                                                                                               will implement various            /       /
                                                                                               market development                sam.g www.
                              Department of Agriculture         10.603   Emerging Markets      activities
                                                                                               The primaryin foreign
                                                                                                              objective of       ov/fal/
                                                                                                                                 https:/ usasp
                                                                                                                                         https:/
                                                                         Program                   the Emerging Markets          /       /
                                                                                                   Program is to promote,        sam.g www.
                              Department of Agriculture         10.604                            enhance,
                                                                         Technical Assistance for The  TASCorprogram
                                                                                                               expandisthe       ov/fal/ https:/
                                                                                                                                 https:/ usasp
                                                                         Specialty Crops          designed to assist U.S.        /       /
                                                                         Program                  organizations by               sam.g www.
                                                                                                  providing funding for          ov/fal/ usasp
                              Department of Agriculture         10.605   Quality Samples          The Quality Samples            https:/ https:/
                                                                         Program                  Program is designed to         /       /
                                                                                                  encourage the                  sam.g www.
                              Department of Agriculture         10.606   Food for Progress        development
                                                                                                  In order to useand
                                                                                                                  the food       ov/fal/ https:/
                                                                                                                                 https:/ usasp
                                                                                                   resources of the United       /       /
                                                                                                   States more effectively       sam.g www.
                                                                                                   in support of developing      ov/fal/ usasp
                              Department of Agriculture         10.608   Food for Education        The key objective of the      https:/ https:/
                                                                                                   McGovern-Dole                 /       /
                                                                                                   Program is to reduce          sam.g www.
                              Department of Agriculture         10.610   Export Guarantee          hunger and
                                                                                                   The U.S.    improve of
                                                                                                            Department           ov/fal/
                                                                                                                                 https:/ usasp
                                                                                                                                         https:/
                                                                         Program                 Agriculture's (USDA)    /       /
                                                                                                 Export Credit guarantee sam.g www.
                              Department of Agriculture         10.612   USDA Local and          Program the
                                                                                                 Through   (GSM-102)
                                                                                                               Local and ov/fal/ usasp
                                                                                                                         https:/ https:/
                                                                         Regional Food Aid       Regional Food Aid       /       /
                                                                         Procurement Program     Procurement (LRP)       sam.g www.
                                                                                                 Program, FAS partners ov/fal/ usasp
                              Department of Agriculture         10.613   Faculty Exchange        The Faculty Exchange    https:/ https:/
                                                                         Program                 Program is intended to /        /
                                                                                                 improve the teaching    sam.g www.
                              Department of Agriculture         10.615                           and pedagogical
                                                                         Pima Agriculture Cotton The Pima Agriculture    ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                         Trust Fund            Cotton Trust Fund was             /       /
                                                                                               established to reduce             sam.g www.
                              Department of Agriculture         10.616   Agriculture Wool      the
                                                                                               Theinjury to domestic
                                                                                                   Agriculture  Wool             ov/fal/ https:/
                                                                                                                                 https:/ usasp
                                                                         Apparel Manufacturers Apparel Manufacturers             /       /
                                                                         Trust Fund            Trust Fund was                    sam.g www.
                                                                                               established to reduce             ov/fal/ usasp
                              Department of Agriculture         10.617   PL-480 Market         Uses available foreign            https:/ https:/
                                                                         Development and       currencies repaid to the          /       /
                                                                         Technical Assistance  United States to provide          sam.g www.
                              Department of Agriculture         10.618   Regional Agricultural assistance
                                                                                               The Regionalin the                ov/fal/ https:/
                                                                                                                                 https:/ usasp
                                                                         Promotion Program          Agricultural Promotion       /       /
                                                                                                    Program (RAPP) is            sam.g www.
                                                                                                    available to nonpro t        ov/fal/ usasp
                              Department of Agriculture         10.619   International Agricultural The program provides         https:/ https:/
                                                                         Education Fellowship       fellowships to citizens of   /       /
                                                                         Program                    the United States to         sam.g www.
                              Department of Agriculture         10.620   Scienti c Exchanges        assist
                                                                                                    The    eligiblec countries
                                                                                                         Scienti     Exchange    ov/fal/ https:/
                                                                                                                                 https:/ usasp
                                                                         Program                   Program promotes           /       /
                                                                                                   trade, trade policy, trade sam.g www.
                              Department of Agriculture         10.621   Assisting Specialty       capacity
                                                                                                   ASCE      building, and
                                                                                                           addresses          ov/fal/ usasp
                                                                                                                              https:/ https:/
                                                                         Crop Exports              barriers unique to         /       /
                                                                                                   specialty crops exports. sam.g www.
                                                                                                   It supports projects that ov/fal/ usasp
                              Department of Agriculture         10.622   Food for Opportunity      The objective of FFO is https:/ https:/
                                                                                                   to complement existing /           /
                                                                                                   food assistance            sam.g www.
                              Department of Agriculture         10.645   Farm to School State      programming,
                                                                                                   To              which
                                                                                                       provide funding  for   ov/fal/ https:/
                                                                                                                              https:/ usasp
                                                                         Formula Grant             state operated farm to        /       /
                                                                                                   school programs to            sam.g www.
                                                                                                   further strengthen food       ov/fal/ usasp
                              Department of Agriculture         10.646   Summer Electronic         Summer EBT is a               https:/ https:/
                                                                         Bene t Transfer           Federally-assisted            /       /
                                                                         Program for Children      program through which         sam.g www.
                              Department of Agriculture         10.649   Pandemic EBT              participating
                                                                                                   To            States and
                                                                                                       provide Federal           ov/fal/ https:/
                                                                                                                                 https:/ usasp
                                                                         Administrative Costs       nancial participation to     /       /
                                                                                                   State agencies and            sam.g www.
                              Department of Agriculture         10.652   Forestry Research         localForestry
                                                                                                   The   entities for costs
                                                                                                                   Research      ov/fal/ https:/
                                                                                                                                 https:/ usasp
                                                                                                   program funds a wide          /       /
                                                                                                   range of research             sam.g www.
                                                                                                   activities aimed at           ov/fal/ usasp
                              Department of Agriculture         10.664   Cooperative Forestry      With respect to               https:/ https:/
                                                                         Assistance                nonfederal forest and         /       /
                                                                                                   other rural lands to          sam.g www.
                              Department of Agriculture         10.665   Schools and Roads -       assist
                                                                                                   To sharein the
                                                                                                               receipts from     ov/fal/ https:/
                                                                                                                                 https:/ usasp
                                                                         Grants to States          the National Forests          /     /
                                                                                                   and supplemental              sam.g www.
                              Department of Agriculture         10.666   Schools and Roads -       mandatory
                                                                                                   To share receipts from    ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                         Grants to Counties        the National Grasslands /         /
                                                                                                   and Land Utilization      sam.g www.
                              Department of Agriculture         10.674   Wood Utilization          Projects direct
                                                                                                   Provide   (LUP)technical
                                                                                                                    with the ov/fal/ usasp
                                                                                                                             https:/ https:/
                                                                         Assistance                assistance to Forest      /       /
                                                                                                   Service, state foresters, sam.g www.
                              Department of Agriculture         10.675   Urban and Community       tribes,
                                                                                                   To  planpublic and
                                                                                                            for, establish,  ov/fal/ https:/
                                                                                                                             https:/ usasp
                                                                         Forestry Program          manage and protect            /       /
                                                                                                   trees, forests, green         sam.g www.
                                                                                                   spaces and related            ov/fal/ usasp




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                                    Department of Agriculture                  10.676   Forest Legacy Program To effectively identify          https:/ https:/
                                                                                                              and protect                      /       /
                                                                                                              environmentally                  sam.g www.
                                    Department of Agriculture                  10.678   Forest Stewardship    important
                                                                                                              Using      forestState,
                                                                                                                     existing   areas        ov/fal/ usasp
                                                                                                                                             https:/ https:/
                                                                                        Program                    Federal, and private      /       /
                                                                                                                   sector forestry experts, sam.g www.
                                    Department of Agriculture                  10.679   Collaborative Forest       promote  and enable
                                                                                                                   The purposes   of the the ov/fal/
                                                                                                                                             https:/ usasp
                                                                                                                                                     https:/
                                                                                        Restoration                grants are: to promote    /       /
                                                                                                                   healthy watersheds and sam.g www.
                                                                                                                   reduce the threat of      ov/fal/ usasp
                                    Department of Agriculture                  10.680   Forest Health              Protect and manage        https:/ https:/
                                                                                        Protection                 non-Federal forest and /          /
                                                                                                                   tree resources from       sam.g www.
                                    Department of Agriculture                  10.681   Wood Education and         damaging
                                                                                                                   To provide forest
                                                                                                                               technical     ov/fal/ https:/
                                                                                                                                             https:/ usasp
                                                                                        Resource Center            assistance and funds,       /       /
                                                                                        (WERC)                     on a cost-share basis,      sam.g www.
                                    Department of Agriculture                  10.682   National Forest            for projects
                                                                                                                   The  purposesthatof the     ov/fal/ https:/
                                                                                                                                               https:/ usasp
                                                                                        Foundation                 National Forest             /       /
                                                                                                                   Foundation are to           sam.g www.
                                                                                                                   encourage, accept, and      ov/fal/ usasp
                                    Department of Agriculture                  10.683   National Fish and          Created by Congress in      https:/ https:/
                                                                                        Wildlife Foundation        1984, National Fish and     /       /
                                                                                                                   Wildlife Foundation         sam.g www.
                                    Department of Agriculture                  10.684   International Forestry     (NFWF)
                                                                                                                   To extend directs
                                                                                                                               Forestpublic    ov/fal/
                                                                                                                                               https:/ usasp
                                                                                                                                                       https:/
                                                                                        Programs              Service efforts to               /       /
                                                                                                              improve forest policies          sam.g www.
                                                                                                              and practices                    ov/fal/ usasp
                                    Department of Agriculture                  10.689   Community Forest and The Community Forest              https:/ https:/
                                                                                        Open Space            Program (CFP) is a               /       /
                                                                                        Conservation Program competitive grant                 sam.g www.
                                    Department of Agriculture                  10.690   (CFP)
                                                                                        Lake Tahoe Erosion    program
                                                                                                              To make that  provides
                                                                                                                       annual                  ov/fal/ https:/
                                                                                                                                               https:/ usasp
                                                                                        Control Grant Program payments to the                  /       /
                                                                                                              governing bodies of              sam.g www.
                                    Department of Agriculture                  10.691   Good Neighbor         each
                                                                                                              To   of the
                                                                                                                 permit   political
                                                                                                                        the head of            ov/fal/ https:/
                                                                                                                                               https:/ usasp
                                                                                        Authority                any state agency              /       /
                                                                                                                 (including the                sam.g www.
                                                                                                                 Commonwealth of               ov/fal/ usasp
                                    Department of Agriculture                  10.693   Watershed Restoration To enter into domestic           https:/ https:/
                                                                                        and Enhancement          cooperative agreements        /       /
                                                                                        Agreement Authority      with willing participants     sam.g www.
                                    Department of Agriculture                  10.694   Southwest Forest         for
                                                                                                                 (1) the protection,
                                                                                                                     To enhance    the         ov/fal/
                                                                                                                                               https:/ usasp
                                                                                                                                                       https:/
                                                                                        Health and Wild re       capacity to develop,          /       /
                                                                                        Prevention               transfer, apply, monitor,     sam.g www.
                                                                                                                 and regularly update          ov/fal/ usasp
                                    Department of Agriculture                  10.697   State & Private Forestry Reduce the risk of            https:/ https:/
                                                                                        Hazardous Fuel           catastrophic wild re to       /       /
                                                                                        Reduction Program        communities and the           sam.g www.
                                    Department of Agriculture                  10.698                            environment
                                                                                        State & Private Forestry With  respect through
                                                                                                                               to              ov/fal/ https:/
                                                                                                                                               https:/ usasp
                                                                                        Cooperative Fire           nonfederal forest and       /       /
                                                                                        Assistance                 other rural lands to        sam.g www.
                                    Department of Agriculture                  10.699                          assist
                                                                                        Partnership Agreements To      in the control of
                                                                                                                   increase                    ov/fal/ https:/
                                                                                                                                               https:/ usasp
                                                                                                               participation of non-           /       /
                                                                                                               federal cooperators in          sam.g www.
                                                                                                               all authorized Forest           ov/fal/ usasp
                                    Department of Agriculture                  10.700   National Agricultural  To serve as the Nation's        https:/ https:/
                                                                                        Library                Chief Agricultural              /       /
                                                                                                               information resource by         sam.g www.
                                    Department of Agriculture                  10.701   Stewardship            providing
                                                                                                               Stewardship agricultural
                                                                                                                              End Result       ov/fal/
                                                                                                                                               https:/ usasp
                                                                                                                                                       https:/
                                                                                        Agreements                 Contracting authorizes      /       /
                                                                                                                   use of contracts and        sam.g www.
                                    Department of Agriculture                  10.702                            agreements
                                                                                        Alaska National Interest Through  a to help            ov/fal/ https:/
                                                                                                                                               https:/ usasp
                                                                                        Lands Conservation Act multidisciplinary               /       /
                                                                                        (ANILCA) Agreements collaborative program,             sam.g www.
                                    Department of Agriculture                  10.703   Cooperative Fire         identify
                                                                                                                 To allowand  provide
                                                                                                                          reciprocal           ov/fal/ https:/
                                                                                                                                               https:/ usasp
                                                                                        Protection Agreement       agreements with re          /       /
                                                                                                                   organizations (as           sam.g www.
                                    Department of Agriculture                  10.704   Law Enforcement            de ned in 42work
                                                                                                                   Cooperative  USC            ov/fal/ https:/
                                                                                                                                               https:/ usasp
                                                                                        Agreements                 between the Forest          /       /
                                                                                                                   Service with State and      sam.g www.
                                                                                                                   local law enforcement       ov/fal/ usasp
                                    Department of Agriculture                  10.705   Cooperative Forest         Allows the Forest           https:/ https:/
                                                                                        Road Agreements            Service to work             /       /
                                                                                                                   cooperatively with          sam.g www.
                                    Department of Agriculture                  10.706   Grey Towers                State,  county,
                                                                                                                   To promote   theor local    ov/fal/
                                                                                                                                               https:/ usasp
                                                                                                                                                       https:/
                                                                                        Cooperative Authorities recreational and               /       /
                                                                                                                educational resources          sam.g www.
                                    Department of Agriculture                  10.707                           of Milford,
                                                                                        Research Joint Venture To  increase                    ov/fal/ https:/
                                                                                                                                               https:/ usasp
                                                                                        and Cost Reimbursable participation by partners        /       /
                                                                                        Agreements            in Agricultural rangeland        sam.g www.
                                                                                                              and forestry research            ov/fal/ usasp
                                    Department of Agriculture                  10.708   Community Wood        Provide assistance to            https:/ https:/
                                                                                        Energy and Wood       supplement the capital           /       /
                                                                                        Innovation Program    costs 1) for installing a        sam.g www.
                                    Department of Agriculture                  10.711   Forest Service 638    woodForest
                                                                                                              The    energy  system
                                                                                                                           Service             ov/fal/ https:/
                                                                                                                                               https:/ usasp
                                                                                        Authority for Tribes       received authority for      /       /
                                                                                                                   demonstration projects      sam.g www.
                                                                                                                   with tribes and tribal      ov/fal/ usasp
                                    Department of Agriculture                  10.712   Great American             The Great American          https:/ https:/
                                                                                        Outdoors Act Deferred      Outdoors Act (GAOA)         /       /
                                                                                        Maintenance Program        establishes a new fund      sam.g www.
                                    Department of Agriculture                  10.714   Infrastructure             for
                                                                                                                   The ve   years to address
                                                                                                                        Infrastructure         ov/fal/
                                                                                                                                               https:/ usasp
                                                                                                                                                       https:/
                                                                                        Investment and Job Act Investment and Jobs             /       /
                                                                                        Joint Fire Science       Act (IIJA) establishes        sam.g www.
                                    Department of Agriculture                  10.715   Program (Research & new
                                                                                        Infrastructure                funds to address
                                                                                                                 The Infrastructure            ov/fal/ https:/
                                                                                                                                               https:/ usasp
                                                                                        Investment and Jobs      Investment and Jobs           /       /
                                                                                        Act Collaborative Forest Act (IIJA) establishes        sam.g www.
                                                                                        Landscape Restoration new funds to address             ov/fal/ usasp
                                    Department of Agriculture                  10.716   Infrastructure           The Infrastructure            https:/ https:/
                                                                                        Investment and Jobs      Investment and Jobs           /       /
                                                                                        Act Prescribed Fire/Fire Act (IIJA) establishes        sam.g www.
                                    Department of Agriculture                  10.717   Recovery
                                                                                        Infrastructure           new Infrastructure
                                                                                                                 The  funds to address         ov/fal/ https:/
                                                                                                                                               https:/ usasp
                                                                                        Investment and Jobs        Investment and Jobs         /       /
                                                                                        Act Restoration/           Act (IIJA) establishes      sam.g www.
                                                                                        Revegetation               new funds to address        ov/fal/ usasp
                                    Department of Agriculture                  10.718   Infrastructure             The Infrastructure          https:/ https:/
                                                                                        Investment and Jobs        Investment and Jobs         /       /
                                                                                        Act Capital                Act (IIJA) establishes      sam.g www.
                                    Department of Agriculture                  10.719   Maintenance
                                                                                        Infrastructure and         new  funds tonancial
                                                                                                                   To provide    address       ov/fal/
                                                                                                                                               https:/ usasp
                                                                                                                                                       https:/
                                                                                        Investment and Jobs        assistance for the          /       /
                                                                                        Act Firewood Bank          operation of rewood         sam.g www.
                                    Department of Agriculture                  10.720   Program
                                                                                        Infrastructure         banks  and to to
                                                                                                               With respect   support          ov/fal/ https:/
                                                                                                                                               https:/ usasp
                                                                                        Investment and Jobs    nonfederal lands, to            /       /
                                                                                        Act Community Wild re develop community                sam.g www.
                                                                                        Defense Grants         wild re protection plans        ov/fal/ usasp
                                    Department of Agriculture                  10.721   Infrastructure         Provide direct federal          https:/ https:/
                                                                                        Investment and Jobs    support to States and           /       /
                                                                                        Act Temporary Bridge   Indian Tribes to                sam.g www.
                                    Department of Agriculture                  10.722   Program                establishfederal
                                                                                        Forest Service Reverse Provide    rental nancial       ov/fal/ https:/
                                                                                                                                               https:/ usasp
                                                                                        911 Grant Program          assistance for the          /       /
                                                                                                                   establishment,              sam.g www.
                                    Department of Agriculture                  10.723   Community Project          implementation
                                                                                                                   These  are speciand
                                                                                                                                     c         ov/fal/ https:/
                                                                                                                                               https:/ usasp
                                                                                        Funds -                    projects selected by        /       /
                                                                                        Congressionally            Congress for funding        sam.g www.
                                                                                        Directed Spending          through the 2022            ov/fal/ usasp
                                    Department of Agriculture                  10.724   Wild re Crisis Strategy    In 2022, the Forest         https:/ https:/
                                                                                        Landscapes                 Service launched the        /       /
                                                                                                                   Wild re Crisis Strategy     sam.g www.
                                    Department of Agriculture                  10.725   Infrastructure and         to addresses
                                                                                                                   Provide       wild re
                                                                                                                             nancial           ov/fal/ https:/
                                                                                                                                               https:/ usasp
                                                                                        Investment Jobs Act        assistance to facilities    /       /
                                                                                        Financial Assistance to    that purchase and           sam.g www.
                                                                                        Facilities that Purchase   process byproducts          ov/fal/ usasp
                                    Department of Agriculture                  10.726   Opal Creek Wilderness      To provide funding to       https:/ https:/
                                                                                        Economic Grant             the State of Oregon to      /       /
                                                                                        Program                    establish an economic       sam.g www.
                                    Department of Agriculture                  10.727   In ation Reduction Act     development
                                                                                                                   To             grant
                                                                                                                      plan for, establish,     ov/fal/ https:/
                                                                                                                                               https:/ usasp
                                                                                        Urban & Community        manage and protect            /       /
                                                                                        Forestry Program         trees, forests, green         sam.g www.
                                    Department of Agriculture                  10.728                            spaces
                                                                                        In ation Reduction Act The        andofrelated
                                                                                                                      focus     this           ov/fal/ https:/
                                                                                                                                               https:/ usasp
                                                                                        Hazardous Fuels          program is to support         /       /
                                                                                        Transportation           the hauling of material       sam.g www.
                                                                                        Assistance               removed to reduce             ov/fal/ usasp
                                    Department of Agriculture                  10.729   In ation Reduction Act - The focus of this             https:/ https:/
                                                                                        National Forest System program is for project          /       /
                                                                                                                 work to be performed          sam.g www.
                                    Department of Agriculture                  10.730   Community Project        on National
                                                                                                                 These         Forest
                                                                                                                         are speci   c         ov/fal/ https:/
                                                                                                                                               https:/ usasp
                                                                                        Funds -                   projects selected by         /       /
                                                                                        Congressionally           Congress for funding         sam.g www.
                                                                                        Directed Spending         through the                  ov/fal/ usasp
                                    Department of Agriculture                  10.731   In ation Reduction Act    To support competitive       https:/ https:/
                                                                                        Landscape Scale           grant programs in the        /       /
                                                                                        Restoration               following areas: 1)          sam.g www.
                                    Department of Agriculture                  10.732                             Provide
                                                                                        Bipartisan Infrastructure The      cost share to
                                                                                                                       Infrastructure          ov/fal/ https:/
                                                                                                                                               https:/ usasp
                                                                                        Law State, Private &       Investment and Jobs         /       /
                                                                                        Tribal Agreements          Act (IIJA) establishes      sam.g www.
                                    Department of Agriculture                  10.733                             new and
                                                                                        Bipartisan Infrastructure This     supplemental
                                                                                                                       funding program         ov/fal/ https:/
                                                                                                                                               https:/ usasp
                                                                                        Law â€“ Removal and works with partners to             /       /
                                                                                        Production of             better support long term     sam.g www.
                                                                                        Flammable Vegetation operations focused on             ov/fal/ usasp
                                    Department of Agriculture                  10.734   In ation Reduction Act - To effectively identify       https:/ https:/
                                                                                        Forest Legacy Program and protect                      /       /
                                                                                                                  environmentally              sam.g www.
                                    Department of Agriculture                  10.735   Reforestation of Non-     important forest
                                                                                                                  Emphasis         areas
                                                                                                                             on expanding      ov/fal/ https:/
                                                                                                                                               https:/ usasp
                                                                                        Federal Mined Land        existing partnerships        /       /
                                                                                                                  and the creation of new      sam.g www.
                                    Department of Agriculture                  10.736   Bipartisan Infrastructure ones   to initiate
                                                                                                                  The intent          the
                                                                                                                                for this       ov/fal/
                                                                                                                                               https:/ usasp
                                                                                                                                                       https:/
                                                                                        Act Nursery Vegetation program is to provide           /       /
                                                                                                                  funding for state and        sam.g www.
                                    Department of Agriculture                  10.737                             tribal entities
                                                                                        Forest and Grassland Provide        supportto help
                                                                                                                                       for     ov/fal/ https:/
                                                                                                                                               https:/ usasp
                                                                                        Collaboratives             forest or grassland         /       /
                                                                                                                   collaboratives in the       sam.g www.
                                    Department of Agriculture                  10.751   Rural Energy Savings       accomplishment
                                                                                                                   The  Rural Energyof         ov/fal/ https:/
                                                                                                                                               https:/ usasp
                                                                                        Program (RESP)             Savings Program             /       /
                                                                                                                   (RESP) provides loans       sam.g www.
                                                                                                                   to entities who provide     ov/fal/ usasp




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                                                                                                                                                             #: 57
                                   Department of Agriculture       10.752   Rural eConnectivity      The ReConnect                  https:/ https:/
                                                                            Pilot Program            Program provides               /       /
                                                                                                     loans, grants, and loan/       sam.g www.
                                   Department of Agriculture       10.754   Higher Blends            grantHigher
                                                                                                     The   combination
                                                                                                                  Blends            ov/fal/ https:/
                                                                                                                                    https:/ usasp
                                                                            Infrastructure Incentive Infrastructure Incentive       /       /
                                                                            Program                  Program (HBIIP) is a           sam.g www.
                                   Department of Agriculture       10.755   Rural Innovation         new  program
                                                                                                     To help        that will
                                                                                                              struggling            ov/fal/
                                                                                                                                    https:/ usasp
                                                                                                                                            https:/
                                                                            Stronger Economy     communities by funding             /       /
                                                                                                 job accelerators in low-           sam.g www.
                                                                                                 income rural                       ov/fal/ usasp
                                   Department of Agriculture       10.757   Powering Affordable  The Powering                       https:/ https:/
                                                                            Clean Energy (PACE) Affordable Clean                    /       /
                                                                            Program              Energy (PACE)                      sam.g www.
                                   Department of Agriculture       10.758                        Program
                                                                            New Empowering Rural RUS       is intended
                                                                                                      will utilize      to
                                                                                                                   the New          ov/fal/ https:/
                                                                                                                                    https:/ usasp
                                                                            America (New ERA)         ERA funds to assist           /       /
                                                                            Program                   eligible entities to          sam.g www.
                                   Department of Agriculture       10.759   Part 1774 Special         achieve
                                                                                                      To  makethe greatest          ov/fal/ https:/
                                                                                                                                    https:/ usasp
                                                                            Evaluation Assistance     predevelopment                /       /
                                                                            for Rural Communities     planning grants for           sam.g www.
                                                                            and Households            feasibility studies,          ov/fal/ usasp
                                   Department of Agriculture       10.760   Water and Waste           Provide loan and grant        https:/ https:/
                                                                            Disposal Systems for      funds for water and           /       /
                                                                            Rural Communities         waste projects serving        sam.g www.
                                   Department of Agriculture       10.761   Water and Waste           the mostTAT
                                                                                                      Annual      nancially
                                                                                                                    - To identify   ov/fal/
                                                                                                                                    https:/ usasp
                                                                                                                                            https:/
                                                                            Technical Assistance and evaluate solutions             /       /
                                                                            and Training Grants  to water and waste                 sam.g www.
                                                                                                 disposal problems in               ov/fal/ usasp
                                   Department of Agriculture       10.762   Solid Waste          The objectives of the              https:/ https:/
                                                                            Management Grants    program are to reduce              /       /
                                                                                                 or eliminate pollution of          sam.g www.
                                   Department of Agriculture       10.763                        waterobjective
                                                                            Emergency Community The     resources  and
                                                                                                                of the              ov/fal/ https:/
                                                                                                                                    https:/ usasp
                                                                            Water Assistance     ECWAG program is to                /       /
                                                                            Grants               assist the residents of            sam.g www.
                                   Department of Agriculture       10.766   Community Facilities rural
                                                                                                 To    areas affordable
                                                                                                    provide  that have              ov/fal/ https:/
                                                                                                                                    https:/ usasp
                                                                            Loans and Grants       funding either through           /       /
                                                                                                   loans or grants to               sam.g www.
                                                                                                   develop essential                ov/fal/ usasp
                                   Department of Agriculture       10.767   Intermediary Relending Establish revolving loan         https:/ https:/
                                                                            Program                funds for the purpose of         /       /
                                                                                                   providing loans to               sam.g www.
                                   Department of Agriculture       10.768   Business and Industry ultimate  recipients
                                                                                                   The purpose   of thetoB&I        ov/fal/
                                                                                                                                    https:/ usasp
                                                                                                                                            https:/
                                                                            Guaranteed Loans       Guaranteed Loan                  /       /
                                                                                                   Program is to improve,           sam.g www.
                                                                                                   develop, or nance                ov/fal/ usasp
                                   Department of Agriculture       10.770   Water and Waste        This program helps get           https:/ https:/
                                                                            Grants and Loans and safe reliable drinking             /       /
                                                                            Loan Guarantees        water and waste                  sam.g www.
                                   Department of Agriculture       10.771   (Section
                                                                            Rural    306C)
                                                                                  Cooperative      disposal
                                                                                                   To improveservices
                                                                                                               the to               ov/fal/ https:/
                                                                                                                                    https:/ usasp
                                                                            Development Grants         economic condition of        /       /
                                                                                                       rural areas by assisting     sam.g www.
                                   Department of Agriculture       10.777   Norman E. Borlaug          individuals and
                                                                                                       Fellowships  are             ov/fal/ https:/
                                                                                                                                    https:/ usasp
                                                                            International Agricultural intended to promote          /       /
                                                                            Science and                food security and            sam.g www.
                                                                            Technology Fellowship economic growth in                ov/fal/ usasp
                                   Department of Agriculture       10.782   Appropriate Technology To provide diverse               https:/ https:/
                                                                            Transfer for Rural Areas technical information          /       /
                                                                                                       and educational              sam.g www.
                                   Department of Agriculture       10.850   Rural Electri cation       resources  about
                                                                                                       To assure that people in     ov/fal/
                                                                                                                                    https:/ usasp
                                                                                                                                            https:/
                                                                            Loans and Loan            eligible rural areas have /        /
                                                                            Guarantees                access to electric         sam.g www.
                                   Department of Agriculture       10.851   Rural                     services
                                                                                                      This      comparable
                                                                                                            program   providesin ov/fal/ usasp
                                                                                                                                 https:/ https:/
                                                                            Telecommunications        loans for the              /       /
                                                                            Loans                     construction,              sam.g www.
                                   Department of Agriculture       10.854   Rural Economic            maintenance,
                                                                                                      The  Rural Economic        ov/fal/ https:/
                                                                                                                                 https:/ usasp
                                                                            Development Loans         Development Loan and /           /
                                                                            and Grants                Grant Programs provide sam.g www.
                                   Department of Agriculture       10.855   Distance Learning and     funding
                                                                                                      To       for rural
                                                                                                          encourage   and      ov/fal/ usasp
                                                                                                                               https:/ https:/
                                                                            Telemedicine Loans        improve the use of       /       /
                                                                            and Grants                telemedicine,            sam.g www.
                                                                                                      telecommunications,      ov/fal/ usasp
                                   Department of Agriculture       10.858   Denali Commission         This program assists     https:/ https:/
                                                                            Grants and Loans          the Denali Commission /          /
                                                                                                      in lowering the cost of  sam.g www.
                                   Department of Agriculture       10.859   Assistance to High        energy  for families
                                                                                                      The purpose of this  and ov/fal/
                                                                                                                               https:/ usasp
                                                                                                                                       https:/
                                                                            Energy Cost Rural         grant program is to           /       /
                                                                            Communities               assure access to              sam.g www.
                                   Department of Agriculture       10.860   Rural Business            adequate
                                                                                                      To promoteand reliable
                                                                                                                  economic          ov/fal/ https:/
                                                                                                                                    https:/ usasp
                                                                            Investment Program        development and create        /       /
                                                                                                      wealth and job                sam.g www.
                                                                                                      opportunities among           ov/fal/ usasp
                                   Department of Agriculture       10.862   Rural Decentralized       To make grants to             https:/ https:/
                                                                            Water Systems Grant       private, nonpro t             /       /
                                                                            Program                   organizations to nance        sam.g www.
                                   Department of Agriculture       10.863   Community Connect         theencourage
                                                                                                      To  construction,             ov/fal/ https:/
                                                                                                                                    https:/ usasp
                                                                            Grant Program             community-oriented            /       /
                                                                                                      connectivity by               sam.g www.
                                                                                                      providing grants to           ov/fal/ usasp
                                   Department of Agriculture       10.864   Grant Program to          This program helps            https:/ https:/
                                                                            Establish a Fund for      quali ed nonpro ts            /       /
                                                                            Financing Water and       create revolving loan         sam.g www.
                                   Department of Agriculture       10.865   Wastewater   Projects
                                                                            Biore nery Assistance     funds that canprovide
                                                                                                      The program     provide       ov/fal/
                                                                                                                                    https:/ usasp
                                                                                                                                            https:/
                                                                                                      loan guarantees for the       /       /
                                                                                                      development,                  sam.g www.
                                   Department of Agriculture       10.867   Bioenergy Program for     construction,
                                                                                                      The purpose ofand
                                                                                                                      this          ov/fal/ https:/
                                                                                                                                    https:/ usasp
                                                                            Advanced Biofuels         subpart is to support         /       /
                                                                                                      and ensure an                 sam.g www.
                                                                                                      expanding production of       ov/fal/ usasp
                                   Department of Agriculture       10.868   Rural Energy for          (1) Provision of grants       https:/ https:/
                                                                            America Program           and loan guarantees to        /       /
                                                                                                      agricultural producers        sam.g www.
                                   Department of Agriculture       10.870   Rural                     and ruralrural
                                                                                                      Provide   small               ov/fal/ https:/
                                                                                                                                    https:/ usasp
                                                                            Microentrepreneur      microentrepreneurs with          /       /
                                                                            Assistance Program     the skills necessary to          sam.g www.
                                                                                                   establish new rural              ov/fal/ usasp
                                   Department of Agriculture       10.871   Socially-Disadvantaged The primary objective of         https:/ https:/
                                                                            Groups Grant           the Socially                     /       /
                                                                                                   Disadvantaged Groups             sam.g www.
                                   Department of Agriculture       10.872   Healthy Food Financing Grant program
                                                                                                   The Healthy     is to
                                                                                                                 Food               ov/fal/
                                                                                                                                    https:/ usasp
                                                                                                                                            https:/
                                                                            Initiative             Financing Initiative             /       /
                                                                                                   (HFFI) is an inter-              sam.g www.
                                   Department of Agriculture       10.874   Delta Health Care      Department
                                                                                                   To           initiative
                                                                                                      provide nancial               ov/fal/ https:/
                                                                                                                                    https:/ usasp
                                                                            Services Grant Program assistance to address            /       /
                                                                                                   the continued unmet              sam.g www.
                                                                                                   health needs in the              ov/fal/ usasp
                                   Department of Agriculture       10.886   Rural Broadband        This program furnishes           https:/ https:/
                                                                            Access Loans and Loan loans and loan                    /       /
                                                                            Guarantees             guarantees to provide            sam.g www.
                                   Department of Agriculture       10.890   Rural Development      funds for
                                                                                                   USDA      the costs of
                                                                                                          Rural                     ov/fal/ https:/
                                                                                                                                    https:/ usasp
                                                                            Cooperative Agreement Development                       /       /
                                                                            Program               Innovation Center in              sam.g www.
                                   Department of Agriculture       10.902   Soil and Water        partnership
                                                                                                  Provide     with Rural
                                                                                                          conservation              ov/fal/ https:/
                                                                                                                                    https:/ usasp
                                                                            Conservation              technical assistance to       /       /
                                                                                                      private landowners,           sam.g www.
                                                                                                      conservation districts,       ov/fal/ usasp
                                   Department of Agriculture       10.903   Soil Survey               To produce and                https:/ https:/
                                                                                                      maintain up to date soil      /       /
                                                                                                      survey information            sam.g www.
                                   Department of Agriculture       10.904   Watershed Protection      (maps,
                                                                                                      To      datatechnical
                                                                                                         provide    sets, soil      ov/fal/ https:/
                                                                                                                                    https:/ usasp
                                                                            and Flood Prevention  and nancial assistance            /       /
                                                                                                  in carrying out works of          sam.g www.
                                                                                                  improvement to protect,           ov/fal/ usasp
                                   Department of Agriculture       10.905   Plant Materials for   To assemble, evaluate,            https:/ https:/
                                                                            Conservation          and promote the use of            /       /
                                                                                                  new and improved plant            sam.g www.
                                   Department of Agriculture       10.907                         materials
                                                                            Snow Survey and Water To  providefor soil, water,
                                                                                                               reliable,            ov/fal/ https:/
                                                                                                                                    https:/ usasp
                                                                            Supply Forecasting        accurate, and timely          /       /
                                                                                                      forecasts of surface          sam.g www.
                                   Department of Agriculture       10.912   Environmental Quality     water promotes
                                                                                                      EQIP  supply to water         ov/fal/ https:/
                                                                                                                                    https:/ usasp
                                                                            Incentives Program   agricultural production,           /       /
                                                                                                 forest management,                 sam.g www.
                                                                                                 and environmental                  ov/fal/ usasp
                                   Department of Agriculture       10.913   Farm and Ranch Lands To provide funding to              https:/ https:/
                                                                            Protection Program   eligible entities to               /       /
                                                                                                 purchase conservation              sam.g www.
                                   Department of Agriculture       10.914   Wildlife Habitat     easements
                                                                                                 To            to limit
                                                                                                     help participants              ov/fal/ https:/
                                                                                                                                    https:/ usasp
                                                                            Incentive Program      protect, restore,                /       /
                                                                                                   develop or enhance               sam.g www.
                                                                                                   habitat for upland               ov/fal/ usasp
                                   Department of Agriculture       10.916   Watershed              To provide technical             https:/ https:/
                                                                            Rehabilitation Program and nancial assistance           /       /
                                                                                                   to rehabilitate dams             sam.g www.
                                   Department of Agriculture       10.917   Agricultural           originally
                                                                                                   To  provideconstructed
                                                                                                                 nancial            ov/fal/ https:/
                                                                                                                                    https:/ usasp
                                                                            Management          assistance to producers /           /
                                                                            Assistance          on private lands through sam.g www.
                                   Department of Agriculture       10.920   Grassland Reserve   contracts
                                                                                                To          to construct or ov/fal/
                                                                                                    assist landowners               usasp
                                                                                                                            https:/ https:/
                                                                            Program             and operators in            /       /
                                                                                                restoring and protecting sam.g www.
                                                                                                eligible grazing lands,     ov/fal/ usasp
                                   Department of Agriculture       10.922   Healthy Forests     The purpose of the          https:/ https:/
                                                                            Reserve Program     Healthy Forests             /       /
                                                                            (HFRP)              Reserve Program             sam.g www.
                                   Department of Agriculture       10.923                       (HFRP)
                                                                            Emergency Watershed The      is to assist
                                                                                                     objective   of the     ov/fal/ https:/
                                                                                                                            https:/ usasp
                                                                            Protection Program  EWP Program is to           /       /
                                                                                                assist sponsors,            sam.g www.
                                   Department of Agriculture       10.924   Conservation        landowners,
                                                                                                Through CSP,   and
                                                                                                                 NRCS       ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                            Stewardship Program   provides nancial and              /       /
                                                                                                  technical assistance to           sam.g www.
                                   Department of Agriculture       10.927   Emergency Watershed eligible  producers
                                                                                                  The objective      to
                                                                                                                of the              ov/fal/ https:/
                                                                                                                                    https:/ usasp
                                                                            Protection Program -  EWP Program is to                 /       /
                                                                            Disaster Relief       assist sponsors,                  sam.g www.
                                   Department of Agriculture       10.928   Appropriations
                                                                            Emergency       Act
                                                                                        Watershed landowners,
                                                                                                  The Emergencyand                  ov/fal/ https:/
                                                                                                                                    https:/ usasp
                                                                            Protection Program -  Watershed Protection -            /       /
                                                                            Floodplain Easements Floodplain Easement                sam.g www.
                                                                            â€“ Disaster Relief   Program (EWPP-FPE)                ov/fal/ usasp




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                                                                                                                                                        #: 58
                              Department of Agriculture       10.929   Water Bank Program    To preserve and                   https:/ https:/
                                                                                             improve major wetlands            /       /
                                                                                             as habitat for migratory          sam.g www.
                              Department of Agriculture       10.931   Agricultural          waterfowl
                                                                                             To         and
                                                                                                establish  another             ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                       Conservation Easement agricultural                      /       /
                                                                       Program               conservation easement             sam.g www.
                              Department of Agriculture       10.932   Regional Conservation program
                                                                                             To furtherfor
                                                                                                        thethe                 ov/fal/
                                                                                                                               https:/ usasp
                                                                                                                                       https:/
                                                                       Partnership Program     conservation,                   /       /
                                                                                               protection, restoration,        sam.g www.
                                                                                               and sustainable use of          ov/fal/ usasp
                              Department of Agriculture       10.933   Wetland Mitigation      The Wetland Mitigation          https:/ https:/
                                                                       Banking Program         Banking Program is              /       /
                                                                                               used to help establish          sam.g www.
                              Department of Agriculture       10.934                           wetland
                                                                       Feral Swine Eradication The      mitigation
                                                                                                    Feral  Swine Pilot         ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                       and Control Pilot          Program will allow           /       /
                                                                       Program                    NRCS and APHIS to            sam.g www.
                              Department of Agriculture       10.935   Urban Agriculture and      respond
                                                                                                  The     to theofthreat
                                                                                                      objective     the        ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                       Innovative Production      Urban Agriculture and        /       /
                                                                                                  Innovative Production        sam.g www.
                                                                                                  (UAIP) Competitive           ov/fal/ usasp
                              Department of Agriculture       10.936   Gulf Coast Ecosystem       The primary objective of     https:/ https:/
                                                                       Restoration Council        this program is to           /       /
                                                                       Comprehensive Plan         disburse funds to            sam.g www.
                              Department of Agriculture       10.937   Component
                                                                       PartnershipsProgram
                                                                                    for           eligible entities forfor
                                                                                                  The Partnerships      the    ov/fal/
                                                                                                                               https:/ usasp
                                                                                                                                       https:/
                                                                       Climate-Smart           Climate-Smart                   /       /
                                                                       Commodities             Commodities aim to              sam.g www.
                                                                                               achieve the following           ov/fal/ usasp
                              Department of Agriculture       10.938   Conservation Outreach, The overall goal of              https:/ https:/
                                                                       Education and           Conservation Outreach           /       /
                                                                       Technical Assistance    is to expand                    sam.g www.
                              Department of Agriculture       10.950   Agricultural Statistics conservation
                                                                                               The   objectiveassistance
                                                                                                              for NASS         ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                       Reports                    is to formulate, develop, /       /
                                                                                                  and administer            sam.g www.
                              Department of Agriculture       10.951   Census of Agriculture      programs
                                                                                                  The        for collecting
                                                                                                        objective for NASS ov/fal/  usasp
                                                                                                                            https:/ https:/
                                                                                                  is to formulate, develop, /       /
                                                                                                  and administer            sam.g www.
                                                                                                  programs for collecting ov/fal/ usasp
                              Department of Agriculture       10.960   Technical Agricultural     To identify international https:/ https:/
                                                                       Assistance                 agricultural issues and   /       /
                                                                                                  problems and apply the sam.g www.
                              Department of Agriculture       10.961   Scienti c Cooperation      most   appropriate
                                                                                                  The projects address      ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                       and Research               speci c issues related       /       /
                                                                                                  to agricultural trade and    sam.g www.
                                                                                                  market access, climate-      ov/fal/ usasp
                              Department of Agriculture       10.962   Cochran Fellowship         Awards will enhance          https:/ https:/
                                                                       Program                    knowledge and skills to      /       /
                                                                                                  assist eligible countries    sam.g www.
                              Department of Agriculture       10.964   Emergency Relief           to develop
                                                                                                  ERP  providesagricultural
                                                                                                                    nancial    ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                       Program                    assistance to producers /         /
                                                                                                  for losses to crops,      sam.g www.
                              Department of Agriculture       10.965   Milk Loss Program          trees,
                                                                                                  The     bushes,
                                                                                                        Milk      and
                                                                                                             Loss program   ov/fal/ usasp
                                                                                                                            https:/ https:/
                                                                                                  will indemnify eligible   /       /
                                                                                                  dairy operations for milk sam.g www.
                                                                                                  that was dumped or        ov/fal/ usasp
                              Department of Agriculture       10.966   Commodity Container        CCAP provides             https:/ https:/
                                                                       Assistance Program         assistance to eligible    /       /
                                                                                                  owners or designated      sam.g www.
                              Department of Agriculture       10.968   Increasing Land,           marketing   agents
                                                                                                  USDA launched the   of    ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                       Capital, and Market        Increasing Land,             /       /
                                                                       Access Program             Capital, and Market          sam.g www.
                              Department of Agriculture       10.969   FSA Conservation           Access
                                                                                                  The     (Increasing
                                                                                                       objective of this       ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                       Reserve Program            program is to provide        /       /
                                                                       Transition Incentive       education on the CRP-        sam.g www.
                              Department of Agriculture       10.970   Program:
                                                                       Farm LoanOutreach,
                                                                                   Borrower       TIP program
                                                                                                  The Farm Loanand             ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                       Relief Program             Borrower Relief              /       /
                                                                                                  Program (FLBRP) is to        sam.g www.
                              Department of Agriculture       10.971   Urban Agriculture and      provide assistance
                                                                                                  Assistance from    to        ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                       Urban County               USDAâ€™s Farm                /       /
                                                                       Committee Outreach,        Service Agency (FSA)         sam.g www.
                                                                       Technical Assistance,      to selected eligible         ov/fal/ usasp
                              Department of Agriculture       10.973   Emergency Grain            The Emergency Grain          https:/ https:/
                                                                       Storage Facility           Storage Facility             /       /
                                                                       Assistance Program         Assistance Program           sam.g www.
                              Department of Agriculture       10.974   DSA COVID Relief           (EGSFP)   will provide
                                                                                                  The DSA COVID      Relief    ov/fal/
                                                                                                                               https:/ usasp
                                                                                                                                       https:/
                                                                       Program                    Program was                  /       /
                                                                                                  implemented to assist        sam.g www.
                              Department of Agriculture       10.975   Emergency Relief           distressed
                                                                                                  The        direct Relief
                                                                                                       Emergency    farm       ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                       Program Outreach           Program (ERP) is             /       /
                                                                       Education and              intended to help             sam.g www.
                                                                       Technical Assistance       agricultural producers       ov/fal/ usasp
                              Department of Agriculture       10.976   Rice Production            RPP provides                 https:/ https:/
                                                                       Program                    assistance to rice           /       /
                                                                                                  producers that planted       sam.g www.
                              Department of Agriculture       10.977   Organic Dairy              or were
                                                                                                  The      prevented
                                                                                                       Organic  Dairy from     ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                       Marketing Assistance       Marketing Assistance         /       /
                                                                       Program                    Program (ODMAP) was          sam.g www.
                                                                                                  established to help          ov/fal/ usasp
                              Department of Agriculture       10.978   Farm Labor                 USDA is offering a grant     https:/ https:/
                                                                       Stabilization and          program focused on           /       /
                                                                       Protection Pilot Grant     addressing labor             sam.g www.
                              Department of Agriculture       10.979   Program
                                                                       Emergency Relief           shortages
                                                                                                  ERP 2022 in  agriculture,
                                                                                                             provides          ov/fal/
                                                                                                                               https:/ usasp
                                                                                                                                       https:/
                                                                       Program 2022                nancial assistance to       /       /
                                                                                                  producers for losses to      sam.g www.
                              Department of Agriculture       10.980   Emergency Livestock        crops and
                                                                                                  ELRP  2022trees due to
                                                                                                              provides         ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                       Relief Program 2022       direct nancial                /       /
                                                                                                 assistance to livestock       sam.g www.
                                                                                                 producers for losses          ov/fal/ usasp
                              Department of Agriculture       10.981   Commodity Storage         The Commodity                 https:/ https:/
                                                                       Assistance Program        Storage Assistance            /       /
                                                                                                 Program (CSAP) will           sam.g www.
                              Department of Agriculture       10.982                             providethe
                                                                       Testing, Mitigation, and Under     assistance
                                                                                                            authority to
                                                                                                                       of      ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                       Relief for Agricultural   the Fiscal Year 2023          /       /
                                                                       Contamination by Per- Consolidated                      sam.g www.
                                                                       and Poly uoroalkyl        Appropriations Act,           ov/fal/ usasp
                              Department of Agriculture       10.983   Outreach Education        These cooperative             https:/ https:/
                                                                       and Technical             agreements require            /       /
                                                                       Assistance for Disaster recipients to work with         sam.g www.
                              Department of Agriculture       10.984   Assistance  Programs
                                                                       Discrimination  Financial producers  to evaluate of
                                                                                                 The U.S. Department           ov/fal/
                                                                                                                               https:/ usasp
                                                                                                                                       https:/
                                                                       Assistance Program         Agriculture (USDA) is        /       /
                                                                                                  authorized by Section        sam.g www.
                              Department of Agriculture       10.996   Rural Development         22007 of theare
                                                                                                 Fellowships    In ation       ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                       Policy Public Service     intended to improve the       /       /
                                                                       and Leadership            coordination and              sam.g www.
                                                                       Development Program effectiveness of Federal            ov/fal/ usasp
                              Department of Agriculture       10.997   U.S. Codex Of ce          The goal of this listing is   https:/ https:/
                                                                       Support for International to support agreements         /       /
                                                                       Activities                with organizations,           sam.g www.
                              Department of Commerce          11.008   NOAA Mission-Related The  institutions, or of the
                                                                                                       objectives              ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                       Education Awards           overall program are to       /       /
                                                                                                  facilitate educational       sam.g www.
                              Department of Commerce          11.011   Ocean Exploration          activities
                                                                                                  To explore related
                                                                                                               the to          ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                                                  Earthâ€™s largely            /       /
                                                                                                  unknown oceans in all        sam.g www.
                                                                                                  their dimensions for the     ov/fal/ usasp
                              Department of Commerce          11.012   Integrated Ocean           To support projects          https:/ https:/
                                                                       Observing System           aimed at the                 /       /
                                                                       (IOOS)                     development and              sam.g www.
                              Department of Commerce          11.013   Education Quality          sustainability
                                                                                                  Support        of a
                                                                                                           Malcolm             ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                       Award Ambassadorship Baldrige National                  /       /
                                                                                              Quality Award Program            sam.g www.
                                                                                              (MBNQA) winners in               ov/fal/ usasp
                              Department of Commerce          11.015   Broad Agency           This BAA is a                    https:/ https:/
                                                                       Announcement           mechanism to                     /       /
                                                                                              encourage research,              sam.g www.
                              Department of Commerce          11.016   Statistical, Research, education
                                                                                              To        and outreach,
                                                                                                 make awards  to, or           ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                       and Methodology            conclude cooperative         /       /
                                                                       Assistance                 agreements with              sam.g www.
                              Department of Commerce          11.017   Ocean Acidi cation         appropriate
                                                                                                  The         entities,
                                                                                                      OAP plays   an           ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                       Program (OAP)            integral role in               /       /
                                                                                                maintaining long-term          sam.g www.
                                                                                                monitoring; conducting         ov/fal/ usasp
                              Department of Commerce          11.021   NOAA Small Business The Small Business                  https:/ https:/
                                                                       Innovation Research      Innovation Research            /       /
                                                                       (SBIR) Program           (SBIR) seeks to                sam.g www.
                              Department of Commerce          11.022                            stimulate technological
                                                                       Bipartisan Budget Act of Identifying and                ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                       2018                       documenting                  /       /
                                                                                                  incremental risks and        sam.g www.
                                                                                                  mitigating controls with     ov/fal/ usasp
                              Department of Commerce          11.023   Science, Technology,       The U.S Economic             https:/ https:/
                                                                       Engineering, and           Development                  /       /
                                                                       Mathematics (STEM)         Administrationâ€™s           sam.g www.
                              Department of Commerce          11.024   Talent Challenge
                                                                       BUILD  TO SCALE            STEM Talent Challenge
                                                                                                  Entrepreneurs,               ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                                                  especially technology        /       /
                                                                                                  entrepreneurs, ourish        sam.g www.
                              Department of Commerce          11.028   Connecting Minority        in healthy
                                                                                                  The        ecosystems.
                                                                                                       Connecting              ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                       Communities Pilot          Minority Communities         /       /
                                                                       Program                    Pilot Program provides       sam.g www.
                                                                                                  grants to eligible           ov/fal/ usasp
                              Department of Commerce          11.029   Tribal Broadband           This program provides        https:/ https:/
                                                                       Connectivity Program       grants to eligible tribal    /       /
                                                                                                  or Native entities in the    sam.g www.
                              Department of Commerce          11.031   Broadband                  United
                                                                                                  The     States to expand
                                                                                                       Broadband               ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                       Infrastructure Program     Infrastructure Program       /       /
                                                                                                  provides federal grants      sam.g www.
                              Department of Commerce          11.032   State Digital Equity       for
                                                                                                  Thethe  deployment
                                                                                                       purpose  of the of      ov/fal/
                                                                                                                               https:/ usasp
                                                                                                                                       https:/
                                                                       Planning and Capacity      State Digital Equity         /       /
                                                                       Grant                      Planning and Capacity        sam.g www.
                              Department of Commerce          11.033   Middle Mile                Grant
                                                                                                  The   Programs
                                                                                                      Middle  Mile is to       ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                       (Broadband) Grant          (Broadband) Grant            /       /
                                                                       Program                    Program provides             sam.g www.
                              Department of Commerce          11.034   2023 MBDA Capital          funding
                                                                                                  The     for the
                                                                                                      Minority  Business       ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                       Readiness Program          Development                  /       /
                                                                                                  Agencyâ€™s (MBDA)            sam.g www.
                                                                                                  Capital Readiness            ov/fal/ usasp




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                                                                                                                                                                                  #: 59
                                                        Department of Commerce            11.035   Broadband Equity,        The Commerce                 https:/ https:/
                                                                                                   Access, and              Department's National        /       /
                                                                                                   Deployment Program       Telecommunications           sam.g www.
                                                        Department of Commerce            11.036   Digital Equity           and Information
                                                                                                                            The purpose of the           ov/fal/ https:/
                                                                                                                                                         https:/ usasp
                                                                                                   Competitive Grant        Digital Equity               /       /
                                                                                                   Program                  Competitive Grant            sam.g www.
                                                        Department of Commerce            11.037   CHIPS Incentives         Program
                                                                                                                            The CHIPS is to support
                                                                                                                                          Incentives     ov/fal/
                                                                                                                                                         https:/ usasp
                                                                                                                                                                 https:/
                                                                                                   Program                Program aims to                /       /
                                                                                                                          catalyze long-term             sam.g www.
                                                                                                                          economically                   ov/fal/ usasp
                                                        Department of Commerce            11.038   Public Wireless Supply The Innovation Fund is         https:/ https:/
                                                                                                   Chain Innovation Fund a ten-year, $1.5 billion        /       /
                                                                                                   Grant Program          grant program,                 sam.g www.
                                                        Department of Commerce            11.039   Regional Technology    advancing
                                                                                                                          Awards      open
                                                                                                                                   made  under this      ov/fal/ https:/
                                                                                                                                                         https:/ usasp
                                                                                                   and Innovation Hubs    NOFO will seek to              /       /
                                                                                                                          strengthen U.S.                sam.g www.
                                                        Department of Commerce            11.040   Distressed Area        economic
                                                                                                                          The        and national
                                                                                                                               Distressed Area           ov/fal/ https:/
                                                                                                                                                         https:/ usasp
                                                                                                   Recompete Pilot          Recompete Pilot              /       /
                                                                                                   Program                  Program (Recompete           sam.g www.
                                                                                                                            Pilot Program) aims to       ov/fal/ usasp
                                                        Department of Commerce            11.041   U.S. and Foreign         The goals of the             https:/ https:/
                                                                                                   Commercial Service       fellowship program are       /       /
                                                                                                   Pilot Fellowship         to enhance                   sam.g www.
                                                        Department of Commerce            11.042   Program
                                                                                                   CHIPS Research and       studentsâ€™
                                                                                                                            The CHIPS Research           ov/fal/
                                                                                                                                                         https:/ usasp
                                                                                                                                                                 https:/
                                                                                                   Development              and Development Of ce        /       /
                                                                                                                            (CHIPS R&D) aims to          sam.g www.
                                                                                                                            accelerate the               ov/fal/ usasp
                                                        Department of Commerce            11.043   National Weather         The Of ce of Science         https:/ https:/
                                                                                                   Service Of ce of         and Technology               /       /
                                                                                                   Science and              Integration (OSTI)           sam.g www.
                                                        Department of Commerce            11.112   Technology
                                                                                                   Market     Integration
                                                                                                          Development       Modelingthe
                                                                                                                            Through   Program
                                                                                                                                         Market          ov/fal/ https:/
                                                                                                                                                         https:/ usasp
                                                                                                   Cooperator Program       Development                  /       /
                                                                                                                            Cooperator Program           sam.g www.
                                                        Department of Commerce            11.300   Investments for Public   (MDCP), thePublic
                                                                                                                            EDAâ€™s                      ov/fal/ https:/
                                                                                                                                                         https:/ usasp
                                                                                                   Works and Economic   Works program helps              /       /
                                                                                                   Development Facilities
                                                                                                                        distressed communities           sam.g www.
                                                                                                                        revitalize, expand, and          ov/fal/ usasp
                                                        Department of Commerce            11.302   Economic Development The Economic                     https:/ https:/
                                                                                                   Support for Planning Development Planning             /       /
                                                                                                   Organizations        Assistance program               sam.g www.
                                                        Department of Commerce            11.303   Economic Development provides  essentialthree
                                                                                                                        EDA administers                  ov/fal/
                                                                                                                                                         https:/ usasp
                                                                                                                                                                 https:/
                                                                                                   Technical Assistance     Technical Assistance         /       /
                                                                                                                            initiatives under this       sam.g www.
                                                                                                                            assistance listing: the      ov/fal/ usasp
                                                        Department of Commerce            11.307   Economic Adjustment      The EAA program              https:/ https:/
                                                                                                   Assistance               provides a wide range        /       /
                                                                                                                            of technical, planning,      sam.g www.
                                                        Department of Commerce            11.312   Research and             public works
                                                                                                                            Through        and
                                                                                                                                       the R&E           ov/fal/ https:/
                                                                                                                                                         https:/ usasp
                                                                                                   Evaluation Program       program, EDA supports        /       /
                                                                                                                            the development of           sam.g www.
                                                        Department of Commerce            11.313   Trade Adjustment         tools,
                                                                                                                            The Trade Adjustment         ov/fal/ https:/
                                                                                                                                                         https:/ usasp
                                                                                                   Assistance for Firms  Assistance for Firms            /       /
                                                                                                                         (TAAF) program helps            sam.g www.
                                                                                                                         import-impacted U.S.            ov/fal/ usasp
                                                        Department of Commerce            11.400   Geodetic Surveys and Two programs exist in            https:/ https:/
                                                                                                   Services (Geodesy and this CFDA:                      /       /
                                                                                                   Applications of the   A.The National                  sam.g www.
                                                        Department of Commerce            11.405   National  Geodetic
                                                                                                   Cooperative Institute Geodetic
                                                                                                                         To increaseSurvey
                                                                                                                                       the (NGS)         ov/fal/
                                                                                                                                                         https:/ usasp
                                                                                                                                                                 https:/
                                                                                                   (Inter-Agency Funded effectiveness of                 /       /
                                                                                                   Activities)           research and develop            sam.g www.
                                                        Department of Commerce            11.407   Interjurisdictional   innovative
                                                                                                                         To          approaches
                                                                                                                             assist States in            ov/fal/ https:/
                                                                                                                                                         https:/ usasp
                                                                                                   Fisheries Act of 1986    managing                     /       /
                                                                                                                            interjurisdictional          sam.g www.
                                                        Department of Commerce            11.408   Fishermen's               sheries
                                                                                                                            To        resources.
                                                                                                                               compensate     U.S.       ov/fal/ https:/
                                                                                                                                                         https:/ usasp
                                                                                                   Contingency Fund         commercial shermen           /       /
                                                                                                                            for damage/loss of           sam.g www.
                                                        Department of Commerce            11.413   Fishery Products          shing
                                                                                                                            To     gear
                                                                                                                                ensure   and
                                                                                                                                       that   50
                                                                                                                                            the          ov/fal/ https:/
                                                                                                                                                         https:/ usasp
                                                                                                   Inspection and           hygienic aspects of          /       /
                                                                                                   Certi cation             seafood harvesting and       sam.g www.
                                                                                                                            processing operations        ov/fal/ usasp
                                                        Department of Commerce            11.415   Fisheries Finance        Provides direct loans for    https:/ https:/
                                                                                                   Program                  certain sheries costs.       /       /
                                                                                                                            Vessel nancing               sam.g www.
                                                        Department of Commerce            11.417   Sea Grant Support        available
                                                                                                                            To supportforthe
                                                                                                                                           the           ov/fal/
                                                                                                                                                         https:/ usasp
                                                                                                                                                                 https:/
                                                                                                                            establishment and            /       /
                                                                                                                            operation of major           sam.g www.
                                                        Department of Commerce            11.419   Coastal Zone             university
                                                                                                                            To         centers
                                                                                                                               assist States infor       ov/fal/ https:/
                                                                                                                                                         https:/ usasp
                                                                                                   Management               implementing and             /       /
                                                                                                   Administration Awards    enhancing Coastal            sam.g www.
                                                                                                                            Zone Management and          ov/fal/ usasp
                                                        Department of Commerce            11.420   Coastal Zone             To assist States in the      https:/ https:/
                                                                                                   Management Estuarine development,                     /       /
                                                                                                   Research Reserves        acquisition, monitoring,     sam.g www.
                                                        Department of Commerce            11.426                            research,provides
                                                                                                   Financial Assistance for NCCOS     education,         ov/fal/ https:/
                                                                                                                                                         https:/ usasp
                                                                                                   National Centers for  research, scienti c             /       /
                                                                                                   Coastal Ocean Science information and tools to        sam.g www.
                                                                                                                         help balance the                ov/fal/ usasp
                                                        Department of Commerce            11.427   Fisheries Development To increase greatly the         https:/ https:/
                                                                                                   and Utilization       Nation's wealth and             /       /
                                                                                                   Research and          quality of life through         sam.g www.
                                                        Department of Commerce            11.429   Development    Grants
                                                                                                   Marine Sanctuary      sustainable
                                                                                                                         National marine sheries         ov/fal/
                                                                                                                                                         https:/ usasp
                                                                                                                                                                 https:/
                                                                                                   Program                 sanctuaries conduct           /       /
                                                                                                                           and support monitoring        sam.g www.
                                                        Department of Commerce            11.431   Climate and             programs   tailored to
                                                                                                                           Climate variability andthe    ov/fal/ https:/
                                                                                                                                                         https:/ usasp
                                                                                                   Atmospheric Research change present society           /       /
                                                                                                                           with signi cant               sam.g www.
                                                                                                                           economic, health,             ov/fal/ usasp
                                                        Department of Commerce            11.432   National Oceanic and    To increase the               https:/ https:/
                                                                                                   Atmospheric             effectiveness of              /       /
                                                                                                   Administration (NOAA) research and develop            sam.g www.
                                                        Department of Commerce            11.433   Cooperative
                                                                                                   Marine       Institutes To
                                                                                                          Fisheries        innovative
                                                                                                                              provide approaches
                                                                                                                                        nancial          ov/fal/ https:/
                                                                                                                                                         https:/ usasp
                                                                                                   Initiative               assistance for research      /       /
                                                                                                                            and development              sam.g www.
                                                                                                                            projects that will provide   ov/fal/ usasp
                                                        Department of Commerce            11.434   Cooperative Fishery      To maintain a                https:/ https:/
                                                                                                   Statistics               cooperative State and        /       /
                                                                                                                            Federal partnership to       sam.g www.
                                                        Department of Commerce            11.435   Southeast Area           provide a continuing
                                                                                                                            To maintain  a               ov/fal/
                                                                                                                                                         https:/ usasp
                                                                                                                                                                 https:/
                                                                                                   Monitoring and        cooperative program             /       /
                                                                                                   Assessment Program    which engages State             sam.g www.
                                                        Department of Commerce            11.436   Columbia River        and Federal
                                                                                                                         This   programagencies
                                                                                                                                          uses thein     ov/fal/ https:/
                                                                                                                                                         https:/ usasp
                                                                                                   Fisheries Development facilities and personnel        /       /
                                                                                                   Program               of State and Federal            sam.g www.
                                                                                                                          sheries agencies and           ov/fal/ usasp
                                                        Department of Commerce            11.437   Paci c Fisheries Data This cooperative                https:/ https:/
                                                                                                   Program               program provides                /       /
                                                                                                                         support to State shery          sam.g www.
                                                        Department of Commerce            11.438   Paci c Coast Salmon   agencies
                                                                                                                         This         to enhance
                                                                                                                                is a cooperative         ov/fal/ https:/
                                                                                                                                                         https:/ usasp
                                                                                                   Recovery Paci c         program that assists the /       /
                                                                                                   Salmon Treaty Program States in salmon           sam.g www.
                                                        Department of Commerce            11.439   Marine Mammal Data      restoration and in
                                                                                                                           Nondiscretionary         ov/fal/ usasp
                                                                                                                                                    https:/ https:/
                                                                                                   Program                 funding under this       /       /
                                                                                                                           authorization provides   sam.g www.
                                                                                                                           support to State         ov/fal/ usasp
                                                        Department of Commerce            11.440   Environmental           To advance and           https:/ https:/
                                                                                                   Sciences, Applications, promote applied          /       /
                                                                                                   Data, and Education     research, data           sam.g www.
                                                        Department of Commerce            11.441   Regional Fishery        assimilation
                                                                                                                           The          andof the
                                                                                                                                objectives          ov/fal/ https:/
                                                                                                                                                    https:/ usasp
                                                                                                   Management Councils      eight Regional Fishery       /       /
                                                                                                                            Management Councils          sam.g www.
                                                                                                                            are to prepare, monitor      ov/fal/ usasp
                                                        Department of Commerce            11.451   Gulf Coast Ecosystem     The mission of the           https:/ https:/
                                                                                                   Restoration Science,     National Oceanic and         /       /
                                                                                                   Observation,             Atmospheric                  sam.g www.
                                                        Department of Commerce            11.452   Monitoring,
                                                                                                   Unallied    and
                                                                                                            Industry        Administrationâ€™s
                                                                                                                            To provide grants and        ov/fal/ https:/
                                                                                                                                                         https:/ usasp
                                                                                                   Projects              cooperative agreements /          /
                                                                                                                         for biological, economic, sam.g www.
                                                        Department of Commerce            11.454   Unallied Management   sociological,
                                                                                                                         Projects      public
                                                                                                                                   provide         ov/fal/ usasp
                                                                                                                                                   https:/ https:/
                                                                                                   Projects              economic, sociological, /         /
                                                                                                                         public policy, and other sam.g www.
                                                                                                                         information needed by     ov/fal/ usasp
                                                        Department of Commerce            11.455   Cooperative Science   To support through        https:/ https:/
                                                                                                   and Education Program grants and cooperative /          /
                                                                                                                         agreements, enduring      sam.g www.
                                                        Department of Commerce            11.457   Chesapeake Bay        partnerships
                                                                                                                         To             between
                                                                                                                             provide nancial       ov/fal/ https:/
                                                                                                                                                   https:/ usasp
                                                                                                   Studies                 assistance for research       /       /
                                                                                                                           and development               sam.g www.
                                                                                                                           projects that will provide    ov/fal/ usasp
                                                        Department of Commerce            11.459   Weather and Air Quality Advance weather               https:/ https:/
                                                                                                   Research                research, development,        /       /
                                                                                                                           and transition to             sam.g www.
                                                        Department of Commerce            11.460   Special Oceanic and     improve
                                                                                                                           To       weather
                                                                                                                              strengthen  the            ov/fal/ https:/
                                                                                                                                                         https:/ usasp
                                                                                                   Atmospheric Projects     communication and            /       /
                                                                                                                            improve the impact of        sam.g www.
                                                        Department of Commerce            11.463   Habitat Conservation     hurricane,
                                                                                                                            To          ood, and
                                                                                                                               provide grants and        ov/fal/ https:/
                                                                                                                                                         https:/ usasp
                                                                                                                          cooperative agreements         /       /
                                                                                                                          for habitat conservation       sam.g www.
                                                                                                                          activities including           ov/fal/ usasp
                                                        Department of Commerce            11.467   Meteorologic and       To maintain a                  https:/ https:/
                                                                                                   Hydrologic             cooperative university         /       /
                                                                                                   Modernization          and Federal                    sam.g www.
                                                        Department of Commerce            11.468   Development
                                                                                                   Applied                partnerships
                                                                                                           Meteorological The            to conduct
                                                                                                                               Collaborative             ov/fal/ https:/
                                                                                                                                                         https:/ usasp
                                                                                                   Research               Science, Technology,           /       /
                                                                                                                          and Applied Research           sam.g www.
                                                        Department of Commerce            11.469   Congressionally        (CSTAR)     program
                                                                                                                          The objectives       from
                                                                                                                                           of the        ov/fal/
                                                                                                                                                         https:/ usasp
                                                                                                                                                                 https:/
                                                                                                   Identi ed Awards and     overall program are to       /     /
                                                                                                   Projects                 facilitate education,        sam.g www.
                                                        Department of Commerce            11.472   Unallied Science         research
                                                                                                                            To provideandgrants and  ov/fal/ usasp
                                                                                                                                                     https:/ https:/
                                                                                                   Program                  cooperative agreements /         /
                                                                                                                            of biological, socio-    sam.g www.
                                                        Department of Commerce            11.473   Of ce for Coastal        economic
                                                                                                                            To supportand   physical ov/fal/
                                                                                                                                        projects             usasp
                                                                                                                                                     https:/ https:/
                                                                                                   Management               aimed at developing a    /       /
                                                                                                                            science-based, multi-    sam.g www.
                                                                                                                            dimensional approach     ov/fal/ usasp




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                                                                                                                                                                              #: 60
                                         Department of Commerce                        11.474   Atlantic Coastal         To provide assistance to https:/ https:/
                                                                                                Fisheries Cooperative    eligible States and the  /       /
                                                                                                Management Act           Atlantic States Marine   sam.g www.
                                         Department of Commerce                        11.477   Fisheries Disaster       Fisheries
                                                                                                                         To         Commission
                                                                                                                             deal with commercial ov/fal/
                                                                                                                                                  https:/ usasp
                                                                                                                                                          https:/
                                                                                                Relief                    shery failures due to   /       /
                                                                                                                          shery resource          sam.g www.
                                         Department of Commerce                        11.478   Center for Sponsored     disasters.  Disaster
                                                                                                                         The Competitive          ov/fal/
                                                                                                                                                  https:/ usasp
                                                                                                                                                          https:/
                                                                                                Coastal Ocean           Research Program             /       /
                                                                                                Research Coastal        (CRP), part of the           sam.g www.
                                                                                                Ocean Program           National Oceanic and         ov/fal/ usasp
                                         Department of Commerce                        11.481   Educational Partnership To continue                  https:/ https:/
                                                                                                Program                 development of               /       /
                                                                                                                        education, research,         sam.g www.
                                         Department of Commerce                        11.482   Coral Reef              policy
                                                                                                                        To     and natural
                                                                                                                           provide matching          ov/fal/ https:/
                                                                                                                                                     https:/ usasp
                                                                                                Conservation Program     grants of nancial        /       /
                                                                                                                         assistance in support of sam.g www.
                                         Department of Commerce                        11.483   NOAA Programs for        coral
                                                                                                                         1.    reef conservation
                                                                                                                            Protect, Restore, and ov/fal/ usasp
                                                                                                                                                  https:/ https:/
                                                                                                Disaster Relief          Manage the Use of        /       /
                                                                                                Appropriations Act -     Coastal and Ocean        sam.g www.
                                                                                                Non-construction and     Resources through an     ov/fal/ usasp
                                         Department of Commerce                        11.553   Special Projects         To assist various        https:/ https:/
                                                                                                                         organizations identi ed /        /
                                                                                                                         by Congress or through sam.g www.
                                         Department of Commerce                        11.601   Calibration Program      non-competitive
                                                                                                                         To provide a consistent https:/ usasp
                                                                                                                                          grants  ov/fal/ https:/
                                                                                                                      system of physical             /       /
                                                                                                                      measurement in the             sam.g www.
                                                                                                                      United States of               ov/fal/ usasp
                                         Department of Commerce                        11.603   National Standard     To make evaluated              https:/ https:/
                                                                                                Reference Data System scienti c and technical        /       /
                                                                                                                      data readily available to      sam.g www.
                                         Department of Commerce                        11.604   Standard Reference    scientists,Reference
                                                                                                                      Standard   engineers,          ov/fal/ https:/
                                                                                                                                                     https:/ usasp
                                                                                                Materials             Materials are certi ed         /       /
                                                                                                                      and issued by NIST to          sam.g www.
                                         Department of Commerce                        11.606   Weights and Measures develop   accurate
                                                                                                                      To provide leadership          ov/fal/ https:/
                                                                                                                                                     https:/ usasp
                                                                                                Service               and technical resources        /       /
                                                                                                                      to assure the accuracy         sam.g www.
                                                                                                                      of the quantities and          ov/fal/ usasp
                                         Department of Commerce                        11.609   Measurement and       To provide scienti c and       https:/ https:/
                                                                                                Engineering Research engineering research            /       /
                                                                                                and Standards         and technology transfer        sam.g www.
                                         Department of Commerce                        11.610   Standards Information for measurement
                                                                                                                      To serve           and
                                                                                                                               as a standards        ov/fal/
                                                                                                                                                     https:/ usasp
                                                                                                                                                             https:/
                                                                                                Center                   and conformity              /       /
                                                                                                                         assessment information      sam.g www.
                                                                                                                         center and referral         ov/fal/ usasp
                                         Department of Commerce                        11.611   Manufacturing            Enhance                     https:/ https:/
                                                                                                Extension Partnership    competitiveness,            /       /
                                                                                                                         productivity, and           sam.g www.
                                         Department of Commerce                        11.617   Congressionally-         technological
                                                                                                                         To assist various           ov/fal/ https:/
                                                                                                                                                     https:/ usasp
                                                                                                Identi ed Projects       organizations identi ed     /       /
                                                                                                                         by Congress to achieve      sam.g www.
                                         Department of Commerce                        11.619   Arrangements for        objectives
                                                                                                                        To         speci
                                                                                                                           establish an ed by        ov/fal/ https:/
                                                                                                                                                     https:/ usasp
                                                                                                Interdisciplinary       strengthen new and/or        /       /
                                                                                                Research Infrastructure existing centers,            sam.g www.
                                                                                                                        consortia, or other          ov/fal/ usasp
                                         Department of Commerce                        11.620   Science, Technology,    To evaluate the bene ts      https:/ https:/
                                                                                                Business and/or         and impacts of NIST          /       /
                                                                                                Education Outreach      research and                 sam.g www.
                                         Department of Commerce                        11.802   Minority Business       development
                                                                                                                        The objectivesefforts
                                                                                                                                        of the       ov/fal/
                                                                                                                                                     https:/ usasp
                                                                                                                                                             https:/
                                                                                                Resource Development overall program are to          /       /
                                                                                                                     1) provide nancial              sam.g www.
                                         Department of Commerce                        11.804                        assistance
                                                                                                MBDA Business Center The  purposeawards
                                                                                                                                   of the for        ov/fal/ https:/
                                                                                                                                                     https:/ usasp
                                                                                                - American Indian andMBDA Business Center            /       /
                                                                                                Alaska Native        - Native American               sam.g www.
                                         Department of Commerce                        11.805                        Business
                                                                                                MBDA Business Center The       Enterprise
                                                                                                                         Minority Business           ov/fal/ https:/
                                                                                                                                                     https:/ usasp
                                                                                                                      Development Agency             /       /
                                                                                                                      (MBDA), a bureau of            sam.g www.
                                         Department of Commerce                        11.999                         theprovide
                                                                                                Marine Debris Program To  U.S. Department
                                                                                                                                  grants andof       ov/fal/ https:/
                                                                                                                                                     https:/ usasp
                                                                                                                      cooperative agreements         /       /
                                                                                                                      to help identify,              sam.g www.
                                                                                                                      determine sources of,          ov/fal/ usasp
                                         Department of Defense                         12.002   Procurement Technical Building a strong and          https:/ https:/
                                                                                                Assistance For        sustainable U.S. supply        /       /
                                                                                                Business Firms        chain and supporting a         sam.g www.
                                         Department of Defense                         12.003   Community Economic wide
                                                                                                                      Assistrange
                                                                                                                             Stateofand
                                                                                                                                      diverse
                                                                                                                                         local       ov/fal/
                                                                                                                                                     https:/ usasp
                                                                                                                                                             https:/
                                                                                                Adjustment Assistance governments to review          /       /
                                                                                                for Responding to       existing capabilities        sam.g www.
                                         Department of Defense                         12.004   Threats
                                                                                                Fort    to the Sentinel Objective
                                                                                                     Huachuca           supporting1:military
                                                                                                                                     Future          ov/fal/ https:/
                                                                                                                                                     https:/ usasp
                                                                                                Landscapes for Military external encroachment        /       /
                                                                                                Training                  mitigation through         sam.g www.
                                                                                                                          conservation of open       ov/fal/ usasp
                                         Department of Defense                         12.005   Conservation and          The Sikes Act attempts     https:/ https:/
                                                                                                Rehabilitation of Natural to ensure that sh,         /       /
                                                                                                Resources on Military wildlife and other             sam.g www.
                                         Department of Defense                         12.006   Installations
                                                                                                National   Defense        natural
                                                                                                                          To      resources
                                                                                                                             obtain          that
                                                                                                                                    support for      ov/fal/ https:/
                                                                                                                                                     https:/ usasp
                                                                                                Education Program        the management,             /       /
                                                                                                                         development,                sam.g www.
                                                                                                                         implementation,             ov/fal/ usasp
                                         Department of Defense                         12.007   Military Health Services The Military Health         https:/ https:/
                                                                                                Research (MHSR)          System Research             /       /
                                                                                                                         (MHSR) Program              sam.g www.
                                         Department of Defense                         12.008   Dredged Material         provides  intramural
                                                                                                                         inspect, ditch       and
                                                                                                                                        and drain    ov/fal/
                                                                                                                                                     https:/ usasp
                                                                                                                                                             https:/
                                                                                                Containment Area         dredged material            /       /
                                                                                                                         containment areas           sam.g www.
                                         Department of Defense                         12.010   Youth Conservation       related
                                                                                                                         To      to dredging
                                                                                                                            further training and     ov/fal/ https:/
                                                                                                                                                     https:/ usasp
                                                                                                Services                educational                  /       /
                                                                                                                        opportunities at water       sam.g www.
                                                                                                                        resources development        ov/fal/ usasp
                                         Department of Defense                         12.012   Management of           The purpose of the           https:/ https:/
                                                                                                Undersirable Plants on cooperative agreement         /       /
                                                                                                Federal Lands, 7 U.S.C. is to manage                 sam.g www.
                                         Department of Defense                         12.014   2814
                                                                                                OnRampII                undesirable
                                                                                                                        The   purposeplants
                                                                                                                                      of theon       ov/fal/ https:/
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                                                                                                                         OnRamp II program is        /       /
                                                                                                                         to foster educational       sam.g www.
                                                                                                                         partnerships between        ov/fal/ usasp
                                         Department of Defense                         12.015   Past Con ict             The Secretary of            https:/ https:/
                                                                                                Accounting - Vietnam     Defense, in                 /       /
                                                                                                                         coordination with the       sam.g www.
                                         Department of Defense                         12.016   Transportation - DASH    Secretary  of to
                                                                                                                         Objective is   State, is
                                                                                                                                          provide    ov/fal/
                                                                                                                                                     https:/ usasp
                                                                                                                                                             https:/
                                                                                                102X and WMATA 7M        Transportation between      /       /
                                                                                                Shuttles                 the Mark Center, the        sam.g www.
                                         Department of Defense                         12.017   Readiness and            Pentagon,
                                                                                                                         The       and the
                                                                                                                             Readiness   andCity     ov/fal/ https:/
                                                                                                                                                     https:/ usasp
                                                                                                Environmental            Environmental               /       /
                                                                                                Protection Integration   Protection Integration      sam.g www.
                                                                                                (REPI) Program           (REPI) Program funds        ov/fal/ usasp
                                         Department of Defense                         12.019   Paci c Center Disaster   1. Enable PDC to            https:/ https:/
                                                                                                (PDC) Program            stimulate research,         /       /
                                                                                                                         development,                sam.g www.
                                         Department of Defense                         12.020   STARBASE Program         evaluation
                                                                                                                         This        and
                                                                                                                              is a non               ov/fal/ https:/
                                                                                                                                                     https:/ usasp
                                                                                                                         discretionary award.        /       /
                                                                                                                         1. STARBASE 2.0 is          sam.g www.
                                         Department of Defense                         12.021   Army National Guard      an afterschool,
                                                                                                                         The             middle
                                                                                                                              Army Compatible        ov/fal/ https:/
                                                                                                                                                     https:/ usasp
                                                                                                Army Compatible Use      Use Buffer (ACUB)           /       /
                                                                                                Buffer Program           program provides            sam.g www.
                                                                                                                         assistance awards to        ov/fal/ usasp
                                         Department of Defense                         12.022   DoD Mentor-Protege       The Department of           https:/ https:/
                                                                                                Program                  Defense (DoD), Mentor       /       /
                                                                                                                         Protege Program was         sam.g www.
                                         Department of Defense                         12.024   Defense Security         established
                                                                                                                         The DefenseinSecurity
                                                                                                                                       October       ov/fal/ https:/
                                                                                                                                                     https:/ usasp
                                                                                                Cooperation University - Cooperation                 /       /
                                                                                                Sponsored Research       Agencyâ€™s (DSCA)           sam.g www.
                                                                                                                         Defense Security            ov/fal/ usasp
                                         Department of Defense                         12.025   Native American          Work with Tribal            https:/ https:/
                                                                                                Consultation to Identify representatives to          /       /
                                                                                                Sacred Sites and         identify sacred sites and   sam.g www.
                                         Department of Defense                         12.026   Traditional
                                                                                                Corps  WaterCultural     traditional
                                                                                                                         CWIFP       cultural
                                                                                                                                  enables  local     ov/fal/ https:/
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                                                                                                Infrastructure Financing investment in critical  /       /
                                                                                                Program (CWIFP)          non-Federal dam safety sam.g www.
                                         Department of Defense                         12.027   Defense Community        projects
                                                                                                                         Assist    thatand
                                                                                                                                 state  enhance
                                                                                                                                           local ov/fal/ usasp
                                                                                                                                                 https:/ https:/
                                                                                                Infrastructure Program governments with          /       /
                                                                                                                         addressing de ciencies sam.g www.
                                                                                                                         in community            ov/fal/ usasp
                                         Department of Defense                         12.029   Community Noise          Assist state and local  https:/ https:/
                                                                                                Mitigation Program       governments with        /       /
                                                                                                                         addressing military     sam.g www.
                                         Department of Defense                         12.113   State Memorandum of To    xed-wing   aviation
                                                                                                                             reimburse   each    ov/fal/ https:/
                                                                                                                                                 https:/ usasp
                                                                                                Agreement Program for State and territory for        /       /
                                                                                                the Reimbursement of their costs incurred by         sam.g www.
                                                                                                Technical Services     providing technical           ov/fal/ usasp
                                         Department of Defense                         12.114   Collaborative Research To facilitate productivity-   https:/ https:/
                                                                                                and Development        improving research and        /       /
                                                                                                                       development and               sam.g www.
                                         Department of Defense                         12.116                          application
                                                                                                Department of Defense For           of advanced
                                                                                                                           developing   a            ov/fal/ https:/
                                                                                                                                                     https:/ usasp
                                                                                                Appropriation Act of     system for prioritization /       /
                                                                                                2003                     of mitigation and cost to sam.g www.
                                         Department of Defense                         12.219   Ease 3.0                 complete
                                                                                                                         1.         estimates
                                                                                                                            Establish          for ov/fal/
                                                                                                                                      and ensure           usasp
                                                                                                                                                   https:/ https:/
                                                                                                                         successful, sustainable, /        /
                                                                                                                         and effective methods     sam.g www.
                                                                                                                         to improve voting         ov/fal/ usasp
                                         Department of Defense                         12.225   Commercial               In partnership with       https:/ https:/
                                                                                                Technologies for         industry, the goal of the /       /
                                                                                                Maintenance Activities   CTMA program is to        sam.g www.
                                         Department of Defense                         12.300   Program
                                                                                                Basic and Applied        leverage
                                                                                                                         To        and
                                                                                                                             support andadvance    ov/fal/ https:/
                                                                                                                                                   https:/ usasp
                                                                                                Scienti c Research       stimulate basic and         /     /
                                                                                                                         applied research and        sam.g www.
                                         Department of Defense                         12.330   Science, Technology,     technology  at
                                                                                                                         To support educational   ov/fal/
                                                                                                                                                  https:/ usasp
                                                                                                                                                          https:/
                                                                                                Engineering &            programs in Science,     /       /
                                                                                                Mathematics (STEM)       Technology,              sam.g www.
                                         Department of Defense                         12.333   Education, Outreach
                                                                                                Advanced                 Engineering
                                                                                                                         OSD   ManTechandprovides ov/fal/ usasp
                                                                                                                                                  https:/ https:/
                                                                                                Manufacturing            federal nancial          /       /
                                                                                                Technology - Of ce of    assistance for basic,    sam.g www.
                                         Department of Defense                         12.335   the Secretary
                                                                                                Navy  Command,of         applied,
                                                                                                                         To       and
                                                                                                                            support   advanced
                                                                                                                                    basic  and    ov/fal/ https:/
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                                                                                                Control,                 applied research at         /       /
                                                                                                Communications,          educational, nonpro t,      sam.g www.
                                                                                                Computers,               or commercial research      ov/fal/ usasp




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                          Department of Defense              12.340   Naval Medical         To enhance the health,             https:/ https:/
                                                                      Research and          safety, readiness, and             /       /
                                                                      Development           performance of Navy                sam.g www.
                          Department of Defense              12.350                         andtrain
                                                                      Department of Defense To   Marine
                                                                                                     and Corps
                                                                                                          assist               ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                      HIV/AIDS Prevention   selected foreign                   /       /
                                                                      Program               militaries in establishing         sam.g www.
                          Department of Defense              12.351   Scienti c Research -  and  implementing
                                                                                            To support   and     HIV/          ov/fal/
                                                                                                                               https:/ usasp
                                                                                                                                       https:/
                                                                      Combating Weapons of stimulate basic, applied            /       /
                                                                      Mass Destruction     and advanced research               sam.g www.
                                                                                           at educational or                   ov/fal/ usasp
                          Department of Defense              12.355   Pest Management and Research designed to                 https:/ https:/
                                                                      Vector Control       develop new                         /       /
                                                                      Research             interventions for                   sam.g www.
                          Department of Defense              12.357   ROTC Language and    protection
                                                                                           Project GOof(Global
                                                                                                        deployed               ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                      Culture Training Grants Of cers) is a DoD-               /       /
                                                                                              funded initiative that           sam.g www.
                          Department of Defense              12.360   Research on Chemical To promotes
                                                                                                 further critical
                                                                                                         the capability        ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                      and Biological Defense to prevent, detect,               /       /
                                                                                             diagnose and treat the            sam.g www.
                                                                                             effects of chemical,              ov/fal/ usasp
                          Department of Defense              12.369   Marine Corps Systems To reduce the demand                https:/ https:/
                                                                      Command Federal        for illegal drugs among           /       /
                                                                      Assistance Program     Americaâ€™s youth by              sam.g www.
                          Department of Defense              12.400   Military Construction, providing   standardized
                                                                                             This is a non-                    ov/fal/
                                                                                                                               https:/ usasp
                                                                                                                                       https:/
                                                                      National Guard          discretionary award. To          /       /
                                                                                              provide Congressionally          sam.g www.
                                                                                              mandated assistance to           ov/fal/ usasp
                          Department of Defense              12.401   National Guard Military This is a non-                   https:/ https:/
                                                                      Operations and          discretionary program.           /       /
                                                                      Maintenance (O&M)       The National Guard               sam.g www.
                          Department of Defense              12.404   Projects
                                                                      National Guard          Bureau
                                                                                              This is a(NGB)
                                                                                                        non enters             ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                      ChalleNGe Program       discretionary program.           /       /
                                                                                              The Secretary of                 sam.g www.
                          Department of Defense              12.420   Military Medical        Defense,the
                                                                                              Through    acting through
                                                                                                            support  of        ov/fal/ https:/
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                                                                      Research and                basic, applied, and          /       /
                                                                      Development                 advanced biomedical          sam.g www.
                                                                                                  research: (1) to             ov/fal/ usasp
                          Department of Defense              12.431   Basic Scienti c             To support basic             https:/ https:/
                                                                      Research                    research, and enhance        /       /
                                                                                                  fundamental knowledge        sam.g www.
                          Department of Defense              12.440   Dissertation Year           in
                                                                                                  ThetheU.S.
                                                                                                         chemical, life,
                                                                                                             Army Center       ov/fal/
                                                                                                                               https:/ usasp
                                                                                                                                       https:/
                                                                      Fellowship                  of Military History          /       /
                                                                                                  Dissertation Year            sam.g www.
                                                                                                  Fellowship program is        ov/fal/ usasp
                          Department of Defense              12.460   Fisher House                To implement                 https:/ https:/
                                                                      Foundation                  Congressionally-             /       /
                                                                                                  directed assistance to       sam.g www.
                          Department of Defense              12.501   Training and Support        thesupport
                                                                                                  To  Fisher House
                                                                                                               and             ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                      â€“ Combating         stimulate training and             /       /
                                                                      Weapons of Mass       collaborative efforts for          sam.g www.
                          Department of Defense              12.550   Destruction           solutions
                                                                      The Language Flagship (1)       to combat
                                                                                                To establish      or
                                                                                                             centers           ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                      Grants to Institutions of for the teaching of            /       /
                                                                      Higher Education          critical languages that        sam.g www.
                                                                                                enable students to             ov/fal/ usasp
                          Department of Defense              12.551   National Security         (1) To provide the             https:/ https:/
                                                                      Education Program         necessary resources,           /       /
                                                                      David L. Boren            accountability and             sam.g www.
                          Department of Defense              12.552   Scholarships
                                                                      National Security          exibility
                                                                                                (1)        to meet
                                                                                                     To provide thethe         ov/fal/
                                                                                                                               https:/ usasp
                                                                                                                                       https:/
                                                                      Education Program           necessary resources,         /       /
                                                                      David L. Boren              accountability and           sam.g www.
                          Department of Defense              12.554   Fellowships
                                                                      English for Heritage         exibility
                                                                                                  The Englishto meet
                                                                                                                for the        ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                      Language Speakers           Heritage Language            /     /
                                                                      Grants to U.S.              Speakers (EHLS)              sam.g www.
                          Department of Defense              12.556   Institutions ofGrants:
                                                                      Competitive     Higher      program
                                                                                                  The      is designed to
                                                                                                       DoDEA              ov/fal/ usasp
                                                                                                                          https:/ https:/
                                                                      Promoting K-12 Student Educational Partnership /            /
                                                                      Achievement at Military- Grant Program provide sam.g www.
                          Department of Defense              12.558   Connected Schools
                                                                      Department               resources for local
                                                                                 of Defense Reimbursement        to local ov/fal/ usasp
                                                                                                                          https:/ https:/
                                                                      Impact Aid               educational agencies       /       /
                                                                      (Supplement, CWSD,       (LEAs) for education       sam.g www.
                                                                      BRAC)                    related costs for military ov/fal/ usasp
                          Department of Defense              12.560   DOD, NDEP, DOTC-         To obtain support for      https:/ https:/
                                                                      STEM Education           the management,            /       /
                                                                      Outreach                 development, and           sam.g www.
                          Department of Defense              12.579   Implementation
                                                                      Language Training        furthering
                                                                                               The Language Training https:/ usasp
                                                                                                          of new  and     ov/fal/ https:/
                                                                      Center                 Center Program is a      /       /
                                                                                             DOD-funded initiative    sam.g www.
                          Department of Defense              12.599   Congressionally        thatimplement
                                                                                             To   seeks to accelerate ov/fal/ usasp
                                                                                                                      https:/ https:/
                                                                      Directed Assistance    Congressionally          /       /
                                                                                             directed assistance for  sam.g www.
                                                                                             the purposes identi ed ov/fal/ usasp
                          Department of Defense              12.600   Community Investment To provide assistance      https:/ https:/
                                                                                             authorized by statute.   /       /
                                                                                                                      sam.g www.
                          Department of Defense              12.604                                                   ov/fal/ https:/
                                                                      Community Economic To provide assistance to https:/     usasp
                                                                      Adjustment Assistance State and local           /       /
                                                                      for Reductions in      governments affected     sam.g www.
                                                                      Defense Spending       by qualifying            ov/fal/ usasp
                          Department of Defense              12.607   Community Economic Assist States and local https:/ https:/
                                                                      Adjustment Assistance governments to: plan      /       /
                                                                      for Realignment or     and carry out            sam.g www.
                          Department of Defense              12.610   Closure  of a Military adjustment  strategies;
                                                                      Community Economic Provide technical and        ov/fal/
                                                                                                                      https:/ usasp
                                                                                                                              https:/
                                                                      Adjustment Assistance   nancial assistance to            /       /
                                                                      for Compatible Use and state and local                   sam.g www.
                          Department of Defense              12.611   Joint Land Use
                                                                      Community      Studies Assist
                                                                                  Economic   governments   to plan
                                                                                                    States and  local          ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                      Adjustment Assistance governments to plan                /       /
                                                                      for Reductions in       and carry out                    sam.g www.
                                                                      Defense Industry        community adjustment             ov/fal/ usasp
                          Department of Defense              12.614   Community Economic Assist State and local                https:/ https:/
                                                                      Adjustment Assistance governments to lessen              /       /
                                                                      for Advance Planning    an area's dependence             sam.g www.
                          Department of Defense              12.615   and Economic
                                                                      Research                on make
                                                                                and Technical To defense
                                                                                                       awards to, or           ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                      Assistance                  conclude cooperative         /       /
                                                                                                  agreements with States       sam.g www.
                                                                                                  or local governments, or     ov/fal/ usasp
                          Department of Defense              12.617   Economic Adjustment         To provide technical         https:/ https:/
                                                                      Assistance for State        and nancial assistance       /       /
                                                                      Governments                 to a State, or an entity     sam.g www.
                          Department of Defense              12.618   Community Economic          of State
                                                                                                  Assist   government,
                                                                                                         States  and localto   ov/fal/
                                                                                                                               https:/ usasp
                                                                                                                                       https:/
                                                                      Adjustment Assistance       governments to: plan         /       /
                                                                      for Establishment or        and carry out local          sam.g www.
                          Department of Defense              12.620   Expansion
                                                                      Troops      of a Military
                                                                              to Teachers         adjustments
                                                                                                  The goal is toinfacilitate
                                                                                                                   local       ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                      Grant Program               employment of eligible       /       /
                                                                                                  members of the armed         sam.g www.
                                                                                                  forces in schools            ov/fal/ usasp
                          Department of Defense              12.630   Basic, Applied, and         To: (1) Support basic,       https:/ https:/
                                                                      Advanced Research in        applied, or advanced         /       /
                                                                      Science and                 research in                  sam.g www.
                          Department of Defense              12.631   Engineering
                                                                      Science, Technology,        mathematical,
                                                                                                  To partner withphysical,
                                                                                                                  like-        ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                      Engineering and             minded organizations in /            /
                                                                      Mathematics (STEM)          managing the SMART           sam.g www.
                          Department of Defense              12.632   Educational
                                                                      Legacy      Program:
                                                                             Resource             scholarship
                                                                                                  The   missionprogram
                                                                                                                 of the DoD ov/fal/    usasp
                                                                                                                               https:/ https:/
                                                                      Management Program          Legacy Program is to         /       /
                                                                                                  provide coordinated,         sam.g www.
                                                                                                  Department-wide, and         ov/fal/ usasp
                          Department of Defense              12.740   Past Con ict                The United States has        https:/ https:/
                                                                      Accounting                  made a sacred promise /              /
                                                                                                  to its citizens that it will sam.g www.
                          Department of Defense              12.750   Uniformed Services          bringmission
                                                                                                  The    home with    dignity https:/
                                                                                                                 of the        ov/fal/ https:/
                                                                                                                                       usasp
                                                                      University Medical        Uniformed Services             /       /
                                                                      Research Projects         University of Health           sam.g www.
                                                                                                Sciences is to educate,        ov/fal/ usasp
                          Department of Defense              12.777   Defense Production Act To create, maintain,              https:/ https:/
                                                                      Title III (DPA Title III) protect, expand, or            /       /
                                                                                                restore domestic               sam.g www.
                          Department of Defense              12.800   Air Force Defense         industrial
                                                                                                To maintainbase                ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                      Research Sciences        technological superiority /        /
                                                                      Program                  in the scienti c areas     sam.g www.
                          Department of Defense              12.801   Air Force Academy        relevant
                                                                                               To  operateto Air
                                                                                                             andForce
                                                                                                                  support ov/fal/ usasp
                                                                                                                          https:/ https:/
                                                                      Athletic Programs        the United States Air      /       /
                                                                                               Force Academy athletic sam.g www.
                                                                                               program.                   ov/fal/ usasp
                          Department of Defense              12.810   Air Force Medical        To enhance the health, https:/ https:/
                                                                      Research and             safety, readiness, and     /       /
                                                                      Development              performance of Air         sam.g www.
                          Department of Defense              12.840                            Force
                                                                      Civil Air Patrol Program The    personnel
                                                                                                     purposes    of the   ov/fal/ https:/
                                                                                                                          https:/ usasp
                                                                                               Civil Air Patrol are: to   /       /
                                                                                               encourage and aid          sam.g www.
                                                                                               citizens of the United     ov/fal/ usasp
                          Department of Defense              12.900   Language Grant           STARTALK is a federal https:/ https:/
                                                                      Program                  grant program that         /       /
                                                                                               provides funding and       sam.g www.
                          Department of Defense              12.901   Mathematical Sciences 1. support   to institutions
                                                                                                   The NSA    grants to https:/
                                                                                                                          ov/fal/ https:/
                                                                                                                                  usasp
                                                                      Grants                      program seeks to         /       /
                                                                                                  stimulate new and        sam.g www.
                          Department of Defense              12.902   Information Security        important
                                                                                                  The       developments
                                                                                                      DoD Cyber    Service ov/fal/ usasp
                                                                                                                           https:/ https:/
                                                                      Grants                      Academy; formerly the    /       /
                                                                                                  DoD Cyber Scholarship sam.g www.
                                                                                                  Program was              ov/fal/ usasp
                          Department of Defense              12.903   GenCyber Grants             The GenCyber Program https:/ https:/
                                                                      Program                     provides summer          /       /
                                                                                                  cybersecurity camp       sam.g www.
                          Department of Defense              12.905   CyberSecurity Core          experiences
                                                                                                  To           fornational https:/
                                                                                                     meet future           ov/fal/ https:/
                                                                                                                                   usasp
                                                                      Curriculum                  security challenges, the     /       /
                                                                                                  NSA (and other DoD           sam.g www.
                          Department of Defense              12.910   Research and                and Federaland
                                                                                                  To support   Agencies/       ov/fal/
                                                                                                                               https:/ usasp
                                                                                                                                       https:/
                                                                      Technology                  stimulate basic              /       /
                                                                      Development                 research, applied            sam.g www.
                          Department of Defense              12.987   Upper San Pedro             research
                                                                                                  To        and
                                                                                                     assist in theadvanced     ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                      Partnership Support     execution of the Upper           /       /
                                                                                              San Pedro                        sam.g www.
                          Department of Education            84.002                           Partnershipâ€™s
                                                                      Adult Education - Basic To  fund local programs          ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                      Grants to States        of adult education and           /       /
                                                                                              literacy services,               sam.g www.
                                                                                              including workplace              ov/fal/ usasp




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               Department of Education        84.004   Civil Rights Training      To provide technical         https:/ https:/
                                                       and Advisory Services      assistance and training      /       /
                                                       (also known as Equity      services to school           sam.g www.
               Department of Education        84.007   Assistance
                                                       Federal     Centers)
                                                                Supplemental   districts
                                                                               To provideandneed-based
                                                                                             other             ov/fal/ https:/
                                                                                                               https:/ usasp
                                                       Educational Opportunity grant aid to eligible           /       /
                                                       Grants                  undergraduate                   sam.g www.
               Department of Education        84.010   Title I Grants to Local postsecondary
                                                                               To help local students          ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                       Educational Agencies    educational agencies            /       /
                                                                               (LEAs) improve                  sam.g www.
                                                                               teaching and learning in        ov/fal/ usasp
               Department of Education        84.011   Migrant Education State To assist States in             https:/ https:/
                                                       Grant Program           ensuring that migratory         /       /
                                                                               children have the               sam.g www.
               Department of Education        84.013   Title I State Agency    opportunity
                                                                               To          to meet the
                                                                                  help provide                 ov/fal/ https:/
                                                                                                               https:/ usasp
                                                       Program for Neglected educational continuity            /       /
                                                       and Delinquent Children for neglected and               sam.g www.
               Department of Education        84.015   and Youth
                                                       National Resource       delinquentTochildren
                                                                               Centers:     promote and        ov/fal/ https:/
                                                                                                               https:/ usasp
                                                       Centers Program for     instruction in modern           /       /
                                                       Foreign Language and foreign languages and              sam.g www.
                                                       Area Studies or Foreign area and international          ov/fal/ usasp
               Department of Education        84.016   Undergraduate           The Undergraduate               https:/ https:/
                                                       International Studies   International Studies           /       /
                                                       and Foreign Language and Foreign Language               sam.g www.
               Department of Education        84.017   Programs
                                                       International Research Program
                                                                               To improvesupports
                                                                                            foreign            ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                       and Studies                language, area, and          /       /
                                                                                  other international          sam.g www.
                                                                                  studies training through     ov/fal/ usasp
               Department of Education        84.018   Overseas Programs          To increase mutual           https:/ https:/
                                                       Special Bilateral          understanding and            /       /
                                                       Projects                   knowledge between the        sam.g www.
               Department of Education        84.019   Overseas Programs -        people
                                                                                  To      of the to
                                                                                     contribute  United
                                                                                                    the        ov/fal/ https:/
                                                                                                               https:/ usasp
                                                       Faculty Research      development and                   /       /
                                                       Abroad                improvement of modern             sam.g www.
               Department of Education        84.021   Overseas Programs -   foreign
                                                                             To      language
                                                                                 contribute      and
                                                                                            to the             ov/fal/ https:/
                                                                                                               https:/ usasp
                                                       Group Projects Abroad development and                   /       /
                                                                             improvement of the                sam.g www.
                                                                             study of modern foreign           ov/fal/ usasp
               Department of Education        84.022   Overseas Programs -   To provide opportunities          https:/ https:/
                                                       Doctoral Dissertation for graduate students to          /       /
                                                       Research Abroad       engage in full-time               sam.g www.
               Department of Education        84.027   Special Education     dissertation research
                                                                             To provide grants   to            ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                       Grants to States           States to assist them in     /       /
                                                                                  providing special            sam.g www.
                                                                                  education and related        ov/fal/ usasp
               Department of Education        84.031   Higher Education           To help eligible colleges    https:/ https:/
                                                       Institutional Aid          and universities to          /       /
                                                                                  strengthen their             sam.g www.
               Department of Education        84.033   Federal Work-Study         management
                                                                                  To             and scal
                                                                                     provide part-time         ov/fal/ https:/
                                                                                                               https:/ usasp
                                                       Program                    employment to eligible   /       /
                                                                                  postsecondary students sam.g www.
               Department of Education        84.040   Impact Aid Facilities      to help
                                                                                  To       meetschool
                                                                                     maintain              ov/fal/ usasp
                                                                                                           https:/ https:/
                                                       Maintenance                facilities used to serve /       /
                                                                                  federally connected      sam.g www.
                                                                                  military dependent       ov/fal/ usasp
               Department of Education        84.041   Impact Aid                 To provide nancial       https:/ https:/
                                                                                  assistance to local      /       /
                                                                                  educational agencies     sam.g www.
               Department of Education        84.042   TRIO Student Support       (LEAs)    where affected
                                                                                  To provide supportive    ov/fal/
                                                                                                           https:/ usasp
                                                                                                                   https:/
                                                       Services                   services to                  /       /
                                                                                  disadvantaged college        sam.g www.
               Department of Education        84.044   TRIO Talent Search         students
                                                                                  To identifytoquali
                                                                                                enhance
                                                                                                     ed        ov/fal/ https:/
                                                                                                               https:/ usasp
                                                                                  disadvantaged youths         /     /
                                                                                  with potential for           sam.g www.
               Department of Education        84.047   TRIO Upward Bound          postsecondary
                                                                                  To generate skills andov/fal/ usasp
                                                                                                        https:/ https:/
                                                                               motivation necessary     /       /
                                                                               for success in education sam.g www.
               Department of Education        84.048   Career and Technical    beyond
                                                                               To       highmore
                                                                                   develop    school
                                                                                                  fully ov/fal/ usasp
                                                                                                        https:/ https:/
                                                       Education -- Basic      the academic             /       /
                                                       Grants to States        knowledge and            sam.g www.
                                                                               technical and            ov/fal/ usasp
               Department of Education        84.051   Career and Technical    To provide support,      https:/ https:/
                                                       Education -- National   directly or through      /       /
                                                       Programs                grants, contracts, or    sam.g www.
               Department of Education        84.060                           cooperative
                                                       Indian Education Grants To address (1) the       ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                       to Local Educational       unique educational and       /       /
                                                       Agencies                   culturally related           sam.g www.
               Department of Education        84.063   Federal Pell Grant         academic
                                                                                  To provideneeds
                                                                                               eligibleof      ov/fal/ https:/
                                                                                                               https:/ usasp
                                                       Program                    undergraduate                /       /
                                                                                  postsecondary students       sam.g www.
                                                                                  who have demonstrated        ov/fal/ usasp
               Department of Education        84.066   TRIO Educational           To provide information       https:/ https:/
                                                       Opportunity Centers        on nancial and               /       /
                                                                                  academic assistance          sam.g www.
               Department of Education        84.101   Career and Technical       available
                                                                                  To        for quali ed
                                                                                     make grants,              ov/fal/ https:/
                                                                                                               https:/ usasp
                                                       Education - Grants to      cooperative                  /       /
                                                       Native Americans and       agreements, or enter         sam.g www.
                                                       Alaska Natives             into contracts with          ov/fal/ usasp
               Department of Education        84.103   TRIO Staff Training        To provide training for      https:/ https:/
                                                       Program                    staff and leadership         /       /
                                                                                  personnel employed in,       sam.g www.
               Department of Education        84.116   Fund for the               or
                                                                                  To preparing for
                                                                                     provide assistance   to   ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                       Improvement of             support institutional        /       /
                                                       Postsecondary              reforms and innovative       sam.g www.
               Department of Education        84.120   Education
                                                       Minority Science and       strategies
                                                                                  To         designed
                                                                                     (1) effect         to
                                                                                                long-range     ov/fal/ https:/
                                                                                                               https:/ usasp
                                                       Engineering              improvement in science         /       /
                                                       Improvement              and engineering                sam.g www.
                                                                                education at                   ov/fal/ usasp
               Department of Education        84.126   Rehabilitation Services To assist States in             https:/ https:/
                                                       Vocational               operating                      /       /
                                                       Rehabilitation Grants to comprehensive,                 sam.g www.
               Department of Education        84.129   States
                                                       Rehabilitation Long-     coordinated,
                                                                                To           effective,
                                                                                   support projects  to        ov/fal/ https:/
                                                                                                               https:/ usasp
                                                       Term Training          provide academic                 /       /
                                                                              training in areas of             sam.g www.
                                                                              personnel shortages              ov/fal/ usasp
               Department of Education        84.141   Migrant Education High To assist students who           https:/ https:/
                                                       School Equivalency     are engaged, or whose            /       /
                                                       Program                immediate family is              sam.g www.
               Department of Education        84.144   Migrant Education      engaged,
                                                                              To providein nancial
                                                                                            migrant            ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                       Coordination Program       incentives to State          /       /
                                                                                  Educational Agencies         sam.g www.
               Department of Education        84.145   Federal Real Property      (SEAs)
                                                                                  To      to participate
                                                                                     convey  surplus in        ov/fal/ https:/
                                                                                                               https:/ usasp
                                                       Assistance Program         Federal Real Property        /       /
                                                                                  for educational              sam.g www.
                                                                                  purposes at fair market      ov/fal/ usasp
               Department of Education        84.149   Migrant Education          To assist students who       https:/ https:/
                                                       College Assistance         are engaged, or whose        /       /
                                                       Migrant Program            immediate family is          sam.g www.
               Department of Education        84.153   Business and               engaged,
                                                                                  To  promotein innovation
                                                                                                 migrant       ov/fal/ https:/
                                                                                                               https:/ usasp
                                                       International Education and improvement in              /       /
                                                       Projects                  international business        sam.g www.
               Department of Education        84.160                             education
                                                       Training Interpreters for To supportcurricula
                                                                                            projects at
                                                                                                     that      ov/fal/ https:/
                                                                                                               https:/ usasp
                                                       Individuals who are        increase the numbers         /       /
                                                       Deaf and Individuals       and improve the skills of    sam.g www.
                                                       who are Deaf-Blind         manual, tactile, oral,       ov/fal/ usasp
               Department of Education        84.161   Rehabilitation Services    To establish and carry       https:/ https:/
                                                       Client Assistance          out client assistance        /       /
                                                       Program                    programs in each State       sam.g www.
               Department of Education        84.165   Magnet Schools             andprovide
                                                                                  To   at the protection
                                                                                              grants to        ov/fal/ https:/
                                                                                                               https:/ usasp
                                                       Assistance              eligible local                  /       /
                                                                               educational agencies            sam.g www.
                                                                               (LEAs) to establish and         ov/fal/ usasp
               Department of Education        84.173   Special Education       To provide grants to            https:/ https:/
                                                       Preschool Grants        States to assist them in        /       /
                                                                               providing special               sam.g www.
               Department of Education        84.177                           education
                                                       Rehabilitation Services To  provideand
                                                                                           any related         ov/fal/ https:/
                                                                                                               https:/ usasp
                                                       Independent Living      independent living              /       /
                                                       Services for Older      services that are               sam.g www.
               Department of Education        84.181   Individuals
                                                       Special     Who are
                                                               Education-      described
                                                                               To  providein  34 CFR
                                                                                           grants to           ov/fal/ https:/
                                                                                                               https:/ usasp
                                                       Grants for Infants and States to assist them to         /       /
                                                       Families               implement and maintain           sam.g www.
                                                                              a Statewide,                     ov/fal/ usasp
               Department of Education        84.184   School Safely National To improve students'             https:/ https:/
                                                       Activities             safety and well-being            /       /
                                                                              during and after the             sam.g www.
               Department of Education        84.187   Supported Employment Toschool day.
                                                                                 assist States in              ov/fal/ https:/
                                                                                                               https:/ usasp
                                                       Services for Individuals
                                                                              developing collaborative         /       /
                                                       with the Most          programs with                    sam.g www.
                                                       Signi cant Disabilitiesappropriate public and           ov/fal/ usasp
               Department of Education        84.191   Adult Education        To support applied               https:/ https:/
                                                       National Leadership    research, development,           /       /
                                                       Activities             demonstration,                   sam.g www.
               Department of Education        84.196                          dissemination,
                                                       Education for Homeless To ensure that all               ov/fal/ https:/
                                                                                                               https:/ usasp
                                                       Children and Youth     homeless children and            /       /
                                                                              youth have equal                 sam.g www.
               Department of Education        84.200                          access
                                                       Graduate Assistance in To      to the
                                                                                 provide      same
                                                                                          fellowships          ov/fal/ https:/
                                                                                                               https:/ usasp
                                                       Areas of National Need through graduate                 /       /
                                                                              academic departments,            sam.g www.
                                                                              programs, and units of           ov/fal/ usasp
               Department of Education        84.206   Javits Gifted and      To promote and initiate          https:/ https:/
                                                       Talented Students      a coordinated program            /       /
                                                       Education              of evidence-based                sam.g www.
               Department of Education        84.215                          research,
                                                       Innovative Approaches The   Innovative                  ov/fal/ https:/
                                                                                                               https:/ usasp
                                                       to Literacy; Promise       Approaches to Literacy       /       /
                                                       Neighborhoods; Full-       program supports high-       sam.g www.
               Department of Education        84.217   Service  Community
                                                       TRIO McNair    Post-       quality programs
                                                                                  To provide grants for        ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                       Baccalaureate             institutions of higher        /       /
                                                       Achievement               education to prepare          sam.g www.
               Department of Education        84.220                             participants
                                                       Centers for International To provide afor doctoral      ov/fal/ https:/
                                                                                                               https:/ usasp
                                                       Business Education         comprehensive                /       /
                                                                                  university approach to       sam.g www.
               Department of Education        84.229   Language Resource          improve
                                                                                  To       thegrants
                                                                                     provide   teaching
                                                                                                     for of    ov/fal/ https:/
                                                                                                               https:/ usasp
                                                       Centers                    establishing,                /       /
                                                                                  strengthening, and           sam.g www.
                                                                                  operating centers that       ov/fal/ usasp




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     Department of Education            84.235   Rehabilitation Services To provide nancial             https:/ https:/
                                                 Demonstration and       assistance to projects         /       /
                                                 Training Programs       and demonstrations for         sam.g www.
     Department of Education            84.240   Program of Protection Toexpanding  and for
                                                                            provide grants              ov/fal/ https:/
                                                                                                        https:/ usasp
                                                 and Advocacy of           States, and to the           /       /
                                                 Individual Rights         eligible system serving      sam.g www.
     Department of Education            84.245   Tribally Controlled       the American
                                                                           To make       Indian
                                                                                     grants to          ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                 Postsecondary Career      eligible tribally            /       /
                                                 and Technical             controlled                   sam.g www.
                                                 Institutions              postsecondary career         ov/fal/ usasp
     Department of Education            84.246   Rehabilitation Short-     To support special           https:/ https:/
                                                 Term Training             seminars, institutes,        /       /
                                                                           workshops, and other         sam.g www.
     Department of Education            84.250   American Indian           short-term
                                                                           To           courses
                                                                               make grants       in
                                                                                             to the     ov/fal/ https:/
                                                                                                        https:/ usasp
                                                 Vocational              governing bodies of            /       /
                                                 Rehabilitation Services Indian tribes (and             sam.g www.
     Department of Education            84.259                           consortia
                                                 Native Hawaiian Career To          of suchto
                                                                            make grants                 ov/fal/ https:/
                                                                                                        https:/ usasp
                                                 and Technical             community-based              /       /
                                                 Education                 organizations primarily      sam.g www.
                                                                           serving and                  ov/fal/ usasp
     Department of Education            84.263   Innovative                This program is              https:/ https:/
                                                 Rehabilitation Training   designed to: (a)             /       /
                                                                           Develop new types of         sam.g www.
     Department of Education            84.264   Rehabilitation Training   training programs
                                                                           To increase        for
                                                                                        the number      ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                 Technical Assistance      and quality of               /       /
                                                 Centers                   employment outcomes          sam.g www.
                                                                           for individuals with         ov/fal/ usasp
     Department of Education            84.268   Federal Direct Student    To provide loan capital      https:/ https:/
                                                 Loans                     directly from the            /       /
                                                                           Federal government to        sam.g www.
     Department of Education            84.274   American Overseas         vocational,
                                                                           To enable American           ov/fal/ https:/
                                                                                                        https:/ usasp
                                                 Research Centers          Overseas Research            /       /
                                                                           Centers, that are            sam.g www.
     Department of Education            84.282   Charter Schools           consortia
                                                                           The       of higher
                                                                               program   supports       ov/fal/ https:/
                                                                                                        https:/ usasp
                                                                           startup of new charter       /       /
                                                                           schools and the              sam.g www.
                                                                           replication and              ov/fal/ usasp
     Department of Education            84.283   Comprehensive             This program supports        https:/ https:/
                                                 Centers                   no fewer than 20             /       /
                                                                           comprehensive centers        sam.g www.
     Department of Education            84.287   Twenty-First Century      that provideopportunities
                                                                           To provide   training,       ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                 Community Learning        for communities to           /       /
                                                 Centers                   establish or expand          sam.g www.
                                                                           activities in community      ov/fal/ usasp
     Department of Education            84.295   Ready-To-Learn            To facilitate student        https:/ https:/
                                                 Television                academic achievement         /       /
                                                                           by developing                sam.g www.
     Department of Education            84.299   Indian Education --       educational
                                                                           Funds support two            ov/fal/ https:/
                                                                                                        https:/ usasp
                                                 Special Programs for      grant programs, (1)          /       /
                                                 Indian Children           Demonstration Grants         sam.g www.
     Department of Education            84.305   Education Research,       for support
                                                                           To  Indian Children
                                                                                       researchand      ov/fal/ https:/
                                                                                                        https:/ usasp
                                                 Development and           activities that improve      /       /
                                                 Dissemination             the quality of education     sam.g www.
                                                                           and, thereby, increase       ov/fal/ usasp
     Department of Education            84.310   Statewide Family          To provide nancial           https:/ https:/
                                                 Engagement Centers        support to statewide         /       /
                                                                           organizations that           sam.g www.
     Department of Education            84.315   Traditionally             conduct
                                                                           To makeparent
                                                                                      awards to         ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                 Underserved               minority entities and      /       /
                                                 Populations               Indian tribes to carry out sam.g www.
     Department of Education            84.323   Special Education -       activities
                                                                           To assist under
                                                                                      State the       ov/fal/ usasp
                                                                                                      https:/ https:/
                                                 State Personnel           educational agencies in /          /
                                                 Development               reforming and              sam.g www.
     Department of Education            84.324   Research in Special       improving
                                                                           To supporttheir  systems
                                                                                       scienti        ov/fal/ https:/
                                                                                               cally https:/  usasp
                                                 Education                rigorous research             /       /
                                                                          contributing to the           sam.g www.
     Department of Education            84.325   Special Education -      solution
                                                                          The      of speci
                                                                               purposes      c early
                                                                                         of this        ov/fal/ https:/
                                                                                                        https:/ usasp
                                                 Personnel Development program are to (1) help          /       /
                                                 to Improve Services      address State-identi ed       sam.g www.
                                                 and Results for Children needs for highly              ov/fal/ usasp
     Department of Education            84.326   Special Education        The purpose of the            https:/ https:/
                                                 Technical Assistance     Technical Assistance          /       /
                                                 and Dissemination to     and Dissemination to          sam.g www.
     Department of Education            84.327   Improve Services and Improve
                                                 Special Education                 Services
                                                                          The purposes        and
                                                                                         of the         ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                 Educational Technology Educational Technology, /           /
                                                 Media, and Materials for Media, and Materials for sam.g www.
     Department of Education            84.328   Individuals
                                                 Special     with
                                                         Education        Individuals
                                                                          The  purpose with
                                                                                          of the    ov/fal/ usasp
                                                                                                    https:/ https:/
                                                 Parent Information       program is to ensure      /       /
                                                 Centers                  that parents of children sam.g www.
                                                                          with disabilities receive ov/fal/ usasp
     Department of Education            84.329   Special Education        To assess progress in     https:/ https:/
                                                 Studies and Evaluations implementing the           /       /
                                                                          Individuals with          sam.g www.
     Department of Education            84.334   Gaining Early            Disabilities
                                                                          Provides     Education
                                                                                     6-or  7-year   ov/fal/ https:/
                                                                                                    https:/ usasp
                                                 Awareness and             grants to States and         /       /
                                                 Readiness for             Partnerships to provide      sam.g www.
                                                 Undergraduate             support, and maintain a      ov/fal/ usasp
     Department of Education            84.335   Child Care Access         To support the               https:/ https:/
                                                 Means Parents in          participation of low-        /       /
                                                 School                    income parents in            sam.g www.
     Department of Education            84.336   Teacher Quality           postsecondary
                                                                           To improve student           ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                 Partnership Grants     achievement; improve       /       /
                                                                        the quality of new and     sam.g www.
     Department of Education            84.351   Arts in Education      prospective
                                                                        The           teachers by ov/fal/
                                                                             Arts in Education             usasp
                                                                                                   https:/ https:/
                                                                        program promotes arts /            /
                                                                        education for students, sam.g www.
                                                                        including disadvantaged ov/fal/ usasp
     Department of Education            84.354   Credit Enhancement for To provide grants to       https:/ https:/
                                                 Charter School         eligible entities to       /       /
                                                 Facilities             leverage funds through sam.g www.
     Department of Education            84.356   Alaska Native          credit
                                                                        To     enhancement
                                                                            support                ov/fal/ https:/
                                                                                     projects that https:/ usasp
                                                 Educational Programs      recognize and address        /       /
                                                                           the unique educational       sam.g www.
                                                                           needs of Alaska Native       ov/fal/ usasp
     Department of Education            84.358   Rural Education           To provide nancial           https:/ https:/
                                                                           assistance to rural          /       /
                                                                           districts to carry out       sam.g www.
     Department of Education            84.362   Native Hawaiian           activities
                                                                           To develop to innovative
                                                                                         help           ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                 Education                educational programs to       /       /
                                                                          assist Native                 sam.g www.
     Department of Education            84.365   English Language         Hawaiians,
                                                                          To           to that
                                                                             help ensure                ov/fal/ https:/
                                                                                                        https:/ usasp
                                                 Acquisition State Grants English learners (ELs),       /       /
                                                                          including immigrant           sam.g www.
                                                                          children and youth,           ov/fal/ usasp
     Department of Education            84.367   Supporting Effective     To provide grants to          https:/ https:/
                                                 Instruction State Grants State Educational             /       /
                                                 (formerly Improving      Agencies (SEAs), and,         sam.g www.
     Department of Education            84.368   Teacher Quality
                                                 Competitive      State
                                                              Grants      through
                                                                     for The       the SEAs,
                                                                               purpose  of theto        ov/fal/ https:/
                                                                                                        https:/ usasp
                                                 State Assessments         program is to support        /       /
                                                                           efforts to: (1) improve      sam.g www.
     Department of Education            84.369   Grants for State          the quality,
                                                                           The  purpose validity,
                                                                                          of thisand    ov/fal/ https:/
                                                                                                        https:/ usasp
                                                 Assessments and           program is: to pay the       /       /
                                                 Related Activities        costs of developing the      sam.g www.
                                                                           standards and high-          ov/fal/ usasp
     Department of Education            84.370   DC Opportunity            To provide low-income        https:/ https:/
                                                 Scholarship Program       parents residing in the      /       /
                                                                           District of Columbia with    sam.g www.
     Department of Education            84.371   Comprehensive             expanded
                                                                           The         options
                                                                                objective       for
                                                                                           of the       ov/fal/ https:/
                                                                                                        https:/ usasp
                                                 Literacy Development      Comprehensive                /       /
                                                                           Literacy Development         sam.g www.
                                                                           program is to advance        ov/fal/ usasp
     Department of Education            84.372   Statewide Longitudinal    These grants are             https:/ https:/
                                                 Data Systems              intended to enable           /       /
                                                                           State educational            sam.g www.
     Department of Education            84.373   Special Education         agencies
                                                                           To providetotechnical
                                                                                        design,         ov/fal/ https:/
                                                                                                        https:/ usasp
                                                 Technical Assistance on assistance, where              /       /
                                                 State Data Collection   needed, to improve the         sam.g www.
     Department of Education            84.374   Teacher and School      capacity
                                                                         To       of States
                                                                            help eligible    to
                                                                                          entities      ov/fal/ https:/
                                                                                                        https:/ usasp
                                                 Leader Incentive Grants develop, implement,            /       /
                                                 (formerly the Teacher    improve, or expand            sam.g www.
                                                 Incentive Fund)          human capital                 ov/fal/ usasp
     Department of Education            84.379   Teacher Education        To provide annual             https:/ https:/
                                                 Assistance for College grants of up to $4,000          /       /
                                                 and Higher Education to eligible                       sam.g www.
     Department of Education            84.380   Grants (TEACH
                                                 Special EducationGrants)
                                                                    -     undergraduate
                                                                          This           and
                                                                               program promotes         ov/fal/ https:/
                                                                                                        https:/ usasp
                                                 Special Olympics        the expansion of               /       /
                                                 Education Programs      Special Olympics and           sam.g www.
                                                                         the design and                 ov/fal/ usasp
     Department of Education            84.382   Strengthening Minority- To strengthen                  https:/ https:/
                                                 Serving Institutions    Predominantly Black            /       /
                                                                         Institutions (PBI); Asian      sam.g www.
     Department of Education            84.403   Consolidated Grant to ToAmerican
                                                                            make an and  Native
                                                                                       annual           ov/fal/ https:/
                                                                                                        https:/ usasp
                                                 the Outlying Areas        consolidated grant to     /       /
                                                                           assist an Insular Area in sam.g www.
     Department of Education            84.407                             carrying out
                                                 Transition Programs for Funding         onethis
                                                                                     under     or    ov/fal/ https:/
                                                                                                     https:/ usasp
                                                 Students with             program supports             /       /
                                                 Intellectual Disabilities competitive grants to        sam.g www.
                                                 into Higher Education     institutions of higher       ov/fal/ usasp
     Department of Education            84.408   Postsecondary             To provide eligible          https:/ https:/
                                                 Education Scholarships veteran's dependent             /       /
                                                 for Veteran's             undergraduate                sam.g www.
     Department of Education            84.411   Dependents
                                                 Education   Innovation    postsecondary
                                                                           To                students
                                                                              support the creation,     ov/fal/ https:/
                                                                                                        https:/ usasp
                                                 and Research (formerly development,                    /       /
                                                 Investing in Innovation implementation,                sam.g www.
     Department of Education            84.415   (i3) Fund)
                                                 Indian Education        replication, andofscaling
                                                                         The objectives      the        ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                 National Activities      State Tribal Education        /       /
                                                 (State Tribal Education Partnership (STEP)             sam.g www.
     Department of Education            84.417   Partnership
                                                 Directed     (STEP)
                                                           Grants  andand Objectives
                                                                          program (CFDA
                                                                                     of the             ov/fal/ https:/
                                                                                                        https:/ usasp
                                                 Awards                    programs vary based          /     /
                                                                           on the directed grant        sam.g www.
     Department of Education            84.421   Disability Innovation     award.
                                                                           To      Awards
                                                                              support      are
                                                                                      innovative  ov/fal/ https:/
                                                                                                  https:/ usasp
                                                 Fund (DIF)                activities aimed at    /       /
                                                                           improving the outcomes sam.g www.
                                                                           of individuals with    ov/fal/ usasp




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                                                                                                                                                                              #: 64
                                                       Department of Education         84.422   American History and The program supports            https:/ https:/
                                                                                                Civics Education     two types of grants:            /       /
                                                                                                                     American History and            sam.g www.
                                                       Department of Education         84.423   Supporting Effective Civics
                                                                                                                     The    Academies
                                                                                                                          purpose  of the            ov/fal/ https:/
                                                                                                                                                     https:/ usasp
                                                                                                Educator Development SEED program is to (1)          /       /
                                                                                                Program              Support pathways that           sam.g www.
                                                       Department of Education         84.424   Student Support and  allow teachers,
                                                                                                                     To improve                      ov/fal/
                                                                                                                                                     https:/ usasp
                                                                                                                                                             https:/
                                                                                                Academic Enrichment     studentâ€™s academic         /       /
                                                                                                Program                 achievement by               sam.g www.
                                                                                                                        increasing the capacity      ov/fal/ usasp
                                                       Department of Education         84.425   Education Stabilization To prevent, prepare for,     https:/ https:/
                                                                                                Fund                    and respond to the           /       /
                                                                                                                        coronavirus COVID-19         sam.g www.
                                                       Department of Education         84.426   Randolph-Sheppard â€ To disease  pandemic.
                                                                                                                           provide  nancial          ov/fal/ https:/
                                                                                                                                                     https:/ usasp
                                                                                                “ Financial Relief and    relief and restoration     /       /
                                                                                                Restoration Payments      payments to offset         sam.g www.
                                                       Department of Education         84.428   Augustus F. Hawkins       losses
                                                                                                                          This    to blindfocuses
                                                                                                                                program    vendors   ov/fal/ https:/
                                                                                                                                                     https:/ usasp
                                                                                                Centers of                on the various aspects     /       /
                                                                                                Excellenceâ€”Teacher      of the teacher             sam.g www.
                                                                                                Preparation and           preparation pipeline,      ov/fal/ usasp
                                                       Department of Education         84.429   Education Evaluation      To support education       https:/ https:/
                                                                                                and Technical             evaluation and technical   /       /
                                                                                                Assistance Grants         assistance related to      sam.g www.
                                                       Department of Energy            81.005   Environmental             the  education
                                                                                                                          Provides       sciences
                                                                                                                                    technical and    ov/fal/
                                                                                                                                                     https:/ usasp
                                                                                                                                                             https:/
                                                                                                Monitoring,            nancial assistance to         /       /
                                                                                                Independent Research, State of New Mexico            sam.g www.
                                                                                                Technical Analysis    Environment                    ov/fal/ usasp
                                                       Department of Energy            81.008   Cybersecurity, Energy The Of ce of                   https:/ https:/
                                                                                                Security & Emergency Cybersecurity, Energy           /       /
                                                                                                Response (CESER)      Security, and                  sam.g www.
                                                       Department of Energy            81.009   Molybdenum-99         Emergency
                                                                                                                      In          Response
                                                                                                                         2012, Congress              ov/fal/ https:/
                                                                                                                                                     https:/ usasp
                                                                                                Program                   passed the American        /       /
                                                                                                                          Medical Isotopes           sam.g www.
                                                       Department of Energy            81.010   Of ce of Technology       Production
                                                                                                                          The  MissionActof (AMIPA),
                                                                                                                                            the      ov/fal/ usasp
                                                                                                                                                     https:/ https:/
                                                                                                Transitions (OTT)-        Of ce of Technology        /       /
                                                                                                Technology                Transitions (OTT) is to    sam.g www.
                                                                                                Deployment,               expand the public          ov/fal/ usasp
                                                       Department of Energy            81.012   Arti cial Intelligence    The mission of the         https:/ https:/
                                                                                                and Technology Of ce      Arti cial Intelligence &   /       /
                                                                                                Financial Assistance      Technology Of ce           sam.g www.
                                                       Department of Energy            81.041   Program
                                                                                                State Energy Program      (AITO)  is to transform
                                                                                                                          The purpose of this        ov/fal/
                                                                                                                                                     https:/ usasp
                                                                                                                                                             https:/
                                                                                                                          program is to increase     /       /
                                                                                                                          market transformation      sam.g www.
                                                                                                                          of energy ef ciency and    ov/fal/ usasp
                                                       Department of Energy            81.042   Weatherization            To improve home            https:/ https:/
                                                                                                Assistance for Low-       energy ef ciency for       /       /
                                                                                                Income Persons            low-income families        sam.g www.
                                                       Department of Energy            81.049   Of ce of Science          through
                                                                                                                          SC  is thethe most cost-
                                                                                                                                      Nationâ€™s     ov/fal/ https:/
                                                                                                                                                     https:/ usasp
                                                                                                Financial Assistance  largest Federal sponsor /          /
                                                                                                Program               of basic research in the sam.g www.
                                                       Department of Energy            81.057   University Coal       physical
                                                                                                                      To        sciences
                                                                                                                          educate         andthe ov/fal/
                                                                                                                                   and train             usasp
                                                                                                                                                 https:/ https:/
                                                                                                Research              next generation of         /       /
                                                                                                                      engineers and scientists sam.g www.
                                                                                                                      to help develop and        ov/fal/ usasp
                                                       Department of Energy            81.065   Nuclear Legacy        For nuclear waste          https:/ https:/
                                                                                                Cleanup Program       disposal activities to     /       /
                                                                                                                      carry out the purposes     sam.g www.
                                                       Department of Energy            81.086                         of the Nuclear
                                                                                                Conservation Research The goal of thisWaste      ov/fal/
                                                                                                                                                 https:/ usasp
                                                                                                                                                         https:/
                                                                                                and Development           program is to conduct a    /       /
                                                                                                                          balanced, long-term        sam.g www.
                                                       Department of Energy            81.087   Renewable Energy          research
                                                                                                                          The goal effort
                                                                                                                                   of thisin         ov/fal/ https:/
                                                                                                                                                     https:/ usasp
                                                                                                Research and           program is to conduct         /       /
                                                                                                Development            balanced research and         sam.g www.
                                                       Department of Energy            81.089                          development
                                                                                                Fossil Energy Research The           efforts in
                                                                                                                           Of ce of Fossil           ov/fal/ https:/
                                                                                                                                                     https:/ usasp
                                                                                                and Development           Energy and Carbon          /       /
                                                                                                                          Managementâ€™s             sam.g www.
                                                       Department of Energy            81.092   Remedial Action and       mission
                                                                                                                          An      is to of
                                                                                                                             objective  minimize
                                                                                                                                           the Oak   ov/fal/ https:/
                                                                                                                                                     https:/ usasp
                                                                                                Waste Management        Ridge Of ce of               /       /
                                                                                                                        Environmental                sam.g www.
                                                                                                                        Management is to             ov/fal/ usasp
                                                       Department of Energy            81.102   Student Driven          An objective of the Oak      https:/ https:/
                                                                                                Research and Long       Ridge Of ce of               /       /
                                                                                                Term Monitoring of      Environmental                sam.g www.
                                                       Department of Energy            81.104   Selected Populations
                                                                                                Environmental        in Management    (OREM)
                                                                                                                        The Environmental            ov/fal/
                                                                                                                                                     https:/ usasp
                                                                                                                                                             https:/
                                                                                                Remediation and Waste Management Research            /       /
                                                                                                Processing and        and Development                sam.g www.
                                                       Department of Energy            81.106   Disposal of
                                                                                                Transport             Program
                                                                                                                      To        provides for
                                                                                                                         enlist cooperation          ov/fal/ https:/
                                                                                                                                                     https:/ usasp
                                                                                                Transuranic Wastes to among the Tribal and           /       /
                                                                                                the Waste Isolation Pilot the Southern, Western,     sam.g www.
                                                                                                Plant: States and Tribal and Midwest state           ov/fal/ usasp
                                                       Department of Energy            81.108   Epidemiology and Other To provide nancial            https:/ https:/
                                                                                                Health Studies            support for research,      /       /
                                                                                                Financial Assistance      education, conferences,    sam.g www.
                                                       Department of Energy            81.112   Program
                                                                                                Stewardship  Science      communication,
                                                                                                                          (1)             and
                                                                                                                              To grow the U.S.       ov/fal/ https:/
                                                                                                                                                     https:/ usasp
                                                                                                Grant Program             scienti c community        /       /
                                                                                                                          through university         sam.g www.
                                                                                                                          involvement in areas of    ov/fal/ usasp
                                                       Department of Energy            81.113   Defense Nuclear           To conduct basic and       https:/ https:/
                                                                                                Nonproliferation          applied research and       /       /
                                                                                                Research                  development that           sam.g www.
                                                       Department of Energy            81.117   Energy Ef ciency and      enhances   U.S. national
                                                                                                                          The Department   of        ov/fal/
                                                                                                                                                     https:/ usasp
                                                                                                                                                             https:/
                                                                                                Renewable Energy          Energy (DOE) seeks to      /       /
                                                                                                Information               provide nancial            sam.g www.
                                                       Department of Energy            81.119   Dissemination,
                                                                                                State Energy Program      assistance
                                                                                                                          To         for to
                                                                                                                             allow States            ov/fal/ https:/
                                                                                                                                                     https:/ usasp
                                                                                                Special Projects      submit proposals to            /       /
                                                                                                                      implement speci c              sam.g www.
                                                                                                                      Department of Energy           ov/fal/ usasp
                                                       Department of Energy            81.121   Nuclear Energy        The Department of              https:/ https:/
                                                                                                Research, Development Energy (DOE) promotes          /       /
                                                                                                and Demonstration     nuclear energy as a            sam.g www.
                                                       Department of Energy            81.122   Electricity Research, resource
                                                                                                                      The Of cecapable of
                                                                                                                                of Electricity       ov/fal/ https:/
                                                                                                                                                     https:/ usasp
                                                                                                Development and           (OE) leads the             /       /
                                                                                                Analysis                  Departmentâ€™s             sam.g www.
                                                                                                                          research, development,     ov/fal/ usasp
                                                       Department of Energy            81.123   National Nuclear          The Minority Serving       https:/ https:/
                                                                                                Security Administration   Institution Partnership    /       /
                                                                                                (NNSA) Minority           Program's primary          sam.g www.
                                                       Department of Energy            81.124   Serving  Institutions
                                                                                                Predictive Science        focus
                                                                                                                          (1) To is to build
                                                                                                                                  focus on a         ov/fal/
                                                                                                                                                     https:/ usasp
                                                                                                                                                             https:/
                                                                                                Academic Alliance         development and            /       /
                                                                                                Program                   demonstration of           sam.g www.
                                                       Department of Energy            81.126   Federal Loan              modeling/simulation
                                                                                                                          For Title XVII Loan        ov/fal/ https:/
                                                                                                                                                     https:/ usasp
                                                                                                Guarantees for            Guarantee program          /       /
                                                                                                Innovative Energy         under Section 1703 of      sam.g www.
                                                                                                Technologies              the Energy Policy Act of   ov/fal/ usasp
                                                       Department of Energy            81.128   Energy Ef ciency and      The program provides       https:/ https:/
                                                                                                Conservation Block         nancial and technical     /       /
                                                                                                Grant Program             assistance to assist       sam.g www.
                                                       Department of Energy            81.135   (EECBG)
                                                                                                Advanced Research         State
                                                                                                                          To    and local
                                                                                                                             support the             ov/fal/ https:/
                                                                                                                                                     https:/ usasp
                                                                                                Projects Agency -         Presidentâ€™s              /       /
                                                                                                Energy                    National Objectives for    sam.g www.
                                                       Department of Energy            81.136                          the Department
                                                                                                Long-Term Surveillance The  objectives ofofthe       ov/fal/ https:/
                                                                                                                                                     https:/ usasp
                                                                                                and Maintenance        Of ce of Legacy               /       /
                                                                                                                       Management are to             sam.g www.
                                                                                                                       manage the                    ov/fal/ usasp
                                                       Department of Energy            81.137   Minority Economic      The program objectives        https:/ https:/
                                                                                                Impact                 are to enhance the            /       /
                                                                                                                       participation and             sam.g www.
                                                       Department of Energy            81.138   State Heating Oil and  sustainability
                                                                                                                       State  HeatingofOilMSIs
                                                                                                                                           and       ov/fal/ https:/
                                                                                                                                                     https:/ usasp
                                                                                                Propane Program          Propane Program             /       /
                                                                                                                         (SHOPP) is a joint data     sam.g www.
                                                                                                                         collection effort between   ov/fal/ usasp
                                                       Department of Energy            81.140   Los Alamos National      The general objective of    https:/ https:/
                                                                                                Laboratory - Fire        this Cooperative            /       /
                                                                                                Protection               Agreement is to provide     sam.g www.
                                                       Department of Energy            81.210                             nancial
                                                                                                Global Material Security The       support
                                                                                                                              objective     for
                                                                                                                                        of the       ov/fal/ https:/
                                                                                                                                                     https:/ usasp
                                                                                                                          Global Material Security /       /
                                                                                                                          Program is to enhance sam.g www.
                                                       Department of Energy            81.214   Environmental             global security
                                                                                                                          Provides        by and ov/fal/
                                                                                                                                    technical              usasp
                                                                                                                                                   https:/ https:/
                                                                                                Monitoring/Cleanup,        nancial assistance to   /       /
                                                                                                Cultural and Resource     State and local          sam.g www.
                                                                                                Mgmt., Emergency          government entities for ov/fal/ usasp
                                                       Department of Energy            81.250   Energy Policy and         The objective is to      https:/ https:/
                                                                                                Systems Analysis          develop decision-        /       /
                                                                                                                          relevant data and        sam.g www.
                                                       Department of Energy            81.251   National Laboratory       analysis
                                                                                                                          The      on theProgram
                                                                                                                               ACCESS      market  ov/fal/ https:/
                                                                                                                                                   https:/ usasp
                                                                                                Jobs Apprenticeship for is a pre-apprenticeship      /       /
                                                                                                Complete and            or apprenticeship            sam.g www.
                                                                                                Committed Employment program thatâ€“                 ov/fal/ usasp
                                                       Department of Energy            81.252   Legally-directed        Academic Programs            https:/ https:/
                                                                                                Academic Programs,      receives direction from      /       /
                                                                                                Workforce Development Congress to send funds         sam.g www.
                                                       Department of Energy            81.253   and Communityand
                                                                                                Manufacturing           to universities
                                                                                                                        Strengthen   andand other
                                                                                                                                         secure      ov/fal/ https:/
                                                                                                                                                     https:/ usasp
                                                                                                Energy Supply Chain       domestic manufacturing /         /
                                                                                                Demonstrations and        and energy supply        sam.g www.
                                                       Department of Energy            81.254   Commercial
                                                                                                Grid Infrastructure       chains
                                                                                                                          The    needed
                                                                                                                              Grid        to
                                                                                                                                    Deployment     ov/fal/ usasp
                                                                                                                                                   https:/ https:/
                                                                                                Deployment and            Of ce (GDO) works to     /       /
                                                                                                Resilience                catalyze the             sam.g www.
                                                                                                                          development of new       ov/fal/ usasp
                                                       Department of Energy            81.255   Clean Energy              The mission of the       https:/ https:/
                                                                                                Demonstrations            Of ce of Clean Energy /          /
                                                                                                                          Demonstrations           sam.g www.
                                                       Department of Energy            81.256   Environmental             (OCED) istechnical
                                                                                                                          Provides   to deliverand https:/
                                                                                                                                                   ov/fal/ https:/
                                                                                                                                                           usasp
                                                                                                Monitoring/Cleanup,        nancial assistance to     /       /
                                                                                                Cultural and Resource     the State of Tennessee     sam.g www.
                                                       Department of Energy            81.258   Mgmt., Emergency
                                                                                                Glovebox                  Department
                                                                                                                          The objectiveofof the      ov/fal/
                                                                                                                                                     https:/ usasp
                                                                                                                                                             https:/
                                                                                                Manufacturing             Glovebox               /       /
                                                                                                Expansion Initiative      Manufacturing          sam.g www.
                                                       Department of Energy            81.260   County of Nye, Nye        Expansion
                                                                                                                          The        Initiative
                                                                                                                              objective  of the  ov/fal/ usasp
                                                                                                                                                 https:/ https:/
                                                                                                County Sheriffâ€™s      County of Nye, Nye       /       /
                                                                                                Of ce Law Enforcement County Sheriffâ€™s         sam.g www.
                                                       Department of Energy            81.279   Services
                                                                                                Law Enforcement         Of ce
                                                                                                                        The   Law Enforcement
                                                                                                                            objective to provide ov/fal/
                                                                                                                                                 https:/ usasp
                                                                                                                                                         https:/
                                                                                                Support of Pantex Plant reasonable and           /       /
                                                                                                                        appropriate law          sam.g www.
                                                                                                                        enforcement              ov/fal/ usasp




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                              Department of Energy                          81.300   Grid Deployment Of ce The Grid Deployment                https:/ https:/
                                                                                     - Other Direct Funding Of ce (GDO) works to              /       /
                                                                                     Mechanisms/Identi ed catalyze the                        sam.g www.
                              Department of Energy                          81.302   Transactions
                                                                                     Inertial Con nement    development
                                                                                                            The           of Inertial
                                                                                                                goal of the   new             ov/fal/ https:/
                                                                                                                                              https:/ usasp
                                                                                     Fusion Program         Con nement Fusion                 /       /
                                                                                     University Assistance  (ICF) program is to               sam.g www.
                              Department of Energy                          81.505   Nonproliferation and   create nuclear weapons
                                                                                                            Nonproliferation  and             ov/fal/
                                                                                                                                              https:/ usasp
                                                                                                                                                      https:/
                                                                                     Arms Control                 Arms Control (NPAC):        /       /
                                                                                                                  NNSAâ€™s Of ce of           sam.g www.
                                                                                                                  Nonproliferation and        ov/fal/ usasp
                              Department of Energy                          81.884   Nuclear                      To assist nonpro t, non-    https:/ https:/
                                                                                     Counterterrorism and         government,                 /       /
                                                                                     Incident Response            professional                sam.g www.
                              Department of Health and Human Services       93.007   Program
                                                                                     Public Awareness             organizations,
                                                                                                                  To             through a
                                                                                                                     increase public          ov/fal/ https:/
                                                                                                                                              https:/ usasp
                                                                                     Campaigns on Embryo awareness of embryo                  /       /
                                                                                     Adoption              adoption and donation              sam.g www.
                              Department of Health and Human Services       93.008                         as support
                                                                                     Medical Reserve Corps To a method  of family
                                                                                                                      the                     ov/fal/ https:/
                                                                                                                                              https:/ usasp
                                                                                     Small Grant Program     development of Medical           /       /
                                                                                                             Reserve Corps (MRC)              sam.g www.
                                                                                                             units in communities             ov/fal/ usasp
                              Department of Health and Human Services       93.011   National Organizations The purpose of the                https:/ https:/
                                                                                     for State and Local     HRSA National                    /       /
                                                                                     Of cials                Organizations of State           sam.g www.
                              Department of Health and Human Services       93.019   Technical Assistance    and  Local Of
                                                                                                             To provide       cials for a
                                                                                                                          support             ov/fal/
                                                                                                                                              https:/ usasp
                                                                                                                                                      https:/
                                                                                     and Provision for       quality of care                  /       /
                                                                                     Foreign Hospitals and improvement project                sam.g www.
                                                                                     Health Organizations    based in a partner               ov/fal/ usasp
                              Department of Health and Human Services       93.041   Special Programs for    To support activities to         https:/ https:/
                                                                                     the Aging, Title VII,   develop, strengthen,             /       /
                                                                                     Chapter 3, Programs for and carry out programs           sam.g www.
                              Department of Health and Human Services       93.042   Prevention
                                                                                     Special     of Elderfor
                                                                                              Programs       for the
                                                                                                             The      prevention,
                                                                                                                   principal role of this     ov/fal/ https:/
                                                                                                                                              https:/ usasp
                                                                                     the Aging, Title VII,        Ombudsman Program           /       /
                                                                                     Chapter 2, Long Term         is to investigate and       sam.g www.
                              Department of Health and Human Services       93.043   Care Ombudsman
                                                                                     Special Programs for       resolve complaints
                                                                                                                To develop or                 ov/fal/ https:/
                                                                                                                                              https:/ usasp
                                                                                     the Aging, Title III, Part strengthen preventive         /       /
                                                                                     D, Disease Prevention health service and                 sam.g www.
                                                                                     and Health Promotion health promotion                    ov/fal/ usasp
                              Department of Health and Human Services       93.044   Special Programs for       To encourage State            https:/ https:/
                                                                                     the Aging, Title III, Part Agencies on Aging and         /       /
                                                                                     B, Grants for Supportive Area Agencies on Aging          sam.g www.
                              Department of Health and Human Services       93.045   Services and Senior
                                                                                     Special Programs      for  to
                                                                                                                To concentrate
                                                                                                                   provide grants to          ov/fal/
                                                                                                                                              https:/ usasp
                                                                                                                                                      https:/
                                                                                     the Aging, Title III, Part States and U.S.               /       /
                                                                                     C, Nutrition Services      Territories to support        sam.g www.
                                                                                                                nutrition services            ov/fal/ usasp
                              Department of Health and Human Services       93.047   Special Programs for       To promote the delivery       https:/ https:/
                                                                                     the Aging, Title VI, Part of supportive services,        /       /
                                                                                     A, Grants to Indian        including nutrition           sam.g www.
                              Department of Health and Human Services       93.048   Tribes, Part
                                                                                     Special      B, Grants
                                                                                             Programs    for to To
                                                                                                                services,
                                                                                                                   supporttothe
                                                                                                                              American        ov/fal/ https:/
                                                                                                                                              https:/ usasp
                                                                                     the Aging, Title IV, and     development and             /       /
                                                                                     Title II, Discretionary      testing of innovative       sam.g www.
                              Department of Health and Human Services       93.051   Projects
                                                                                     Alzheimer's Disease          programs,
                                                                                                                  To expand services
                                                                                                                               the     and    ov/fal/ https:/
                                                                                                                                              https:/ usasp
                                                                                     Demonstration Grants     availability of diagnostic      /       /
                                                                                     to States                and support services for        sam.g www.
                                                                                                              persons with                    ov/fal/ usasp
                              Department of Health and Human Services       93.052   National Family          To assist States,               https:/ https:/
                                                                                     Caregiver Support, Title Territories in providing        /       /
                                                                                     III, Part E              multifaceted systems of         sam.g www.
                              Department of Health and Human Services       93.053   Nutrition Services       support
                                                                                                              To reward services for: (1)
                                                                                                                          effective           ov/fal/
                                                                                                                                              https:/ usasp
                                                                                                                                                      https:/
                                                                                     Incentive Program        performance by States           /       /
                                                                                                              and Tribes in the               sam.g www.
                              Department of Health and Human Services       93.054   National Family          ef cient
                                                                                                              To assistdelivery of
                                                                                                                        Indian Tribal         ov/fal/ https:/
                                                                                                                                              https:/ usasp
                                                                                     Caregiver Support, Title and Native Hawaiian             /       /
                                                                                     VI, Part C, Grants To    Organizations in                sam.g www.
                              Department of Health and Human Services       93.059   Indian Tribes
                                                                                     Training      And
                                                                                              in General,     providing
                                                                                                              The        multifaceted
                                                                                                                   purpose  of the            ov/fal/ https:/
                                                                                                                                              https:/ usasp
                                                                                     Pediatric, and Public  Training in General,              /       /
                                                                                     Health Dentistry       Pediatric, and Public             sam.g www.
                              Department of Health and Human Services       93.060                          Health
                                                                                     Sexual Risk Avoidance The     Dentistry
                                                                                                                 purpose      and
                                                                                                                          of this             ov/fal/ https:/
                                                                                                                                              https:/ usasp
                                                                                     Education              program is to promote             /       /
                                                                                                            sexual risk avoidance             sam.g www.
                                                                                                            education as de ned by            ov/fal/ usasp
                              Department of Health and Human Services       93.061   Innovations in Applied To foster the new                 https:/ https:/
                                                                                     Public Health Research knowledge necessary to            /       /
                                                                                                            develop, enhance, and             sam.g www.
                              Department of Health and Human Services       93.065   Laboratory Leadership, disseminate
                                                                                                            This programeffective
                                                                                                                           will               ov/fal/
                                                                                                                                              https:/ usasp
                                                                                                                                                      https:/
                                                                                     Workforce Training and increase the capacity             /       /
                                                                                     Management             and capability of state           sam.g www.
                              Department of Health and Human Services       93.066   Development,
                                                                                     State Vital Statistics and  territorialthe
                                                                                                            To enhance        newborn         ov/fal/ https:/
                                                                                                                                              https:/ usasp
                                                                                     Improvement Program performance of the                   /       /
                                                                                                            National Vital Statistics         sam.g www.
                                                                                                            System (NVSS) by                  ov/fal/ usasp
                              Department of Health and Human Services       93.067   Global AIDS            The U.S. President's              https:/ https:/
                                                                                                            Emergency Plan for                /       /
                                                                                                            AIDS Relief (PEPFAR)              sam.g www.
                              Department of Health and Human Services       93.068   Chronic Diseases:      is the
                                                                                                            To     U.S.State
                                                                                                                assist   Government
                                                                                                                               and            ov/fal/ https:/
                                                                                                                                              https:/ usasp
                                                                                     Research, Control, and local health agencies,            /       /
                                                                                     Prevention             health related                    sam.g www.
                                                                                                            organizations, and other          ov/fal/ usasp
                              Department of Health and Human Services       93.069   Public Health          Public health                     https:/ https:/
                                                                                     Emergency              emergency                         /       /
                                                                                     Preparedness           preparedness and                  sam.g www.
                              Department of Health and Human Services       93.070   Environmental Public   response   capacity
                                                                                                            To bring public health            ov/fal/
                                                                                                                                              https:/ usasp
                                                                                                                                                      https:/
                                                                                     Health and Emergency and epidemiologic                   /       /
                                                                                     Response             principles together to              sam.g www.
                              Department of Health and Human Services       93.071   Medicare Enrollment  identify,
                                                                                                          To provideclarify, and
                                                                                                                       enhanced               ov/fal/ https:/
                                                                                                                                              https:/ usasp
                                                                                     Assistance Program           outreach to eligible        /       /
                                                                                                                  Medicare bene ciaries       sam.g www.
                                                                                                                  regarding their             ov/fal/ usasp
                              Department of Health and Human Services       93.072   Lifespan Respite Care        To expand and enhance       https:/ https:/
                                                                                     Program                      respite care services to    /       /
                                                                                                                  family caregivers;          sam.g www.
                              Department of Health and Human Services       93.073   Birth Defects and            improve
                                                                                                                  To       the statewide
                                                                                                                     work with  State         ov/fal/ https:/
                                                                                                                                              https:/ usasp
                                                                                     Developmental             health agencies,               /       /
                                                                                     Disabilities - Prevention universities, and public       sam.g www.
                                                                                     and Surveillance          and private nonpro t           ov/fal/ usasp
                              Department of Health and Human Services       93.077   Family Smoking            The Family Smoking             https:/ https:/
                                                                                     Prevention and Tobacco Prevention and Tobacco            /       /
                                                                                     Control Act Regulatory Control Act (TCA)                 sam.g www.
                              Department of Health and Human Services       93.078   Research
                                                                                     Strengthening             provides
                                                                                                               To assist the authorityorto
                                                                                                                         in planning          ov/fal/
                                                                                                                                              https:/ usasp
                                                                                                                                                      https:/
                                                                                     Emergency Care               developing emergency        /       /
                                                                                     Delivery in the United       care health information     sam.g www.
                              Department of Health and Human Services       93.079   States Healthcare
                                                                                     Cooperative           and  promotion
                                                                                                           Funding  is to improve             ov/fal/ https:/
                                                                                                                                              https:/ usasp
                                                                                     Agreements to Promote the health and well-               /       /
                                                                                     Adolescent Health     being of our                       sam.g www.
                                                                                     through School-Based nationâ€™s youth by                 ov/fal/ usasp
                              Department of Health and Human Services       93.080   Blood Disorder        To work with State                 https:/ https:/
                                                                                     Program: Prevention,  health agencies and                /       /
                                                                                     Surveillance, and     other public, private,             sam.g www.
                              Department of Health and Human Services       93.081   Research
                                                                                     ASPR   Science        andconduct
                                                                                                           To   nonpro t                      ov/fal/ https:/
                                                                                                                                              https:/ usasp
                                                                                     Preparedness and             preparedness and            /       /
                                                                                     Response Grants              response research that      sam.g www.
                              Department of Health and Human Services       93.083                            will inform
                                                                                     Prevention of Disease, The     purposetheofongoing
                                                                                                                                 this         ov/fal/ https:/
                                                                                                                                              https:/ usasp
                                                                                     Disability, and Death    program is to                   /       /
                                                                                     through Immunization strengthen capacity to              sam.g www.
                                                                                     and Control of           prevent disease,                ov/fal/ usasp
                              Department of Health and Human Services       93.084   Prevention of Disease, The purpose of this               https:/ https:/
                                                                                     Disability, and Death by program is to prevent           /       /
                                                                                     Infectious Diseases      disease, disability and         sam.g www.
                              Department of Health and Human Services       93.085   Research on Research Thisdeathprogram
                                                                                                                      by infectious
                                                                                                                              supports        ov/fal/ https:/
                                                                                                                                              https:/ usasp
                                                                                     Integrity                    projects, conferences,      /       /
                                                                                                                  and workshops that          sam.g www.
                                                                                                                  advance the evolving        ov/fal/ usasp
                              Department of Health and Human Services       93.086   Healthy Marriage             Under the Family,           https:/ https:/
                                                                                     Promotion and                Relationship, and           /       /
                                                                                     Responsible                  Marriage Education          sam.g www.
                              Department of Health and Human Services       93.087   Fatherhood
                                                                                     Enhance    Grants
                                                                                              Safety of           Works
                                                                                                                  To     opportunity,
                                                                                                                     provide, throughthe      ov/fal/ https:/
                                                                                                                                              https:/ usasp
                                                                                     Children Affected by         interagency                 /       /
                                                                                     Substance Abuse              collaboration, an           sam.g www.
                              Department of Health and Human Services       93.088   Advancing System        integration
                                                                                                             To promoteof   program
                                                                                                                          program             ov/fal/ https:/
                                                                                                                                              https:/ usasp
                                                                                     Improvements for Key and systems innovation,             /       /
                                                                                     Issues in Women's       policy and performance           sam.g www.
                                                                                     Health                  management, and                  ov/fal/ usasp
                              Department of Health and Human Services       93.089   Emergency System for To establish and                    https:/ https:/
                                                                                     Advance Registration of maintain a national              /       /
                                                                                     Volunteer Health        interoperable network of         sam.g www.
                              Department of Health and Human Services       93.090   Professionals
                                                                                     Guardianship            stateobjective
                                                                                                             The   systems.ofEach
                                                                                                                               the            ov/fal/ https:/
                                                                                                                                              https:/ usasp
                                                                                     Assistance                   Guardianship                /       /
                                                                                                                  Assistance Program          sam.g www.
                                                                                                                  (GAP) is to provide         ov/fal/ usasp
                              Department of Health and Human Services       93.092   Affordable Care Act          The purpose of this         https:/ https:/
                                                                                     (ACA) Personal               program is to support       /       /
                                                                                     Responsibility               projects that educate       sam.g www.
                              Department of Health and Human Services       93.097   Education Program
                                                                                     Strengthening  the           youthproject
                                                                                                                  This  betweenwill10 and
                                                                                                                                    support   ov/fal/ https:/
                                                                                                                                              https:/ usasp
                                                                                     Nation's Public Health       the operations and          /       /
                                                                                     System through a             continuous                  sam.g www.
                              Department of Health and Human Services       93.099   National Voluntary
                                                                                     Collaboration With the       improvement
                                                                                                                  On  Septemberof19,
                                                                                                                                  a           ov/fal/ https:/
                                                                                                                                              https:/ usasp
                                                                                     World Health                 2011, the Government        /       /
                                                                                     Organization and its         of the United States of     sam.g www.
                                                                                     Regional Of ces for          America and the World       ov/fal/ usasp
                              Department of Health and Human Services       93.103   Food and Drug                To assist institutions      https:/ https:/
                                                                                     Administration               and organizations, to       /       /
                                                                                     Research                     establish, expand, and      sam.g www.
                              Department of Health and Human Services       93.104   Comprehensive                improve
                                                                                                                  To       research,
                                                                                                                      implement               ov/fal/ https:/
                                                                                                                                              https:/ usasp
                                                                                     Community Mental             community systems of        /       /
                                                                                     Health Services for          care to provide             sam.g www.
                              Department of Health and Human Services       93.107   Children withEducation
                                                                                     Area Health   Serious        comprehensive
                                                                                                                  The Area Healthmental       ov/fal/
                                                                                                                                              https:/ usasp
                                                                                                                                                      https:/
                                                                                     Centers                      Education Centers           /       /
                                                                                                                  (AHEC) Program              sam.g www.
                              Department of Health and Human Services       93.110   Maternal and Child           enhances
                                                                                                                  The       access
                                                                                                                      Special      to of
                                                                                                                              Projects        ov/fal/ https:/
                                                                                                                                              https:/ usasp
                                                                                     Health Federal        Regional and National              /     /
                                                                                     Consolidated Programs Signi cance Program                sam.g www.
                              Department of Health and Human Services       93.113   Environmental Health  (SPRANS)
                                                                                                           To          carries out
                                                                                                              foster understanding        ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                                                  of human health effects /       /
                                                                                                                  of exposure to          sam.g www.
                                                                                                                  environmental agents in ov/fal/ usasp




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                    Department of Health and Human Services       93.116   Project Grants and        This program assists         https:/ https:/
                                                                           Cooperative               State, local health          /       /
                                                                           Agreements for            agencies, political          sam.g www.
                    Department of Health and Human Services       93.117   Tuberculosis
                                                                           Preventive   Control
                                                                                      Medicine       subdivisions,
                                                                                                     Grants         and other
                                                                                                             are intended  to     ov/fal/ https:/
                                                                                                                                  https:/ usasp
                                                                           Residency                 promote postgraduate         /       /
                                                                                                     medical education in         sam.g www.
                    Department of Health and Human Services       93.118   Acquired                  the specialtyand
                                                                                                     To develop    of             ov/fal/
                                                                                                                                  https:/ usasp
                                                                                                                                          https:/
                                                                           Immunode ciency         implement HIV                  /       /
                                                                           Syndrome (AIDS)         prevention programs of         sam.g www.
                                                                           Activity                public information and         ov/fal/ usasp
                    Department of Health and Human Services       93.121   Oral Diseases and       NIDCR extramural               https:/ https:/
                                                                           Disorders Research      research provides              /       /
                                                                                                   research funds to              sam.g www.
                    Department of Health and Human Services       93.123                           support
                                                                           Health Professions Pre- To       basic,
                                                                                                      provide  scholarships       ov/fal/ https:/
                                                                                                                                  https:/ usasp
                                                                           graduate Scholarship      to American Indians and /       /
                                                                           Program for Indians       Alaska Natives for the  sam.g www.
                    Department of Health and Human Services       93.124   Nurse Anesthetist         purpose
                                                                                                     The       of completing
                                                                                                           purpose  of the   ov/fal/ usasp
                                                                                                                             https:/ https:/
                                                                           Traineeship               Nurse Anesthetist       /       /
                                                                                                     Traineeship (NAT)       sam.g www.
                                                                                                     program is to increase  ov/fal/ usasp
                    Department of Health and Human Services       93.127   Emergency Medical         To support              https:/ https:/
                                                                           Services for Children     demonstration projects /        /
                                                                                                     for the expansion and   sam.g www.
                    Department of Health and Human Services       93.129   Technical and Non-        improvement    of
                                                                                                     State and Regional      ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                           Financial Assistance to Primary Care                   /       /
                                                                           Health Centers          Associations (PCAs)            sam.g www.
                                                                                                   provide training and           ov/fal/ usasp
                    Department of Health and Human Services       93.130   Cooperative             To coordinate the local,       https:/ https:/
                                                                           Agreements to States/ State, and Federal               /       /
                                                                           Territories for the     resources contributing         sam.g www.
                    Department of Health and Human Services       93.134   Coordination
                                                                           Grants          and
                                                                                    to Increase    to primary
                                                                                                   Living     care
                                                                                                          Organ    service
                                                                                                                 Donation         ov/fal/ https:/
                                                                                                                                  https:/ usasp
                                                                           Organ Donation            Reimbursement                /       /
                                                                                                     Program: The goal of         sam.g www.
                    Department of Health and Human Services       93.135   Centers for Research      this program
                                                                                                     The          is to
                                                                                                          funded Prevention       ov/fal/ https:/
                                                                                                                                  https:/ usasp
                                                                           and Demonstration for     Research Centers aims        /       /
                                                                           Health Promotion and      are to: 1. Establish,        sam.g www.
                                                                           Disease Prevention        maintain, and operate        ov/fal/ usasp
                    Department of Health and Human Services       93.136   Injury Prevention and     Through its programs,        https:/ https:/
                                                                           Control Research and      the Injury Center works      /       /
                                                                           State and Community       with national                sam.g www.
                    Department of Health and Human Services       93.137   Based   Programs
                                                                           Community   Programs      organizations,
                                                                                                     Support public state
                                                                                                                     and          ov/fal/
                                                                                                                                  https:/ usasp
                                                                                                                                          https:/
                                                                           to Improve Minority       private evidence-based       /       /
                                                                           Health                    interventions and            sam.g www.
                                                                                                     innovative models to         ov/fal/ usasp
                    Department of Health and Human Services       93.138   Protection and            To enable the                https:/ https:/
                                                                           Advocacy for              expansion of the             /       /
                                                                           Individuals with Mental   Protection and               sam.g www.
                    Department of Health and Human Services       93.140   Illness
                                                                           Intramural Research       Advocacy
                                                                                                     The        system
                                                                                                          National Institutes     ov/fal/ https:/
                                                                                                                                  https:/ usasp
                                                                           Training Award            of Health (NIH) IRTA         /       /
                                                                                                     Traineeships/                sam.g www.
                    Department of Health and Human Services       93.142   NIEHS Hazardous           Fellowships
                                                                                                     To           are
                                                                                                        provide cooperative       ov/fal/ https:/
                                                                                                                                  https:/ usasp
                                                                           Waste Worker Health       agreements and project       /       /
                                                                           and Safety Training       grant support for the        sam.g www.
                                                                                                     development and              ov/fal/ usasp
                    Department of Health and Human Services       93.143   NIEHS Superfund           To support innovate          https:/ https:/
                                                                           Hazardous                 research and training        /       /
                                                                           Substances_Basic          through multi-project,       sam.g www.
                    Department of Health and Human Services       93.145   Research and
                                                                           HIV-Related Training      interdisciplinary
                                                                                                     National Traininggrants;
                                                                                                                        and       ov/fal/
                                                                                                                                  https:/ usasp
                                                                                                                                          https:/
                                                                           and Technical           Technical Assistance           /       /
                                                                           Assistance              Cooperative                    sam.g www.
                    Department of Health and Human Services       93.150                           Agreements:
                                                                           Projects for Assistance To           The
                                                                                                      provide nancial             ov/fal/ https:/
                                                                                                                                  https:/ usasp
                                                                           in Transition from      assistance to States to        /       /
                                                                           Homelessness (PATH) support services for               sam.g www.
                    Department of Health and Human Services       93.153   Coordinated Services    individuals
                                                                                                   Part        whoThe
                                                                                                        D (base):  are            ov/fal/ https:/
                                                                                                                                  https:/ usasp
                                                                           and Access to          purpose of this program         /       /
                                                                           Research for Women, is to provide family-              sam.g www.
                    Department of Health and Human Services       93.155   Infants,
                                                                           Rural    Children,
                                                                                 Health       and
                                                                                         Research centered
                                                                                                  The Ruralcare  in the
                                                                                                             Health               ov/fal/ https:/
                                                                                                                                  https:/ usasp
                                                                           Centers                Research Center                 /       /
                                                                                                  program supports                sam.g www.
                                                                                                  policy-relevant research        ov/fal/ usasp
                    Department of Health and Human Services       93.157   Centers of Excellence The goal of this                 https:/ https:/
                                                                                                  program is to assist            /       /
                                                                                                  eligible schools in             sam.g www.
                    Department of Health and Human Services       93.161   Health Program for     supporting  programs
                                                                                                  To work closely  with of        ov/fal/
                                                                                                                                  https:/ usasp
                                                                                                                                          https:/
                                                                           Toxic Substances and      State, local, and other      /       /
                                                                           Disease Registry          Federal agencies to          sam.g www.
                    Department of Health and Human Services       93.162                           reduce
                                                                           National Health Service The     or eliminate
                                                                                                        purpose  of the           ov/fal/ https:/
                                                                                                                                  https:/ usasp
                                                                           Corps Loan Repayment National Health Service           /       /
                                                                                                   Corps (NHSC) Loan              sam.g www.
                                                                                                   Repayment Program              ov/fal/ usasp
                    Department of Health and Human Services       93.164   Indian Health Service   To ensure that the             https:/ https:/
                                                                           Educational Loan        Indian Health Service          /       /
                                                                           Repayment               (IHS) has an adequate          sam.g www.
                    Department of Health and Human Services       93.165   Grants to States for    supply
                                                                                                   To     of trained
                                                                                                      increase  the health        ov/fal/ https:/
                                                                                                                                  https:/ usasp
                                                                           Loan Repayment            availability of primary      /       /
                                                                                                     health care clinicians in    sam.g www.
                                                                                                     Health Professional          ov/fal/ usasp
                    Department of Health and Human Services       93.172   Human Genome              NHGRI supports the           https:/ https:/
                                                                           Research                  development of               /       /
                                                                                                     methods, resources and       sam.g www.
                    Department of Health and Human Services       93.173   Research Related to       technologies
                                                                                                     To investigatetosolutions
                                                                                                                        improve   ov/fal/
                                                                                                                                  https:/ usasp
                                                                                                                                          https:/
                                                                           Deafness and              to problems directly         /       /
                                                                           Communication             relevant to individuals      sam.g www.
                    Department of Health and Human Services       93.178   Disorders
                                                                           Nursing Workforce         with objective
                                                                                                     The  deafness of
                                                                                                                    or the        ov/fal/ https:/
                                                                                                                                  https:/ usasp
                                                                           Diversity                 NWD program is to            /       /
                                                                                                     increase the diversity of    sam.g www.
                                                                                                     the nursing workforce        ov/fal/ usasp
                    Department of Health and Human Services       93.184   Disabilities Prevention   (1) Support National         https:/ https:/
                                                                                                     Centers on Disability to     /       /
                                                                                                     develop, implement,          sam.g www.
                    Department of Health and Human Services       93.185   Immunization              evaluate,
                                                                                                     To        and political
                                                                                                        assist states,            ov/fal/ https:/
                                                                                                                                  https:/ usasp
                                                                           Research,                 subdivisions of states,      /       /
                                                                           Demonstration, Public     and other public and         sam.g www.
                                                                           Information and           private nonpro t entities    ov/fal/ usasp
                    Department of Health and Human Services       93.186   National Research         The purpose of the           https:/ https:/
                                                                           Service Award in          Ruth L. Kirschstein          /       /
                                                                           Primary Care Medicine     National Research            sam.g www.
                    Department of Health and Human Services       93.187   Undergraduate             Service  Award
                                                                                                     To provide     (NRSA)
                                                                                                                service-          ov/fal/
                                                                                                                                  https:/ usasp
                                                                                                                                          https:/
                                                                           Scholarship Program       conditioned                  /       /
                                                                           for Individuals from      scholarships to              sam.g www.
                    Department of Health and Human Services       93.191   Disadvantaged
                                                                           Graduate Psychology       individuals
                                                                                                     The  purposefrom
                                                                                                                    of the        ov/fal/ https:/
                                                                                                                                  https:/ usasp
                                                                           Education                 Graduate Psychology          /       /
                                                                                                     Education Program is         sam.g www.
                                                                                                     program is to train          ov/fal/ usasp
                    Department of Health and Human Services       93.193   Urban Indian Health       Grants provide health-       https:/ https:/
                                                                           Services                  related services to          /       /
                                                                                                     Urban Indians including:     sam.g www.
                    Department of Health and Human Services       93.197   Childhood Lead            (1) (1)
                                                                                                     To  Alcohol and and/or
                                                                                                             Develop              ov/fal/ https:/
                                                                                                                                  https:/ usasp
                                                                           Poisoning Prevention   enhance a surveillance          /       /
                                                                           Projects, State and    system that monitors all        sam.g www.
                    Department of Health and Human Services       93.210   Local Childhood
                                                                           Tribal           Lead To
                                                                                  Self-Governance blood  lead
                                                                                                     allow     levels; (2)
                                                                                                            Federally             ov/fal/ https:/
                                                                                                                                  https:/ usasp
                                                                           Program: IHS           recognized Indian               /       /
                                                                           Compacts/Funding       Tribes to enter into an         sam.g www.
                                                                           Agreements             agreement with the              ov/fal/ usasp
                    Department of Health and Human Services       93.211   Telehealth Programs    The purpose of the              https:/ https:/
                                                                                                  Telehealth Network              /       /
                                                                                                  Program (TNGP) is to            sam.g www.
                    Department of Health and Human Services       93.213                          fund programs
                                                                           Research and Training NCCIH              that
                                                                                                           is the lead            ov/fal/ https:/
                                                                                                                                  https:/ usasp
                                                                           in Complementary and      Federal agency for           /       /
                                                                           Integrative Health        scienti c research on        sam.g www.
                                                                                                     the fundamental              ov/fal/ usasp
                    Department of Health and Human Services       93.217   Family Planning           To establish and             https:/ https:/
                                                                           Services                  operate voluntary family     /       /
                                                                                                     planning services            sam.g www.
                    Department of Health and Human Services       93.220   National Institutes of    projects,
                                                                                                     To recruitwhich shall
                                                                                                                and retain        ov/fal/ https:/
                                                                                                                                  https:/ usasp
                                                                           Health Intramural Loan health professionals            /       /
                                                                           Repayment Program      performing research in          sam.g www.
                    Department of Health and Human Services       93.223   Development and         eldspurpose
                                                                                                  The   requiredofby the
                                                                                                                   this           ov/fal/ https:/
                                                                                                                                  https:/ usasp
                                                                           Coordination of Rural   program is to serve as a       /       /
                                                                           Health Services         national clearinghouse         sam.g www.
                                                                                                   for information on rural       ov/fal/ usasp
                    Department of Health and Human Services       93.224   Health Center Program To improve the health of         https:/ https:/
                                                                           (Community Health       the Nation's                   /       /
                                                                           Centers, Migrant Health underserved                    sam.g www.
                    Department of Health and Human Services       93.225   Centers, Research
                                                                           National Health Care    communities
                                                                                                   To            by
                                                                                                       provide predoctoral        ov/fal/ https:/
                                                                                                                                  https:/ usasp
                                                                           Service Awards Health     and postdoctoral             /       /
                                                                           Services Research         training opportunities in    sam.g www.
                                                                           Training                  health services              ov/fal/ usasp
                    Department of Health and Human Services       93.226   Research on               To support research          https:/ https:/
                                                                           Healthcare Costs,         and evaluations,             /       /
                                                                           Quality and Outcomes      demonstration projects,      sam.g www.
                    Department of Health and Human Services       93.228   Indian Health Service,    research
                                                                                                     To        networks,
                                                                                                         develop and      and     ov/fal/ https:/
                                                                                                                                  https:/ usasp
                                                                           Health Management    enhance management                /       /
                                                                           Development Program  infrastructure of                 sam.g www.
                    Department of Health and Human Services       93.231                        Federally-recognized
                                                                           Epidemiology Program The  purpose of this              ov/fal/ https:/
                                                                                                                                  https:/ usasp
                                                                                                program is to fund                /       /
                                                                                                Tribes, Tribal and urban          sam.g www.
                                                                                                Indian organizations,             ov/fal/ usasp
                    Department of Health and Human Services       93.232   Loan Repayment       This listing is no longer         https:/ https:/
                                                                           Program for General  in use. To recruit and            /       /
                                                                           Research             retain health                     sam.g www.
                    Department of Health and Human Services       93.233   National Center on   professionals
                                                                                                The  National Center on           ov/fal/ https:/
                                                                                                                                  https:/ usasp
                                                                           Sleep Disorders           Sleep Disorders              /       /
                                                                           Research                  Research (NCSDR)             sam.g www.
                    Department of Health and Human Services       93.234   Traumatic Brain Injury    supports
                                                                                                     To createresearch
                                                                                                               and     and        ov/fal/
                                                                                                                                  https:/ usasp
                                                                                                                                          https:/
                                                                           State Demonstration       strengthen a system of   /       /
                                                                           Grant Program             services and supports    sam.g www.
                    Department of Health and Human Services       93.235   Title V State Sexual      that maximizes
                                                                                                     The  purpose of the
                                                                                                                     the Titleov/fal/ usasp
                                                                                                                              https:/ https:/
                                                                           Risk Avoidance           V State SRAE program /            /
                                                                           Education (Title V State is to provide messages sam.g www.
                    Department of Health and Human Services       93.236   SRAE) to
                                                                           Grants  Program
                                                                                      States to     to youthtothat
                                                                                                    Grants         normalizes
                                                                                                               States to      ov/fal/
                                                                                                                              https:/ usasp
                                                                                                                                      https:/
                                                                           Support Oral Health      Support Oral Health       /       /
                                                                           Workforce Activities     Workforce Activities      sam.g www.
                                                                                                    assists states to         ov/fal/ usasp




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                                   Department of Health and Human Services       93.237   Special Diabetes        To promote improved              https:/ https:/
                                                                                          Program for Indians     health care among                /       /
                                                                                          Diabetes Prevention     American Indians/                sam.g www.
                                   Department of Health and Human Services       93.239   and Treatment
                                                                                          Policy ResearchProjects
                                                                                                           and    Alaska
                                                                                                                  The     Natives
                                                                                                                      goals of thisthrough
                                                                                                                                     listing       ov/fal/ https:/
                                                                                                                                                   https:/ usasp
                                                                                          Evaluation Grants       are to improve the               /       /
                                                                                                                  effectiveness of public          sam.g www.
                                   Department of Health and Human Services       93.240   State Capacity Building policies  thatmandated
                                                                                                                  To ful ll the reduce             ov/fal/
                                                                                                                                                   https:/ usasp
                                                                                                                                                           https:/
                                                                                                                  objectives of the                /       /
                                                                                                                  Comprehensive                    sam.g www.
                                                                                                                  Environmental                    ov/fal/ usasp
                                   Department of Health and Human Services       93.241   State Rural Hospital    The Rural Hospital               https:/ https:/
                                                                                          Flexibility Program     Flexibility Program              /       /
                                                                                                                  (Flex) enables state             sam.g www.
                                   Department of Health and Human Services       93.242                           designated
                                                                                          Mental Health Research The   missionentities
                                                                                                                                 of the to         ov/fal/ https:/
                                                                                                                                                   https:/ usasp
                                                                                          Grants                      National Institute of     /       /
                                                                                                                      Mental Health (NIMH) is sam.g www.
                                   Department of Health and Human Services       93.243   Substance Abuse and         to transform
                                                                                                                      SAMHSA     wasthe
                                                                                                                                      given the ov/fal/ usasp
                                                                                                                                                https:/ https:/
                                                                                          Mental Health Services      authority to address      /       /
                                                                                          Projects of Regional        priority substance        sam.g www.
                                                                                          and National                abuse treatment,          ov/fal/ usasp
                                   Department of Health and Human Services       93.247   Advanced Nursing            ANEW: The purpose of https:/ https:/
                                                                                          Education Workforce         the Advanced Nursing      /       /
                                                                                          Grant Program               Education Workforce       sam.g www.
                                   Department of Health and Human Services       93.250   Geriatric Academic          (ANEW)    Program
                                                                                                                      The purpose of the  is to ov/fal/
                                                                                                                                                https:/ usasp
                                                                                                                                                        https:/
                                                                                          Career Awards           GACA program is to               /       /
                                                                                          Department of Health    support the career               sam.g www.
                                                                                          and Human Services      development of                   ov/fal/ usasp
                                   Department of Health and Human Services       93.251   Early Hearing Detection The Early Hearing                https:/ https:/
                                                                                          and Intervention        Detection and                    /       /
                                                                                                                  Intervention (EHDI)              sam.g www.
                                   Department of Health and Human Services       93.253                           program
                                                                                          Poison Center Support The        supports
                                                                                                                       objectives are (1)          ov/fal/ https:/
                                                                                                                                                   https:/ usasp
                                                                                          and Enhancement             to support Poison            /       /
                                                                                          Grant                       Control Centers efforts      sam.g www.
                                   Department of Health and Human Services       93.255   Children's Hospitals    to prevent,
                                                                                                                  The  purpose and
                                                                                                                                 of provide
                                                                                                                                    the            ov/fal/ https:/
                                                                                                                                                   https:/ usasp
                                                                                          Graduate Medical        CHGME Payment                    /       /
                                                                                          Education Payment       Program is to                    sam.g www.
                                                                                          Program                 compensate for the               ov/fal/ usasp
                                   Department of Health and Human Services       93.257   Grants for Education,   The Radiation Exposure           https:/ https:/
                                                                                          Prevention, and Early   Screening and                    /       /
                                                                                          Detection of Radiogenic Education Program                sam.g www.
                                   Department of Health and Human Services       93.260   Cancers  and Diseases aims
                                                                                          Family Planning               to screen
                                                                                                                  To provide  job speci c          ov/fal/
                                                                                                                                                   https:/ usasp
                                                                                                                                                           https:/
                                                                                          Personnel Training          training for personnel       /       /
                                                                                                                      working in Title X           sam.g www.
                                                                                                                      settings to improve the      ov/fal/ usasp
                                   Department of Health and Human Services       93.262   Occupational Safety         To (1) recognize new         https:/ https:/
                                                                                          and Health Program          hazards; (2) de ne the       /       /
                                                                                                                      magnitude of the             sam.g www.
                                   Department of Health and Human Services       93.264   Nurse Faculty Loan          problem;
                                                                                                                      The  Nurse(3)Faculty
                                                                                                                                    follow Loan    ov/fal/ https:/
                                                                                                                                                   https:/ usasp
                                                                                          Program (NFLP)              Program (NFLP) seeks         /       /
                                                                                                                      to increase the number       sam.g www.
                                   Department of Health and Human Services       93.266   Health Systems              of quali
                                                                                                                      Fund     ed nursing
                                                                                                                             human  resources      ov/fal/ https:/
                                                                                                                                                   https:/ usasp
                                                                                          Strengthening and HIV/for health, quality                /       /
                                                                                          AIDS Prevention, Care improvement and other              sam.g www.
                                                                                          and Treatment under   health system                      ov/fal/ usasp
                                   Department of Health and Human Services       93.268   Immunization          To assist states and               https:/ https:/
                                                                                          Cooperative           communities in                     /       /
                                                                                          Agreements            establishing and                   sam.g www.
                                   Department of Health and Human Services       93.269   Complex Humanitarian maintaining   preventive
                                                                                                                To bring public  health            ov/fal/
                                                                                                                                                   https:/ usasp
                                                                                                                                                           https:/
                                                                                          Emergency and War-    and epidemiologic                  /       /
                                                                                          Related Injury Public principles to the aid of           sam.g www.
                                   Department of Health and Human Services       93.270   Health
                                                                                          Viral  Activities
                                                                                                Hepatitis       populations
                                                                                                                Program      affected by
                                                                                                                          activities               ov/fal/ https:/
                                                                                                                                                   https:/ usasp
                                                                                          Prevention and Control support integrated viral          /     /
                                                                                                                 hepatitis surveillance            sam.g www.
                                   Department of Health and Human Services       93.273   Alcohol Research       anddevelop
                                                                                                                 To  prevention
                                                                                                                             a sound        ov/fal/ usasp
                                                                                                                                            https:/ https:/
                                                                                          Programs               fundamental knowledge /            /
                                                                                                                 base which can be          sam.g www.
                                   Department of Health and Human Services       93.276                          applied
                                                                                          Drug-Free Communities The        to theof the DFC ov/fal/
                                                                                                                       purpose                      usasp
                                                                                                                                            https:/ https:/
                                                                                          Support Program        Support Program is to      /       /
                                                                                          Grants                 establish and              sam.g www.
                                                                                                                 strengthen                 ov/fal/ usasp
                                   Department of Health and Human Services       93.279   Drug Use and Addiction To support basic,          https:/ https:/
                                                                                          Research Programs      clinical, translational,   /       /
                                                                                                                 and implementation         sam.g www.
                                   Department of Health and Human Services       93.280   National Institutes of research    in the  eld
                                                                                                                 To attract and retain   of ov/fal/
                                                                                                                                            https:/ usasp
                                                                                                                                                    https:/
                                                                                          Health Extramural Loan health professionals to           /       /
                                                                                          Repayment Program      research careers by               sam.g www.
                                   Department of Health and Human Services       93.283   Centers for Disease    offering
                                                                                                                 To assisteducational
                                                                                                                           State and               ov/fal/ https:/
                                                                                                                                                   https:/ usasp
                                                                                          Control and Prevention      local health authorities     /       /
                                                                                          Investigations and          and other health related     sam.g www.
                                                                                          Technical Assistance        organizations in             ov/fal/ usasp
                                   Department of Health and Human Services       93.284   Injury Prevention           To improve the quality       https:/ https:/
                                                                                          Program for American        of the health of             /       /
                                                                                          Indians and Alaskan         American Indians and         sam.g www.
                                   Department of Health and Human Services       93.286   Natives Cooperative
                                                                                          Discovery  and Applied      Alaskan
                                                                                                                      To       Natives
                                                                                                                          support      by
                                                                                                                                  hypothesis-,     ov/fal/ https:/
                                                                                                                                                   https:/ usasp
                                                                                          Research for            design-, technology-, or         /       /
                                                                                          Technological           device-driven research           sam.g www.
                                                                                          Innovations to Improve related to the discovery,         ov/fal/ usasp
                                   Department of Health and Human Services       93.288   National Health Service The purpose of the               https:/ https:/
                                                                                          Corps Scholarship       NHSC SP is to enter              /       /
                                                                                          Program                 into contracts with              sam.g www.
                                   Department of Health and Human Services       93.291   Surplus Property        students
                                                                                                                  To conveywho   are in
                                                                                                                             or lease              ov/fal/
                                                                                                                                                   https:/ usasp
                                                                                                                                                           https:/
                                                                                          Utilization                 surplus Federal real         /       /
                                                                                                                      properties made              sam.g www.
                                   Department of Health and Human Services       93.297   Teenage Pregnancy           available
                                                                                                                      The       by the
                                                                                                                           purpose  of the         ov/fal/ https:/
                                                                                                                                                   https:/ usasp
                                                                                          Prevention Program     Teenage Pregnancy                 /       /
                                                                                                                 Prevention (TPP)                  sam.g www.
                                                                                                                 Program is to support             ov/fal/ usasp
                                   Department of Health and Human Services       93.300   National Health Center To provide for the                https:/ https:/
                                                                                          for Health Workforce   development of                    /       /
                                                                                          Analysis               information describing            sam.g www.
                                   Department of Health and Human Services       93.301   Small Rural Hospital   and analyzing
                                                                                                                 The  Small Rural the              ov/fal/ https:/
                                                                                                                                                   https:/ usasp
                                                                                          Improvement Grant      Hospital Improvement              /       /
                                                                                          Program                Program supports                  sam.g www.
                                                                                                                 eligible small rural              ov/fal/ usasp
                                   Department of Health and Human Services       93.303   Nurse Corps            The Nurse Corps                   https:/ https:/
                                                                                          Scholarship            Scholarship Program's             /       /
                                                                                                                 objective is to increase          sam.g www.
                                   Department of Health and Human Services       93.304   Racial and Ethnic      the
                                                                                                                 Thesupply
                                                                                                                      purposeandof this            ov/fal/
                                                                                                                                                   https:/ usasp
                                                                                                                                                           https:/
                                                                                          Approaches to               program is to fund           /       /
                                                                                          Community Health            National Networks to         sam.g www.
                                   Department of Health and Human Services       93.307   Minority Health and         fund,
                                                                                                                      To    manage,
                                                                                                                         support      support,
                                                                                                                                 basic,            ov/fal/ https:/
                                                                                                                                                   https:/ usasp
                                                                                          Health Disparities      clinical, social, and            /       /
                                                                                          Research                behavioral research;             sam.g www.
                                                                                                                  promote research                 ov/fal/ usasp
                                   Department of Health and Human Services       93.310   Trans-NIH Research      This listing covers              https:/ https:/
                                                                                          Support                 multiple of ces in the           /       /
                                                                                                                  NIH Of ce of the                 sam.g www.
                                   Department of Health and Human Services       93.313                           Directorwill
                                                                                          NIH Of ce of Research ORWH        thatidentify
                                                                                                                                  offer            ov/fal/ https:/
                                                                                                                                                   https:/ usasp
                                                                                          on Women's Health       projects on women's              /       /
                                                                                                                  health that should be            sam.g www.
                                   Department of Health and Human Services       93.314                           conducted
                                                                                          Early Hearing Detection The          or supported
                                                                                                                        objective  of this         ov/fal/ https:/
                                                                                                                                                   https:/ usasp
                                                                                          and Intervention        program is to assist             /       /
                                                                                          Information System      EHDI programs in                 sam.g www.
                                                                                          (EHDI-IS) Surveillance developing and                    ov/fal/ usasp
                                   Department of Health and Human Services       93.315   Rare Disorders:         To (1) Promote public            https:/ https:/
                                                                                          Research, Surveillance, health capacity by               /       /
                                                                                          Health Promotion, and conducting research to             sam.g www.
                                   Department of Health and Human Services       93.316   Education
                                                                                          Public Health           expand
                                                                                                                  The     the goal
                                                                                                                       overall knowledge
                                                                                                                                   of this         ov/fal/ https:/
                                                                                                                                                   https:/ usasp
                                                                                          Preparedness and       program is to conduct             /       /
                                                                                          Response Science,      research and related              sam.g www.
                                                                                          Research, and Practice public health                     ov/fal/ usasp
                                   Department of Health and Human Services       93.317   Emerging Infections    The purpose of the                https:/ https:/
                                                                                          Programs               Emerging Infections               /       /
                                                                                                                 Programs (EIP) is to              sam.g www.
                                   Department of Health and Human Services       93.318   Protecting and         assist in local,
                                                                                                                 CDCâ€™s          state,
                                                                                                                              global               ov/fal/ https:/
                                                                                                                                                   https:/ usasp
                                                                                          Improving Health            health efforts are to        /       /
                                                                                          Globally: Building and      assist Ministries of         sam.g www.
                                   Department of Health and Human Services       93.319   Strengthening
                                                                                          Outreach        Publicto
                                                                                                    Programs      Health  and other
                                                                                                                  The purpose      of this         ov/fal/ https:/
                                                                                                                                                   https:/ usasp
                                                                                          Reduce the Prevalence listing is to assist Land-         /       /
                                                                                          of Obesity in High Risk Grant institutions               sam.g www.
                                                                                          Rural Areas             conduct pilot programs           ov/fal/ usasp
                                   Department of Health and Human Services       93.321   Dietary Supplement      The NIH Of ce of                 https:/ https:/
                                                                                          Research Program        Dietary Supplements              /       /
                                                                                                                  will identify projects that      sam.g www.
                                   Department of Health and Human Services       93.322   CDC Partnership:        should
                                                                                                                  The      be conducted
                                                                                                                        activities         or
                                                                                                                                   under this      ov/fal/ https:/
                                                                                                                                                   https:/ usasp
                                                                                          Strengthening Public    cooperative agreement            /       /
                                                                                          Health Laboratories     are aligned with the             sam.g www.
                                                                                                                  following Healthy                ov/fal/ usasp
                                   Department of Health and Human Services       93.323   Epidemiology and        The purpose of this              https:/ https:/
                                                                                          Laboratory Capacity for program is to protect            /       /
                                                                                          Infectious Diseases     the public health and            sam.g www.
                                   Department of Health and Human Services       93.324   (ELC)
                                                                                          State Health Insurance safety  of the
                                                                                                                  To provide    American
                                                                                                                              information,         ov/fal/ https:/
                                                                                                                                                   https:/ usasp
                                                                                          Assistance Program      counseling, and                  /       /
                                                                                                                  assistance relating to           sam.g www.
                                   Department of Health and Human Services       93.325   Paralysis Resource      obtaining
                                                                                                                  The        adequate
                                                                                                                       Paralysis       and
                                                                                                                                  Resource         ov/fal/ https:/
                                                                                                                                                   https:/ usasp
                                                                                          Center                      Center (PRC) grant is        /       /
                                                                                                                      awarded to the               sam.g www.
                                                                                                                      Christopher & Dana           ov/fal/ usasp
                                   Department of Health and Human Services       93.326   Strengthening Public        CDCâ€™s global               https:/ https:/
                                                                                          Health through              health efforts are to        /       /
                                                                                          Surveillance,               assist Ministries of         sam.g www.
                                   Department of Health and Human Services       93.327   Epidemiologic
                                                                                          Demonstration Grants        Health
                                                                                                                      The Of and  other
                                                                                                                              ce on                ov/fal/ https:/
                                                                                                                                                   https:/ usasp
                                                                                          for Domestic Victims of Traf cking in Persons            /       /
                                                                                          Human Traf cking        (OTIP) currently funds           sam.g www.
                                   Department of Health and Human Services       93.332   Cooperative Agreement the
                                                                                                                  Eachfollowing three
                                                                                                                        year, the Centers          ov/fal/
                                                                                                                                                   https:/ usasp
                                                                                                                                                           https:/
                                                                                          to Support Navigators in for Medicare &                  /       /
                                                                                          Federally-facilitated    Medicaid Services               sam.g www.
                                   Department of Health and Human Services       93.334   Exchanges
                                                                                          The Healthy Brain        (CMS)
                                                                                                                   The    awardsoffunding
                                                                                                                        purpose    the             ov/fal/ https:/
                                                                                                                                                   https:/ usasp
                                                                                          Initiative: Technical       listing is to implement      /       /
                                                                                          Assistance to               public health actions        sam.g www.
                                   Department of Health and Human Services       93.336   Implement Public
                                                                                          Behavioral    Risk Factor   through
                                                                                                                      The       engagement
                                                                                                                            purpose   of this of   ov/fal/ https:/
                                                                                                                                                   https:/ usasp
                                                                                          Surveillance System         program is to provide        /       /
                                                                                                                      assistance to State and      sam.g www.
                                                                                                                      Territorial Health           ov/fal/ usasp




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                         Department of Health and Human Services       93.341   Analyses, Research     To further CMSâ€™        https:/ https:/
                                                                                and Studies to Address mission and goals        /       /
                                                                                the Impact of CMSâ€™ related to providing high sam.g www.
                         Department of Health and Human Services       93.342   Programs
                                                                                Health    on American To
                                                                                       Professions     quality health
                                                                                                          increase    care to
                                                                                                                    educational ov/fal/
                                                                                                                                https:/ usasp
                                                                                                                                        https:/
                                                                                Student Loans,         opportunities by         /       /
                                                                                Including Primary Care providing long-term,     sam.g www.
                         Department of Health and Human Services       93.343   Loans  and Loans  for
                                                                                Public Health Service  low-interest loans to
                                                                                                       To evaluate programs     ov/fal/
                                                                                                                                https:/ usasp
                                                                                                                                        https:/
                                                                                Evaluation Funds           and services                 /       /
                                                                                                           administered by public       sam.g www.
                                                                                                           and private entities         ov/fal/ usasp
                         Department of Health and Human Services       93.344   Research, Monitoring       Enhance the work of          https:/ https:/
                                                                                and Outcomes               local communities and        /       /
                                                                                De nitions for Vaccine     their partnerships with      sam.g www.
                         Department of Health and Human Services       93.345   Safety
                                                                                Leading Edge               immunization
                                                                                                           Through this notice of       ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                Acceleration Projects   funding opportunity             /       /
                                                                                (LEAP) in Health        (NOFO) ONC seeks to             sam.g www.
                         Department of Health and Human Services       93.346   Informationthe
                                                                                Enhancing   Technology
                                                                                               Logical partner   withsource
                                                                                                        This single   innovative        ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                Observation Identi ers cooperative agreement            /       /
                                                                                Names and Codes         to Regenstrief, is being        sam.g www.
                                                                                (LOINCÂ®) Standard to made in order to                  ov/fal/ usasp
                         Department of Health and Human Services       93.347   Trusted Exchange        The purpose of this             https:/ https:/
                                                                                Framework and           program is to support           /       /
                                                                                Common Agreement        efforts to advance the          sam.g www.
                         Department of Health and Human Services       93.348   (TEFCA)
                                                                                Technical Recognized
                                                                                          Assistance to establishment   of an
                                                                                                        To provide technical            ov/fal/
                                                                                                                                        https:/ usasp
                                                                                                                                                https:/
                                                                                Increase Tobacco           assistance to state          /       /
                                                                                Cessation                  tobacco control              sam.g www.
                                                                                                           programs and national        ov/fal/ usasp
                         Department of Health and Human Services       93.349   Packaging and              The purpose of this          https:/ https:/
                                                                                Spreading Proven           program is to increase       /       /
                                                                                Pediatric Weight           the availability and         sam.g www.
                         Department of Health and Human Services       93.350   Management
                                                                                National Center for        number of
                                                                                                           NCATS'     packaged
                                                                                                                    mission   is to     ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                Advancing Translational turn research             /       /
                                                                                Sciences                observations into health sam.g www.
                         Department of Health and Human Services       93.351                           solutions
                                                                                Research Infrastructure The   Of cethrough
                                                                                                                      of Research ov/fal/ usasp
                                                                                                                                  https:/ https:/
                                                                                Programs                Infrastructure Programs /         /
                                                                                                        (ORIP) is a program       sam.g www.
                                                                                                        of ce in the Division of  ov/fal/ usasp
                         Department of Health and Human Services       93.352   Construction Support    To renovate existing      https:/ https:/
                                                                                                        research facilities and   /       /
                                                                                                        build new research        sam.g www.
                         Department of Health and Human Services       93.353                           facilities to meet basic
                                                                                21st Century Cures Act To provide support for     ov/fal/
                                                                                                                                  https:/ usasp
                                                                                                                                          https:/
                                                                                - Beau Biden Cancer   initiatives funded under          /       /
                                                                                Moonshot              the 21st Century Cures            sam.g www.
                                                                                                      Act to support cancer             ov/fal/ usasp
                         Department of Health and Human Services       93.354   Public Health         The intent of this                https:/ https:/
                                                                                Emergency Response: program is to fund                  /       /
                                                                                Cooperative Agreement state, local, and                 sam.g www.
                         Department of Health and Human Services       93.355   for Emergency
                                                                                Public Health         territorial
                                                                                                      The   Of cepublic
                                                                                                                   of thehealth         ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                Informatics &              National Coordinator for /       /
                                                                                Technology Workforce       Health Information       sam.g www.
                         Department of Health and Human Services       93.356   Development
                                                                                Head          Program
                                                                                      Start Disaster       Technology
                                                                                                           Head         (ONC) has ov/fal/
                                                                                                                  Start Disaster            usasp
                                                                                                                                    https:/ https:/
                                                                                Recovery                   Recovery provides        /       /
                                                                                                           supplemental funding     sam.g www.
                                                                                                           for Head Start programs ov/fal/ usasp
                         Department of Health and Human Services       93.359   Nurse Education,           Mobile Health Training   https:/ https:/
                                                                                Practice Quality and       Program (NEPQR-          /       /
                                                                                Retention Grants           MHTP): The purpose of sam.g www.
                         Department of Health and Human Services       93.360   Biomedical Advanced        this program  is to
                                                                                                           The purpose of this      ov/fal/
                                                                                                                                    https:/ usasp
                                                                                                                                            https:/
                                                                                Research and               program is to                /       /
                                                                                Development Authority      coordinate the               sam.g www.
                         Department of Health and Human Services       93.361   (BARDA),
                                                                                Nursing  Biodefense
                                                                                        Research           acceleration
                                                                                                           Nurses       of
                                                                                                                  understand that       ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                                      improving health and              /       /
                                                                                                      well-being means                  sam.g www.
                         Department of Health and Human Services       93.364                         addressing
                                                                                Nursing Student Loans To increase educational           ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                                      opportunities by                  /       /
                                                                                                      providing long-term,              sam.g www.
                         Department of Health and Human Services       93.365   Sickle Cell Treatment low-interest
                                                                                                      The          loans
                                                                                                           objectives     to
                                                                                                                      of this           ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                Demonstration Program project is to support the         /       /
                                                                                                        development and                 sam.g www.
                                                                                                        establishment of                ov/fal/ usasp
                         Department of Health and Human Services       93.366   State Actions to        To establish oral health        https:/ https:/
                                                                                Improve Oral Health     leadership and program          /       /
                                                                                Outcomes and Partner guidance, oral health              sam.g www.
                         Department of Health and Human Services       93.367   Actions
                                                                                Flexible Funding Model data
                                                                                        to Improve Oral      collection
                                                                                                        Advance   effortsand
                                                                                                                          for a         ov/fal/
                                                                                                                                        https:/ usasp
                                                                                                                                                https:/
                                                                                - Infrastructure          nationally integrated         /       /
                                                                                Development and           food safety system            sam.g www.
                         Department of Health and Human Services       93.368   Maintenance
                                                                                21st           for State
                                                                                      Century Cures       (IFSS)
                                                                                                      Act To       by supporting
                                                                                                              provide  support for      ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                - Precision Medicine      initiatives funded under      /       /
                                                                                Initiative                the 21st Century Cures        sam.g www.
                                                                                                          Act, the All of Us            ov/fal/ usasp
                         Department of Health and Human Services       93.369   ACL Independent Living To provide nancial               https:/ https:/
                                                                                State Grants              assistance to States for      /       /
                                                                                                          expanding and                 sam.g www.
                         Department of Health and Human Services       93.370   21st Century Cures Act: Toimproving
                                                                                                              providethe  provision
                                                                                                                       support for      ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                Regenerative Medicine initiatives funded under          /       /
                                                                                Initiative              the 21st Century Cures          sam.g www.
                                                                                                        Act to support the              ov/fal/ usasp
                         Department of Health and Human Services       93.372   21st Century Cures Act To provide extramural            https:/ https:/
                                                                                -          Brain        research support for the        /       /
                                                                                Research through        Brain Research                  sam.g www.
                         Department of Health and Human Services       93.376   Advancing    Innovative
                                                                                Title: Multiple         Through  Advancing
                                                                                                        Goals resulting from            ov/fal/
                                                                                                                                        https:/ usasp
                                                                                                                                                https:/
                                                                                Approaches to Support providing support to              /       /
                                                                                Young Breast Cancer      young breast cancer            sam.g www.
                         Department of Health and Human Services       93.377   Survivors and
                                                                                Prevention  and Control survivors
                                                                                                         The purpose andof this ve-     ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                of Chronic Disease and year program is to               /       /
                                                                                Associated Risk Factors reduce the rates of             sam.g www.
                                                                                in the U.S. Af liated    disability and death           ov/fal/ usasp
                         Department of Health and Human Services       93.378   Integrated Care for Kids The purpose of this            https:/ https:/
                                                                                Model                    cooperative agreement          /       /
                                                                                                         funding opportunity is to      sam.g www.
                         Department of Health and Human Services       93.382   Indian Health Service    support
                                                                                                         The IndiantheHealth            ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                Community Health Aide Service (IHS)                     /       /
                                                                                Program               Community Health Aide             sam.g www.
                                                                                                      Program (CHAP)                    ov/fal/ usasp
                         Department of Health and Human Services       93.383   Public Health Nursing Public Health Nursing             https:/ https:/
                                                                                                      (PHN) patient care                /       /
                                                                                                      coordination activities           sam.g www.
                         Department of Health and Human Services       93.384   ADVANCED              aim
                                                                                                      The to serve the
                                                                                                          purpose       patient
                                                                                                                    of this             ov/fal/
                                                                                                                                        https:/ usasp
                                                                                                                                                https:/
                                                                                RESEARCH               program is to                    /       /
                                                                                PROJECTS AGENCY coordinate the                          sam.g www.
                         Department of Health and Human Services       93.386   for HEALTH
                                                                                Medical     (ARPA-H)
                                                                                        Reserve  Corps acceleration of
                                                                                                       To support the                   ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                Small Grant Program    development of Medical           /       /
                                                                                                       Reserve Corps (MRC)              sam.g www.
                                                                                                       units in communities             ov/fal/ usasp
                         Department of Health and Human Services       93.387   National and State     The Centers for                  https:/ https:/
                                                                                Tobacco Control        Disease Control and              /       /
                                                                                Program                Prevention (CDC),                sam.g www.
                         Department of Health and Human Services       93.388   Biomedical Advanced    National
                                                                                                       The       Center
                                                                                                            purpose      for
                                                                                                                     of this            ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                Research and               program is to                /       /
                                                                                Development Authority      coordinate the               sam.g www.
                         Department of Health and Human Services       93.391   (BARDA),toBiodefense
                                                                                Activities Support        acceleration  of
                                                                                                          CDC will strengthen    the    ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                State, Tribal, Local and U.S. public health             /       /
                                                                                Territorial (STLT) Health systemâ€™s response           sam.g www.
                                                                                Department Response to public health or                 ov/fal/ usasp
                         Department of Health and Human Services       93.393   Cancer Cause and          To identify cancer risks      https:/ https:/
                                                                                Prevention Research       and risk reduction            /       /
                                                                                                          strategies, to identify       sam.g www.
                         Department of Health and Human Services       93.394   Cancer Detection and To   factors that screening
                                                                                                             improve   cause            ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                Diagnosis Research         and early detection          /       /
                                                                                                           strategies and to            sam.g www.
                                                                                                           develop accurate             ov/fal/ usasp
                         Department of Health and Human Services       93.395   Cancer Treatment           To develop the means         https:/ https:/
                                                                                Research                   to cure as many cancer       /       /
                                                                                                           patients as possible and     sam.g www.
                         Department of Health and Human Services       93.396   Cancer Biology             to control
                                                                                                           To providethe  disease in
                                                                                                                       fundamental      ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                Research                   information on the           /       /
                                                                                                           cause and nature of          sam.g www.
                         Department of Health and Human Services       93.397   Cancer Centers             cancer
                                                                                                           To     in people,
                                                                                                              provide an     with       ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                Support Grants             organizational focus         /       /
                                                                                                           and stimulus for the         sam.g www.
                                                                                                           highest quality cancer       ov/fal/ usasp
                         Department of Health and Human Services       93.398   Cancer Research            To make available            https:/ https:/
                                                                                Manpower                   support to nonpro t and      /       /
                                                                                                           for-pro t institutions       sam.g www.
                         Department of Health and Human Services       93.399   Cancer Control             interested
                                                                                                           To          in providing
                                                                                                               reduce cancer    risk,   ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                                           incidence, morbidity,        /       /
                                                                                                           and mortality and            sam.g www.
                                                                                                           enhance quality of life in   ov/fal/ usasp
                         Department of Health and Human Services       93.413   The State Flexibility to   The State Flexibility to     https:/ https:/
                                                                                Stabilize the Market       Stabilize the Market         /       /
                                                                                Grant Program              Cycle I and II Grant         sam.g www.
                         Department of Health and Human Services       93.421   Strengthening Public       Programs
                                                                                                           The  goal iswill
                                                                                                                        to provide
                                                                                                                            fund   a    ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                Health Systems and        nongovernmental            /       /
                                                                                Services through          organizations with         sam.g www.
                         Department of Health and Human Services       93.422   National Partnerships
                                                                                National  Partnerships to
                                                                                                       to The
                                                                                                          demonstrated
                                                                                                               purpose ofcapability,
                                                                                                                          this       ov/fal/ usasp
                                                                                                                                     https:/ https:/
                                                                                promote cancer            program is to enhance      /       /
                                                                                surveillance standards the data quality and          sam.g www.
                                                                                and support data quality operational ef ciency of ov/fal/ usasp
                         Department of Health and Human Services       93.423   1332 State Innovation Under Section 1332 of          https:/ https:/
                                                                                Waivers                   the ACA, states can        /       /
                                                                                                          apply for State            sam.g www.
                         Department of Health and Human Services       93.426   The National              Innovation
                                                                                                          This       Waivers
                                                                                                               program  supports     ov/fal/ https:/
                                                                                                                                     https:/ usasp
                                                                                Cardiovascular Health   extensive scienti c             /       /
                                                                                Program                 evidence, links                 sam.g www.
                         Department of Health and Human Services       93.427   Provision of Technical nonmedical
                                                                                                        The purposefactors,
                                                                                                                       of this          ov/fal/
                                                                                                                                        https:/ usasp
                                                                                                                                                https:/
                                                                                Assistance and Training program is to fund              /       /
                                                                                Activities to Assure    recipients with proven          sam.g www.
                         Department of Health and Human Services       93.428   Comprehensive Cancer To
                                                                                Strengthening           capacities
                                                                                                           assist inand  expertise
                                                                                                                     planning  or       ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                Emergency Care             developing emergency         /       /
                                                                                Delivery in the United     care health information      sam.g www.
                         Department of Health and Human Services       93.429   States Science
                                                                                ASPR   Healthcare          andconduct
                                                                                                           To  promotion                ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                Preparedness and           preparedness and             /       /
                                                                                Response Grants            response research that       sam.g www.
                                                                                                           will inform the ongoing      ov/fal/ usasp




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                                                                                                                                                            #: 69
                    Department of Health and Human Services       93.431   Networking2Saveâ€         The Of ce on Smoking https:/ https:/
                                                                                                     and Health and Division /       /
                                                                                                     of Cancer Prevention    sam.g www.
                    Department of Health and Human Services       93.432   ACL Centers for           andsupport
                                                                                                     To  Controlaseek  to
                                                                                                                  Statewide  ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                           Independent Living        network of centers for  /       /
                                                                                                     independent living      sam.g www.
                    Department of Health and Human Services       93.433   ACL National Institute    (centers or CILs)
                                                                                                     To support and    and   ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                           on Disability,          coordinate research             /       /
                                                                           Independent Living, and and its utilization in          sam.g www.
                                                                           Rehabilitation Research order to improve the            ov/fal/ usasp
                    Department of Health and Human Services       93.434   Every Student           Section 9212 of the             https:/ https:/
                                                                           Succeeds Act/           Every Student                   /       /
                                                                           Preschool Development Succeeds Act (ESSA),              sam.g www.
                    Department of Health and Human Services       93.436   Grants
                                                                           WELL-INTEGRATED         PL 114-95
                                                                                                   The purpose  establishes
                                                                                                                  of this          ov/fal/ https:/
                                                                                                                                   https:/ usasp
                                                                           SCREENING AND       competitive ve-year                 /       /
                                                                           EVALUATION FOR      program is to fund state            sam.g www.
                    Department of Health and Human Services       93.438   WOMEN ACROSS
                                                                           Emergency SystemTHE health
                                                                                           for To     departments
                                                                                                  establish and    and             ov/fal/ https:/
                                                                                                                                   https:/ usasp
                                                                           Advance Registration of maintain a national             /       /
                                                                           Volunteer Health        interoperable network of        sam.g www.
                                                                           Professionals           state systems. Each             ov/fal/ usasp
                    Department of Health and Human Services       93.439   State Physical Activity This program supports           https:/ https:/
                                                                           and Nutrition (SPAN     recipients to implement         /       /
                                                                                                   state and local nutrition       sam.g www.
                    Department of Health and Human Services       93.441   Indian Self-            and  physical
                                                                                                   To enable      activity
                                                                                                              Indian  tribes       ov/fal/
                                                                                                                                   https:/ usasp
                                                                                                                                           https:/
                                                                           Determination           to assume the                   /       /
                                                                                                   management and                  sam.g www.
                                                                                                   operation of programs,          ov/fal/ usasp
                    Department of Health and Human Services       93.444   Tribal Self-Governance To enable Federally              https:/ https:/
                                                                           Program: Planning and recognized Indian tribes          /       /
                                                                           Negotiation Cooperative to enter into                   sam.g www.
                    Department of Health and Human Services       93.445   Agreement
                                                                           Indian Health Service   agreements
                                                                                                   To            that would
                                                                                                      provide essential            ov/fal/ https:/
                                                                                                                                   https:/ usasp
                                                                           Sanitation Facilities     sanitation facilities,        /       /
                                                                           Construction Program      such as safe drinking         sam.g www.
                    Department of Health and Human Services       93.446   Partner Actions to        water
                                                                                                     To    and adequate
                                                                                                        establish oral health      ov/fal/ https:/
                                                                                                                                   https:/ usasp
                                                                           Improve Oral Health     leadership and program          /       /
                                                                           Outcomes                guidance, oral health           sam.g www.
                                                                                                   data collection and             ov/fal/ usasp
                    Department of Health and Human Services       93.450   Ebola Healthcare        To enable select public         https:/ https:/
                                                                           Preparedness and        health departments              /       /
                                                                           Response for Select     serving regions where           sam.g www.
                    Department of Health and Human Services       93.454   Cities
                                                                           Hospital Preparedness enhanced
                                                                                  with Enhanced               airport
                                                                                                   This program   covers           ov/fal/
                                                                                                                                   https:/ usasp
                                                                                                                                           https:/
                                                                           Program (HPP) Ebola two separate, but                   /       /
                                                                           Preparedness and        related projects: Part A        sam.g www.
                                                                           Response Activities     â€“ Health Care                 ov/fal/ usasp
                    Department of Health and Human Services       93.455   National Ebola Training CDC, will increase the          https:/ https:/
                                                                           and Education Center competency of health               /       /
                                                                           (NETEC)                 care and public health          sam.g www.
                    Department of Health and Human Services       93.456   CDC Undergraduate       workers
                                                                                                   The      and the
                                                                                                        purpose  of this           ov/fal/ https:/
                                                                                                                                   https:/ usasp
                                                                           Public Health Scholars    funding opportunity is to /         /
                                                                           Program (CUPS): A         implement a national        sam.g www.
                    Department of Health and Human Services       93.457   Public Health
                                                                           Planning Grant for        summer
                                                                                                     The   rst training
                                                                                                               objective of      ov/fal/ usasp
                                                                                                                                 https:/ https:/
                                                                           Healthcare and Public     this award is to gain an /          /
                                                                           Health Sector             understanding of the        sam.g www.
                                                                           Cybersecurity             cybersecurity threat        ov/fal/ usasp
                    Department of Health and Human Services       93.458   Enhance the Ability of    Enhance state and local https:/ https:/
                                                                           Emergency Medical         level emergency             /       /
                                                                           Services (EMS) to         medical services            sam.g www.
                    Department of Health and Human Services       93.459   transport patients with
                                                                           National Bioterrorism     operational   plans for
                                                                                                     To ready hospitals and  the ov/fal/
                                                                                                                                 https:/ usasp
                                                                                                                                         https:/
                                                                           Hospital Preparedness other healthcare                  /       /
                                                                           Program               systems, in                       sam.g www.
                    Department of Health and Human Services       93.461   HRSA COVID-19         collaboration
                                                                                                 The  COVID-19 with other
                                                                                                                 Claims            ov/fal/ https:/
                                                                                                                                   https:/ usasp
                                                                           Claims Reimbursement Reimbursement to                   /       /
                                                                           for the Uninsured     Health Care Providers             sam.g www.
                    Department of Health and Human Services       93.462   Program and the
                                                                           Strengthening   the   and
                                                                                                 This Facilities
                                                                                                      program forprovides          ov/fal/ https:/
                                                                                                                                   https:/ usasp
                                                                           Technical Advancement an opportunity to                 /       /
                                                                           & Readiness of Public strengthen and expand             sam.g www.
                    Department of Health and Human Services       93.464   Health
                                                                           ACL     via Health
                                                                                 Assistive       the ability
                                                                                                 The  2004 of   Health
                                                                                                             amendments            ov/fal/ https:/
                                                                                                                                   https:/ usasp
                                                                           Technology              to the Assistive                /       /
                                                                                                   Technology Act of 1998          sam.g www.
                                                                                                   supports State efforts to       ov/fal/ usasp
                    Department of Health and Human Services       93.465   Tobacco Prevention and The awardee will                 https:/ https:/
                                                                           Control Legal Technical provide legal technical         /       /
                                                                           Assistance              assistance and                  sam.g www.
                    Department of Health and Human Services       93.469   Assistive Technology    consultation
                                                                                                   The purposeto  ofOf
                                                                                                                    thece on       ov/fal/
                                                                                                                                   https:/ usasp
                                                                                                                                           https:/
                                                                           Alternative Financing     Assistive Technology          /       /
                                                                           Program                   (AT) Alternative              sam.g www.
                    Department of Health and Human Services       93.470   Alzheimerâ€™s             Financing
                                                                                                     The        Program
                                                                                                          purpose  of the          ov/fal/ https:/
                                                                                                                                   https:/ usasp
                                                                           Disease Program           Alzheimerâ€™s                 /       /
                                                                           Initiative (ADPI)         Disease Program               sam.g www.
                                                                                                     Initiative (ADPI) is to       ov/fal/ usasp
                    Department of Health and Human Services       93.471   Title IV-E Kinship        The title IV-E Kinship        https:/ https:/
                                                                           Navigator Program         Navigator program             /       /
                                                                                                     helps states, Indian          sam.g www.
                    Department of Health and Human Services       93.472   Title IV-E Prevention     tribes,
                                                                                                     The      tribal
                                                                                                           Title  IV-E             ov/fal/ https:/
                                                                                                                                   https:/ usasp
                                                                           Program                   Prevention Program            /       /
                                                                                                     provides funding for          sam.g www.
                                                                                                     time-limited prevention       ov/fal/ usasp
                    Department of Health and Human Services       93.478   Preventing Maternal       This funding will support     https:/ https:/
                                                                           Deaths: Supporting        existing Maternal             /       /
                                                                           Maternal Mortality        Mortality Review              sam.g www.
                    Department of Health and Human Services       93.479   Review Committees
                                                                           Good Health and           Committees
                                                                                                     The purposeto ofidentify
                                                                                                                      this         ov/fal/
                                                                                                                                   https:/ usasp
                                                                                                                                           https:/
                                                                           Wellness in Indian        Assistance Listing (AL)       /       /
                                                                           Country                   is to reduce rates of         sam.g www.
                    Department of Health and Human Services       93.488   National Harm          death
                                                                                                  The   and disability
                                                                                                       purpose  of this            ov/fal/ https:/
                                                                                                                                   https:/ usasp
                                                                           Reduction Technical    program is to                    /       /
                                                                           Assistance and Syringe strengthen harm                  sam.g www.
                                                                           Services Program       reduction programs in            ov/fal/ usasp
                    Department of Health and Human Services       93.489   Child Care Disaster    Hurricanes Fiona and             https:/ https:/
                                                                           Relief                 Ian were powerful                /       /
                                                                                                  storms that impacted             sam.g www.
                    Department of Health and Human Services       93.493   Congressional          several
                                                                                                  To      states,special
                                                                                                     implement    Tribal           ov/fal/ https:/
                                                                                                                                   https:/ usasp
                                                                           Directives              Congressionally                 /       /
                                                                                                   directed projects or            sam.g www.
                                                                                                   programs identi ed in           ov/fal/ usasp
                    Department of Health and Human Services       93.494   Global                  CDCâ€™s global                  https:/ https:/
                                                                           Tuberculosis:Developin health priorities include        /       /
                                                                           g,Evaluating,Implementi efforts towards ending          sam.g www.
                    Department of Health and Human Services       93.495   ng Evidence-based
                                                                           Community Health   and  the globaluptuberculosis
                                                                                                   To scale      Community         ov/fal/
                                                                                                                                   https:/ usasp
                                                                                                                                           https:/
                                                                           Workers for Public        Health Worker (CHW)           /       /
                                                                           Health Response and       activities across the         sam.g www.
                    Department of Health and Human Services       93.496   Resilient
                                                                           Family Violence           nation
                                                                                                     The     related of
                                                                                                          objective  to this
                                                                                                                        public     ov/fal/ https:/
                                                                                                                                   https:/ usasp
                                                                           Prevention and            program is to fund a          /       /
                                                                           Services/Culturally       wide range of                 sam.g www.
                                                                           Speci c Domestic          discretionary activities      ov/fal/ usasp
                    Department of Health and Human Services       93.497   Family Violence           This funding will support     https:/ https:/
                                                                           Prevention and            allowable activities to       /       /
                                                                           Services/ Sexual          assist states, territories,   sam.g www.
                    Department of Health and Human Services       93.498   Assault/Rape
                                                                           Provider ReliefCrisis
                                                                                           Fund      tribalProvider
                                                                                                     The    governments,
                                                                                                                    Relief and     ov/fal/ https:/
                                                                                                                                   https:/ usasp
                                                                           and American Rescue Fund supported eligible             /       /
                                                                           Plan (ARP) Rural      health care providers in          sam.g www.
                    Department of Health and Human Services       93.499   Distribution
                                                                           Low                   the battle
                                                                                Income Household The        against
                                                                                                      objective      the
                                                                                                                of the             ov/fal/ https:/
                                                                                                                                   https:/ usasp
                                                                           Water Assistance        Low Income Household            /       /
                                                                           Program                 Water Assistance                sam.g www.
                                                                                                   program is to meet              ov/fal/ usasp
                    Department of Health and Human Services       93.504   Family to Family Health To develop and support          https:/ https:/
                                                                           Information Centers     Family-to-Family Health         /       /
                                                                                                   Information Centers             sam.g www.
                    Department of Health and Human Services       93.516                           (F2FRegional
                                                                           Public Health Training The   HICs) which
                                                                                                                 Public            ov/fal/ https:/
                                                                                                                                   https:/ usasp
                                                                           Centers Program       Health Training Center            /       /
                                                                                                 program improves the              sam.g www.
                                                                                                 Nation's public health            ov/fal/ usasp
                    Department of Health and Human Services       93.526   Grants for Capital    To award Health Center            https:/ https:/
                                                                           Development in Health Capital Development               /       /
                                                                           Centers               Grants for (1)                    sam.g www.
                    Department of Health and Human Services       93.527   Grants for New and    immediate
                                                                                                 To provide facility
                                                                                                             for expanded          ov/fal/ https:/
                                                                                                                                   https:/ usasp
                                                                           Expanded Services       and/or sustained                /       /
                                                                           under the Health Center national investment in          sam.g www.
                    Department of Health and Human Services       93.530   Program Health Center The
                                                                           Teaching                health centersof
                                                                                                        objective funded
                                                                                                                    the            ov/fal/ https:/
                                                                                                                                   https:/ usasp
                                                                           Graduate Medical          THCGME program is to          /       /
                                                                           Education Payment         expand primary care           sam.g www.
                                                                                                     medical and dental            ov/fal/ usasp
                    Department of Health and Human Services       93.534   Affordable Care Act       The overall goals of this     https:/ https:/
                                                                           Program for Early         program are for Early         /       /
                                                                           Detection of Certain      Detection of Certain          sam.g www.
                    Department of Health and Human Services       93.550   Medical Conditions
                                                                           Transitional Living for   Medical
                                                                                                     The     Conditions
                                                                                                         Transitional Living       ov/fal/ https:/
                                                                                                                                   https:/ usasp
                                                                           Homeless Youth            Program (TLP) and             /       /
                                                                                                     Maternity Group Home          sam.g www.
                                                                                                     (MGH) Programs help           ov/fal/ usasp
                    Department of Health and Human Services       93.556   MaryLee Allen             The objectives of the         https:/ https:/
                                                                           Promoting Safe and        MaryLee Allen                 /       /
                                                                           Stable Families           Promoting Safe and            sam.g www.
                    Department of Health and Human Services       93.557   Program
                                                                           Education and             Stable
                                                                                                     The    Families
                                                                                                         Service Connection        ov/fal/ https:/
                                                                                                                                   https:/ usasp
                                                                           Prevention Grants to    for Youth on the Streets,       /       /
                                                                           Reduce Sexual Abuse also referred to as the             sam.g www.
                    Department of Health and Human Services       93.558   of Runaway,
                                                                           Temporary   Homeless Street
                                                                                      Assistance          Outreach
                                                                                                   To provide  grants to           ov/fal/ https:/
                                                                                                                                   https:/ usasp
                                                                           for Needy Families      States and the District         /       /
                                                                                                   of Columbia, Territories,       sam.g www.
                                                                                                   and Indian Tribes to            ov/fal/ usasp
                    Department of Health and Human Services       93.560   Payments to Territories To provide aid in the           https:/ https:/
                                                                           â€“ Adults              form of cash bene ts for        /       /
                                                                                                   food, clothing, shelter,        sam.g www.
                    Department of Health and Human Services       93.563                           and/or
                                                                           Child Support Services The      other essentials
                                                                                                        purpose  of this           ov/fal/ https:/
                                                                                                                                   https:/ usasp
                                                                                                  program is to enforce            /       /
                                                                                                  the support obligations          sam.g www.
                    Department of Health and Human Services       93.564   Child Support Services owed  by absent
                                                                                                  This program      parents
                                                                                                                provides           ov/fal/
                                                                                                                                   https:/ usasp
                                                                                                                                           https:/
                                                                           Research               federal funds for                /       /
                                                                                                  experimental, pilot, or          sam.g www.
                    Department of Health and Human Services       93.566   Refugee and Entrant    demonstration
                                                                                                  The            projects
                                                                                                       Refugee Cash    and         ov/fal/ https:/
                                                                                                                                   https:/ usasp
                                                                           Assistance State/     Medical Assistance                /     /
                                                                           Replacement Designee (CMA) Program                      sam.g www.
                    Department of Health and Human Services       93.567   Administered
                                                                           Refugee      Programs The
                                                                                    and Entrant  reimburses States
                                                                                                     Matching      and
                                                                                                               Grant        ov/fal/ https:/
                                                                                                                            https:/ usasp
                                                                           Assistance Voluntary      Program was created in /       /
                                                                           Agency Programs           1979 as an intensive   sam.g www.
                                                                                                     case management        ov/fal/ usasp




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                         Department of Health and Human Services       93.568   Low-Income Home            The objective of the          https:/ https:/
                                                                                Energy Assistance          Low Income Home               /       /
                                                                                                           Energy Assistance             sam.g www.
                         Department of Health and Human Services       93.569   Community Services         Program
                                                                                                           The     (LIHEAP)
                                                                                                               objectives      is to
                                                                                                                          of the    ov/fal/ usasp
                                                                                                                                    https:/ https:/
                                                                                Block Grant                Community Services       /       /
                                                                                                           Block Grant (CSBG) are sam.g www.
                         Department of Health and Human Services       93.570   Community Services         to provide assistance
                                                                                                           Community    Services to ov/fal/
                                                                                                                                    https:/ usasp
                                                                                                                                            https:/
                                                                                Block Grant                Block Grant              /       /
                                                                                Discretionary Awards       Discretionary Awards     sam.g www.
                                                                                                           includes three           ov/fal/ usasp
                         Department of Health and Human Services       93.575   Child Care and             The Child Care and       https:/ https:/
                                                                                Development Block          Development Fund         /       /
                                                                                Grant                      (CCDF) is the primary    sam.g www.
                         Department of Health and Human Services       93.576   Refugee and Entrant        federal
                                                                                                           The     funding of
                                                                                                                objectives source   ov/fal/ https:/
                                                                                                                              these https:/ usasp
                                                                                Assistance               discretionary programs /           /
                                                                                Discretionary Grants     are: (1) build capacity    sam.g www.
                         Department of Health and Human Services       93.579   U.S. Repatriation        for refugees
                                                                                                         The           in locations ov/fal/
                                                                                                              U.S. Repatriation             usasp
                                                                                                                                    https:/ https:/
                                                                                                         Program was                /       /
                                                                                                         established to provide     sam.g www.
                                                                                                         temporary assistance to ov/fal/ usasp
                         Department of Health and Human Services       93.581   Improving the Capability The purpose of the         https:/ https:/
                                                                                of Indian Tribal         Environmental              /       /
                                                                                Governments to           Regulatory                 sam.g www.
                         Department of Health and Human Services       93.583   Regulate  Environmental
                                                                                Refugee and Entrant      Enhancement     (ERE)
                                                                                                         The objective of the       ov/fal/
                                                                                                                                    https:/ usasp
                                                                                                                                            https:/
                                                                                Assistance Wilson/Fish Wilson Fish                       /       /
                                                                                Program                demonstration program             sam.g www.
                                                                                                       is to develop innovative          ov/fal/ usasp
                         Department of Health and Human Services       93.586   State Court            This program provides             https:/ https:/
                                                                                Improvement Program funding to state and                 /       /
                                                                                                       tribal courts to improve          sam.g www.
                         Department of Health and Human Services       93.587   Promote the Survival   the quality
                                                                                                       The         of court
                                                                                                             P&M program                 ov/fal/ https:/
                                                                                                                                         https:/ usasp
                                                                                and Continuing Vitality    provides funding for          /       /
                                                                                of Native American         projects designed to          sam.g www.
                         Department of Health and Human Services       93.590   Languages
                                                                                Community-Based        ensure continuing
                                                                                                       The objectives  of the            ov/fal/ https:/
                                                                                                                                         https:/ usasp
                                                                                Child Abuse Prevention Community-Based                   /       /
                                                                                Grants                 Child Abuse Prevention            sam.g www.
                                                                                                       Grants are (1) to                 ov/fal/ usasp
                         Department of Health and Human Services       93.591   Family Violence        The purpose of this               https:/ https:/
                                                                                Prevention and         program is to provide             /       /
                                                                                Services/State         funding for State                 sam.g www.
                         Department of Health and Human Services       93.592   Domestic  Violence
                                                                                Family Violence        Domestic  Violence
                                                                                                       The purpose   of this             ov/fal/
                                                                                                                                         https:/ usasp
                                                                                                                                                 https:/
                                                                                Prevention and             program is to fund a          /       /
                                                                                Services/Discretionary     wide range of                 sam.g www.
                                                                                                           discretionary activities      ov/fal/ usasp
                         Department of Health and Human Services       93.594   Tribal Work Grants         The Native Employment         https:/ https:/
                                                                                                           Works (NEW) grant             /       /
                                                                                                           enables eligible Indian       sam.g www.
                         Department of Health and Human Services       93.595   Welfare Reform             tribes and
                                                                                                           Welfare    Alaska Native
                                                                                                                    Research   (WR)      ov/fal/ https:/
                                                                                                                                         https:/ usasp
                                                                                Research, Evaluations      funds were authorized         /       /
                                                                                and National Studies       as a set-aside of the         sam.g www.
                         Department of Health and Human Services       93.596   Child Care Mandatory       Temporary
                                                                                                           The        Assistance
                                                                                                               Mandatory   and           ov/fal/ https:/
                                                                                                                                         https:/ usasp
                                                                                and Matching Funds of    Matching portion (or            /       /
                                                                                the Child Care and       Child Care Entitlement          sam.g www.
                                                                                Development Fund         or CCE) of the Child            ov/fal/ usasp
                         Department of Health and Human Services       93.597   Grants to States for     The purpose of this             https:/ https:/
                                                                                Access and Visitation    program is to enable            /       /
                                                                                Programs                 States to create                sam.g www.
                         Department of Health and Human Services       93.598   Services to Victims of a programs
                                                                                                         Under the which  support
                                                                                                                    Services to          ov/fal/
                                                                                                                                         https:/ usasp
                                                                                                                                                 https:/
                                                                                Severe Form of           Victims of a Severe             /       /
                                                                                Traf cking               Form of Traf cking, the         sam.g www.
                         Department of Health and Human Services       93.599   Chafee Education and To  Of provide
                                                                                                             ce on Traf cking into
                                                                                                                     resources           ov/fal/ https:/
                                                                                                                                         https:/ usasp
                                                                                Training Vouchers          states and eligible           /     /
                                                                                Program (ETV)              Indian tribes to make         sam.g www.
                         Department of Health and Human Services       93.600   Head Start                 available
                                                                                                           Head  Startvouchers for
                                                                                                                        programs   ov/fal/ usasp
                                                                                                                                   https:/ https:/
                                                                                                         promote school            /       /
                                                                                                         readiness by enhancing sam.g www.
                         Department of Health and Human Services       93.603   Adoption and Legal       the cognitive,
                                                                                                         The  objective physical,
                                                                                                                           of the  ov/fal/ usasp
                                                                                                                                   https:/ https:/
                                                                                Guardianship Incentive Adoption and Legal          /       /
                                                                                Payments Program         Guardianship Incentive sam.g www.
                                                                                                         Payments Program is to ov/fal/ usasp
                         Department of Health and Human Services       93.604   Assistance for Torture The Of ce of Refugee        https:/ https:/
                                                                                Victims                  Resettlement (ORR)        /       /
                                                                                                         provides funding to the sam.g www.
                         Department of Health and Human Services       93.605   Family Connection        Services   for  Survivors
                                                                                                         This program provides     ov/fal/
                                                                                                                                   https:/ usasp
                                                                                                                                           https:/
                                                                                Grants                   awards for the purpose /          /
                                                                                                         of helping children who sam.g www.
                         Department of Health and Human Services       93.610                            are in,
                                                                                Innovation In Behavioral The  CMSor at  risk of
                                                                                                                     Innovation    ov/fal/ https:/
                                                                                                                                   https:/ usasp
                                                                                Health                     Center is announcing a        /       /
                                                                                                           new NOFO focusing on          sam.g www.
                                                                                                           improving the quality of      ov/fal/ usasp
                         Department of Health and Human Services       93.612   Native American            The purpose of the            https:/ https:/
                                                                                Programs                   Social and Economic           /       /
                                                                                                           Development Strategies        sam.g www.
                         Department of Health and Human Services       93.618   Voting Access for          (SEDS) 291
                                                                                                           Section program  is to
                                                                                                                       of HAVA           ov/fal/ https:/
                                                                                                                                         https:/ usasp
                                                                                Individuals with           provides that funds be        /       /
                                                                                Disabilities-Grants for    made available to             sam.g www.
                                                                                Protection and             Protection and                ov/fal/ usasp
                         Department of Health and Human Services       93.623   Basic Center Grant         The purpose of the            https:/ https:/
                                                                                                           Basic Center Program          /       /
                                                                                                           is to establish or            sam.g www.
                         Department of Health and Human Services       93.630   Developmental              strengthen
                                                                                                           Developmentalthe capacity     ov/fal/
                                                                                                                                         https:/ usasp
                                                                                                                                                 https:/
                                                                                Disabilities Basic         Disabilities Basic            /       /
                                                                                Support and Advocacy       Support and Advocacy          sam.g www.
                         Department of Health and Human Services       93.631   Grants
                                                                                Developmental              Grants:
                                                                                                           To       To enable
                                                                                                              provide  for grants,       ov/fal/ https:/
                                                                                                                                         https:/ usasp
                                                                                Disabilities Projects of   contracts and                 /       /
                                                                                National Signi cance       cooperative agreements        sam.g www.
                                                                                                           for projects of national      ov/fal/ usasp
                         Department of Health and Human Services       93.632   University Centers for     To pay the Federal            https:/ https:/
                                                                                Excellence in              share of the cost of          /       /
                                                                                Developmental              administration and            sam.g www.
                         Department of Health and Human Services       93.634   Disabilities
                                                                                Support   for Education,   operation
                                                                                                           CMS        of
                                                                                                                 is presenting  this     ov/fal/ https:/
                                                                                                                                         https:/ usasp
                                                                                Ombudsman and         Funding Opportunity                /       /
                                                                                Bene ciary Counseling Announcement (FOA)                 sam.g www.
                                                                                Programs for States   to ensure that the                 ov/fal/ usasp
                         Department of Health and Human Services       93.640   Basic Health Program Section 1331 of the                 https:/ https:/
                                                                                (Affordable Care Act) Affordable Care Act                /       /
                                                                                                      gives states the option            sam.g www.
                         Department of Health and Human Services       93.643   Children's Justice    of
                                                                                                      To creating
                                                                                                         encouragea Basic
                                                                                                                     states to           ov/fal/
                                                                                                                                         https:/ usasp
                                                                                                                                                 https:/
                                                                                Grants to States           enact reforms which are /       /
                                                                                                           designed to improve (1) sam.g www.
                         Department of Health and Human Services       93.645                          the assessment
                                                                                Stephanie Tubbs Jones The               and
                                                                                                            purpose of the         ov/fal/ https:/
                                                                                                                                   https:/ usasp
                                                                                Child Welfare Services Stephanie Tubbs Jones             /       /
                                                                                Program                Child Welfare Services            sam.g www.
                                                                                                       program is to promote             ov/fal/ usasp
                         Department of Health and Human Services       93.647   Social Services        The Social Services               https:/ https:/
                                                                                Research and           Research and                      /       /
                                                                                Demonstration          Demonstration program             sam.g www.
                         Department of Health and Human Services       93.648                          (SSRD)
                                                                                Child Welfare Research This    was authorized
                                                                                                            program  supports            ov/fal/ https:/
                                                                                                                                         https:/ usasp
                                                                                Training or                research and                  /       /
                                                                                Demonstration              demonstration projects        sam.g www.
                         Department of Health and Human Services       93.649   Nutrition and Physical     which
                                                                                                           The   are of national
                                                                                                               purpose  of this or       ov/fal/ https:/
                                                                                                                                         https:/ usasp
                                                                                Activity Programs      program is to achieve             /       /
                                                                                                       three goals related to            sam.g www.
                                                                                                       risk factors for illness,         ov/fal/ usasp
                         Department of Health and Human Services       93.652   Adoption Opportunities The purpose of this               https:/ https:/
                                                                                                       program is to eliminate           /       /
                                                                                                       barriers, including               sam.g www.
                         Department of Health and Human Services       93.653   Indian Health Service  geographic
                                                                                                       The   objectivebarriers,
                                                                                                                        of the to        ov/fal/ https:/
                                                                                                                                         https:/ usasp
                                                                                Domestic Violence      Domestic Violence                 /       /
                                                                                Prevention Programs    Prevention (DVP)                  sam.g www.
                                                                                                       Program is to promote             ov/fal/ usasp
                         Department of Health and Human Services       93.654   Indian Health Service  The Indian Health                 https:/ https:/
                                                                                Behavioral Health      Service Behavioral                /       /
                                                                                Programs               Health Programs                   sam.g www.
                         Department of Health and Human Services       93.658   Foster Care Title IV-E consists
                                                                                                       The   Title of several
                                                                                                                   IV-E Foster           ov/fal/ https:/
                                                                                                                                         https:/ usasp
                                                                                                           Care program helps            /       /
                                                                                                           states, Indian tribes,        sam.g www.
                         Department of Health and Human Services       93.659   Adoption Assistance        tribalprogram
                                                                                                           This   organizations and
                                                                                                                          provides       ov/fal/ https:/
                                                                                                                                         https:/ usasp
                                                                                                           Federal Financial             /       /
                                                                                                           Participation (FFP) to        sam.g www.
                                                                                                           states, Indian tribes,        ov/fal/ usasp
                         Department of Health and Human Services       93.661   Extramural Research        As written in the             https:/ https:/
                                                                                Restoration Program:       Consolidated                  /       /
                                                                                Hurricanes Fiona and       Appropriations Act,           sam.g www.
                         Department of Health and Human Services       93.665   Ian
                                                                                Emergency Grants to        2023program
                                                                                                           This  (Public Law
                                                                                                                          is to          ov/fal/ https:/
                                                                                                                                         https:/ usasp
                                                                                Address Mental and         provide mental and            /       /
                                                                                Substance Use              substance use disorder        sam.g www.
                                                                                Disorders During           treatment, crisis             ov/fal/ usasp
                         Department of Health and Human Services       93.667   Social Services Block      The objective is to           https:/ https:/
                                                                                Grant                      enable each state and         /       /
                                                                                                           territory to furnish social   sam.g www.
                         Department of Health and Human Services       93.669   Child Abuse and            services
                                                                                                           To  assist best suited
                                                                                                                      States       to
                                                                                                                              in the     ov/fal/ https:/
                                                                                                                                         https:/ usasp
                                                                                Neglect State Grants       support and                 /       /
                                                                                                           improvement of their        sam.g www.
                         Department of Health and Human Services       93.670   Child Abuse and            child
                                                                                                           To    protective
                                                                                                              improve         services ov/fal/
                                                                                                                         the national,         usasp
                                                                                                                                       https:/ https:/
                                                                                Neglect Discretionary      state, and community        /       /
                                                                                Activities                 activities for the          sam.g www.
                                                                                                           prevention,                 ov/fal/ usasp
                         Department of Health and Human Services       93.671   Family Violence            The purpose of this         https:/ https:/
                                                                                Prevention and             program is to assist        /       /
                                                                                Services/Domestic          States and Native           sam.g www.
                         Department of Health and Human Services       93.674   Violence
                                                                                John     ShelterFoster
                                                                                     H. Chafee   and       American
                                                                                                           To          Tribesand
                                                                                                              assist states            ov/fal/ https:/
                                                                                                                                       https:/ usasp
                                                                                Care Program for         eligible Indian tribes in       /       /
                                                                                Successful Transition to establishing and                sam.g www.
                         Department of Health and Human Services       93.676   Adulthood
                                                                                Unaccompanied            carrying  out programs
                                                                                                         The Unaccompanied               ov/fal/
                                                                                                                                         https:/ usasp
                                                                                                                                                 https:/
                                                                                Children Program           Children Bureau (UCB)         /       /
                                                                                                           provides for the care         sam.g www.
                         Department of Health and Human Services       93.679   EHB-Benchmark Plan         and placement of Plan
                                                                                                           EHB-Benchmark                 ov/fal/ https:/
                                                                                                                                         https:/ usasp
                                                                                Modernization Grant for Modernization Grant for          /       /
                                                                                States with a Federally- States with a Federally-        sam.g www.
                         Department of Health and Human Services       93.680   facilitated
                                                                                Medical     Exchange
                                                                                          Student        facilitated
                                                                                                         The         Exchange
                                                                                                               MSE Program               ov/fal/ https:/
                                                                                                                                         https:/ usasp
                                                                                Education                  provides grants to            /       /
                                                                                                           public institutions of        sam.g www.
                                                                                                           higher education to           ov/fal/ usasp




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                          Department of Health and Human Services       93.684   Engaging State and     The purpose of this              https:/ https:/
                                                                                 Local Emergency        program is to prepare            /       /
                                                                                 Management Agencies the nationâ€™s public               sam.g www.
                          Department of Health and Human Services       93.686   to Improve
                                                                                 Ending  the Ability
                                                                                             HIV to     health   systems
                                                                                                        In February       to the
                                                                                                                      2019,              ov/fal/ https:/
                                                                                                                                         https:/ usasp
                                                                                 Epidemic: A Plan for   Administration                   /       /
                                                                                 America â€” Ryan       announced a new                  sam.g www.
                          Department of Health and Human Services       93.687   White
                                                                                 Maternal Opioid Misuse initiative,
                                                                                       HIV/AIDS         The Centers Ending
                                                                                                                       for the           ov/fal/
                                                                                                                                         https:/ usasp
                                                                                                                                                 https:/
                                                                                 Model                     Medicare & Medicaid           /       /
                                                                                                           Services (CMS),               sam.g www.
                                                                                                           through its Center for        ov/fal/ usasp
                          Department of Health and Human Services       93.691   Integrating the           The Of ce of the              https:/ https:/
                                                                                 Healthcare Enterprise     National Coordinator for      /       /
                                                                                 FHIR Cooperative          Health Information            sam.g www.
                          Department of Health and Human Services       93.693   Agreement
                                                                                 Nursing  HomeProgram
                                                                                                 Staf ng   Technology
                                                                                                           The Centers(ONC)
                                                                                                                        for    is        ov/fal/ https:/
                                                                                                                                         https:/ usasp
                                                                                 Campaign                  Medicare & Medicaid           /       /
                                                                                                           Services (CMS) is             sam.g www.
                          Department of Health and Human Services       93.694   Section 206               committed
                                                                                                           The Centersto for
                                                                                                                          improving      ov/fal/ https:/
                                                                                                                                         https:/ usasp
                                                                                 Consolidated              Medicare & Medicaid           /       /
                                                                                 Appropriations Act,       Services (CMS) is             sam.g www.
                                                                                 2024: State Planning      making available              ov/fal/ usasp
                          Department of Health and Human Services       93.695   Health Equity Data        Through the HEDAP,            https:/ https:/
                                                                                 Access Program            CMS OMH provides              /       /
                                                                                                           grant funding to support      sam.g www.
                          Department of Health and Human Services       93.696   Certi ed Community        three seats inofthe
                                                                                                           The purpose         CMS
                                                                                                                             this        ov/fal/
                                                                                                                                         https:/ usasp
                                                                                                                                                 https:/
                                                                                 Behavioral Health Clinic program is to help             /       /
                                                                                 Expansion Grants         transform community            sam.g www.
                                                                                                          behavioral health              ov/fal/ usasp
                          Department of Health and Human Services       93.698   Elder Justice Act â€     To enhance and                 https:/ https:/
                                                                                 “ Adult Protective       improve coordinated            /       /
                                                                                 Services                 systems of adult               sam.g www.
                          Department of Health and Human Services       93.714   ARRA â€“ Emergency This  protective services
                                                                                                               funding was to            ov/fal/ https:/
                                                                                                                                         https:/ usasp
                                                                                 Contingency Fund for      provide economic              /       /
                                                                                 Temporary Assistance      stimulus to the nation        sam.g www.
                          Department of Health and Human Services       93.732   for Needy
                                                                                 Mental andFamilies
                                                                                            Behavioral     whilepurpose
                                                                                                           The   furthering the
                                                                                                                         of the          ov/fal/ https:/
                                                                                                                                         https:/ usasp
                                                                                 Health Education and    behavioral health               /       /
                                                                                 Training Grants         programs is to develop          sam.g www.
                                                                                                         and expand the                  ov/fal/ usasp
                          Department of Health and Human Services       93.734   Empowering Older        The cooperative                 https:/ https:/
                                                                                 Adults and Adults with agreements are                   /       /
                                                                                 Disabilities through    intended to increase the        sam.g www.
                          Department of Health and Human Services       93.747   Chronic
                                                                                 Elder Abuse Prevention number
                                                                                           Disease Self-         of chronic
                                                                                                         To develop,  implement,         ov/fal/
                                                                                                                                         https:/ usasp
                                                                                                                                                 https:/
                                                                                 Interventions Program     and evaluate successful       /       /
                                                                                                           or promising                  sam.g www.
                                                                                                           interventions, practices,     ov/fal/ usasp
                          Department of Health and Human Services       93.761   Evidence-Based Falls      These cooperative             https:/ https:/
                                                                                 Prevention Programs       agreements are                /       /
                                                                                 Financed Solely by        intended to increase the      sam.g www.
                          Department of Health and Human Services       93.762   Prevention
                                                                                 A          and Public
                                                                                   Comprehensive           number
                                                                                                           The     of evidence-
                                                                                                                program  supports        ov/fal/ https:/
                                                                                                                                         https:/ usasp
                                                                                 Approach to Good       initiatives and public           /       /
                                                                                 Health and Wellness in health capacity to               sam.g www.
                          Department of Health and Human Services       93.763   Indian County â€
                                                                                 Alzheimerâ€™s          prevent   heartof
                                                                                                        The purpose      disease,
                                                                                                                           the           ov/fal/ https:/
                                                                                                                                         https:/ usasp
                                                                                 Disease Initiative:    Alzheimerâ€™s                    /       /
                                                                                 Specialized Supportive Disease Initiative:              sam.g www.
                                                                                 Services Project (ADI- Specialized Supportive           ov/fal/ usasp
                          Department of Health and Human Services       93.767   Children's Health      The objective of the             https:/ https:/
                                                                                 Insurance Program      Childrenâ€™s Health              /       /
                                                                                                        Insurance Program                sam.g www.
                          Department of Health and Human Services       93.770   Medicare Prescription (CHIP)    is toprescription
                                                                                                        To provide     provide           ov/fal/
                                                                                                                                         https:/ usasp
                                                                                                                                                 https:/
                                                                                 Drug Coverage             drugs to Medicare             /       /
                                                                                                           bene ciaries through          sam.g www.
                          Department of Health and Human Services       93.771   State Grants for the      their Bipartisan
                                                                                                           The   voluntary Safer         ov/fal/ https:/
                                                                                                                                         https:/ usasp
                                                                                 Implementation,           Communities Act               /       /
                                                                                 Enhancement, and          (BSCA) provided               sam.g www.
                          Department of Health and Human Services       93.772   Expansion
                                                                                 Tribal      ofHealth
                                                                                        Public Medicaid    $50,000,000
                                                                                                           This        to ultimate
                                                                                                                program's States         ov/fal/ https:/
                                                                                                                                         https:/ usasp
                                                                                 Capacity Building and     outcomes are 1)               /       /
                                                                                 Quality Improvement       decreased morbidity           sam.g www.
                          Department of Health and Human Services       93.773   Umbrella Cooperative
                                                                                 Medicare  Hospital        andprovide
                                                                                                           To  mortality among
                                                                                                                      hospital           ov/fal/ https:/
                                                                                                                                         https:/ usasp
                                                                                 Insurance             insurance protection for          /       /
                                                                                                       covered services to               sam.g www.
                                                                                                       persons age 65 or                 ov/fal/ usasp
                          Department of Health and Human Services       93.774   Medicare              To provide medical                https:/ https:/
                                                                                 Supplementary Medical insurance protection for          /       /
                                                                                 Insurance             covered services to               sam.g www.
                          Department of Health and Human Services       93.775   State Medicaid Fraud  persons  age 65
                                                                                                       To investigate  or over,
                                                                                                                      and                ov/fal/
                                                                                                                                         https:/ usasp
                                                                                                                                                 https:/
                                                                                 Control Units             prosecute Medicaid            /       /
                                                                                                           provider fraud as well        sam.g www.
                          Department of Health and Human Services       93.777   State Survey and          as provide
                                                                                                           To patient abuse or
                                                                                                                        nancial          ov/fal/ https:/
                                                                                                                                         https:/ usasp
                                                                                 Certi cation of Health    assistance to any State       /       /
                                                                                 Care Providers and        which is able and willing     sam.g www.
                                                                                 Suppliers (Title XVIII)   to determine through its      ov/fal/ usasp
                          Department of Health and Human Services       93.778   Medical Assistance        To provide nancial            https:/ https:/
                                                                                 Program                   assistance to States for      /       /
                                                                                                           payments of medical           sam.g www.
                          Department of Health and Human Services       93.779   Centers for Medicare      assistance
                                                                                                           The  Centersonfor
                                                                                                                           behalf of     ov/fal/ https:/
                                                                                                                                         https:/ usasp
                                                                                 and Medicaid Services     Medicare & Medicaid           /       /
                                                                                 (CMS) Research,           Services (CMS)                sam.g www.
                                                                                 Demonstrations and        conducts research,            ov/fal/ usasp
                          Department of Health and Human Services       93.787   Title V Sexual Risk       The purpose of the Title      https:/ https:/
                                                                                 Avoidance Education       V Competitive SRAE            /       /
                                                                                 Program (Discretionary    Program is to fund            sam.g www.
                          Department of Health and Human Services       93.788   Grants)
                                                                                 Opioid STR                projects to implement
                                                                                                           Addressing   the opioid       ov/fal/
                                                                                                                                         https:/ usasp
                                                                                                                                                 https:/
                                                                                                           crisis within such            /       /
                                                                                                           States, used for              sam.g www.
                          Department of Health and Human Services       93.791   Money Follows the         carrying
                                                                                                           The  Moneyout Follows
                                                                                                                         activitiesthe   ov/fal/ https:/
                                                                                                                                         https:/ usasp
                                                                                 Person Rebalancing        Person (MFP)                  /       /
                                                                                 Demonstration             Rebalancing                   sam.g www.
                                                                                                           Demonstration,                ov/fal/ usasp
                          Department of Health and Human Services       93.796   State Survey              To provide (Medicaid)         https:/ https:/
                                                                                 Certi cation of Health     nancial assistance to        /       /
                                                                                 Care Providers and        any State which is able       sam.g www.
                          Department of Health and Human Services       93.797   Suppliers (Title
                                                                                 Expanding  AccessXIX)to   and willing
                                                                                                           The         to determine
                                                                                                               Expanding    Access       ov/fal/ https:/
                                                                                                                                         https:/ usasp
                                                                                 Womenâ€™s Health       to Womenâ€™s Health              /       /
                                                                                 Grant                  Grant Program will               sam.g www.
                                                                                                        provide a funding                ov/fal/ usasp
                          Department of Health and Human Services       93.799   CARA Act â€            The purpose of this              https:/ https:/
                                                                                 “ Comprehensive        program is to prevent            /       /
                                                                                 Addiction and Recovery and reduce the abuse             sam.g www.
                          Department of Health and Human Services       93.800   Act
                                                                                 Organized Approaches of
                                                                                     of 2016            Theopioids or of the
                                                                                                             purpose                     ov/fal/
                                                                                                                                         https:/ usasp
                                                                                                                                                 https:/
                                                                                 to Increase Colorectal  program is to increase          /       /
                                                                                 Cancer Screening        colorectal cancer (CRC)         sam.g www.
                          Department of Health and Human Services       93.801   Ebola Healthcare        screening
                                                                                                         To enable rates
                                                                                                                    selectamong
                                                                                                                           public        ov/fal/ https:/
                                                                                                                                         https:/ usasp
                                                                                 Preparedness and        health departments              /       /
                                                                                 Response for Select     serving regions where           sam.g www.
                                                                                 Cities with Enhanced    enhanced airport                ov/fal/ usasp
                          Department of Health and Human Services       93.809   National Organizations The purpose of the               https:/ https:/
                                                                                 for Chronic Disease     funding is to develop           /       /
                                                                                 Prevention and Health effective state chronic           sam.g www.
                          Department of Health and Human Services       93.810   Promotion               disease
                                                                                 Paul Coverdell National To       prevention
                                                                                                            improve           and
                                                                                                                      the quality        ov/fal/ https:/
                                                                                                                                         https:/ usasp
                                                                                 Acute Stroke Program     of acute stroke care and /         /
                                                                                 National Center for      health outcomes for        sam.g www.
                          Department of Health and Human Services       93.816   Chronic Disease
                                                                                 Preventing Heart         acutepurpose
                                                                                                          The    stroke patients.
                                                                                                                          of program ov/fal/ usasp
                                                                                                                                     https:/ https:/
                                                                                 Attacks and Strokes in   is to support              /       /
                                                                                 High Need Areas          implementation of          sam.g www.
                                                                                                          population-wide and        ov/fal/ usasp
                          Department of Health and Human Services       93.817   Hospital Preparedness This program covers           https:/ https:/
                                                                                 Program (HPP) Ebola two separate, but               /       /
                                                                                 Preparedness and         related projects: Part A sam.g www.
                          Department of Health and Human Services       93.822   Response
                                                                                 Health     Activities
                                                                                        Careers           â€“ Health
                                                                                                          The   Health Care
                                                                                                                        Careers      ov/fal/ https:/
                                                                                                                                     https:/ usasp
                                                                                 Opportunity Program      Opportunity Program        /       /
                                                                                 (HCOP)                   (HCOP), also known as sam.g www.
                                                                                                          the National HCOP          ov/fal/ usasp
                          Department of Health and Human Services       93.823   Public Health            In order to advance        https:/ https:/
                                                                                 Response, Forecasting, U.S. public health           /       /
                                                                                 and Analytic Capacities response, forecasting,      sam.g www.
                          Department of Health and Human Services       93.825   Related to
                                                                                 National   Disease
                                                                                          Ebola           and analytic
                                                                                                 Training CDC,           capacities
                                                                                                                 will increase  the  ov/fal/ https:/
                                                                                                                                     https:/ usasp
                                                                                 and Education Center      competency of health          /       /
                                                                                 (NETEC)                   care and public health        sam.g www.
                          Department of Health and Human Services       93.826   Closing the Gap           workers
                                                                                                           To      and athe
                                                                                                              establish                  ov/fal/ https:/
                                                                                                                                         https:/ usasp
                                                                                 Between Standards         mechanism for ongoing         /       /
                                                                                 Development and           long-term collaborative       sam.g www.
                                                                                 Implementation            engagement with               ov/fal/ usasp
                          Department of Health and Human Services       93.829   Section 223               Funding to support            https:/ https:/
                                                                                 Demonstration             development of                /       /
                                                                                 Programs to Improve       proposals to participate      sam.g www.
                          Department of Health and Human Services       93.832   Communitythe
                                                                                 Promoting   Mental
                                                                                               Cancer      in time-limited
                                                                                                           The   purpose of this         ov/fal/ https:/
                                                                                                                                         https:/ usasp
                                                                                 Surveillance Workforce, program is to expand            /       /
                                                                                 Education and Data       the capacity of CDC-           sam.g www.
                                                                                 Use                      funded National                ov/fal/ usasp
                          Department of Health and Human Services       93.833   Supporting and           This program will build        https:/ https:/
                                                                                 Maintaining a            upon previous work to          /       /
                                                                                 Surveillance System for continue developing,            sam.g www.
                          Department of Health and Human Services       93.834   Chronic Kidney
                                                                                 Capacity         Disease To
                                                                                           Building       supporting and
                                                                                                             reduce morbidity and        ov/fal/ https:/
                                                                                                                                         https:/ usasp
                                                                                 Assistance (CBA) for      mortality by preventing       /       /
                                                                                 High-Impact HIV           cases and                     sam.g www.
                          Department of Health and Human Services       93.835   Prevention
                                                                                 Planning Grant for        complications
                                                                                                           The            of HIV
                                                                                                                rst objective of         ov/fal/ https:/
                                                                                                                                         https:/ usasp
                                                                                 Healthcare and Public     this award is to gain an      /       /
                                                                                 Health Sector             understanding of the          sam.g www.
                                                                                 Cybersecurity             cybersecurity threat          ov/fal/ usasp
                          Department of Health and Human Services       93.837   Cardiovascular            To foster heart and           https:/ https:/
                                                                                 Diseases Research         vascular research in the      /       /
                                                                                                           basic, translational,         sam.g www.
                          Department of Health and Human Services       93.838   Lung Diseases             clinical
                                                                                                           The      and population
                                                                                                                 Division of Lung        ov/fal/ https:/
                                                                                                                                         https:/ usasp
                                                                                 Research                  Diseases supports             /       /
                                                                                                           research and research         sam.g www.
                          Department of Health and Human Services       93.839   Blood Diseases and        training
                                                                                                           To fosteron the causes,
                                                                                                                     research and        ov/fal/
                                                                                                                                         https:/ usasp
                                                                                                                                                 https:/
                                                                                 Resources Research        research training on the      /       /
                                                                                                           pathophysiology,              sam.g www.
                          Department of Health and Human Services       93.840   Translation and           diagnosis,
                                                                                                           The Centertreatment,
                                                                                                                       for               ov/fal/ https:/
                                                                                                                                         https:/ usasp
                                                                                 Implementation Science Translation Research             /       /
                                                                                 Research for Heart,    and Implementation               sam.g www.
                          Department of Health and Human Services       93.843   Lung,Assistive
                                                                                 ACL   Blood Diseases, To
                                                                                                        Science  (CTRIS)
                                                                                                           support       plans,
                                                                                                                   protection            ov/fal/ https:/
                                                                                                                                         https:/ usasp
                                                                                 Technology State          and advocacy services         /       /
                                                                                 Grants for Protection     through the systems           sam.g www.
                                                                                 and Advocacy              established to provide        ov/fal/ usasp




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                                                                                        Case 1:25-cv-00039-JJM-PAS                                                             Document 1-2   Filed 01/28/25   Page 25 of 53 PageID
                                                                                                                                                                                      #: 72
                                              Department of Health and Human Services       93.845   Promoting Population       The purpose of this        https:/ https:/
                                                                                                     Health through             program is to support      /       /
                                                                                                     Increased Capacity in      the building of capacity sam.g www.
                                              Department of Health and Human Services       93.846   Alcohol Epidemiology
                                                                                                     Arthritis,                 in alcohol
                                                                                                                                The        epidemiology
                                                                                                                                     National Institute of ov/fal/
                                                                                                                                                           https:/ usasp
                                                                                                                                                                   https:/
                                                                                                     Musculoskeletal and        and Musculoskeletal        /       /
                                                                                                     Skin Diseases              and Skin Diseases          sam.g www.
                                              Department of Health and Human Services       93.847   Research
                                                                                                     Diabetes, Digestive,       (NIAMS)   mission
                                                                                                                                (1) To promote     is to   ov/fal/
                                                                                                                                                           https:/ usasp
                                                                                                                                                                   https:/
                                                                                                     and Kidney Diseases    extramural basic and             /       /
                                                                                                     Extramural Research    clinical biomedical              sam.g www.
                                                                                                                            research that improves           ov/fal/ usasp
                                              Department of Health and Human Services       93.850   Improving Epilepsy     The purpose of this              https:/ https:/
                                                                                                     Programs, Services,    program is to:                   /       /
                                                                                                     and Outcomes through                                    sam.g www.
                                              Department of Health and Human Services       93.851   National Partnerships
                                                                                                     Tracking  Electronic   â€¢
                                                                                                                            Signi cant Reduce
                                                                                                                                        federalthe           ov/fal/ https:/
                                                                                                                                                             https:/ usasp
                                                                                                     Health Record Adoption investments to                   /       /
                                                                                                     and Capturing Related accelerate the adoption           sam.g www.
                                              Department of Health and Human Services       93.853   Insights in U.S.
                                                                                                     Extramural  Research   of electronic
                                                                                                                            (1) To supporthealth             ov/fal/ https:/
                                                                                                                                                             https:/ usasp
                                                                                                     Programs in the        extramural research              /       /
                                                                                                     Neurosciences and      funded by the National           sam.g www.
                                                                                                     Neurological Disorders Institute of Neurological        ov/fal/ usasp
                                              Department of Health and Human Services       93.855   Allergy and Infectious To assist public and             https:/ https:/
                                                                                                     Diseases Research      private nonpro t                 /       /
                                                                                                                            institutions and                 sam.g www.
                                              Department of Health and Human Services       93.858   National Collaboration individuals
                                                                                                                            The purpose  to of
                                                                                                                                            establish,
                                                                                                                                               this          ov/fal/
                                                                                                                                                             https:/ usasp
                                                                                                                                                                     https:/
                                                                                                     to Support Health,    announcement is to                /       /
                                                                                                     Wellness and Academic fund applicants to                sam.g www.
                                                                                                     Success of School-Age improve the health of             ov/fal/ usasp
                                              Department of Health and Human Services       93.859   Biomedical Research   The National Institute of         https:/ https:/
                                                                                                     and Research Training General Medical                   /       /
                                                                                                                           Sciences (NIGMS)                  sam.g www.
                                              Department of Health and Human Services       93.860   Emerging Infections   supports
                                                                                                                           In        basic
                                                                                                                              its 1994     research
                                                                                                                                       monograph,            ov/fal/ https:/
                                                                                                                                                             https:/ usasp
                                                                                                     Sentinel Networks          Addressing Emerging          /       /
                                                                                                                                Infectious Disease           sam.g www.
                                              Department of Health and Human Services       93.865   Child Health and           Threats
                                                                                                                                To       â€“and
                                                                                                                                   conduct   A support       ov/fal/ https:/
                                                                                                                                                             https:/ usasp
                                                                                                     Human Development          laboratory research,         /       /
                                                                                                     Extramural Research        clinical trials, and         sam.g www.
                                                                                                                                studies with people that     ov/fal/ usasp
                                              Department of Health and Human Services       93.866   Aging Research             To encourage                 https:/ https:/
                                                                                                                                biomedical, social, and      /       /
                                                                                                                                behavioral research and      sam.g www.
                                              Department of Health and Human Services       93.867   Vision Research            research    training
                                                                                                                                1) To support    eye and     ov/fal/
                                                                                                                                                             https:/ usasp
                                                                                                                                                                     https:/
                                                                                                                                vision research projects     /       /
                                                                                                                                that address the leading     sam.g www.
                                                                                                                                causes of blindness and      ov/fal/ usasp
                                              Department of Health and Human Services       93.869   Transforming Maternal      The Transforming             https:/ https:/
                                                                                                     Health (TMaH) Model        Maternal Heath (TMaH)        /       /
                                                                                                                                Model is a voluntary,        sam.g www.
                                              Department of Health and Human Services       93.870   Maternal, Infant and       10-year
                                                                                                                                The      service
                                                                                                                                     goals of thedelivery    ov/fal/ https:/
                                                                                                                                                             https:/ usasp
                                                                                                     Early Childhood Home       Maternal, Infant, and        /       /
                                                                                                     Visiting Grant             Early Childhood Home         sam.g www.
                                              Department of Health and Human Services       93.872   Tribal Maternal, Infant,   Visiting
                                                                                                                                The       Program
                                                                                                                                      Tribal Maternal,       ov/fal/ https:/
                                                                                                                                                             https:/ usasp
                                                                                                     and Early Childhood        Infant, and Early            /       /
                                                                                                     Home Visiting              Childhood Home               sam.g www.
                                                                                                                                Visiting Program (Tribal     ov/fal/ usasp
                                              Department of Health and Human Services       93.873   State Grants for           To make grants to            https:/ https:/
                                                                                                     Protection and             Protection and               /       /
                                                                                                     Advocacy Services          Advocacy systems as          sam.g www.
                                              Department of Health and Human Services       93.874   Strengthening the          established
                                                                                                                                The purposeinofeach
                                                                                                                                                this         ov/fal/
                                                                                                                                                             https:/ usasp
                                                                                                                                                                     https:/
                                                                                                     Public Health System in funding initiative to           /       /
                                                                                                     US-af liated Paci c     ensure provision of             sam.g www.
                                              Department of Health and Human Services       93.876   Islands
                                                                                                     Antimicrobial           capacity
                                                                                                                             The      building
                                                                                                                                 National                    ov/fal/ https:/
                                                                                                                                                             https:/ usasp
                                                                                                     Resistance Surveillance Antimicrobial                   /     /
                                                                                                     in Retail Food          Resistance Monitoring           sam.g www.
                                              Department of Health and Human Services       93.877   Specimens
                                                                                                     Autism  Collaboration,  System
                                                                                                                             This    (NARMS)
                                                                                                                                  Program     is a
                                                                                                                                           supports      ov/fal/ usasp
                                                                                                                                                         https:/ https:/
                                                                                                     Accountability,         activities to: provide      /       /
                                                                                                     Research, Education,    information and             sam.g www.
                                              Department of Health and Human Services       93.878   and Support
                                                                                                     Enhance the Ability of  educationstate
                                                                                                                             Enhance     on autism
                                                                                                                                               and local ov/fal/ usasp
                                                                                                                                                         https:/ https:/
                                                                                                     Emergency Medical       level emergency             /       /
                                                                                                     Services (EMS) to       medical services            sam.g www.
                                                                                                     transport patients with operational plans for the ov/fal/ usasp
                                              Department of Health and Human Services       93.879   Medical Library         To meet a growing need https:/ https:/
                                                                                                     Assistance              for investigators trained /         /
                                                                                                                             in biomedical               sam.g www.
                                              Department of Health and Human Services       93.881   The Reduction of Issuer The Reduction of Issuer https:/ usasp
                                                                                                                             informatics   research      ov/fal/ https:/
                                                                                                     Burden Through             Burden Through               /       /
                                                                                                     Technology Grant           Technology Grant will        sam.g www.
                                              Department of Health and Human Services       93.884   ProgramCare
                                                                                                     Primary and The
                                                                                                                 Training       provide
                                                                                                                                The     funding to the
                                                                                                                                    overarching              ov/fal/ https:/
                                                                                                                                                             https:/ usasp
                                                                                                     and Enhancement         purpose of the PCTE             /       /
                                                                                                                             Program is to                   sam.g www.
                                                                                                                             strengthen the primary          ov/fal/ usasp
                                              Department of Health and Human Services       93.885   Cell and Gene Therapy The Cell and Gene                 https:/ https:/
                                                                                                     (CGT) Access Model      Therapy (CGT) Access            /       /
                                                                                                                             Model aims to improve           sam.g www.
                                              Department of Health and Human Services       93.889   National Bioterrorism   theready
                                                                                                                             To   lives of people and
                                                                                                                                         hospitals  with     ov/fal/ https:/
                                                                                                                                                             https:/ usasp
                                                                                                     Hospital Preparedness other healthcare                  /       /
                                                                                                     Program                 systems, in                     sam.g www.
                                                                                                                             collaboration with other        ov/fal/ usasp
                                              Department of Health and Human Services       93.893   Health Care and Public The purpose of this              https:/ https:/
                                                                                                     Health (HPH) Sector     cooperative agreement           /       /
                                                                                                     Information Sharing and is to build the capacity        sam.g www.
                                              Department of Health and Human Services       93.898   Analysis Organization
                                                                                                     Cancer Prevention   and of
                                                                                                                             Theanpurpose
                                                                                                                                     information
                                                                                                                                             of this         ov/fal/
                                                                                                                                                             https:/ usasp
                                                                                                                                                                     https:/
                                                                                                     Control Programs for   program is to transition         /       /
                                                                                                     State, Territorial and this highly-functional           sam.g www.
                                              Department of Health and Human Services       93.899   Tribal Organizations
                                                                                                     Minority               public
                                                                                                              HIV/AIDS Fund The     health AIDS
                                                                                                                                 Minority                    ov/fal/ https:/
                                                                                                                                                             https:/ usasp
                                                                                                     (MHAF)                     Initiative (MAI)â€™s         /       /
                                                                                                                                principal goals are to       sam.g www.
                                                                                                                                improve HIV-related          ov/fal/ usasp
                                              Department of Health and Human Services       93.908   Nurse Corps Loan           The Nurse Corps Loan         https:/ https:/
                                                                                                     Repayment Program          Repayment Program            /       /
                                                                                                                                (Nurse Corps LRP)            sam.g www.
                                              Department of Health and Human Services       93.912   Rural Health Care          provides
                                                                                                                                The   Deltaloan
                                                                                                                                             Region          ov/fal/ https:/
                                                                                                                                                             https:/ usasp
                                                                                                     Services Outreach,     Community Health                 /       /
                                                                                                     Rural Health Network   Systems Development              sam.g www.
                                                                                                     Development and Small Program aims to                   ov/fal/ usasp
                                              Department of Health and Human Services       93.913   Grants to States for   The purpose of the               https:/ https:/
                                                                                                     Operation of State     State Of ces of Rural            /       /
                                                                                                     Of ces of Rural Health Health (SORH) grant              sam.g www.
                                              Department of Health and Human Services       93.914   HIV Emergency Relief program    is direct
                                                                                                                            To provide  to assist            ov/fal/
                                                                                                                                                             https:/ usasp
                                                                                                                                                                     https:/
                                                                                                     Project Grants              nancial assistance to       /       /
                                                                                                                                Eligible Metropolitan        sam.g www.
                                              Department of Health and Human Services       93.917   HIV Care Formula           Areas
                                                                                                                                To     (EMAs)
                                                                                                                                   enable      andand
                                                                                                                                           States            ov/fal/ https:/
                                                                                                                                                             https:/ usasp
                                                                                                     Grants                     Territories to improve       /       /
                                                                                                                                the quality, availability,   sam.g www.
                                                                                                                                and organization of a        ov/fal/ usasp
                                              Department of Health and Human Services       93.918   Grants to Provide          The purpose of the           https:/ https:/
                                                                                                     Outpatient Early           RWHAP Part C Early           /       /
                                                                                                     Intervention Services      Intervention Services        sam.g www.
                                              Department of Health and Human Services       93.923   with Respect to Health
                                                                                                     Disadvantaged   HIV        (EIS)Program
                                                                                                                                The             funding is
                                                                                                                                     Faculty Loan            ov/fal/ https:/
                                                                                                                                                             https:/ usasp
                                                                                                     Professions Faculty        Repayment Program            /       /
                                                                                                     Loan Repayment             (FLRP) provides loan         sam.g www.
                                              Department of Health and Human Services       93.924   Program
                                                                                                     Ryan     (FLRP)
                                                                                                          White  HIV/AIDS       repayment
                                                                                                                                Dental    assistance
                                                                                                                                       Reimbursement         ov/fal/ https:/
                                                                                                                                                             https:/ usasp
                                                                                                     Dental Reimbursement       Program (DRP): To            /       /
                                                                                                     and Community Based        partially compensate         sam.g www.
                                                                                                     Dental Partnership         accredited dental            ov/fal/ usasp
                                              Department of Health and Human Services       93.925   Scholarships for Health    The Scholarships for         https:/ https:/
                                                                                                     Professions Students       Disadvantaged                /       /
                                                                                                     from Disadvantaged         Students (SDS)               sam.g www.
                                              Department of Health and Human Services       93.926   Backgrounds
                                                                                                     Healthy Start Initiative   program
                                                                                                                                The        increases
                                                                                                                                     purpose    of the       ov/fal/ https:/
                                                                                                                                                             https:/ usasp
                                                                                                                            Healthy Start (HS)               /       /
                                                                                                                            program is to improve            sam.g www.
                                                                                                                            health outcomes before,          ov/fal/ usasp
                                              Department of Health and Human Services       93.928   Special Projects of    To quickly respond to            https:/ https:/
                                                                                                     National Signi cance   the care and treatment           /       /
                                                                                                                            needs of individuals             sam.g www.
                                              Department of Health and Human Services       93.932                          receiving
                                                                                                     Native Hawaiian Health To        assistance
                                                                                                                               raise the  health             ov/fal/ https:/
                                                                                                                                                             https:/ usasp
                                                                                                     Care Systems           status of Native                 /       /
                                                                                                                            Hawaiians to the                 sam.g www.
                                              Department of Health and Human Services       93.933                          highest
                                                                                                     Demonstration Projects To      possible
                                                                                                                               promote        level
                                                                                                                                         improved            ov/fal/ https:/
                                                                                                                                                             https:/ usasp
                                                                                                     for Indian Health          health care among            /       /
                                                                                                                                American Indians and         sam.g www.
                                                                                                                                Alaska Natives through       ov/fal/ usasp
                                              Department of Health and Human Services       93.939   HIV Prevention             To provide assistance to     https:/ https:/
                                                                                                     Activities Non-            local, regional and,         /       /
                                                                                                     Governmental               national nonpro t            sam.g www.
                                              Department of Health and Human Services       93.940   Organization
                                                                                                     HIV           Based
                                                                                                          Prevention            organizations
                                                                                                                                To             to:and
                                                                                                                                   assist States   (a)       ov/fal/ https:/
                                                                                                                                                             https:/ usasp
                                                                                                     Activities Health      political subdivisions of        /       /
                                                                                                     Department Based       States in meeting the            sam.g www.
                                                                                                                            cost of establishing and         ov/fal/ usasp
                                              Department of Health and Human Services       93.941   HIV Demonstration,     To develop, test, and            https:/ https:/
                                                                                                     Research, Public and   disseminate improved             /       /
                                                                                                     Professional Education human                            sam.g www.
                                              Department of Health and Human Services       93.943   Projects
                                                                                                     Epidemiologic          immunode     ciency virus
                                                                                                                            To support promising             ov/fal/ https:/
                                                                                                                                                             https:/ usasp
                                                                                                     Research Studies of    epidemiologic and                /       /
                                                                                                     Acquired               implementation of                sam.g www.
                                              Department of Health and Human Services       93.944   Immunode ciency
                                                                                                     Human                  science
                                                                                                                            To        research
                                                                                                                               continue   and in             ov/fal/ https:/
                                                                                                                                                             https:/ usasp
                                                                                                     Immunode ciency Virus strengthen effective              /       /
                                                                                                     (HIV)/Acquired         human                            sam.g www.
                                                                                                     Immunode ciency Virus immunode ciency virus             ov/fal/ usasp
                                              Department of Health and Human Services       93.945   Assistance Programs    To work with State               https:/ https:/
                                                                                                     for Chronic Disease    health agencies and              /       /
                                                                                                     Prevention and Control other public and private         sam.g www.
                                              Department of Health and Human Services       93.946   Cooperative            nonpro
                                                                                                                            To      t organizations
                                                                                                                               promote  optimal and          ov/fal/ https:/
                                                                                                                                                             https:/ usasp
                                                                                                     Agreements to Support equitable health in               /       /
                                                                                                     State-Based Safe       women and infants                sam.g www.
                                              Department of Health and Human Services       93.947   Motherhood
                                                                                                     Tuberculosisand Infant through
                                                                                                                            To assistpublic  health
                                                                                                                                       States,               ov/fal/
                                                                                                                                                             https:/ usasp
                                                                                                                                                                     https:/
                                                                                                     Demonstration,         political subdivisions of        /     /
                                                                                                     Research, Public and   States, and other public         sam.g www.
                                              Department of Health and Human Services       93.958   Professional
                                                                                                     Block Grants Education
                                                                                                                  for       andprovide
                                                                                                                            To    nonpro nancial
                                                                                                                                          t private   ov/fal/ usasp
                                                                                                                                                      https:/ https:/
                                                                                                     Community Mental       assistance to States      /       /
                                                                                                     Health Services        and Territories to enable sam.g www.
                                              Department of Health and Human Services       93.959   Block Grants for       them
                                                                                                                            To    to carrynancial
                                                                                                                               provide     out the    ov/fal/ usasp
                                                                                                                                                      https:/ https:/
                                                                                                     Prevention and         assistance to States      /       /
                                                                                                     Treatment of Substance and Territories to        sam.g www.
                                                                                                     Abuse                  support projects for the ov/fal/ usasp




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                                                                                                                                                                     #: 73
                              Department of Health and Human Services       93.965   Coal Miners Respiratory The Black Lung Clinics https:/ https:/
                                                                                     Impairment Treatment Program aims to reduce /              /
                                                                                     Clinics and Services     the morbidity and         sam.g www.
                              Department of Health and Human Services       93.967   Centers for Disease      mortality
                                                                                                              This       associated
                                                                                                                    program  seeks to   ov/fal/
                                                                                                                                        https:/ usasp
                                                                                                                                                https:/
                                                                                     Control and Prevention catalyze innovative         /       /
                                                                                     Collaboration with       efforts to provide public sam.g www.
                              Department of Health and Human Services       93.968   Academia   to Strengthen
                                                                                     States Advancing All-    health  professionals,
                                                                                                              States Advancing          ov/fal/
                                                                                                                                        https:/ usasp
                                                                                                                                                https:/
                                                                                     Payer Health Equity       AHEAD aims to                /       /
                                                                                     Approaches and            address unsustainable        sam.g www.
                                                                                     Development (AHEAD)       health care cost growth,     ov/fal/ usasp
                              Department of Health and Human Services       93.969   PPHF Geriatric            The purpose of this          https:/ https:/
                                                                                     Education Centers         program is to educate        /       /
                                                                                                               and train the health         sam.g www.
                              Department of Health and Human Services       93.970   Health Professions        careToand
                                                                                                               (1)       supportive
                                                                                                                      identify American     ov/fal/ https:/
                                                                                                                                            https:/ usasp
                                                                                     Recruitment Program     Indians and Alaska             /       /
                                                                                     for Indians             Natives with a potential       sam.g www.
                              Department of Health and Human Services       93.971   Health Professions      for provide
                                                                                                             To  education or training
                                                                                                                         scholarships       ov/fal/ https:/
                                                                                                                                            https:/ usasp
                                                                                     Preparatory Scholarship to American Indians and        /       /
                                                                                     Program for Indians     Alaska Natives for the         sam.g www.
                                                                                                             purpose of completing          ov/fal/ usasp
                              Department of Health and Human Services       93.972   Health Professions      To provide scholarships        https:/ https:/
                                                                                     Scholarship Program     to American Indians and        /       /
                                                                                                             Alaska Natives at health       sam.g www.
                              Department of Health and Human Services       93.974   Family Planning Service professions
                                                                                                             Awarded fund schools  in
                                                                                                                             support        ov/fal/
                                                                                                                                            https:/ usasp
                                                                                                                                                    https:/
                                                                                     Delivery Improvement    projects to conduct            /       /
                                                                                     Research                research or analyses to        sam.g www.
                                                                                                             generate information           ov/fal/ usasp
                              Department of Health and Human Services       93.976   Primary Care Medicine The goal of the career           https:/ https:/
                                                                                     and Dentistry Clinician development awards is          /       /
                                                                                     Educator Career         to support the                 sam.g www.
                              Department of Health and Human Services       93.977   Development
                                                                                     Sexually      Awards
                                                                                              Transmitted    development
                                                                                                             The           and
                                                                                                                  purpose of  the           ov/fal/ https:/
                                                                                                                                            https:/ usasp
                                                                                     Diseases (STD)          assistance is to               /       /
                                                                                     Prevention and Control strengthen STD                  sam.g www.
                              Department of Health and Human Services       93.978   Grants Transmitted
                                                                                     Sexually                prevention
                                                                                                             The  purposeprograms
                                                                                                                           of the in        ov/fal/ https:/
                                                                                                                                            https:/ usasp
                                                                                     Diseases (STD)            assistance is to fund        /       /
                                                                                     Provider Education        academic institutions        sam.g www.
                                                                                     Grants                    and clinical and public      ov/fal/ usasp
                              Department of Health and Human Services       93.981   Improving Student         This program supports        https:/ https:/
                                                                                     Health and Academic       evidence-based               /       /
                                                                                     Achievement through       strategies and activities    sam.g www.
                              Department of Health and Human Services       93.982   Nutrition, Physical
                                                                                     Mental Health  Disaster   to
                                                                                                               To reduce
                                                                                                                   providethe risk of       ov/fal/
                                                                                                                                            https:/ usasp
                                                                                                                                                    https:/
                                                                                     Assistance and            supplemental                 /       /
                                                                                     Emergency Mental          emergency mental             sam.g www.
                                                                                     Health                    health counseling to         ov/fal/ usasp
                              Department of Health and Human Services       93.983   Market Transparency       The purpose of this          https:/ https:/
                                                                                     Project for Health IT     program is to increase       /       /
                                                                                     Interoperability Services market awareness and         sam.g www.
                              Department of Health and Human Services       93.988   Cooperative Agreement Diabetes
                                                                                     Cooperative               transparency
                                                                                                                        Prevention          ov/fal/ https:/
                                                                                                                                            https:/ usasp
                                                                                     Agreements for            and Control Programs         /       /
                                                                                     Diabetes Control          (DPCPs) are funded by        sam.g www.
                              Department of Health and Human Services       93.989   Programs
                                                                                     International Research    the CDC's
                                                                                                               The       Division
                                                                                                                   John E. Fogartyof        ov/fal/ https:/
                                                                                                                                            https:/ usasp
                                                                                     and Research Training     International Center         /       /
                                                                                                               (FIC) supports research      sam.g www.
                                                                                                               and research training to     ov/fal/ usasp
                              Department of Health and Human Services       93.990   National Health           Activities as may be         https:/ https:/
                                                                                     Promotion                 required to make             /       /
                                                                                                               information respecting       sam.g www.
                              Department of Health and Human Services       93.991   Preventive Health and     health  information
                                                                                                               To provide          and
                                                                                                                            States with     ov/fal/
                                                                                                                                            https:/ usasp
                                                                                                                                                    https:/
                                                                                     Health Services Block     the resources to             /       /
                                                                                     Grant                     improve the health           sam.g www.
                              Department of Health and Human Services       93.994   Maternal and Child        status
                                                                                                               To     of the
                                                                                                                  enable     population
                                                                                                                           States to        ov/fal/ https:/
                                                                                                                                            https:/ usasp
                                                                                     Health Services Block     improve the health and       /       /
                                                                                     Grant to the States       well-being of the            sam.g www.
                              Department of Health and Human Services       93.997   Assisted Outpatient       Nation's
                                                                                                               In April ofmothers,
                                                                                                                           2014,            ov/fal/ https:/
                                                                                                                                            https:/ usasp
                                                                                     Treatment                 Congress passed the          /       /
                                                                                                               Protecting Access to         sam.g www.
                              Department of Health and Human Services       93.998   Autism and Other          Medicare
                                                                                                               This      Actsupports
                                                                                                                    funding  of 2014        ov/fal/ https:/
                                                                                                                                            https:/ usasp
                                                                                     Developmental           State health agencies,         /       /
                                                                                     Disabilities,           universities, and public       sam.g www.
                                                                                     Surveillance, Research, and private nonpro t           ov/fal/ usasp
                              Department of Homeland Security               97.005   State and Local         National Domestic              https:/ https:/
                                                                                     Homeland Security       Preparedness                   /       /
                                                                                     National Training       Consortium: Through            sam.g www.
                              Department of Homeland Security               97.007   Program
                                                                                     Homeland Security       the
                                                                                                             TheNational
                                                                                                                 Homeland  Domestic
                                                                                                                             Security       ov/fal/
                                                                                                                                            https:/ usasp
                                                                                                                                                    https:/
                                                                                     Preparedness Technical Technical Assistance            /       /
                                                                                     Assistance Program     Program (HSPTAP) is             sam.g www.
                              Department of Homeland Security               97.008   Non-Pro t Security     established
                                                                                                            The FY 2023toNonpro
                                                                                                                          build t           ov/fal/ https:/
                                                                                                                                            https:/ usasp
                                                                                     Program                   Security Grant Program       /       /
                                                                                                               (NSGP) provides              sam.g www.
                                                                                                               funding support for          ov/fal/ usasp
                              Department of Homeland Security               97.009   FY 2022 Operation         To reimburse airport         https:/ https:/
                                                                                     Allies Welcome Airport    authorities for services     /       /
                                                                                     Assistance Grant          provided and expenses        sam.g www.
                              Department of Homeland Security               97.010   Citizenship Education     incurred
                                                                                                               The  Of cewhile
                                                                                                                           of serving       ov/fal/ https:/
                                                                                                                                            https:/ usasp
                                                                                     and Training              Citizenship, Partnership     /       /
                                                                                                               and Engagement               sam.g www.
                                                                                                               (OCPE), within US.           ov/fal/ usasp
                              Department of Homeland Security               97.012   Boating Safety            The mission of the           https:/ https:/
                                                                                     Financial Assistance      National RBS Program         /       /
                                                                                                               is to ensure the public      sam.g www.
                              Department of Homeland Security               97.018   National Fire Academy     has  a safe,travel
                                                                                                               To provide   secure, and     ov/fal/
                                                                                                                                            https:/ usasp
                                                                                                                                                    https:/
                                                                                     Training Assistance       stipends (up to 75           /       /
                                                                                                               percent of the expense       sam.g www.
                              Department of Homeland Security               97.022   Flood Insurance           of attendance)
                                                                                                               To              to reand
                                                                                                                   enable personal          ov/fal/ https:/
                                                                                                                                            https:/ usasp
                                                                                                            business property               /       /
                                                                                                            owners and renters to           sam.g www.
                                                                                                            purchase ood                    ov/fal/ usasp
                              Department of Homeland Security               97.023   Community Assistance The Community                     https:/ https:/
                                                                                     Program State Support Assistance Program â€            /       /
                                                                                     Services Element       “ State Support                 sam.g www.
                              Department of Homeland Security               97.024   (CAP-SSSE)
                                                                                     Emergency Food and     Services
                                                                                                            This       Element
                                                                                                                  program  does not         ov/fal/ https:/
                                                                                                                                            https:/ usasp
                                                                                     Shelter National Board accept unsolicited              /       /
                                                                                     Program                proposals; the only             sam.g www.
                                                                                                            eligible applicant to           ov/fal/ usasp
                              Department of Homeland Security               97.025   National Urban Search The National Urban               https:/ https:/
                                                                                     and Rescue (US&R)      Search and Rescue               /       /
                                                                                     Response System        (US&R) Response                 sam.g www.
                              Department of Homeland Security               97.029   Flood Mitigation       System   (the System)
                                                                                                            Objectives                      ov/fal/
                                                                                                                                            https:/ usasp
                                                                                                                                                    https:/
                                                                                     Assistance                                        /       /
                                                                                                             The Flood Mitigation      sam.g www.
                              Department of Homeland Security               97.030   Community Disaster      Assistance
                                                                                                             To           (FMA)subject
                                                                                                                provide loans    grant https:/
                                                                                                                                       ov/fal/ usasp
                                                                                                                                               https:/
                                                                                     Loans                   to congressional loan     /       /
                                                                                                             authority to any local    sam.g www.
                                                                                                             government that has       ov/fal/ usasp
                              Department of Homeland Security               97.032   Crisis Counseling       The Crisis Counseling     https:/ https:/
                                                                                                             Assistance and Training /         /
                                                                                                             Program (CCP)             sam.g www.
                              Department of Homeland Security               97.033                           supports
                                                                                     Disaster Legal Services The       the Recovery
                                                                                                                  Disaster  Legal      ov/fal/ https:/
                                                                                                                                       https:/ usasp
                                                                                                               Services Program             /       /
                                                                                                               (DLS) supports the           sam.g www.
                              Department of Homeland Security               97.034   Disaster Unemployment TheNational   Preparedness
                                                                                                                    Disaster                ov/fal/ https:/
                                                                                                                                            https:/ usasp
                                                                                     Assistance               Unemployment                  /       /
                                                                                                              Assistance (DUA)              sam.g www.
                                                                                                              Program supports the          ov/fal/ usasp
                              Department of Homeland Security               97.036   Disaster Grants - Public To assist state, local,       https:/ https:/
                                                                                     Assistance               territorial , and tribal      /       /
                                                                                     (Presidentially Declared (SLTT) governments            sam.g www.
                              Department of Homeland Security               97.039   Disasters)
                                                                                     Hazard                   and eligible
                                                                                             Mitigation Grant The   objectiveprivate
                                                                                                                               of thenon-   ov/fal/ https:/
                                                                                                                                            https:/ usasp
                                                                                                          program is to provide             /       /
                                                                                                          funding support to                sam.g www.
                                                                                                          states, Indian tribal             ov/fal/ usasp
                              Department of Homeland Security               97.040   Chemical Stockpile   The objective is to               https:/ https:/
                                                                                     Emergency            enhance emergency                 /       /
                                                                                     Preparedness Program preparedness                      sam.g www.
                              Department of Homeland Security               97.041   National Dam Safety  capabilities
                                                                                                          Both         of the Dam
                                                                                                               the National                 ov/fal/ https:/
                                                                                                                                            https:/ usasp
                                                                                     Program                   Safety Program (NDSP) /          /
                                                                                                               state assistance grant   sam.g www.
                              Department of Homeland Security               97.042   Emergency                 and the
                                                                                                               The     Rehabilitation
                                                                                                                    Emergency           ov/fal/ usasp
                                                                                                                                        https:/ https:/
                                                                                     Management                Management               /       /
                                                                                     Performance Grants        Performance Grant        sam.g www.
                                                                                                               (EMPG) Program is a      ov/fal/ usasp
                              Department of Homeland Security               97.043   State Fire Training       In accordance with the   https:/ https:/
                                                                                     Systems Grants            Federal Fire Prevention /        /
                                                                                                               and Control Act of 1974, sam.g www.
                              Department of Homeland Security               97.044   Assistance to             the National
                                                                                                               The           Fire
                                                                                                                    goal of the         ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                     Fire ghters Grant         Assistance to                /       /
                                                                                                               Fire ghters Grant            sam.g www.
                                                                                                               (AFG) and Fire               ov/fal/ usasp
                              Department of Homeland Security               97.045   Cooperating Technical     The Cooperating              https:/ https:/
                                                                                     Partners                  Technical Partners           /       /
                                                                                                               (CTP) Program exists to      sam.g www.
                              Department of Homeland Security               97.046   Fire Management           strengthen
                                                                                                               The        and
                                                                                                                    Fire Management         ov/fal/ https:/
                                                                                                                                            https:/ usasp
                                                                                     Assistance Grant          Assistance Grant             /       /
                                                                                                               (FMAG) Program is            sam.g www.
                              Department of Homeland Security               97.047                            authorized
                                                                                     BRIC: Building Resilient The         byResilient
                                                                                                                   Building   the           ov/fal/ https:/
                                                                                                                                            https:/ usasp
                                                                                     Infrastructure and       Infrastructure and            /       /
                                                                                     Communities              Communities (BRIC)            sam.g www.
                                                                                                              program makes federal         ov/fal/ usasp
                              Department of Homeland Security               97.048   Federal Disaster         To provide nancial            https:/ https:/
                                                                                     Assistance to            assistance, and if            /       /
                                                                                     Individuals and          necessary, direct             sam.g www.
                              Department of Homeland Security               97.050   Households Declared
                                                                                     Presidential in          services
                                                                                                              This typetoofindividuals
                                                                                                                            assistance      ov/fal/ https:/
                                                                                                                                            https:/ usasp
                                                                                     Disaster Assistance to supports disaster               /       /
                                                                                     Individuals and        recovery by providing           sam.g www.
                              Department of Homeland Security               97.052   Households   - Other
                                                                                     Emergency Operations    nancial
                                                                                                            The      assistance
                                                                                                                 purpose  of the for        ov/fal/
                                                                                                                                            https:/ usasp
                                                                                                                                                    https:/
                                                                                     Center                 Emergency Operations            /       /
                                                                                                            Center (EOC) Grant              sam.g www.
                              Department of Homeland Security               97.056   Port Security Grant    Program
                                                                                                            Port     is to Grant
                                                                                                                 Security  improve          ov/fal/ https:/
                                                                                                                                            https:/ usasp
                                                                                     Program                   Program (PSGP) is one        /       /
                                                                                                               of four grant programs       sam.g www.
                              Department of Homeland Security               97.057   Intercity Bus Security    that constitute
                                                                                                               The             DHS/
                                                                                                                    objective of the FY     ov/fal/ https:/
                                                                                                                                            https:/ usasp
                                                                                     Grants                    2023 IBSGP is to             /       /
                                                                                                               provide funds to eligible    sam.g www.
                                                                                                               private operators of         ov/fal/ usasp




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                          Department of Homeland Security                   97.061   Centers for Homeland      DHS S&T seeks to             https:/ https:/
                                                                                     Security                  establish a university-      /       /
                                                                                                               led consortium that          sam.g www.
                          Department of Homeland Security                   97.062   Scienti c Leadership      work
                                                                                                               In   closely
                                                                                                                  support of with
                                                                                                                             the DHS        ov/fal/ https:/
                                                                                                                                            https:/ usasp
                                                                                     Awards                    Science and                  /       /
                                                                                                               Technology                   sam.g www.
                          Department of Homeland Security                   97.067   Homeland Security         Directorate's
                                                                                                               The objectivemission  to
                                                                                                                             of the FY      ov/fal/
                                                                                                                                            https:/ usasp
                                                                                                                                                    https:/
                                                                                     Grant Program          2023 HSGP is to fund            /       /
                                                                                                            SLTT efforts to prevent         sam.g www.
                                                                                                            terrorism                       ov/fal/ usasp
                          Department of Homeland Security                   97.075   Rail and Transit       The objective of the FY         https:/ https:/
                                                                                     Security Grant Program 2023 TSGP is to                 /       /
                                                                                                            provide funds to eligible       sam.g www.
                          Department of Homeland Security                   97.076   CyberTipline           publicprogramâ€™s
                                                                                                            This    transportation          ov/fal/ https:/
                                                                                                                                            https:/ usasp
                                                                                                               objectives are to            /       /
                                                                                                               promote public               sam.g www.
                          Department of Homeland Security                   97.077   Homeland Security         awareness
                                                                                                               Support  theofPPD-8
                                                                                                                              the           ov/fal/ https:/
                                                                                                                                            https:/ usasp
                                                                                     Research,                 objective of prevention      /       /
                                                                                     Development, Testing,     related to terrorist acts    sam.g www.
                                                                                     Evaluation and            involving nuclear or         ov/fal/ usasp
                          Department of Homeland Security                   97.082   Earthquake State          The National                 https:/ https:/
                                                                                     Assistance                Earthquake Hazards           /       /
                                                                                                               Reduction Program            sam.g www.
                          Department of Homeland Security                   97.083   Staf ng for Adequate      (NEHRP)
                                                                                                               The goal ofis the
                                                                                                                              the SAFER
                                                                                                                                  Federal   ov/fal/
                                                                                                                                            https:/ usasp
                                                                                                                                                    https:/
                                                                                     Fire and Emergency        Grant Program is to          /       /
                                                                                     Response (SAFER)          assist local re              sam.g www.
                                                                                                               departments with             ov/fal/ usasp
                          Department of Homeland Security                   97.088   Disaster Assistance       This category is not for     https:/ https:/
                                                                                     Projects                  unsolicited proposals.       /       /
                                                                                                               Provides funding that        sam.g www.
                          Department of Homeland Security                   97.089   Driver's License          has been
                                                                                                               This       designated
                                                                                                                    program   providesby    ov/fal/ https:/
                                                                                                                                            https:/ usasp
                                                                                     Security Grant Program funding to prevent              /       /
                                                                                                            terrorism, reduce fraud         sam.g www.
                          Department of Homeland Security                   97.091   Homeland Security      and improve
                                                                                                            The  BioWatchthe
                                                                                                                           program          ov/fal/ https:/
                                                                                                                                            https:/ usasp
                                                                                     Biowatch Program      is a federally managed,          /       /
                                                                                                           locally operated early           sam.g www.
                                                                                                           warning system that is           ov/fal/ usasp
                          Department of Homeland Security                   97.102   Case Management Pilot The objective of the             https:/ https:/
                                                                                     Program               Case Management Pilot            /       /
                                                                                                           Program (CMPP) is to             sam.g www.
                          Department of Homeland Security                   97.106   Securing the Cities   ensure
                                                                                                           The DHS  that noncitizens
                                                                                                                      Secretary             ov/fal/
                                                                                                                                            https:/ usasp
                                                                                                                                                    https:/
                                                                                     Program                   established the STC          /       /
                                                                                                               Program, managed             sam.g www.
                                                                                                               through the Assistant        ov/fal/ usasp
                          Department of Homeland Security                   97.107   National Incident         The purpose of the           https:/ https:/
                                                                                     Management System         Fiscal Year (FY) 2023        /       /
                                                                                     (NIMS)                    National incident            sam.g www.
                          Department of Homeland Security                   97.108   Public Safety and         Management
                                                                                                               S&T  seeks to System
                                                                                                                             support        ov/fal/ https:/
                                                                                                                                            https:/ usasp
                                                                                     Violence Prevention       foundational research        /       /
                                                                                     Research, Evaluation,     that contributes to          sam.g www.
                          Department of Homeland Security                   97.111   and Implementation
                                                                                     Regional Catastrophic     advancing
                                                                                                               The  goal ofthe
                                                                                                                            thestate
                                                                                                                                RCPGPof     ov/fal/ https:/
                                                                                                                                            https:/ usasp
                                                                                     Preparedness Grant       is to build regional          /       /
                                                                                     Program (RCPGP)          capacity and enhance          sam.g www.
                                                                                                              community resilience in       ov/fal/ usasp
                          Department of Homeland Security                   97.120   Rural Emergency          The Homeland Security         https:/ https:/
                                                                                     Medical                  Act of 2002 (HSA)             /       /
                                                                                     Communications           assigns CISA with the         sam.g www.
                          Department of Homeland Security                   97.123   Demonstration
                                                                                     State, Local, Tribal and responsibilities
                                                                                                     Project                   of
                                                                                                              The mission of CISA   is      ov/fal/
                                                                                                                                            https:/ usasp
                                                                                                                                                    https:/
                                                                                     Territorial Security     to lead the national          /       /
                                                                                     Operations Center/       effort to understand and      sam.g www.
                          Department of Homeland Security                   97.127   Information Sharing and Section
                                                                                     Cybersecurity            manage2220cyberofand
                                                                                                                                the         ov/fal/ https:/
                                                                                                                                            https:/ usasp
                                                                                     Education and Training Homeland Security Act           /       /
                                                                                                            of 2002 (codi ed as             sam.g www.
                          Department of Homeland Security                   97.128   CISA Cyber Security    amended at mission
                                                                                                            CISAâ€™s    6 U.S.C.is          ov/fal/ https:/
                                                                                                                                            https:/ usasp
                                                                                     Awareness Campaign        to lead the national         /       /
                                                                                                               effort to understand,        sam.g www.
                          Department of Homeland Security                   97.130   National Nuclear          manage,
                                                                                                               The        and reduce
                                                                                                                    objectives of this      ov/fal/ https:/
                                                                                                                                            https:/ usasp
                                                                                     Forensics Expertise      program are: (1) to           /       /
                                                                                     Development Program      provide a stable              sam.g www.
                                                                                                              foundation from which         ov/fal/ usasp
                          Department of Homeland Security                   97.131   Emergency                The purpose of the FY         https:/ https:/
                                                                                     Management Baseline 2023 EMBAG                         /       /
                                                                                     Assessments Grant        cooperative agreement         sam.g www.
                          Department of Homeland Security                   97.132   (EMBAG)
                                                                                     Financial Assistance for is
                                                                                                              Theto TVTP
                                                                                                                    support the use of
                                                                                                                         Grant              ov/fal/
                                                                                                                                            https:/ usasp
                                                                                                                                                    https:/
                                                                                     Targeted Violence and  Program has six                 /       /
                                                                                     Terrorism Prevention   objectives:                     sam.g www.
                          Department of Homeland Security                   97.133                          â€¢ FY 2016
                                                                                     Preparing for Emerging The      The local
                                                                                                                          Program           ov/fal/ https:/
                                                                                                                                            https:/ usasp
                                                                                     Threats and Hazards    to Prepare                      /       /
                                                                                                            Communities for                 sam.g www.
                                                                                                            Complex Coordinated             ov/fal/ usasp
                          Department of Homeland Security                   97.134   Presidential Residence The purpose of FEMA's           https:/ https:/
                                                                                     Protection Security    PRPA grant program is           /       /
                                                                                     Grant                  to provide assistance           sam.g www.
                          Department of Homeland Security                   97.135   National Nonpro t      and support
                                                                                                            The  mission for the
                                                                                                                         of the             ov/fal/ https:/
                                                                                                                                            https:/ usasp
                                                                                     Organization              National RBS Program         /       /
                                                                                     Recreational Boating      is to ensure the public      sam.g www.
                                                                                     Safety Grant Program      has a safe, secure, and      ov/fal/ usasp
                          Department of Homeland Security                   97.136   Boating Safety Data       The Boating Safety           https:/ https:/
                                                                                     Collection and Analysis   Data Collection and          /       /
                                                                                     Grant Program             Analysis Grant is            sam.g www.
                          Department of Homeland Security                   97.137   State and Local           designed  to the
                                                                                                               The goal of   collect data
                                                                                                                                 State      ov/fal/
                                                                                                                                            https:/ usasp
                                                                                                                                                    https:/
                                                                                     Cybersecurity Grant   and Local Cybersecurity /        /
                                                                                     Program Tribal        Grant Program            sam.g www.
                          Department of Homeland Security                   97.138   Cybersecurity
                                                                                     Next          Grant
                                                                                          Generation       (SLCGP) and the Tribal ov/fal/
                                                                                                           Objectives                       usasp
                                                                                                                                    https:/ https:/
                                                                                     Warning System Grant  To have in place a       /       /
                                                                                     Program               public alert and warning sam.g www.
                                                                                                           system that provides     ov/fal/ usasp
                          Department of Homeland Security                   97.139   Safeguarding Tomorrow The Safeguarding         https:/ https:/
                                                                                     Revolving Loan Fund   Tomorrow Revolving       /       /
                                                                                     Program               Loan Fund (RLF)          sam.g www.
                          Department of Homeland Security                   97.140                         Program
                                                                                     National Coast Guard The  U.S. provides
                                                                                                                     Coast Guard    ov/fal/ https:/
                                                                                                                                    https:/ usasp
                                                                                     Museum Construction       (USCG) will award a          /       /
                                                                                                               Congressionally              sam.g www.
                                                                                                               directed $50 million         ov/fal/ usasp
                          Department of Homeland Security                   97.141   Shelter and Services      â€¢       To provide         https:/ https:/
                                                                                     Program                   funding to non-federal       /       /
                                                                                                               entities that serve          sam.g www.
                          Department of Homeland Security                   97.142   National Computer         noncitizen  migrants
                                                                                                               The objective   is the       ov/fal/
                                                                                                                                            https:/ usasp
                                                                                                                                                    https:/
                                                                                     Forensics Institute     expansion of the               /       /
                                                                                     Facility Expansion      National Computer              sam.g www.
                          Department of Homeland Security                   97.143   Grant Program
                                                                                     Pre-Disaster Mitigation Forensics Institute's
                                                                                                             The Pre-Disaster               ov/fal/ https:/
                                                                                                                                            https:/ usasp
                                                                                     (PDM) Congressionally Mitigation (PDM)                 /       /
                                                                                     Directed Spending       Congressionally                sam.g www.
                                                                                     (CDS)                   Directed Spending              ov/fal/ usasp
                          Department of Homeland Security                   97.144   Flood Mitigation        The Flood Mitigation           https:/ https:/
                                                                                     Assistance (FMA) Swift Assistance (FMA) Swift          /       /
                                                                                     Current                 Current grant program          sam.g www.
                          Department of Homeland Security                   97.145   National Domestic       makes
                                                                                                             The    federal
                                                                                                                 goal       funds of
                                                                                                                      and mission           ov/fal/ https:/
                                                                                                                                            https:/ usasp
                                                                                     Preparedness              the NDPC is to enable  /       /
                                                                                     Consortium                communities to address sam.g www.
                          Department of Homeland Security                   97.146   Alliance for System      specimission
                                                                                                              The    c evolving
                                                                                                                            and and
                                                                                                                                goal  ov/fal/ https:/
                                                                                                                                      https:/ usasp
                                                                                     Safety of Unmanned       of the CTG ASSURE             /       /
                                                                                     Aircraft Systems         program is to enable          sam.g www.
                                                                                     through Research         communities to address        ov/fal/ usasp
                          Department of Homeland Security                   97.147   National Earthquake      The National                  https:/ https:/
                                                                                     Hazards Reduction        Earthquake Hazards            /       /
                                                                                     Program (NEHRP)          Reduction Program             sam.g www.
                          Department of Homeland Security                   97.148   Multi-State
                                                                                     National    and National The
                                                                                               Cybersecurity  (NEHRP)    Multi-State
                                                                                                                   National                 ov/fal/ https:/
                                                                                                                                            https:/ usasp
                                                                                     Preparedness              Cybersecurity                /       /
                                                                                     Consortium                Preparedness                 sam.g www.
                                                                                                               Consortium program           ov/fal/ usasp
                          Department of Homeland Security                   97.149   Shelter and Services      SSP provides funding to      https:/ https:/
                                                                                     Program â€                non-federal entities that    /       /
                                                                                     “ Competitive             serve noncitizen             sam.g www.
                          Department of Homeland Security                   97.150   Tribal Homeland           migrants
                                                                                                               The      recently
                                                                                                                   objective of the FY      ov/fal/ https:/
                                                                                                                                            https:/ usasp
                                                                                     Security Grant Program 2024 Tribal Homeland            /       /
                                                                                                            Security Grant Program          sam.g www.
                          Department of Homeland Security                   97.151   Fire Prevention &      (THSGP)
                                                                                                            The       is the
                                                                                                                goal of  to provide
                                                                                                                             Fire           ov/fal/ https:/
                                                                                                                                            https:/ usasp
                                                                                     Safety                  Prevention and Safety          /       /
                                                                                                             (FP&S) Program is to           sam.g www.
                                                                                                             enhance the safety of          ov/fal/ usasp
                          Department of Homeland Security                   97.152   Rehabilitation of High  Rehabilitation of High         https:/ https:/
                                                                                     Hazard Potential Dams Hazard Potential Dams            /       /
                                                                                     Grant Program           (HHPD) Grant Program:          sam.g www.
                          Department of Homeland Security                   97.154                           The Of
                                                                                     Citizenship Integration The  HHPD   grant
                                                                                                                     ce of                  ov/fal/ https:/
                                                                                                                                            https:/ usasp
                                                                                     Training Academy        Citizenship, Partnership       /       /
                                                                                                             and Engagement                 sam.g www.
                                                                                                             (OCPE), within US.             ov/fal/ usasp
                          Department of Homeland Security                   97.155   Cybersecurity           The goals of the CWD           https:/ https:/
                                                                                     Workforce Development Program are to                   /       /
                                                                                     and Training for        decrease the                   sam.g www.
                          Department of Homeland Security                   97.156   Underserved
                                                                                     Tribal Cybersecurity    cybersecurity
                                                                                                             The            workforce
                                                                                                                  goal of the Tribal        ov/fal/ https:/
                                                                                                                                            https:/ usasp
                                                                                     Grant Program             Cybersecurity Grant          /       /
                                                                                                               Program (TCGP) is to         sam.g www.
                          Department of Housing and Urban Development       14.021   Green and Resilient       assist
                                                                                                               The    tribal and
                                                                                                                   Green                    ov/fal/ https:/
                                                                                                                                            https:/ usasp
                                                                                     Retro t Program           Resilient Retro t            /       /
                                                                                                               Program offers loans         sam.g www.
                                                                                                               and grants for HUD-          ov/fal/ usasp
                          Department of Housing and Urban Development       14.022   Housing Counseling        The Homeownership            https:/ https:/
                                                                                     Program                   Initiative (HI) helps to     /       /
                                                                                     Homeownership             bridge the                   sam.g www.
                          Department of Housing and Urban Development       14.023   Initiative
                                                                                     Community                 homeownership
                                                                                                               PRO    (Pathways gap
                                                                                                                                  to by     ov/fal/ https:/
                                                                                                                                            https:/ usasp
                                                                                     Development Block         Removing Obstacles) to /       /
                                                                                     Grant- PRO Housing        Housing provides       sam.g www.
                          Department of Housing and Urban Development       14.024   Competition
                                                                                     Community               competitive grant funds
                                                                                                             The Community            ov/fal/
                                                                                                                                      https:/ usasp
                                                                                                                                              https:/
                                                                                     Development Block       Development Block              /     /
                                                                                     Grant- PRICE            Grant - Preservation           sam.g www.
                          Department of Housing and Urban Development       14.108   Competition             and Reinvestment
                                                                                     Rehabilitation Mortgage FHA's  203(k)            ov/fal/ usasp
                                                                                                                                      https:/ https:/
                                                                                     Insurance                Rehabilitation Mortgage /       /
                                                                                                              program is HUD's        sam.g www.
                          Department of Housing and Urban Development       14.110   Manufactured Home        primary
                                                                                                              To      program for the ov/fal/
                                                                                                                 help people                  usasp
                                                                                                                                      https:/ https:/
                                                                                     Loan Insurance (Title I) purchase a              /       /
                                                                                                              manufactured home or sam.g www.
                                                                                                              re nance an existing    ov/fal/ usasp




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                                                                                                                                                                                  #: 75
                                        Department of Housing and Urban Development       14.117   Mortgage Insurance       Helps enable people to       https:/ https:/
                                                                                                   Homes                    purchase a home or           /       /
                                                                                                                            re nance an existing         sam.g www.
                                        Department of Housing and Urban Development       14.119   Mortgage Insurance       mortgage.
                                                                                                                            To help victims of a         ov/fal/ https:/
                                                                                                                                                         https:/ usasp
                                                                                                   Homes for Disaster       Presidentially-declared      /       /
                                                                                                   Victims                  disaster whose home          sam.g www.
                                        Department of Housing and Urban Development       14.122   Mortgage Insurance       was destroyed
                                                                                                                            To help eligible entities    ov/fal/
                                                                                                                                                         https:/ usasp
                                                                                                                                                                 https:/
                                                                                                   Homes in Urban           to purchase and/or           /       /
                                                                                                   Renewal Areas            rehabilitate homes in        sam.g www.
                                                                                                                            urban renewal areas.         ov/fal/ usasp
                                        Department of Housing and Urban Development       14.126   Mortgage Insurance       Enables nonpro t             https:/ https:/
                                                                                                   Cooperative Projects     cooperative ownership        /       /
                                                                                                                            housing corporations or      sam.g www.
                                        Department of Housing and Urban Development       14.128   Mortgage Insurance       trusts
                                                                                                                            To     to develop
                                                                                                                               facilitate the or         ov/fal/ https:/
                                                                                                                                                         https:/ usasp
                                                                                                   Hospitals                affordable nancing of        /       /
                                                                                                                            hospitals for the care       sam.g www.
                                        Department of Housing and Urban Development       14.129   Mortgage Insurance       andprovide
                                                                                                                            To   treatment  of
                                                                                                                                        mortgage         ov/fal/ https:/
                                                                                                                                                         https:/ usasp
                                                                                                   Nursing Homes,           insurance to HUD-            /       /
                                                                                                   Intermediate Care        approved lenders to          sam.g www.
                                                                                                   Facilities, Board and    facilitate the               ov/fal/ usasp
                                        Department of Housing and Urban Development       14.133   Mortgage Insurance       To enable individuals        https:/ https:/
                                                                                                   Purchase of Units in     and families to              /       /
                                                                                                   Condominiums             purchase or re nance         sam.g www.
                                        Department of Housing and Urban Development       14.134   Mortgage Insurance       eligible  units in
                                                                                                                            HUD insures      mortgage    ov/fal/
                                                                                                                                                         https:/ usasp
                                                                                                                                                                 https:/
                                                                                                   Rental Housing         loans to nance the             /       /
                                                                                                                          construction or                sam.g www.
                                                                                                                          rehabilitation of a broad      ov/fal/ usasp
                                        Department of Housing and Urban Development       14.135   Mortgage Insurance     Section 221(d)(4)              https:/ https:/
                                                                                                   Rental and Cooperative insures mortgage loans         /       /
                                                                                                   Housing for Moderate to facilitate the new            sam.g www.
                                        Department of Housing and Urban Development       14.138   Income Families
                                                                                                   Mortgage        and
                                                                                                            Insurance     construction
                                                                                                                          To            or
                                                                                                                             provide quality  rental     ov/fal/ https:/
                                                                                                                                                         https:/ usasp
                                                                                                   Rental Housing for the   housing for the elderly.     /       /
                                                                                                   Elderly                                               sam.g www.
                                        Department of Housing and Urban Development       14.139   Mortgage Insurance      To provide quality rental     ov/fal/ https:/
                                                                                                                                                         https:/ usasp
                                                                                                   Rental Housing in       housing in urban              /       /
                                                                                                   Urban Renewal Areas     renewal areas, code           sam.g www.
                                                                                                                           enforcement areas, and        ov/fal/ usasp
                                        Department of Housing and Urban Development       14.142   Property Improvement To facilitate the                https:/ https:/
                                                                                                   Loan Insurance for       nancing of                   /       /
                                                                                                   Improving All Existing  improvements to homes         sam.g www.
                                        Department of Housing and Urban Development       14.151   Structures and Building
                                                                                                   Supplemental Loan       and  other
                                                                                                                           Section    property
                                                                                                                                   241(a)   insures      ov/fal/
                                                                                                                                                         https:/ usasp
                                                                                                                                                                 https:/
                                                                                                   Insurance Multifamily   lenders against loss on       /       /
                                                                                                   Rental Housing          mortgage defaults on          sam.g www.
                                                                                                                           projects already insured      ov/fal/ usasp
                                        Department of Housing and Urban Development       14.155   Mortgage Insurance for To provide mortgage            https:/ https:/
                                                                                                   the Purchase or         insurance to HUD-             /       /
                                                                                                   Re nancing of Existing approved lenders for           sam.g www.
                                        Department of Housing and Urban Development       14.157   Multifamily Housing
                                                                                                   Supportive              theexpand
                                                                                                               Housing for To  purchasetheorsupply of    ov/fal/ https:/
                                                                                                                                                         https:/ usasp
                                                                                                   the Elderly           multifamily housing with        /       /
                                                                                                                         supportive services for         sam.g www.
                                        Department of Housing and Urban Development       14.162   Mortgage Insurance    very
                                                                                                                         To   low income
                                                                                                                            make   possibleelderly       ov/fal/ https:/
                                                                                                                                                         https:/ usasp
                                                                                                   Combination and       reasonable nancing for          /       /
                                                                                                   Manufactured Home Lot the purchase of a               sam.g www.
                                                                                                   Loans                 manufactured home               ov/fal/ usasp
                                        Department of Housing and Urban Development       14.169   Housing Counseling    Provide funds to HUD-           https:/ https:/
                                                                                                   Assistance Program    approved housing                /       /
                                                                                                                         counseling agencies             sam.g www.
                                        Department of Housing and Urban Development       14.171   Manufactured Housing that  provide the
                                                                                                                         Administers  counseling         ov/fal/
                                                                                                                                                         https:/ usasp
                                                                                                                                                                 https:/
                                                                                                                            National Manufactured        /     /
                                                                                                                            Housing Construction         sam.g www.
                                        Department of Housing and Urban Development       14.175   Adjustable Rate          andprovide
                                                                                                                            To  Safety mortgage
                                                                                                                                       Standards   ov/fal/ usasp
                                                                                                                                                   https:/ https:/
                                                                                                   Mortgages              insurance for an         /       /
                                                                                                                          adjustable rate          sam.g www.
                                        Department of Housing and Urban Development       14.181                          mortgage
                                                                                                   Supportive Housing for To expandwhich    may of https:/
                                                                                                                                     the supply    ov/fal/ https:/
                                                                                                                                                           usasp
                                                                                                   Persons with           supportive housing for   /       /
                                                                                                   Disabilities           very low-income          sam.g www.
                                        Department of Housing and Urban Development       14.183   Home Equity            persons
                                                                                                                          To enablewith
                                                                                                                                     elderly       ov/fal/ https:/
                                                                                                                                                   https:/ usasp
                                                                                                   Conversion Mortgages     homeowners to convert        /       /
                                                                                                                            equity in their homes to     sam.g www.
                                                                                                                            monthly streams of           ov/fal/ usasp
                                        Department of Housing and Urban Development       14.188   Housing Finance          Under Section 542(c),        https:/ https:/
                                                                                                   Agencies (HFA) Risk      HUD provides credit          /       /
                                                                                                   Sharing                  enhancement for              sam.g www.
                                        Department of Housing and Urban Development       14.191   Multifamily Housing      mortgages   for
                                                                                                                            To link elderly,             ov/fal/
                                                                                                                                                         https:/ usasp
                                                                                                                                                                 https:/
                                                                                                   Service Coordinators     especially frail and         /       /
                                                                                                                            disabled, or disabled        sam.g www.
                                        Department of Housing and Urban Development       14.195   Project-Based Rental     non-elderly
                                                                                                                            To           assisted
                                                                                                                               provide rental            ov/fal/ https:/
                                                                                                                                                         https:/ usasp
                                                                                                   Assistance (PBRA)        assistance to very low       /       /
                                                                                                                            income individuals and       sam.g www.
                                                                                                                            families enabling them       ov/fal/ usasp
                                        Department of Housing and Urban Development       14.198   Good Neighbor Next       The purpose of the           https:/ https:/
                                                                                                   Door Sales Program       Good Neighbor Next           /       /
                                                                                                                            Door Sales Program is        sam.g www.
                                        Department of Housing and Urban Development       14.218   Community                to improve
                                                                                                                            To  develop the quality
                                                                                                                                         viable     of
                                                                                                                                                urban    ov/fal/ https:/
                                                                                                                                                         https:/ usasp
                                                                                                   Development Block      communities by                 /       /
                                                                                                   Grants/Entitlement     providing decent               sam.g www.
                                                                                                   Grants                 housing, a suitable            ov/fal/ usasp
                                        Department of Housing and Urban Development       14.225   Community              To provide community           https:/ https:/
                                                                                                   Development Block      development assistance         /       /
                                                                                                   Grants/Special Purpose to the Paci c Islands of       sam.g www.
                                        Department of Housing and Urban Development       14.228   Grants/Insular
                                                                                                   Community      Areas   American  Samoa,
                                                                                                                          The primary  objective of      ov/fal/
                                                                                                                                                         https:/ usasp
                                                                                                                                                                 https:/
                                                                                                   Development Block      this program is the            /       /
                                                                                                   Grants/State's program development of viable          sam.g www.
                                        Department of Housing and Urban Development       14.231   and Non-Entitlement
                                                                                                   Emergency  Solutions   urban
                                                                                                                          The    communities
                                                                                                                               ESG   program by          ov/fal/ https:/
                                                                                                                                                         https:/ usasp
                                                                                                   Grant Program          provides funding to: (1)       /       /
                                                                                                                          engage homeless                sam.g www.
                                                                                                                          individuals and families       ov/fal/ usasp
                                        Department of Housing and Urban Development       14.239   Home Investment        To expand the supply of        https:/ https:/
                                                                                                   Partnerships Program affordable housing,              /       /
                                                                                                                          particularly rental            sam.g www.
                                        Department of Housing and Urban Development       14.241                          housing,
                                                                                                   Housing Opportunities To         forStates,
                                                                                                                              provide   low andunits     ov/fal/ https:/
                                                                                                                                                         https:/ usasp
                                                                                                   for Persons with AIDS    of local government, or      /       /
                                                                                                                            nonpro t organizations       sam.g www.
                                                                                                                            with the resources and       ov/fal/ usasp
                                        Department of Housing and Urban Development       14.247   Self-Help                To facilitate and            https:/ https:/
                                                                                                   Homeownership            encourage innovative         /       /
                                                                                                   Opportunity Program      homeownership                sam.g www.
                                        Department of Housing and Urban Development       14.248   Community                opportunities  through
                                                                                                                            To provide communities       ov/fal/
                                                                                                                                                         https:/ usasp
                                                                                                                                                                 https:/
                                                                                                   Development Block      with a source of        /       /
                                                                                                   Grants Section 108      nancing for economic   sam.g www.
                                        Department of Housing and Urban Development       14.249   Loan Guarantees
                                                                                                   Section 8 Moderate     development,
                                                                                                                          The  Section 8 housing
                                                                                                                                         Moderate ov/fal/ usasp
                                                                                                                                                  https:/ https:/
                                                                                                   Rehabilitation Single  Rehabilitation Single   /       /
                                                                                                   Room Occupancy         Room Occupancy          sam.g www.
                                                                                                                          Program provides rental ov/fal/ usasp
                                        Department of Housing and Urban Development       14.251   Economic Development The annual                https:/ https:/
                                                                                                   Initiative, Community  appropriation of funds  /       /
                                                                                                   Project Funding, and   to the Department and   sam.g www.
                                        Department of Housing and Urban Development       14.252   Miscellaneous
                                                                                                   Section         grants
                                                                                                             4 Capacity   the accompanying
                                                                                                                          The                     ov/fal/ https:/
                                                                                                                               Section 4 program https:/  usasp
                                                                                                   Building for Community builds the capacity of         /       /
                                                                                                   Development and        Community                      sam.g www.
                                        Department of Housing and Urban Development       14.256   Affordable Housing
                                                                                                   Neighborhood           Development
                                                                                                                          Neighborhood                   ov/fal/ https:/
                                                                                                                                                         https:/ usasp
                                                                                                   Stabilization Program  stabilization through          /       /
                                                                                                   (Recovery Act Funded) acquisition and                 sam.g www.
                                                                                                                          rehabilitation, land           ov/fal/ usasp
                                        Department of Housing and Urban Development       14.259   Community Compass      Community Compass              https:/ https:/
                                                                                                   Technical Assistance   brings together                /       /
                                                                                                   and Capacity Building technical assistance            sam.g www.
                                        Department of Housing and Urban Development       14.261   National Homeless      funding appropriations
                                                                                                                          National  Homeless             ov/fal/ https:/
                                                                                                                                                         https:/ usasp
                                                                                                   Data Analysis Project   Data Analysis Project         /       /
                                                                                                   (NHDAP)                 (NHDAP) provides              sam.g www.
                                                                                                                           critical resources to         ov/fal/ usasp
                                        Department of Housing and Urban Development       14.265   Rural Capacity Building The Rural Capacity            https:/ https:/
                                                                                                   for Community           Building program              /       /
                                                                                                   Development and         enhances the capacity         sam.g www.
                                        Department of Housing and Urban Development       14.267   Affordable Housing
                                                                                                   Continuum  of Care      and
                                                                                                                           The ability
                                                                                                                                 programof rural
                                                                                                                                           is            ov/fal/ https:/
                                                                                                                                                         https:/ usasp
                                                                                                   Program                 designed to promote           /       /
                                                                                                                           community-wide                sam.g www.
                                        Department of Housing and Urban Development       14.269   Hurricane Sandy         commitment
                                                                                                                           The            to the goal
                                                                                                                                 overall CDBG            ov/fal/ https:/
                                                                                                                                                         https:/ usasp
                                                                                                   Community              program objective is to        /       /
                                                                                                   Development Block      develop viable urban           sam.g www.
                                                                                                   Grant Disaster         communities, by                ov/fal/ usasp
                                        Department of Housing and Urban Development       14.272   National Disaster      The overall CDBG               https:/ https:/
                                                                                                   Resilience Competition program objective is to        /       /
                                                                                                                          develop viable urban           sam.g www.
                                        Department of Housing and Urban Development       14.275   Housing Trust Fund     communities,
                                                                                                                          To expand andbypreserve        ov/fal/ https:/
                                                                                                                                                         https:/ usasp
                                                                                                                         the supply of affordable        /       /
                                                                                                                         housing, particularly           sam.g www.
                                                                                                                         rental housing, for             ov/fal/ usasp
                                        Department of Housing and Urban Development       14.276   Youth Homelessness    The goal of the Youth           https:/ https:/
                                                                                                   Demonstration Program Homeless                        /       /
                                                                                                                         Demonstration Program           sam.g www.
                                        Department of Housing and Urban Development       14.277   Youth Homeless        (YHDP)
                                                                                                                         The      is to support
                                                                                                                              objectives  of the         ov/fal/ https:/
                                                                                                                                                         https:/ usasp
                                                                                                   System Improvement       Youth Homeless               /       /
                                                                                                   Grants                   System Improvement           sam.g www.
                                        Department of Housing and Urban Development       14.278   Veterans Housing         Grants
                                                                                                                            The    (YHSIG),
                                                                                                                                purpose      HUD
                                                                                                                                        of the           ov/fal/ https:/
                                                                                                                                                         https:/ usasp
                                                                                                   Rehabilitation and       Veterans Housing             /       /
                                                                                                   Modi cation Program      Rehabilitation and           sam.g www.
                                                                                                                            Modi cation Program is       ov/fal/ usasp
                                        Department of Housing and Urban Development       14.311   Single Family Property   To sell HUD single           https:/ https:/
                                                                                                   Disposition              family Real Estate           /       /
                                                                                                                            Owned (REO)                  sam.g www.
                                        Department of Housing and Urban Development       14.313   Dollar Home Sales        properties
                                                                                                                            To expand in a manner
                                                                                                                                        HUD's            ov/fal/ https:/
                                                                                                                                                         https:/ usasp
                                                                                                                            partnership with local       /       /
                                                                                                                            governments in helping       sam.g www.
                                        Department of Housing and Urban Development       14.316   Housing Counseling       to foster
                                                                                                                            This      housing
                                                                                                                                 program  supports,      ov/fal/
                                                                                                                                                         https:/ usasp
                                                                                                                                                                 https:/
                                                                                                   Training Program         under cooperative            /       /
                                                                                                                            agreements with HUD,         sam.g www.
                                        Department of Housing and Urban Development       14.322   Tenant Education and     the delivery
                                                                                                                            The  purposeofofathe
                                                                                                                                              broad      ov/fal/ https:/
                                                                                                                                                         https:/ usasp
                                                                                                   Outreach Program         Tenant Education and         /       /
                                                                                                                            Outreach (TEO)               sam.g www.
                                        Department of Housing and Urban Development       14.326   Project Rental           Program
                                                                                                                            The      is to
                                                                                                                                Project    support
                                                                                                                                         Rental          ov/fal/ https:/
                                                                                                                                                         https:/ usasp
                                                                                                   Assistance               Assistance (PRA)             /       /
                                                                                                   Demonstration (PRA       provides funding to          sam.g www.
                                                                                                   Demo) Program of         state housing agencies       ov/fal/ usasp




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                                        Department of Housing and Urban Development       14.327   Performance Based        It is the policy of the     https:/ https:/
                                                                                                   Contract Administrator   United States to            /       /
                                                                                                   Program                  promote the general         sam.g www.
                                        Department of Housing and Urban Development       14.401                            welfare of
                                                                                                   Fair Housing Assistance Provide     the Nation
                                                                                                                                    assistance   toby   ov/fal/ https:/
                                                                                                                                                        https:/ usasp
                                                                                                   Program                  State and local fair        /       /
                                                                                                                            housing enforcement         sam.g www.
                                        Department of Housing and Urban Development       14.408   Fair Housing Initiatives agencies  forimplement,
                                                                                                                            To develop,   complaint     ov/fal/
                                                                                                                                                        https:/ usasp
                                                                                                                                                                https:/
                                                                                                   Program                  carry out, or coordinate    /       /
                                                                                                                            programs and/or             sam.g www.
                                                                                                                            activities to educate the   ov/fal/ usasp
                                        Department of Housing and Urban Development       14.416   Education and            To assist organizations     https:/ https:/
                                                                                                   Outreach Initiatives     that are regional and       /       /
                                                                                                                            local, community based      sam.g www.
                                        Department of Housing and Urban Development       14.417   Fair Housing             andassist
                                                                                                                            To   National  programs,
                                                                                                                                       organizations    ov/fal/ https:/
                                                                                                                                                        https:/ usasp
                                                                                                   Organization Initiatives that are regional and       /       /
                                                                                                                            local, community based      sam.g www.
                                        Department of Housing and Urban Development       14.418   Private Enforcement      andassist
                                                                                                                            To   National programs,
                                                                                                                                      private non-      ov/fal/ https:/
                                                                                                                                                        https:/ usasp
                                                                                                   Initiatives              pro t fair housing          /       /
                                                                                                                            enforcement                 sam.g www.
                                                                                                                            organizations in the        ov/fal/ usasp
                                        Department of Housing and Urban Development       14.506   General Research and     What all funding does       https:/ https:/
                                                                                                   Technology Activity      this listing include? All   /       /
                                                                                                                            Core R&T activities (per    sam.g www.
                                        Department of Housing and Urban Development       14.536   Research, Evaluation,    the
                                                                                                                            ThisPDR    Congressional
                                                                                                                                  is a Notice  of       ov/fal/
                                                                                                                                                        https:/ usasp
                                                                                                                                                                https:/
                                                                                                   and Demonstrations       Funding Availability        /       /
                                                                                                                            (NOFA) from the             sam.g www.
                                                                                                                            Department of Housing       ov/fal/ usasp
                                        Department of Housing and Urban Development       14.537   Eviction Protection      The overall purpose of      https:/ https:/
                                                                                                   Grant Program            the Eviction Protection     /       /
                                                                                                                            Grant Program is to         sam.g www.
                                        Department of Housing and Urban Development       14.850   Public Housing           support
                                                                                                                            To      experienced
                                                                                                                               provide  and operate     ov/fal/ https:/
                                                                                                                                                        https:/ usasp
                                                                                                   Operating Fund           cost-effective, decent,     /       /
                                                                                                                            safe and affordable         sam.g www.
                                        Department of Housing and Urban Development       14.856   Lower Income Housing     dwellings
                                                                                                                            The       for lower
                                                                                                                                 Moderate               ov/fal/ https:/
                                                                                                                                                        https:/ usasp
                                                                                                   Assistance Program       Rehabilitation (Mod         /       /
                                                                                                   Section 8 Moderate       Rehab) program was          sam.g www.
                                                                                                   Rehabilitation           designed in 1978 to be      ov/fal/ usasp
                                        Department of Housing and Urban Development       14.862   Indian Community         The purpose of the          https:/ https:/
                                                                                                   Development Block        Indian Community            /       /
                                                                                                   Grant Program            Development Block           sam.g www.
                                        Department of Housing and Urban Development       14.865   Public and Indian        Grant (ICDBG)
                                                                                                                            To provide      program
                                                                                                                                        access to       ov/fal/
                                                                                                                                                        https:/ usasp
                                                                                                                                                                https:/
                                                                                                   Housing Indian Loan      sources of private          /       /
                                                                                                   Guarantee Program         nancing so Native          sam.g www.
                                                                                                                            American families can       ov/fal/ usasp
                                        Department of Housing and Urban Development       14.866   Demolition and           Revitalization Grants       https:/ https:/
                                                                                                   Revitalization of        enable PHAs to              /       /
                                                                                                   Severely Distressed      improve the living          sam.g www.
                                        Department of Housing and Urban Development       14.867   Public Housing
                                                                                                   Indian Housing Block     environment
                                                                                                                            The           for public
                                                                                                                                Indian Housing          ov/fal/ https:/
                                                                                                                                                        https:/ usasp
                                                                                                   Grants                   Block Grants (IHBG)         /       /
                                                                                                                            program is authorized       sam.g www.
                                        Department of Housing and Urban Development       14.869   Title VI Federal         under
                                                                                                                            To    the Native
                                                                                                                               provide access to        ov/fal/ https:/
                                                                                                                                                        https:/ usasp
                                                                                                   Guarantees for           sources of private          /       /
                                                                                                   Financing Tribal          nancing to Indian          sam.g www.
                                                                                                   Housing Activities       Housing Block Grant         ov/fal/ usasp
                                        Department of Housing and Urban Development       14.870   Resident Opportunity     To address the              https:/ https:/
                                                                                                   and Supportive           economic and housing        /       /
                                                                                                   Services - Service       self-suf ciency needs of    sam.g www.
                                        Department of Housing and Urban Development       14.871   Coordinators
                                                                                                   Section 8 Housing        public and Indian
                                                                                                                            The housing  choice         ov/fal/
                                                                                                                                                        https:/ usasp
                                                                                                                                                                https:/
                                                                                                   Choice Vouchers          voucher program is the      /       /
                                                                                                                            federal government's        sam.g www.
                                        Department of Housing and Urban Development       14.872   Public Housing Capital   major
                                                                                                                            The   program
                                                                                                                                Capital   for
                                                                                                                                        Fund            ov/fal/ https:/
                                                                                                                                                        https:/ usasp
                                                                                                   Fund                     provides funds annually     /       /
                                                                                                                            to Public Housing           sam.g www.
                                        Department of Housing and Urban Development       14.873   Native Hawaiian          Agencies
                                                                                                                            To provide(PHAs)  for
                                                                                                                                       funds to         ov/fal/ https:/
                                                                                                                                                        https:/ usasp
                                                                                                   Housing Block Grants     carry out affordable        /       /
                                                                                                                            housing activities,         sam.g www.
                                        Department of Housing and Urban Development       14.874   Loan Guarantees for      including
                                                                                                                            To providerental
                                                                                                                                        access to       ov/fal/ https:/
                                                                                                                                                        https:/ usasp
                                                                                                   Native Hawaiian          sources of private          /       /
                                                                                                   Housing                   nancing on Hawaiian        sam.g www.
                                                                                                                            home lands.                 ov/fal/ usasp
                                        Department of Housing and Urban Development       14.878   Affordable Housing       To assist small             https:/ https:/
                                                                                                   Development in Main      communities with            /       /
                                                                                                   Street Rejuvenation      populations of 50,000 or    sam.g www.
                                        Department of Housing and Urban Development       14.879   Projects
                                                                                                   Mainstream Vouchers      less and 100 Public
                                                                                                                            The Mainstream              ov/fal/
                                                                                                                                                        https:/ usasp
                                                                                                                                                                https:/
                                                                                                                            Vouchers (previously        /       /
                                                                                                                            referred to as the          sam.g www.
                                        Department of Housing and Urban Development       14.880   Family Uni cation        Mainstream
                                                                                                                            To           5-Year for
                                                                                                                               aid: (1) Families        ov/fal/ https:/
                                                                                                                                                        https:/ usasp
                                                                                                   Program (FUP)         whom the lack of               /       /
                                                                                                                         adequate housing is a          sam.g www.
                                                                                                                         primary factor in: a. The      ov/fal/ usasp
                                        Department of Housing and Urban Development       14.881   Moving to Work        Moving to Work (MTW)           https:/ https:/
                                                                                                   Demonstration Program is a demonstration             /       /
                                                                                                                         program for public             sam.g www.
                                        Department of Housing and Urban Development       14.888   Lead-Based Paint      housing
                                                                                                                         The      authorities
                                                                                                                              Lead-Based    Paint       ov/fal/ https:/
                                                                                                                                                        https:/ usasp
                                                                                                   Capital Fund Program  and Housing-Related            /       /
                                                                                                                         Hazards are for Public         sam.g www.
                                                                                                                         Housing Authorities            ov/fal/ usasp
                                        Department of Housing and Urban Development       14.889   Choice Neighborhoods Choice Neighborhoods            https:/ https:/
                                                                                                   Implementation Grants Implementation Grants          /       /
                                                                                                                         provide funds to               sam.g www.
                                        Department of Housing and Urban Development       14.892   Choice Neighborhoods implement
                                                                                                                         Choice Neighborhoods           ov/fal/
                                                                                                                                                        https:/ usasp
                                                                                                                                                                https:/
                                                                                                   Planning Grants          Planning Grants             /       /
                                                                                                                            support the                 sam.g www.
                                        Department of Housing and Urban Development       14.893   Of ce of Native            development
                                                                                                                              To             of
                                                                                                                                  provide technical     ov/fal/ https:/
                                                                                                                                                        https:/ usasp
                                                                                                   American Programs          assistance for Indian     /       /
                                                                                                   Training and Technical tribes, Alaska Native         sam.g www.
                                                                                                   Assistance for Indian      villages, and Tribally    ov/fal/ usasp
                                        Department of Housing and Urban Development       14.895   Jobs-Plus Pilot Initiative The Jobs Plus program     https:/ https:/
                                                                                                                              develops locally based,   /       /
                                                                                                                              job-driven approaches     sam.g www.
                                        Department of Housing and Urban Development       14.896   Family Self-Suf ciency To  thatpromote
                                                                                                                                   increasethe
                                                                                                                                             earnings   ov/fal/ https:/
                                                                                                                                                        https:/ usasp
                                                                                                   Program               development of local           /       /
                                                                                                                         strategies to coordinate       sam.g www.
                                                                                                                         the use of assistance          ov/fal/ usasp
                                        Department of Housing and Urban Development       14.899   Tribal HUD-VA         The Tribal HUD-VASH            https:/ https:/
                                                                                                   Supportive Housing    program combines               /       /
                                                                                                   Program               rental assistance from         sam.g www.
                                        Department of Housing and Urban Development       14.900   Lead Hazard Reduction the Department
                                                                                                                         Lead-Based       of
                                                                                                                                       Paint            ov/fal/
                                                                                                                                                        https:/ usasp
                                                                                                                                                                https:/
                                                                                                   Grant Program            Hazard Control grants       /       /
                                                                                                                            assist State, Tribal, and   sam.g www.
                                        Department of Housing and Urban Development       14.901   Healthy Homes            local governments
                                                                                                                            HUD,   through this to      ov/fal/ https:/
                                                                                                                                                        https:/ usasp
                                                                                                   Weatherization        Healthy Homes and              /       /
                                                                                                   Cooperation           Weatherization                 sam.g www.
                                                                                                   Demonstration Grants  Cooperation                    ov/fal/ usasp
                                        Department of Housing and Urban Development       14.902   Lead Technical StudiesTo fund technical              https:/ https:/
                                                                                                   Grants                studies to improve             /       /
                                                                                                                         methods for detecting          sam.g www.
                                        Department of Housing and Urban Development       14.905                         and controlling
                                                                                                   Lead Hazard Reduction Lead            lead-
                                                                                                                               Hazard Reduction         ov/fal/ https:/
                                                                                                                                                        https:/ usasp
                                                                                                   Demonstration Grant      Demonstration Grant         /       /
                                                                                                   Program                  assist State, Tribal, and   sam.g www.
                                        Department of Housing and Urban Development       14.906   Healthy Homes            local
                                                                                                                            To    governments
                                                                                                                               fund technical to        ov/fal/ https:/
                                                                                                                                                        https:/ usasp
                                                                                                   Technical Studies        studies to improve          /       /
                                                                                                   Grants                   methods for detecting       sam.g www.
                                                                                                                            and controlling housing-    ov/fal/ usasp
                                        Department of Housing and Urban Development       14.912   Lead Hazard Control      The purpose of the          https:/ https:/
                                                                                                   Capacity Building        Lead Hazard Reduction       /       /
                                                                                                                            Capacity Building Grant     sam.g www.
                                        Department of Housing and Urban Development       14.913   Healthy Homes            Program
                                                                                                                            The       is toof
                                                                                                                                purpose     assist
                                                                                                                                              the       ov/fal/ https:/
                                                                                                                                                        https:/ usasp
                                                                                                   Production Program       Healthy Homes               /       /
                                                                                                                            Production Program is       sam.g www.
                                                                                                                            to comprehensively          ov/fal/ usasp
                                        Department of Housing and Urban Development       14.914   Radon Interventions in   None. The program is        https:/ https:/
                                                                                                   Public and Assisted      defunct                     /       /
                                                                                                   Multifamily Housing                                  sam.g www.
                                        Department of Housing and Urban Development       14.920   Lead Hazard Control for This funding will be         ov/fal/ https:/
                                                                                                                                                        https:/ usasp
                                                                                                   High Risk Areas         made available to public /       /
                                                                                                                           housing agencies that    sam.g www.
                                        Department of Housing and Urban Development       14.921   Older Adults Home       operate
                                                                                                                           The     the housing
                                                                                                                               purpose  of the      ov/fal/ usasp
                                                                                                                                                    https:/ https:/
                                                                                                   Modi cation Grant       Older Adults Home        /       /
                                                                                                   Program                 Modi cation Grant        sam.g www.
                                                                                                                           Program is to enhance ov/fal/ usasp
                                        Department of Justice                             16.001   Law Enforcement         To provide technical     https:/ https:/
                                                                                                   Assistance Narcotics    assistance to dully      /       /
                                                                                                   and Dangerous Drugs constituted state,           sam.g www.
                                        Department of Justice                             16.003   Laboratory
                                                                                                   Law        Analysis
                                                                                                       Enforcement         county,
                                                                                                                           To      and municipal
                                                                                                                              disseminate           ov/fal/ https:/
                                                                                                                                                    https:/ usasp
                                                                                                   Assistance Narcotics     scienti c information on    /       /
                                                                                                   and Dangerous Drugs      the detection and           sam.g www.
                                                                                                   Technical Laboratory     analysis of narcotics       ov/fal/ usasp
                                        Department of Justice                             16.004   Law Enforcement          To acquaint appropriate     https:/ https:/
                                                                                                   Assistance Narcotics     professional and            /       /
                                                                                                   and Dangerous Drugs      enforcement personnel       sam.g www.
                                        Department of Justice                             16.015   Training
                                                                                                   Missing Alzheimer's      with goal
                                                                                                                            The  (1) techniques  in
                                                                                                                                       of the program   ov/fal/ https:/
                                                                                                                                                        https:/ usasp
                                                                                                   Disease Patient         is to support local       /       /
                                                                                                   Assistance Program      jurisdictionsâ€™ efforts sam.g www.
                                        Department of Justice                             16.016   Culturally and          to reduce
                                                                                                                           To  enhance theculturally
                                                                                                                                           number of ov/fal/ usasp
                                                                                                                                                     https:/ https:/
                                                                                                   Linguistically Speci c  speci c services for      /       /
                                                                                                   Services Program        victims of domestic       sam.g www.
                                                                                                                           violence, dating          ov/fal/ usasp
                                        Department of Justice                             16.017   Sexual Assault Services To increase               https:/ https:/
                                                                                                   Formula Program         intervention, advocacy, /         /
                                                                                                                           accompaniment,            sam.g www.
                                        Department of Justice                             16.019   Tribal Registry         support
                                                                                                                           To        services,
                                                                                                                               develop   and and     ov/fal/ https:/
                                                                                                                                                     https:/ usasp
                                                                                                                            maintain a national         /       /
                                                                                                                            tribal sex offender         sam.g www.
                                        Department of Justice                             16.021   Justice Systems          registry and to
                                                                                                                            The Grants    a tribal
                                                                                                                                            Support     ov/fal/
                                                                                                                                                        https:/ usasp
                                                                                                                                                                https:/
                                                                                                   Response to Families    Families in the Justice      /       /
                                                                                                                           System program               sam.g www.
                                        Department of Justice                             16.023                           (referred
                                                                                                   Sexual Assault Services To        to as
                                                                                                                              increase     Justice
                                                                                                                                        culturally      ov/fal/ https:/
                                                                                                                                                        https:/ usasp
                                                                                                   Culturally Speci c       speci c intervention,       /       /
                                                                                                   Program                  advocacy,                   sam.g www.
                                        Department of Justice                             16.024   Tribal Sexual Assault    accompaniment,
                                                                                                                            To support programs or      ov/fal/ https:/
                                                                                                                                                        https:/ usasp
                                                                                                   Services Program         projects in Indian tribal   /       /
                                                                                                                            lands and Alaska native     sam.g www.
                                                                                                                            villages that increase      ov/fal/ usasp




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                                   Department of Justice                 16.025   Special Domestic          To assist tribal              https:/ https:/
                                                                                  Violence Criminal         governments in                /       /
                                                                                  Jurisdiction              implementing the              sam.g www.
                                   Department of Justice                 16.026   Implementation
                                                                                  OVW Research and          Special
                                                                                                            The     TribalofCriminal
                                                                                                                purpose      the          ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                  Evaluation Program      Research and                    /       /
                                                                                                          Evaluation (R&E)                sam.g www.
                                   Department of Justice                 16.027   National Clearinghouse Program
                                                                                                          To provideis training
                                                                                                                        to further
                                                                                                                                 and      ov/fal/
                                                                                                                                          https:/ usasp
                                                                                                                                                  https:/
                                                                                  on Sexual Assault of    technical assistance on         /       /
                                                                                  American Indian and     issues relating to sexual       sam.g www.
                                                                                  Alaska Native Women assault of American                 ov/fal/ usasp
                                   Department of Justice                 16.028   Resource Center on      To provide for                  https:/ https:/
                                                                                  Workplace Response to establishment and                 /       /
                                                                                  Domestic Violence,      operation of a national         sam.g www.
                                   Department of Justice                 16.029   Dating
                                                                                  Of     Violence,
                                                                                     ce on ViolenceSexual To
                                                                                                          resource
                                                                                                             promotecenter    on
                                                                                                                         promising        ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                  Against Women Special or innovative practices           /       /
                                                                                  Projects              to respond to violence            sam.g www.
                                   Department of Justice                 16.030   National Center on    against women,
                                                                                                        Goal(s): The primary              ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                  Restorative Justice    goals of the National            /       /
                                                                                                         Center on Restorative            sam.g www.
                                                                                                         Justice are to: (1)              ov/fal/ usasp
                                   Department of Justice                 16.031   Emmett Till Cold Case The Emmett Till                   https:/ https:/
                                                                                  Investigations Program Program provides                 /       /
                                                                                                         support to state, local          sam.g www.
                                   Department of Justice                 16.032   Academic-based Drug andNote:tribal law is
                                                                                                                Program                   ov/fal/
                                                                                                                                          https:/ usasp
                                                                                                                                                  https:/
                                                                                  Field Testing and      inactive and pending       /       /
                                                                                  Training Initiative    archival.                  sam.g www.
                                                                                                                                    ov/fal/ usasp
                                   Department of Justice                 16.034   Coronavirus Emergency The program is no           https:/ https:/
                                                                                  Supplemental Funding longer funded. This was /            /
                                                                                  Program                  a one-time funding       sam.g www.
                                   Department of Justice                 16.035                            opportunity
                                                                                  Preventing Traf cking of The  purposeawarded
                                                                                                                         of this in ov/fal/
                                                                                                                                    https:/ usasp
                                                                                                                                            https:/
                                                                                  Girls                    program is to support    /       /
                                                                                                           the prevention and early sam.g www.
                                   Department of Justice                 16.036   Comprehensive            intervention
                                                                                                           The  goals ofservices,
                                                                                                                         this       ov/fal/ https:/
                                                                                                                                    https:/ usasp
                                                                                  Forensic DNA Analysis comprehensive                     /       /
                                                                                  Grant Program           program are to assist           sam.g www.
                                                                                                          eligible states and units       ov/fal/ usasp
                                   Department of Justice                 16.037   Strengthening the       The goals of the                https:/ https:/
                                                                                  Medical Examiner -      Strengthening the               /       /
                                                                                  Coroner System          Medical Examiner-               sam.g www.
                                   Department of Justice                 16.038   National Decerti cation Coroner   System
                                                                                                          The purpose    of this          ov/fal/
                                                                                                                                          https:/ usasp
                                                                                                                                                  https:/
                                                                                  Index                     funding is to assist with     /       /
                                                                                                            the implementation of         sam.g www.
                                                                                                            the â€œExecutive              ov/fal/ usasp
                                   Department of Justice                 16.039   Rural Violent Crime       The goal of Rural             https:/ https:/
                                                                                  Initiative                Violent Crime Reduction       /       /
                                                                                                            Initiative (RVCRI)            sam.g www.
                                   Department of Justice                 16.040   Matthew Shepard and       program
                                                                                                            The   goalsisof
                                                                                                                          tothe
                                                                                                                             assist and   ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                  James Byrd, Jr. Hate      Matthew Shepard and           /       /
                                                                                  Crimes Education,         James Byrd, Jr. Hate          sam.g www.
                                   Department of Justice                 16.041   Investigation
                                                                                  National      andAlert
                                                                                           Ashanti          Crimes
                                                                                                            This    Program
                                                                                                                 program  is are to       ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                  Network Training and      speci cally directed          /       /
                                                                                  Technical Assistance      toward the                    sam.g www.
                                                                                  Program                   development,                  ov/fal/ usasp
                                   Department of Justice                 16.042   Security Assistance       The purpose of the            https:/ https:/
                                                                                  Reimbursement Grant       Security Assistance           /       /
                                                                                  Program                   Reimbursement Grant           sam.g www.
                                   Department of Justice                 16.043   Veterans Treatment        Program
                                                                                                            Goal: To is to reimburse
                                                                                                                      provide             ov/fal/
                                                                                                                                          https:/ usasp
                                                                                                                                                  https:/
                                                                                  Court Discretionary    veterans treatment               /       /
                                                                                  Grant Program          courts and criminal              sam.g www.
                                   Department of Justice                 16.044                          justice
                                                                                  Forensics Training and The     professionals
                                                                                                              goal of the                 ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                  Technical Assistance   Forensic Science                 /     /
                                                                                  Program                Federal, State, and              sam.g www.
                                   Department of Justice                 16.045   Community-Based        Local The
                                                                                                         Goal:  Projects
                                                                                                                    mainisgoal
                                                                                                                           to of     ov/fal/ usasp
                                                                                                                                     https:/ https:/
                                                                                  Violence Intervention     CVIPI is the prevention /        /
                                                                                  and Prevention Initiative and reduction of violent sam.g www.
                                   Department of Justice                 16.046   Drug Data Research        crimegoal
                                                                                                            The   in communities
                                                                                                                      of the Drug by ov/fal/ usasp
                                                                                                                                     https:/ https:/
                                                                                  Center to Combat the      Data Research Center     /       /
                                                                                  Opioid Crisis             (DDRC) to Combat the sam.g www.
                                                                                                            Opioid Crisis program    ov/fal/ usasp
                                   Department of Justice                 16.047   Community-Based           Goal(s): The goals of    https:/ https:/
                                                                                  Approaches to             the Community-based      /       /
                                                                                  Advancing Justice         Approaches to Prevent sam.g www.
                                   Department of Justice                 16.048   Khalid Jabara and         and Address    Hate
                                                                                                            The primary goal is for  ov/fal/
                                                                                                                                     https:/ usasp
                                                                                                                                             https:/
                                                                                  Heather Heyer NO          state agencies to          /       /
                                                                                  HATE Act                  establish and run state- sam.g www.
                                   Department of Justice                 16.049   Supporting Vulnerable     run hate
                                                                                                            The   goal crime
                                                                                                                       of thereporting
                                                                                                                               program ov/fal/ usasp
                                                                                                                                       https:/ https:/
                                                                                  and At-Risk Youth         is to promote positive     /       /
                                                                                  Transitioning out of      youth outcomes and         sam.g www.
                                                                                  Foster Care               public safety for at-risk  ov/fal/ usasp
                                   Department of Justice                 16.050   Missing and               Administered by the        https:/ https:/
                                                                                  Unidenti ed Human         Of ce of Justice           /       /
                                                                                  Remains (MUHR)            Programsâ€™ (OJP)          sam.g www.
                                   Department of Justice                 16.051   Program
                                                                                  Crime Gun Intelligence    Bureau
                                                                                                            Goal:  Toofdevelop
                                                                                                                         Justice leads https:/
                                                                                                                                       ov/fal/ https:/
                                                                                                                                               usasp
                                                                                  Training and Education to swiftly identify              /       /
                                                                                                           unlawfully used rearms         sam.g www.
                                                                                                           and their sources and to       ov/fal/ usasp
                                   Department of Justice                 16.052   Restorative Practices to The restorative                https:/ https:/
                                                                                  Address Domestic         Practices Program is           /       /
                                                                                  Violence, Dating         designed to assist             sam.g www.
                                   Department of Justice                 16.053   Violence,
                                                                                  Sexual Assault Forensic eligible
                                                                                            Sexual                 entities to
                                                                                                           This program                   ov/fal/
                                                                                                                                          https:/ usasp
                                                                                                                                                  https:/
                                                                                  Examinations              establishes or expands        /       /
                                                                                                            sexual assault                sam.g www.
                                   Department of Justice                 16.054   Virtual Reality De-       examination
                                                                                                            Goal:        programs,
                                                                                                                   To prepare             ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                  escalation Training      of cers to safely and          /       /
                                                                                                           effectively respond to         sam.g www.
                                                                                                           the range of situations        ov/fal/ usasp
                                   Department of Justice                 16.055   Tribal Special Assistant Tribal SAUSA is an             https:/ https:/
                                                                                  United States Attorneys initiative to support           /       /
                                                                                                           cross-designation of           sam.g www.
                                   Department of Justice                 16.056   National Deaf Services Totribal prosecutors
                                                                                                               provide  remoteas          ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                  Line                  services to Deaf victims          /       /
                                                                                                        of domestic violence,             sam.g www.
                                                                                                        dating violence, sexual           ov/fal/ usasp
                                   Department of Justice                 16.057   OVW LGBT Speci c      (A) The maintenance               https:/ https:/
                                                                                  Services Program      and replication of                /       /
                                                                                                        existing successful               sam.g www.
                                   Department of Justice                 16.058   Demonstration Program LGBT   speci cGeneral
                                                                                                        The Attorney   domestic           ov/fal/
                                                                                                                                          https:/ usasp
                                                                                                                                                  https:/
                                                                                  on Trauma-Informed,       shall award grants on a       /       /
                                                                                  Victim Centered           competitive basis to          sam.g www.
                                   Department of Justice                 16.059   Training
                                                                                  Tribal   for Law
                                                                                         Special Criminal   eligible
                                                                                                            The      entities
                                                                                                                 purpose    of to
                                                                                                                                this      ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                  Jurisdiction           program is to reimburse          /       /
                                                                                  Reimbursement          Tribal governments for           sam.g www.
                                                                                                         expenses incurred in             ov/fal/ usasp
                                   Department of Justice                 16.060   Local Law Enforcement To assist law                     https:/ https:/
                                                                                  Grants for Enforcement enforcement with the             /       /
                                                                                  of Cybercrimes         prevention, prosecution,         sam.g www.
                                   Department of Justice                 16.061   National Resource      and enforcement
                                                                                                         The  establishmentofand          ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                  Center on Cybercrimes maintenance of a                  /       /
                                                                                  Against Individuals   National Resource                 sam.g www.
                                   Department of Justice                 16.062   Grants to State and   Center
                                                                                                        An      on Cybercrimes
                                                                                                           eligible entity that           ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                  Tribal Courts to          receives a grant under        /       /
                                                                                  Implement Protection      this section shall use        sam.g www.
                                                                                  Order Pilot Programs      the grant funds, in           ov/fal/ usasp
                                   Department of Justice                 16.063   Financial Assistance to The objective of the            https:/ https:/
                                                                                  Victims of Domestic       program is to provide         /       /
                                                                                  Violence, Dating           nancial assistance to        sam.g www.
                                   Department of Justice                 16.064   Violence,
                                                                                  Sexual    Sexual
                                                                                          Assault           victims
                                                                                                   Forensic By      of domestic
                                                                                                                statute, grants are       ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                  Exam Training and         for the following             /       /
                                                                                  Services                  purposes:                     sam.g www.
                                                                                                            (A) To establish              ov/fal/ usasp
                                   Department of Justice                 16.065   Training to Improve       The Training to Improve       https:/ https:/
                                                                                  Police-Based              Police-Based                  /       /
                                                                                  Responses to the          Responses to People           sam.g www.
                                   Department of Justice                 16.066   People
                                                                                  Of      with Mental
                                                                                     cer Robert             with VALOR
                                                                                                 Wilson III The   Mental Illness
                                                                                                                          Initiative      ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                  Preventing Violence       uses a multifaceted           /       /
                                                                                  Against Law               approach to address           sam.g www.
                                   Department of Justice                 16.067   Enforcement Of cers
                                                                                  Family-Based              of cer
                                                                                                            The    safety
                                                                                                                goal is toand
                                                                                                                           establish      ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                  Alternative Justice       new and enhance               /       /
                                                                                  Program                   existing family-based         sam.g www.
                                                                                                            alternative justice           ov/fal/ usasp
                                   Department of Justice                 16.123   Community-Based           Goals: To eliminate           https:/ https:/
                                                                                  Violence Prevention       youth gun and gang            /       /
                                                                                  Program                   violence                      sam.g www.
                                   Department of Justice                 16.300   Law Enforcement           To provide advanced           ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                  Assistance FBI            training to experienced       /       /
                                                                                  Advanced Police           personnel of local,           sam.g www.
                                                                                  Training                  county, State, and            ov/fal/ usasp
                                   Department of Justice                 16.301   Law Enforcement           To provide forensic           https:/ https:/
                                                                                  Assistance FBI Crime      services to the FBI and       /       /
                                                                                  Laboratory Support        any other duly                sam.g www.
                                   Department of Justice                 16.302   Law Enforcement           constituted
                                                                                                            To  develop law
                                                                                                                         the              ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                  Assistance FBI Field      professional skills of        /       /
                                                                                  Police Training           criminal justice              sam.g www.
                                   Department of Justice                 16.303   Law Enforcement           personnel.
                                                                                                            To provide ngerprint          ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                  Assistance FBI            and arrest-record             /       /
                                                                                  Fingerprint Identi cation services to U.S.              sam.g www.
                                                                                                            Government and                ov/fal/ usasp
                                   Department of Justice                 16.304   Law Enforcement           The FBI National Crime        https:/ https:/
                                                                                  Assistance National       Information Center            /       /
                                                                                  Crime Information         (NCIC) is designed to         sam.g www.
                                   Department of Justice                 16.305   Center
                                                                                  Law Enforcement           complement
                                                                                                            To            thewhich
                                                                                                               furnish data               ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                  Assistance Uniform        will assist heads of law      /     /
                                                                                  Crime Reports             enforcement agencies          sam.g www.
                                   Department of Justice                 16.307   Combined DNA Index        in
                                                                                                            Toadministration  and
                                                                                                                develop or improve     ov/fal/
                                                                                                                                       https:/ usasp
                                                                                                                                               https:/
                                                                                  System                    forensic DNA analysis      /       /
                                                                                                            capabilities in State and sam.g www.
                                   Department of Justice                 16.308   Indian Country            local
                                                                                                            To    crime training
                                                                                                               provide   laboratories.
                                                                                                                                 to    ov/fal/ usasp
                                                                                                                                       https:/ https:/
                                                                                  Investigations            the Bureau of Indian       /       /
                                                                                                            Affairs (BIA) and Tribal   sam.g www.
                                   Department of Justice                 16.309   Law Enforcement           Law
                                                                                                            To    Enforcement
                                                                                                               provide                 ov/fal/ https:/
                                                                                                                        a system so https:/    usasp
                                                                                  Assistance National       that any Federal              /       /
                                                                                  Instant Criminal          Firearm Licensee (FFL)        sam.g www.
                                                                                  Background Check          could receive an              ov/fal/ usasp




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                                                       Case 1:25-cv-00039-JJM-PAS                                                             Document 1-2   Filed 01/28/25   Page 31 of 53 PageID
                                                                                                                                                     #: 78
                               Department of Justice       16.320   Services for Traf cking Speci c goals vary by           https:/ https:/
                                                                    Victims                 solicitation, but the           /       /
                                                                                            overarching goal of the         sam.g www.
                               Department of Justice       16.321   Antiterrorism           Services
                                                                                            To support foreligible
                                                                                                           Victims of   ov/fal/ usasp
                                                                                                                        https:/ https:/
                                                                    Emergency Reserve        victims of criminal mass /         /
                                                                                             violence and terrorism     sam.g www.
                               Department of Justice       16.524   Legal Assistance for     with
                                                                                             Theseappropriate
                                                                                                    grants are for      ov/fal/
                                                                                                                        https:/ usasp
                                                                                                                                https:/
                                                                    Victims                  increasing the             /       /
                                                                                             availability of            sam.g www.
                                                                                             comprehensive civil and ov/fal/ usasp
                               Department of Justice       16.525   Grants to Reduce         To develop and             https:/ https:/
                                                                    Domestic Violence,       strengthen effective       /       /
                                                                    Dating Violence, Sexual security and                sam.g www.
                               Department of Justice       16.526   Assault,
                                                                    OVW      and Stalking on To
                                                                          Technical          investigation   strategies https:/
                                                                                                provide communities     ov/fal/ https:/
                                                                                                                                usasp
                                                                    Assistance Initiative      with critical resources      /       /
                                                                                               that help them forge         sam.g www.
                               Department of Justice       16.528   Enhanced Training and Topartnerships    across
                                                                                               provide training,            ov/fal/ https:/
                                                                                                                            https:/ usasp
                                                                    Services to End         services, and                   /       /
                                                                    Violence and Abuse of collaboration to address          sam.g www.
                                                                    Women Later in Life     the needs of victims of         ov/fal/ usasp
                               Department of Justice       16.529   Education, Training,    To provide training,            https:/ https:/
                                                                    and Enhanced Services consultation, and                 /       /
                                                                    to End Violence Against information on domestic         sam.g www.
                               Department of Justice       16.540   and Abuse
                                                                    Juvenile   of Women
                                                                             Justice and    violence,
                                                                                            The Title IIdating
                                                                                                         Formula            ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                    Delinquency Prevention Grants Program                   /       /
                                                                                           provides funding to              sam.g www.
                                                                                           support state and local          ov/fal/ usasp
                               Department of Justice       16.543   Missing Children's     1)         Goal(s): To           https:/ https:/
                                                                    Assistance             support research,                /       /
                                                                                           training, technical              sam.g www.
                               Department of Justice       16.548                          assistance,
                                                                    Delinquency Prevention Provide      and to
                                                                                                    funding                 ov/fal/ https:/
                                                                                                                            https:/ usasp
                                                                    Program                    implement evidence-          /       /
                                                                                               based strategies to          sam.g www.
                               Department of Justice       16.550   State Justice Statistics   combat
                                                                                               Goal:   youth
                                                                                                     This program           ov/fal/ https:/
                                                                                                                            https:/ usasp
                                                                    Program for Statistical    provides funds to each       /       /
                                                                    Analysis Centers           state to coordinate          sam.g www.
                                                                                               statistical activities       ov/fal/ usasp
                               Department of Justice       16.554   National Criminal          GOAL(S): Ensuring the        https:/ https:/
                                                                    History Improvement        quality and                  /       /
                                                                    Program (NCHIP)            completeness of the          sam.g www.
                               Department of Justice       16.556   State Domestic             nationâ€™s
                                                                                               To coordinatecriminal
                                                                                                                State       ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                    Violence and Sexual      victim services activities     /       /
                                                                    Assault Coalitions       and collaborate and            sam.g www.
                                                                                             coordinate with Federal,       ov/fal/ usasp
                               Department of Justice       16.557   Tribal Domestic          To increase awareness          https:/ https:/
                                                                    Violence and Sexual      of domestic violence           /       /
                                                                    Assault Coalitions Grant and sexual assault             sam.g www.
                               Department of Justice       16.560   Program Institute of
                                                                    National                 against Foster
                                                                                             GOAL:   American
                                                                                                            the Indian      ov/fal/ https:/
                                                                                                                            https:/ usasp
                                                                    Justice Research,          development of new           /       /
                                                                    Evaluation, and            knowledge and tools          sam.g www.
                               Department of Justice       16.571   Development
                                                                    Public        Project
                                                                           Safety Of cers'     thatprovide
                                                                                               To   can bedeath
                                                                                                           applied to       ov/fal/ https:/
                                                                                                                            https:/ usasp
                                                                    Bene ts Program         bene ts to the eligible         /       /
                                                                                            survivors of federal,           sam.g www.
                                                                                            state, or local public          ov/fal/ usasp
                               Department of Justice       16.575   Crime Victim Assistance The Of ce for Victims of        https:/ https:/
                                                                                            Crime provides an               /       /
                                                                                            annual grant from the           sam.g www.
                               Department of Justice       16.576   Crime Victim            Crime  Victims
                                                                                            The primary     Fund toof
                                                                                                          purpose           ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                    Compensation               these grants is to        /       /
                                                                                               supplement state efforts sam.g www.
                               Department of Justice       16.578   Public Bene t              to provideThe
                                                                                               Goal(s):    nancial
                                                                                                              effective  ov/fal/ usasp
                                                                                                                         https:/ https:/
                                                                    Conveyance Program         use of real property      /       /
                                                                                               owned by the federal      sam.g www.
                               Department of Justice       16.582   Crime Victim               government
                                                                                               The  Of ce forand  the of https:/
                                                                                                              Victims    ov/fal/ https:/
                                                                                                                                 usasp
                                                                    Assistance/                Crime (OVC)                  /       /
                                                                    Discretionary Grants       administers a                sam.g www.
                               Department of Justice       16.583   Children's Justice Act     discretionary grant
                                                                                               The goal of the              ov/fal/ https:/
                                                                                                                            https:/ usasp
                                                                    Partnerships for Indian    Childrenâ€™s Justice         /       /
                                                                    Communities                Act Partnerships for         sam.g www.
                                                                                               Indian Communities           ov/fal/ usasp
                               Department of Justice       16.585   Treatment Court            Goal(s): To provide          https:/ https:/
                                                                    Discretionary Grant        adult treatment courts       /       /
                                                                    Program                    and professionals in the     sam.g www.
                               Department of Justice       16.587   Violence Against           criminal justice
                                                                                               To increase       system
                                                                                                             tribal         ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                    Women Discretionary      capacity to respond to         /       /
                                                                    Grants for Indian Tribal violent crimes against         sam.g www.
                               Department of Justice       16.588   Governments
                                                                    Violence Against         Indian
                                                                                             To      women,
                                                                                                 assist States,and  to
                                                                                                                Indian      ov/fal/ https:/
                                                                                                                            https:/ usasp
                                                                    Women Formula Grants tribal governments,                /       /
                                                                                             tribal courts, State and       sam.g www.
                                                                                             local courts, and units        ov/fal/ usasp
                               Department of Justice       16.589   Rural Domestic           (1) to identify, assess,       https:/ https:/
                                                                    Violence, Dating         and appropriately              /       /
                                                                    Violence, Sexual         respond to child, youth,       sam.g www.
                               Department of Justice       16.590   Assault,toand
                                                                    Grants        Stalking
                                                                               Encourage     andassist
                                                                                             To   adult States,
                                                                                                        victims Indian
                                                                                                                 of         ov/fal/ https:/
                                                                                                                            https:/ usasp
                                                                    Arrest Policies and        Tribal governments,          /       /
                                                                    Enforcement of             State and local courts       sam.g www.
                                                                    Protection Orders          (including juvenile          ov/fal/ usasp
                               Department of Justice       16.593   Residential Substance      The goal of the RSAT         https:/ https:/
                                                                    Abuse Treatment for        for State Prisoners          /       /
                                                                    State Prisoners            Program is to assist         sam.g www.
                               Department of Justice       16.596   Trible Justice             state, local,overall
                                                                                               Goal: The     and tribal
                                                                                                                    goal    ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                    Assistance            of BJAâ€™s Tribal                 /       /
                                                                                          Justice Assistance                sam.g www.
                               Department of Justice       16.601   Corrections Training  Program
                                                                                          To deviseisand
                                                                                                      to conduct            ov/fal/ https:/
                                                                                                                            https:/ usasp
                                                                    and Staff Development in various geographical           /       /
                                                                                          locations, seminars,              sam.g www.
                                                                                          workshops, and training           ov/fal/ usasp
                               Department of Justice       16.602   Corrections Research To conduct, encourage,             https:/ https:/
                                                                    and Evaluation and    and coordinate                    /       /
                                                                    Policy Formulation    research relating to              sam.g www.
                               Department of Justice       16.603   Corrections Technical corrections
                                                                                          To          including
                                                                                              encourage  and                ov/fal/ https:/
                                                                                                                            https:/ usasp
                                                                    Assistance/                assist Federal, State,       /       /
                                                                    Clearinghouse              and local government         sam.g www.
                                                                                               programs and services,       ov/fal/ usasp
                               Department of Justice       16.606   State Criminal Alien       The State Criminal Alien     https:/ https:/
                                                                    Assistance Program         Assistance Program           /       /
                                                                                               (SCAAP) is a payment         sam.g www.
                               Department of Justice       16.607   Bulletproof Vest           program  designed
                                                                                               The objective of theto       ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                    Partnership Program        Patrick Leahy                /       /
                                                                                               Bulletproof Vest             sam.g www.
                               Department of Justice       16.608   Tribal Justice Systems     Partnership
                                                                                               Program  now (BVP)
                                                                                                              funded        ov/fal/ https:/
                                                                                                                            https:/ usasp
                                                                                               under Assistance             /       /
                                                                                               Listing 16.596 and           sam.g www.
                                                                                               Assistance Listing is        ov/fal/ usasp
                               Department of Justice       16.609   Project Safe               The Project Safe             https:/ https:/
                                                                    Neighborhoods              Neighborhood (PSN)           /       /
                                                                                               formula grant program        sam.g www.
                               Department of Justice       16.610   Regional Information       awardsThe
                                                                                               Goals:   funds to is to
                                                                                                           goal             ov/fal/ https:/
                                                                                                                            https:/ usasp
                                                                    Sharing Systems            assist agencies in           /       /
                                                                                               reducing violent crime       sam.g www.
                               Department of Justice       16.614   State and Local Anti-      and support
                                                                                               The          lawState
                                                                                                   goal of the              ov/fal/ https:/
                                                                                                                            https:/ usasp
                                                                    Terrorism Training     and Local Anti-                  /       /
                                                                                           Terrorism Training               sam.g www.
                                                                                           (SLATT) initiative is to         ov/fal/ usasp
                               Department of Justice       16.615   Public Safety Of cers' The PSOEA Program,               https:/ https:/
                                                                    Educational Assistance an expansion of the              /       /
                                                                                           Federal Law                      sam.g www.
                               Department of Justice       16.710   Public Safety          Enforcement
                                                                                           The COPS Of ce was               ov/fal/ https:/
                                                                                                                            https:/ usasp
                                                                    Partnership and        established in 1994 to           /       /
                                                                    Community Policing     assist state, local and          sam.g www.
                                                                    Grants                 tribal law enforcement           ov/fal/ usasp
                               Department of Justice       16.726   Juvenile Mentoring     To improve outcomes              https:/ https:/
                                                                    Program                for at-risk and high-risk        /       /
                                                                                           youth, and reduce                sam.g www.
                               Department of Justice       16.731   Tribal Youth Program   negative this
                                                                                           Through    outcomes
                                                                                                          program,          ov/fal/ https:/
                                                                                                                            https:/ usasp
                                                                                               the Department seeks         /       /
                                                                                               to assist tribes in          sam.g www.
                               Department of Justice       16.734   Special Data               responding
                                                                                               GOAL:         to myriad
                                                                                                       To produce    and    ov/fal/ https:/
                                                                                                                            https:/ usasp
                                                                    Collections and            disseminate relevant,        /       /
                                                                    Statistical Studies        accurate, timely,            sam.g www.
                                                                                               reliable, and objective      ov/fal/ usasp
                               Department of Justice       16.735   PREA Program:              The goal of this             https:/ https:/
                                                                    Strategic Support for      program is to support        /       /
                                                                    PREA Implementation        efforts in the               sam.g www.
                               Department of Justice       16.736   Transitional Housing       conprovide
                                                                                               To   nement    facilities
                                                                                                            transitional    ov/fal/ https:/
                                                                                                                            https:/ usasp
                                                                    Assistance for Victims housing assistance and           /       /
                                                                    of Domestic Violence, related support services          sam.g www.
                                                                    Dating Violence,       to minors, adults, and           ov/fal/ usasp
                               Department of Justice       16.738   Edward Byrne Memorial Goal: Provide states,             https:/ https:/
                                                                    Justice Assistance     tribes, and units of local       /       /
                                                                    Grant Program          government with                  sam.g www.
                               Department of Justice       16.739   National Prison Rape   additional personnel,
                                                                                           GOAL(S):   Deliver               ov/fal/ https:/
                                                                                                                            https:/ usasp
                                                                    Statistics Program         comprehensive                /       /
                                                                                               statistical reviews and      sam.g www.
                               Department of Justice       16.741                         analyses now
                                                                    DNA Backlog Reduction Program   of the
                                                                                                         funded             ov/fal/ https:/
                                                                                                                            https:/ usasp
                                                                    Program               under Assistance                  /       /
                                                                                          Listing 16.036.                   sam.g www.
                                                                                                                            ov/fal/ usasp
                               Department of Justice       16.742   Paul Coverdell Forensic Goal(s): The Paul               https:/ https:/
                                                                    Sciences Improvement Coverdell Forensic                 /       /
                                                                    Grant Program           Science Improvement             sam.g www.
                               Department of Justice       16.745   Criminal and Juvenile   Grants Program
                                                                                            Goal(s):        (the
                                                                                                     The Justice            ov/fal/ https:/
                                                                                                                            https:/ usasp
                                                                    Justice and Mental         and Mental Health            /       /
                                                                    Health Collaboration       Collaboration Program        sam.g www.
                               Department of Justice       16.746   Program
                                                                    Capital Case Litigation    (JMHCP)
                                                                                               Goals: supports              ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                    Initiative                                       /       /
                                                                                               Capital Case Litigation
                                                                                                                     sam.g www.
                               Department of Justice       16.750   Support for Adam           Initiative
                                                                                               Goals:   To(CCLI)     ov/fal/
                                                                                                           assist states,    usasp
                                                                                                                     https:/ https:/
                                                                    Walsh Act             the District of Columbia, /        /
                                                                    Implementation Grant principal U.S. territories, sam.g www.
                               Department of Justice       16.751   Program               andimprove
                                                                    Edward Byrne Memorial To  Tribes with
                                                                                                       the           ov/fal/
                                                                                                                     https:/ usasp
                                                                                                                             https:/
                                                                    Competitive Grant     functioning of the         /       /
                                                                    Program               criminal justice system, sam.g www.
                                                                                          such as activities         ov/fal/ usasp




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          Department of Justice            16.752   Economic, High-Tech,
                                                                       Goals:                             https:/ https:/
                                                    and Cyber Crime    The Economic, High-                /       /
                                                    Prevention         Technology, White                  sam.g www.
          Department of Justice            16.753   Congressionally    Collar,
                                                                       To      and assistance
                                                                          provide  Internet in            ov/fal/ https:/
                                                                                                          https:/ usasp
                                                    Recommended Awards improving the                      /       /
                                                                       functioning of the                 sam.g www.
          Department of Justice            16.754   Harold Rogers      criminal
                                                                       Goals: justice system,             ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                    Prescription Drug       To enhance the                /       /
                                                    Monitoring Program      capacity of regulatory        sam.g www.
                                                                            and law enforcement           ov/fal/ usasp
          Department of Justice            16.756   Court Appointed Special The goals of the CASA         https:/ https:/
                                                    Advocates               program are to serve          /       /
                                                                            and improve outcomes          sam.g www.
          Department of Justice            16.757   Judicial Training on    for improve
                                                                            To  children the
                                                                                         in the
                                                                                             judicial     ov/fal/ https:/
                                                                                                          https:/ usasp
                                                    Child Maltreatment for    systemâ€™s handling         /       /
                                                    Court Personnel           of child abuse, neglect,    sam.g www.
          Department of Justice            16.758   Juvenile Justice
                                                    Improving  the         and related
                                                                           Improve   thecases,            ov/fal/ https:/
                                                                                                          https:/ usasp
                                                    Investigation and      investigation and              /       /
                                                    Prosecution of Child   prosecution of child           sam.g www.
                                                    Abuse and the Regional abuse cases and                ov/fal/ usasp
          Department of Justice            16.812   Second Chance Act      There are currently over       https:/ https:/
                                                    Reentry Initiative     2.2 million individuals        /       /
                                                                           serving time in federal        sam.g www.
          Department of Justice            16.813   NICS Act Record        and state prisons,
                                                                           GOAL(S):            and
                                                                                       To improve         ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                    Improvement Program       the FBIâ€™s National        /       /
                                                                              Instant Criminal            sam.g www.
                                                                              Background Check            ov/fal/ usasp
          Department of Justice            16.815   Tribal Civil and Criminal Goal: The goal of this      https:/ https:/
                                                    Legal Assistance          program is to build and     /       /
                                                    Grants, Training and      enhance capacity and        sam.g www.
          Department of Justice            16.816   Technical
                                                    John       Assistance
                                                          R. Justice          improve
                                                                              Goal: Fordelivery of and
                                                                                        all states        ov/fal/ https:/
                                                                                                          https:/ usasp
                                                    Prosecutors and         territories to encourage      /       /
                                                    Defenders Incentive Act quali ed individuals to       sam.g www.
          Department of Justice            16.817                           enter and continue
                                                    Byrne Criminal Justice Goals:                         ov/fal/ https:/
                                                                                                          https:/ usasp
                                                    Innovation Program        The goal of the BCJI is     /       /
                                                                              to reduce crime and         sam.g www.
                                                                              improve community           ov/fal/ usasp
          Department of Justice            16.818   Children Exposed to       The overall goal of the     https:/ https:/
                                                    Violence                  program is to build the     /       /
                                                                              capacity of families and    sam.g www.
          Department of Justice            16.820   Postconviction Testing    communities   to help
                                                                              This programâ€™s            ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                    of DNA Evidence        primary goal is to assist      /       /
                                                                           states and units of local      sam.g www.
                                                                           government with                ov/fal/ usasp
          Department of Justice            16.823   Emergency Planning for The purpose of this            https:/ https:/
                                                    Juvenile Justice       project is to provide          /       /
                                                    Facilities             funding to States to           sam.g www.
          Department of Justice            16.824   Emergency Law          develop
                                                                           Goal:  Thecomprehensive
                                                                                        Emergency         ov/fal/ https:/
                                                                                                          https:/ usasp
                                                    Enforcement Assistance Federal Law              /       /
                                                    Grant                    Enforcement Assistance sam.g www.
          Department of Justice            16.825   Smart Prosecution        (EFLEA) Program
                                                                             Goal(s):               ov/fal/ usasp
                                                                                                    https:/ https:/
                                                    Initiative                                      /       /
                                                                             The purpose of the     sam.g www.
                                                                             Innovative Prosecution ov/fal/ usasp
          Department of Justice            16.827   Justice Reinvestment     Goal:                  https:/ https:/
                                                    Initiative               Under the enacted      /       /
                                                                             appropriations         sam.g www.
          Department of Justice            16.828                            language,  the Justice
                                                    Swift, Certain, and Fair The purpose of the     ov/fal/
                                                                                                    https:/ usasp
                                                                                                            https:/
                                                    Supervision Program: Swift, Certain, and Fair         /       /
                                                    Applying the Principles (SCF) Supervision             sam.g www.
          Department of Justice            16.830   Behind
                                                    Girls    Project
                                                          in the     HOPE Program
                                                                 Juvenile    Increase is  to provide
                                                                                       protective         ov/fal/ https:/
                                                                                                          https:/ usasp
                                                    Justice System           factors to prevent           /     /
                                                                             further delinquent           sam.g www.
          Department of Justice            16.831                            behavior
                                                    Children of Incarcerated The  goal by  girls
                                                                                       of this          ov/fal/ usasp
                                                                                                        https:/ https:/
                                                    Parents                 program is to assist        /       /
                                                                            states and localities in    sam.g www.
          Department of Justice            16.833                           developing
                                                    National Sexual Assault Goal(s):      or
                                                                                        Funding   under ov/fal/ usasp
                                                                                                        https:/ https:/
                                                    Kit Initiative          this initiative is intended /       /
                                                                            to help law enforcement sam.g www.
                                                                            and prosecutors             ov/fal/ usasp
          Department of Justice            16.834   Domestic Traf cking     Under the Domestic          https:/ https:/
                                                    Victim Program          Traf cking Victim           /       /
                                                                            Program, OVC has            sam.g www.
          Department of Justice            16.835   Body Worn Camera        established    the
                                                                            Goal: Funding under         ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                    Policy and                the program is intended     /       /
                                                    Implementation            to support law              sam.g www.
          Department of Justice            16.836   Indigent Defense          enforcement,
                                                                              This program supports       ov/fal/ https:/
                                                                                                          https:/ usasp
                                                                          states and localities in        /       /
                                                                          developing and                  sam.g www.
                                                                          implementing strategies         ov/fal/ usasp
          Department of Justice            16.838   Comprehensive Opioid, Goal: The                       https:/ https:/
                                                    Stimulant, and other  Comprehensive Opioid,           /       /
                                                    Substances Use        Stimulant, and other            sam.g www.
          Department of Justice            16.839   Program
                                                    STOP                  Substances
                                                          School Violence The           UseSTOP
                                                                               goal of the                ov/fal/ https:/
                                                                                                          https:/ usasp
                                                                              School Violence             /       /
                                                                              Program is to improve       sam.g www.
                                                                              school security by          ov/fal/ usasp
          Department of Justice            16.840   Keep Young Athletes       Goals: To support           https:/ https:/
                                                    Safe                      oversight of the U.S.       /       /
                                                                              Olympic & Paralympic        sam.g www.
          Department of Justice            16.841   VOCA Tribal Victim        Committee   and each
                                                                              OVC administers   the       ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                    Services Set-Aside        Tribal Victim Services      /       /
                                                    Program                   Set-Aside to provide        sam.g www.
          Department of Justice            16.842   Opioid Affected Youth     support to AI/AN
                                                                              Objectives  include         ov/fal/ https:/
                                                                                                          https:/ usasp
                                                    Initiative            implementing programs           /       /
                                                                          and services that               sam.g www.
                                                                          address public safety           ov/fal/ usasp
          Department of Justice            16.844   Combatting Contraband Program inactive and            https:/ https:/
                                                    Cell Phone Use in     pending archival.               /       /
                                                    Prisons                                               sam.g www.
          Department of Justice            16.888   Consolidated And      Goals:
                                                                          The Consolidated Youth          ov/fal/ https:/
                                                                                                          https:/ usasp
                                                    Technical Assistance      Program supports            /       /
                                                    Grant Program to          comprehensive,              sam.g www.
                                                    Address Children and      community-based             ov/fal/ usasp
          Department of Justice            16.889   Grants for Outreach       To develop and              https:/ https:/
                                                    and Services to           implement outreach          /       /
                                                    Underserved               strategies targeted at      sam.g www.
          Department of Justice            16.922   Populations
                                                    Equitable Sharing         adult or youth victims
                                                                              The Department    of of     ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                    Program                   Justice Asset Forfeiture /        /
                                                                              Program is a nationwide sam.g www.
          Department of Labor              17.002   Labor Force Statistics    lawprovide,
                                                                              To  enforcement
                                                                                          analyze,      ov/fal/ usasp
                                                                                                        https:/ https:/
                                                                              and publish statistical   /       /
                                                                              data on payroll           sam.g www.
                                                                              employment and the        ov/fal/ usasp
          Department of Labor              17.003   Prices and Cost of        To provide, analyze,      https:/ https:/
                                                    Living Data               and publish statistical   /       /
                                                                              data for assisting in the sam.g www.
          Department of Labor              17.004   Productivity and          evaluation
                                                                              To provide,of consumer, https:/
                                                                                          analyze,      ov/fal/ https:/
                                                                                                                usasp
                                                    Technology Data           and publish data on         /       /
                                                                              productivity trends in      sam.g www.
          Department of Labor              17.005   Compensation and          theprovide,
                                                                              To  U.S. economy,
                                                                                          analyze,as      ov/fal/ https:/
                                                                                                          https:/ usasp
                                                    Working Conditions      and publish a diverse         /       /
                                                                            set of measures of            sam.g www.
                                                                            employee                      ov/fal/ usasp
          Department of Labor              17.150   Employee Bene ts        The Employee Bene ts          https:/ https:/
                                                    Security Administration Security Administration       /       /
                                                                            (EBSA) is responsible         sam.g www.
          Department of Labor              17.207   Employment Service/     for the
                                                                            The     administration
                                                                                  Employment              ov/fal/ https:/
                                                                                                          https:/ usasp
                                                    Wagner-Peyser Funded Service (ES) program             /       /
                                                    Activities              brings together               sam.g www.
                                                                            individuals looking for       ov/fal/ usasp
          Department of Labor              17.225   Unemployment            To implement and              https:/ https:/
                                                    Insurance               oversee unemployment          /       /
                                                                            insurance programs for        sam.g www.
          Department of Labor              17.235   Senior Community        eligible
                                                                            The      workers
                                                                                  Senior     through
                                                                                         Community        ov/fal/ https:/
                                                                                                          https:/ usasp
                                                    Service Employment        Service Employment          /       /
                                                    Program                   Program (SCSEP) is a        sam.g www.
          Department of Labor              17.245   Trade Adjustment          community
                                                                              The       service and
                                                                                  Trade Adjustment        ov/fal/ https:/
                                                                                                          https:/ usasp
                                                    Assistance                Assistance (TAA) for        /       /
                                                                              Workers Program is a        sam.g www.
                                                                              federal entitlement         ov/fal/ usasp
          Department of Labor              17.258   WIOA Adult Program        Title I of the Workforce    https:/ https:/
                                                                              Innovation and              /       /
                                                                              Opportunity Act (WIOA)      sam.g www.
          Department of Labor              17.259   WIOA Youth Activities     authorized
                                                                              To  help lowthree of the
                                                                                            income        ov/fal/ https:/
                                                                                                          https:/ usasp
                                                                           youth, between the             /       /
                                                                           ages of 14 and 24,             sam.g www.
                                                                           acquire the educational        ov/fal/ usasp
          Department of Labor              17.261   Workforce Data Quality Address national               https:/ https:/
                                                    Initiative (WDQI)      employment and                 /       /
                                                                           training issues through        sam.g www.
          Department of Labor              17.264   National Farmworker    demonstrations,
                                                                           To                pilot
                                                                               help low-income            ov/fal/ https:/
                                                                                                          https:/ usasp
                                                    Jobs Program              individuals who are         /       /
                                                                              primarily employed in       sam.g www.
          Department of Labor              17.265   Native American           agricultural
                                                                              To           and sh
                                                                                 support employment       ov/fal/ https:/
                                                                                                          https:/ usasp
                                                    Employment and            and training services for   /       /
                                                    Training                  Native Americans,           sam.g www.
                                                                              Alaska Natives, and         ov/fal/ usasp
          Department of Labor              17.268   H-1B Job Training         The H-1B Skills Training    https:/ https:/
                                                    Grants                    Grants provide training     /       /
                                                                              and related activities to   sam.g www.
          Department of Labor              17.270   Reentry Employment        workers
                                                                              This     to assist
                                                                                   program       them
                                                                                            includes      ov/fal/ https:/
                                                                                                          https:/ usasp
                                                    Opportunities             both reentry grants         /       /
                                                                              focused on serving          sam.g www.
          Department of Labor              17.271   Work Opportunity Tax      returning adults
                                                                              This federal     and
                                                                                           tax credit     ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                    Credit Program            was designed to help        /       /
                                                    (WOTC)                    individuals from certain    sam.g www.
          Department of Labor              17.272   Permanent Labor           targeted
                                                                              To ensuregroups   who
                                                                                         that the         ov/fal/ https:/
                                                                                                          https:/ usasp
                                                    Certi cation for Foreign admission of foreign         /     /
                                                    Workers                  workers into the United      sam.g www.
          Department of Labor              17.273   Temporary Labor          States
                                                                             To     does
                                                                                assure    notthe
                                                                                       that            ov/fal/ https:/
                                                                                                       https:/ usasp
                                                    Certi cation for Foreign admission of foreign      /       /
                                                    Workers                  workers into the United sam.g www.
                                                                             States will not adversely ov/fal/ usasp




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                                Department of Labor                       17.274   YouthBuild                Grant funds will be used https:/ https:/
                                                                                                             to equip underserved      /       /
                                                                                                             youth with the            sam.g www.
                                Department of Labor                       17.277   WIOA National             education
                                                                                                             DWGs     areand           ov/fal/
                                                                                                                                       https:/ usasp
                                                                                                                                               https:/
                                                                                   Dislocated Worker         supplemental, time-       /       /
                                                                                   Grants / WIA National     limited funding           sam.g www.
                                Department of Labor                       17.278   Emergency  Grants
                                                                                   WIOA Dislocated           assistance    provided in
                                                                                                             Title I of the Workforce  ov/fal/
                                                                                                                                       https:/ usasp
                                                                                                                                               https:/
                                                                                   Worker Formula Grants Innovation and                   /       /
                                                                                                         Opportunity Act (WIOA)           sam.g www.
                                                                                                         authorized three of the          ov/fal/ usasp
                                Department of Labor                       17.280   WIOA Dislocated       To carry out                     https:/ https:/
                                                                                   Worker National       demonstration and pilot          /       /
                                                                                   Reserve Demonstration projects for the purpose         sam.g www.
                                Department of Labor                       17.281   GrantsDislocated
                                                                                   WIOA                  of developing
                                                                                                         To support theand                ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                   Worker National         coordination,                  /       /
                                                                                   Reserve Technical       development, and               sam.g www.
                                Department of Labor                       17.285   Assistance and Training The
                                                                                   Registered              provision
                                                                                                               Of ceofofappropriate       ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                   Apprenticeship         Apprenticeship                  /       /
                                                                                                          promotes, engages and           sam.g www.
                                                                                                          assists industry in the         ov/fal/ usasp
                                Department of Labor                       17.287   Job Corps Experimental The goal of the                 https:/ https:/
                                                                                   Projects and Technical demonstration is to             /       /
                                                                                   Assistance             focus on creating IT-           sam.g www.
                                Department of Labor                       17.289   Community Project      based  training
                                                                                                          The goal  is to fund            ov/fal/
                                                                                                                                          https:/ usasp
                                                                                                                                                  https:/
                                                                                   Funding/                  projects in the amounts      /       /
                                                                                   Congressionally           speci ed in the table        sam.g www.
                                                                                   Directed Spending         titled â€œCommunity          ov/fal/ usasp
                                Department of Labor                       17.290   WIOA Adult, Dislocated    The WIOA Adult,              https:/ https:/
                                                                                   Worker and Youth          Dislocated Worker and        /       /
                                                                                   Outlying Areas            Youth Outlying Areas         sam.g www.
                                Department of Labor                       17.302   Consolidated
                                                                                   Longshore    Grants
                                                                                              and Harbor     Consolidated
                                                                                                             To   provide   Grants,       ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                   Workers' Compensation compensation for                 /       /
                                                                                                         disability or death              sam.g www.
                                Department of Labor                       17.307   Coal Mine Workers'    resulting
                                                                                                         To provide from injury,
                                                                                                                      bene   ts to        ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                   Compensation              coal miners who have         /       /
                                                                                                             become totally disabled      sam.g www.
                                                                                                             due to coal workers'         ov/fal/ usasp
                                Department of Labor                       17.310   Energy Employees          Part B provides lump-        https:/ https:/
                                                                                   Occupational Illness      sum monetary                 /       /
                                                                                   Compensation              payments and medical         sam.g www.
                                Department of Labor                       17.401   International Labor       bene  ts to covered
                                                                                                             The Bureau   of              ov/fal/
                                                                                                                                          https:/ usasp
                                                                                                                                                  https:/
                                                                                   Programs                  International Labor          /       /
                                                                                                             Affairs (ILAB) promotes      sam.g www.
                                                                                                             a fair global playing eld    ov/fal/ usasp
                                Department of Labor                       17.502   Occupational Safety       To provide occupational      https:/ https:/
                                                                                   and Health Susan          safety and health            /       /
                                                                                   Harwood Training          training and education       sam.g www.
                                Department of Labor                       17.503   Grants
                                                                                   Occupational Safety       to employees
                                                                                                             To              and
                                                                                                                 fund federally           ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                   and Health State          approved                     /       /
                                                                                   Program                   comprehensive State          sam.g www.
                                Department of Labor                       17.504   Consultation              occupational
                                                                                                             To           safety and
                                                                                                                fund consultative         ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                   Agreements             workplace safety and            /       /
                                                                                                          health services,                sam.g www.
                                                                                                          targeting smaller               ov/fal/ usasp
                                Department of Labor                       17.600   Mine Health and Safety To assist States in             https:/ https:/
                                                                                   Grants                 providing safety and            /       /
                                                                                                          health training and             sam.g www.
                                Department of Labor                       17.603   Brookwood-Sago Grant develop    programs
                                                                                                          To provide          to
                                                                                                                      mine safety         ov/fal/
                                                                                                                                          https:/ usasp
                                                                                                                                                  https:/
                                                                                                             and health training and      /       /
                                                                                                             education programs for       sam.g www.
                                Department of Labor                       17.604   Safety and Health         workers
                                                                                                             To      and
                                                                                                                provide   mine
                                                                                                                        mine  safety      ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                   Grants                    and health training and      /     /
                                                                                                             education to miners,         sam.g www.
                                Department of Labor                       17.700   Women's Bureau            mineWomenâ€™s
                                                                                                             The  operators, and    ov/fal/ usasp
                                                                                                                                    https:/ https:/
                                                                                                           Bureau was created by /          /
                                                                                                           law in 1920 to formulate sam.g www.
                                Department of Labor                       17.701   Women in                standards
                                                                                                           This       andispolicies
                                                                                                                program             ov/fal/ usasp
                                                                                                                                    https:/ https:/
                                                                                   Apprenticeship and      intended to award        /       /
                                                                                   Nontraditional          grants to community-     sam.g www.
                                                                                   Occupations             based organizations to ov/fal/ usasp
                                Department of Labor                       17.720   Disability Employment The Of ce of Disability    https:/ https:/
                                                                                   Policy Development      Employment Policy        /       /
                                                                                                           (ODEP) provides          sam.g www.
                                Department of Labor                       17.801                           national leadership
                                                                                   Jobs for Veterans State The Jobs for Veteranson  ov/fal/
                                                                                                                                    https:/ usasp
                                                                                                                                            https:/
                                                                                   Grants                  State Grants (JVSG)      /       /
                                                                                                           program provides         sam.g www.
                                Department of Labor                       17.805   Homeless                federal
                                                                                                           The     funding through https:/
                                                                                                                Homeless            ov/fal/ https:/
                                                                                                                                            usasp
                                                                                   Veteransâ€™               Veteransâ€™                  /       /
                                                                                   Reintegration Program     Reintegration Program        sam.g www.
                                                                                                             (HVRP) provides              ov/fal/ usasp
                                Department of Labor                       17.807   Transition Assistance     To provide employment        https:/ https:/
                                                                                   Program                   instruction, information     /       /
                                                                                                             and assistance to            sam.g www.
                                Department of State                       19.009   Academic Exchange         separating
                                                                                                             As          andby
                                                                                                                 authorized    retiring
                                                                                                                                 the      ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                   Programs -                Fulbright-Hays Act, the      /       /
                                                                                   Undergraduate             Bureau of Educational        sam.g www.
                                                                                   Programs                  and Cultural Affairs         ov/fal/ usasp
                                Department of State                       19.010   Academic Exchange         As authorized by the         https:/ https:/
                                                                                   Programs - Hubert H.      Fulbright-Hays Act, the      /       /
                                                                                   Humphrey Fellowship       Bureau of Educational        sam.g www.
                                Department of State                       19.011   Program
                                                                                   Academic Exchange         and Cultural Affairs
                                                                                                             As authorized by the         ov/fal/
                                                                                                                                          https:/ usasp
                                                                                                                                                  https:/
                                                                                   Programs - Special        Fulbright-Hays Act, the      /       /
                                                                                   Academic Exchange         Bureau of Educational        sam.g www.
                                Department of State                       19.012   Programs
                                                                                   Professional and          andauthorized
                                                                                                             As  Cultural Affairs
                                                                                                                           by the         ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                   Cultural Exchange         Fulbright-Hays Act, the      /       /
                                                                                   Programs - Special        Bureau of Educational        sam.g www.
                                                                                   Professional and          and Cultural Affairs         ov/fal/ usasp
                                Department of State                       19.013   Thomas R. Pickering       As authorized by             https:/ https:/
                                                                                   Foreign Affairs           authorizations stated        /       /
                                                                                   Fellowship Program        above. Pickering             sam.g www.
                                Department of State                       19.015   Cultural, Technical and   Program
                                                                                                             To assist offers
                                                                                                                       variousonly        ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                   Educational Centers       organizations identi ed      /       /
                                                                                                             by Congress to achieve       sam.g www.
                                                                                                             objectives speci ed by       ov/fal/ usasp
                                Department of State                       19.017   Environmental and         To support sustainable       https:/ https:/
                                                                                   Scienti c Partnerships    growth across the            /       /
                                                                                   and Programs              globe, the Bureau of         sam.g www.
                                Department of State                       19.018   Resettlement Support      Oceans,  Environment,
                                                                                                             The purpose  of the          ov/fal/
                                                                                                                                          https:/ usasp
                                                                                                                                                  https:/
                                                                                   Centers (RSCs) for U.S. Resettlement Support           /       /
                                                                                   Refugee Resettlement Centers (RSCs) is to              sam.g www.
                                Department of State                       19.019                           assist
                                                                                   International Programs The     the Bureau
                                                                                                               mission  of theinTIP       ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                   to Combat Human           Of ce is to combat           /       /
                                                                                   Traf cking                human traf cking (a/k/a      sam.g www.
                                                                                                             modern slavery) by           ov/fal/ usasp
                                Department of State                       19.020   Charles B. Rangel         To increase the number       https:/ https:/
                                                                                   International Affairs     of minorities interested     /       /
                                                                                   Program                   in and prepared for          sam.g www.
                                Department of State                       19.021   Investing in People in    international
                                                                                                             To            service,
                                                                                                                support programs,         ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                   The Middle East and       projects and activities to /       /
                                                                                   North Africa              include (but not limited   sam.g www.
                                Department of State                       19.022   Educational and         to) provide
                                                                                                           To  cultural,assistance
                                                                                                                         educational,   ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                   Cultural Exchange       awards by U.S.                 /       /
                                                                                   Programs Appropriation diplomatic missions             sam.g www.
                                                                                   Overseas Grants         abroad made directly to        ov/fal/ usasp
                                Department of State                       19.023   Overseas Schools        The Of ce of Overseas          https:/ https:/
                                                                                   Program                 Schools promotes               /       /
                                                                                                           quality educational            sam.g www.
                                Department of State                       19.024                           opportunities
                                                                                   Soft Target Program for Improve        at the
                                                                                                                     physical             ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                   Overseas Schools          security of overseas         /       /
                                                                                                             schools to deter or          sam.g www.
                                                                                                             lessen the impact of         ov/fal/ usasp
                                Department of State                       19.025   U.S. Ambassadors          1) Support the               https:/ https:/
                                                                                   Fund for Cultural         preservation of cultural     /       /
                                                                                   Preservation              heritage overseas            sam.g www.
                                Department of State                       19.026   Global Peace              The GPOI program             ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                   Operations Initiative     enhances international /           /
                                                                                                             capacity to effectively    sam.g www.
                                Department of State                       19.027   Energy Governance         conduct
                                                                                                             The U.S.UN   and
                                                                                                                       Department    of ov/fal/ usasp
                                                                                                                                        https:/ https:/
                                                                                   and Reform Programs       Stateâ€™s Bureau of        /       /
                                                                                                             Energy Resources           sam.g www.
                                                                                                             (ENR) programs             ov/fal/ usasp
                                Department of State                       19.029   The U.S. President's      The Of ce of the U.S.      https:/ https:/
                                                                                   Emergency Plan for        Global AIDS                /       /
                                                                                   AIDS Relief Programs      Coordinator is             sam.g www.
                                Department of State                       19.033   Global Threat             responsible
                                                                                                             The          for
                                                                                                                 U.S. Department        ov/fal/ https:/
                                                                                                                                     of https:/ usasp
                                                                                   Reduction               State's Of ce of               /       /
                                                                                                           Cooperative Threat             sam.g www.
                                                                                                           Reduction (ISN/CTR),           ov/fal/ usasp
                                Department of State                       19.035   Cyber Capacity Building To enhance global              https:/ https:/
                                                                                                           cybersecurity                  /       /
                                                                                                                                          sam.g www.
                                Department of State                       19.036   Cultural Antiquities Task The Cultural Antiquities     ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                   Force                     Task Force (CATF)            /       /
                                                                                                             comprises U.S. federal       sam.g www.
                                Department of State                       19.040   Public Diplomacy          agencies
                                                                                                             To supportthat
                                                                                                                         theshare a       ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                   Programs                  achievement of U.S.          /       /
                                                                                                             foreign policy goals and     sam.g www.
                                                                                                             objectives, advance          ov/fal/ usasp
                                Department of State                       19.087   International Fisheries   The commissions and          https:/ https:/
                                                                                   Commissions               organizations funded by      /       /
                                                                                                             this appropriation           sam.g www.
                                Department of State                       19.108   Bureau of South and       enable
                                                                                                             To      the the
                                                                                                                 support United State
                                                                                                                             goals of     ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                   Central Asian Affairs    the U.S. Department of        /       /
                                                                                                            State, Bureau of South        sam.g www.
                                Department of State                       19.121   Con ict and              and
                                                                                                            The Central
                                                                                                                 Bureau Asian
                                                                                                                          of Con ict      ov/fal/
                                                                                                                                          https:/ usasp
                                                                                                                                                  https:/
                                                                                   Stabilization Operations and Stabilization             /       /
                                                                                                            Operations (CSO) is           sam.g www.
                                Department of State                       19.124   East Asia and Paci c     part of the
                                                                                                            Support   theUnder
                                                                                                                          foreign         ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                   Grants Program            assistance goals and         /     /
                                                                                                             objectives of the            sam.g www.
                                Department of State                       19.204   Fishermen's Guaranty      Department
                                                                                                             To           of State,
                                                                                                                provide for             ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                   Fund                      reimbursement of           /       /
                                                                                                             losses incurred as a       sam.g www.
                                                                                                             result of the seizure of a ov/fal/ usasp




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                         Department of State            19.205   Foreign Affairs IT (FAIT) Develop new               https:/ https:/
                                                                 Fellowship                Information Technology /          /
                                                                                           talent for the            sam.g www.
                         Department of State            19.207   William D. Clarke, Sr.    Department
                                                                                           Develop   newofDiplomatic ov/fal/
                                                                                                                     https:/ usasp
                                                                                                                             https:/
                                                                 Fellowship                Security talent for the   /       /
                                                                                           Department of             sam.g www.
                         Department of State            19.209                             Stateâ€™s
                                                                 Student Programs and Attract and recruitForeign     ov/fal/
                                                                                                                     https:/ usasp
                                                                                                                             https:/
                                                                 Fellowships               highly talented and           /       /
                                                                                           quali ed candidates           sam.g www.
                                                                                           who inclusively               ov/fal/ usasp
                         Department of State            19.220   Ambassadors' Special      The U.S. Ambassadors'         https:/ https:/
                                                                 Self Help Fund            Special Self-Help             /       /
                                                                                           program is a grass-           sam.g www.
                         Department of State            19.221   Regional Democracy        roots
                                                                                           To    assistance
                                                                                              support  democracy         ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                 Program                   and human rights in the       /       /
                                                                                           Near East region.             sam.g www.
                         Department of State            19.222   Trans-Sahara              The Trans-Sahara              ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                 Counterterrorism          Counterterrorism              /       /
                                                                 Partnership (TSCTP)       Partnership (TSCTP)           sam.g www.
                                                                                           policy objective is to        ov/fal/ usasp
                         Department of State            19.223   South Sudan and           The goal of the Sudan         https:/ https:/
                                                                 Sudan Assistance          and South Sudan               /       /
                                                                 Program                   Assistance Program is         sam.g www.
                         Department of State            19.224   Nonproliferation and      to
                                                                                           Theadvance  U.S.
                                                                                                Nonproliferation         ov/fal/
                                                                                                                         https:/ usasp
                                                                                                                                 https:/
                                                                 Disarmament Fund          and Disarmament Fund          /       /
                                                                                           (NDF) provides a              sam.g www.
                                                                                           means for the U.S.            ov/fal/ usasp
                         Department of State            19.225   Africa Regional           This program supports         https:/ https:/
                                                                 Democracy Fund            democratic processes          /       /
                                                                                           and promotes strong           sam.g www.
                         Department of State            19.300   Program for Study of      democratic
                                                                                           Develop,   norms and
                                                                                                    support,             ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                 Eastern Europe and the deepen American                  /       /
                                                                 Independent States of expertise in the                  sam.g www.
                         Department of State            19.301   the Former
                                                                 The        Soviet
                                                                      Secretary's       countriesthe
                                                                                  Of ce Support   of Eastern
                                                                                                     foreign             ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                 of the Global              assistance goals and         /       /
                                                                 Partnership Initiative (S/ objectives of the            sam.g www.
                                                                 GPI) Grant Programs        Department of State,         ov/fal/ usasp
                         Department of State            19.303   Decrypting PRC             Funds will support a         https:/ https:/
                                                                 Industrial and             comprehensive                /       /
                                                                 Technology Policy          research plan to             sam.g www.
                         Department of State            19.322   Economic Statecraft        compile,
                                                                                            To place categorize,
                                                                                                     economics and       ov/fal/
                                                                                                                         https:/ usasp
                                                                                                                                 https:/
                                                                                        market forces at the             /       /
                                                                                        center of U.S. foreign           sam.g www.
                                                                                        policy by both                   ov/fal/ usasp
                         Department of State            19.334   Of ce of the BiologicalThe Of ce of The                 https:/ https:/
                                                                 Policy Staff           Biological Policy Staff          /       /
                                                                                        (ISN/BPS) works to               sam.g www.
                         Department of State            19.345                          impede
                                                                 International Programs DRL      andtargeted
                                                                                              funds  roll back           ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                 to Support Democracy, democracy and human               /       /
                                                                 Human Rights and       rights programs to               sam.g www.
                         Department of State            19.355   Labor
                                                                 International          address
                                                                               Programs IRF      human
                                                                                             programs     rights
                                                                                                       counter           ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                 to Support the Freedom government or societal           /       /
                                                                 of Religion or Belief  constraints on religious         sam.g www.
                                                                                        freedom, particularly for        ov/fal/ usasp
                         Department of State            19.400   Academic Exchange      As authorized by the             https:/ https:/
                                                                 Programs - Graduate    Fulbright-Hays Act, the          /       /
                                                                 Students               Bureau of Educational            sam.g www.
                         Department of State            19.401   Academic Exchange      and Cultural Affairs
                                                                                        As authorized  by the            ov/fal/
                                                                                                                         https:/ usasp
                                                                                                                                 https:/
                                                                 Programs - Scholars       Fulbright-Hays Act, the       /       /
                                                                                           Bureau of Educational         sam.g www.
                         Department of State            19.402   Professional and         andauthorized
                                                                                          As  Cultural Affairs
                                                                                                        by the           ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                 Cultural Exchange        Fulbright-Hays Act, the        /       /
                                                                 Programs - International Bureau of Educational          sam.g www.
                         Department of State            19.408   Visitor Leadership
                                                                 Academic   Exchange      andauthorized
                                                                                          As  Cultural Affairs
                                                                                                        by the           ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                 Programs - Teachers       Fulbright-Hays Act, the       /       /
                                                                                           Bureau of Educational         sam.g www.
                         Department of State            19.415   Professional and          and Cultural
                                                                                           Citizen      Affairs
                                                                                                   Exchange              ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                 Cultural Exchange         activities include            /       /
                                                                 Programs - Citizen        American Film                 sam.g www.
                                                                 Exchanges                 Showcase, American            ov/fal/ usasp
                         Department of State            19.421   Academic Exchange         As authorized by the          https:/ https:/
                                                                 Programs - English        Fulbright-Hays Act, the       /       /
                                                                 Language Programs         Bureau of Educational         sam.g www.
                         Department of State            19.432   Academic Exchange         and  Cultural Affairs
                                                                                           As authorized   by the        ov/fal/
                                                                                                                         https:/ usasp
                                                                                                                                 https:/
                                                                 Programs - Educational Fulbright-Hays Act, the          /       /
                                                                 Advising and Student   Bureau of Educational            sam.g www.
                         Department of State            19.440   Services
                                                                 ECA  U.S. Speaker      andauthorized
                                                                                        As  Cultural Affairs
                                                                                                      by the             ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                 Program                   Fulbright-Hays Act, the       /       /
                                                                                           Of ce of the U.S.             sam.g www.
                                                                                           Speaker Program of the        ov/fal/ usasp
                         Department of State            19.441   ECA â€“ American          As authorized by the          https:/ https:/
                                                                 Spaces                    Fulbright-Hays Act,           /       /
                                                                                           American Spaces are           sam.g www.
                         Department of State            19.450   ECA Individual Grants     cultural
                                                                                           To       andindividual
                                                                                              provide    information     ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                                         assistance awards by            /       /
                                                                                         the Bureau of                   sam.g www.
                                                                                         Educational and                 ov/fal/ usasp
                         Department of State            19.451   Special International   To provide special              https:/ https:/
                                                                 Exchange Grant          grants for international        /       /
                                                                 Programs                exchanges and other             sam.g www.
                         Department of State            19.452   International Exchange activities that support
                                                                                         As authorized   by the          ov/fal/
                                                                                                                         https:/ usasp
                                                                                                                                 https:/
                                                                 Alumni Programs         Fulbright-Hays Act, the         /       /
                                                                                         Bureau of Educational           sam.g www.
                         Department of State            19.500                           and Cultural
                                                                 Middle East Partnership The           Affairs
                                                                                             U.S.-Middle    East         ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                 Initiative                Partnership Initiative        /       /
                                                                                           supports organizations        sam.g www.
                                                                                           and individuals in their      ov/fal/ usasp
                         Department of State            19.501   Public Diplomacy          The U.S. Government           https:/ https:/
                                                                 Programs for              (USG) is providing            /       /
                                                                 Afghanistan and           resources to promote          sam.g www.
                         Department of State            19.502   Pakistan
                                                                 Middle East Regional      diplomatic
                                                                                           The  Middlesolutions,
                                                                                                       East              ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                 Cooperation Program       Regional Cooperation          /       /
                                                                                           (MERC) Program funds          sam.g www.
                                                                                           peer-reviewed,                ov/fal/ usasp
                         Department of State            19.510   U.S. Refugee              Initial reception and         https:/ https:/
                                                                 Admissions Program        placement program for         /       /
                                                                                           refugees approved for         sam.g www.
                         Department of State            19.511   Overseas Refugee          admission
                                                                                           The Bureauinof the United     ov/fal/
                                                                                                                         https:/ usasp
                                                                                                                                 https:/
                                                                 Assistance Programs       Population, Refugees,         /       /
                                                                 for East Asia             and Migration (PRM)           sam.g www.
                         Department of State            19.515   Contributions to          supports NGO
                                                                                           Provision of voluntary        ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                 International             and assessed                  /       /
                                                                 Organizations for         contributions to Public       sam.g www.
                                                                 Overseas Assistance       International                 ov/fal/ usasp
                         Department of State            19.517   Overseas Refugee          Assistance will               https:/ https:/
                                                                 Assistance Programs       contribute to the basic       /       /
                                                                 for Africa                needs of refugees and         sam.g www.
                         Department of State            19.518   Overseas Refugee          con ict victims
                                                                                           Bureau   supportspread
                                                                                                            saves        ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                 Assistance Programs       lives, eases suffering,       /       /
                                                                 for Western               and promotes human            sam.g www.
                         Department of State            19.519   Hemisphere
                                                                 Overseas Refugee          dignity through
                                                                                           Providing       ef cient
                                                                                                      protection         ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                 Assistance Program for    and assistance to             /       /
                                                                 Middle East and North     Syrian and Iraqi              sam.g www.
                                                                 Africa Program            refugees, con ict             ov/fal/ usasp
                         Department of State            19.520   Overseas Refugee          Funding of                    https:/ https:/
                                                                 Assistance Programs       organizations that assist     /       /
                                                                 for Europe                refugees and internally       sam.g www.
                         Department of State            19.522   Overseas Refugee          displaced
                                                                                           Bureau    persons
                                                                                                   support  under        ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                 Assistance Programs    this program includes            /       /
                                                                 for Strategic Global   select support to unique         sam.g www.
                                                                 Priorities             programs of                      ov/fal/ usasp
                         Department of State            19.523   Overseas Refugee       The Bureau will                  https:/ https:/
                                                                 Assistance Program for continue support for the         /       /
                                                                 South Asia             return and reintegration         sam.g www.
                         Department of State            19.600                          programsthe
                                                                 Bureau of Near Eastern Support    forforeign
                                                                                                       Afghan            ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                 Affairs                   assistance goals and          /       /
                                                                                           objectives of the             sam.g www.
                         Department of State            19.601   Syria Assistance          Department
                                                                                           Support      of State,
                                                                                                    the foreign          ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                 Program                   assistance goals and          /       /
                                                                                           objectives of the             sam.g www.
                                                                                           Department of State,          ov/fal/ usasp
                         Department of State            19.662   Fiscal Transparency       To help governments to        https:/ https:/
                                                                 Innovation Fund           improve budget                /       /
                                                                                           transparency and to           sam.g www.
                         Department of State            19.663   Global                    support
                                                                                           â€¢     civil
                                                                                                Build    society
                                                                                                      Connections:       ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                 Telecommunications     Expand and increase              /       /
                                                                 and Emerging           secure Internet access           sam.g www.
                                                                 Technology Training    in targeted emerging             ov/fal/ usasp
                         Department of State            19.665   Cyberspace and Digital Build Connections by             https:/ https:/
                                                                 Policy                 promoting investments            /       /
                                                                                        in secure, diverse, and          sam.g www.
                         Department of State            19.666   EUR/ACE National       resilient
                                                                                        To        ICT democracy
                                                                                            advance                      ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                 Endowment for           in Europe, Eurasia and          /       /
                                                                 Democracy Small         Central Asia by                 sam.g www.
                         Department of State            19.701   Grants Counterterrorism The
                                                                 Global                  providing
                                                                                             Bureausupport
                                                                                                     of    to            ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                 Programs                  Counterterrorism (CT)         /       /
                                                                                           builds foreign partner        sam.g www.
                                                                                           law enforcement               ov/fal/ usasp
                         Department of State            19.703   Criminal Justice          Institutionalize rule of      https:/ https:/
                                                                 Systems                   law by developing and         /       /
                                                                                           expanding criminal            sam.g www.
                         Department of State            19.704   Counter Narcotics         justice systems
                                                                                           Disrupt           to
                                                                                                    the overseas         ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                                           production and                /       /
                                                                                           traf cking of illicit drugs   sam.g www.
                         Department of State            19.705   Trans-National Crime      through
                                                                                           Minimizetargeted
                                                                                                     the impact of       ov/fal/
                                                                                                                         https:/ usasp
                                                                                                                                 https:/
                                                                                           transnational crime and       /       /
                                                                                           criminal networks on          sam.g www.
                         Department of State            19.706   Partnership for           the U.S.
                                                                                           The      and its
                                                                                                objective of allies
                                                                                                             this        ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                 Regional East Africa   program is to build the          /       /
                                                                 Counterterrorism       capacity and resilience          sam.g www.
                         Department of State            19.707                          of military,
                                                                 Assessed Contributions To support law
                                                                                                     the goals of        ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                 for State Department      the U.S. Department of        /       /
                                                                                           State. This is for            sam.g www.
                                                                                           Assessed Contributions        ov/fal/ usasp




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                         Department of State              19.750   Bureau of Western       Support the foreign           https:/ https:/
                                                                   Hemisphere Affairs      assistance goals and          /       /
                                                                   (WHA) Grant Programs objectives of the                sam.g www.
                         Department of State              19.777   (includingStrong
                                                                   100,000    Energyin and
                                                                                       the Department
                                                                                           Increase theof State, of
                                                                                                        number           ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                   Americas Innovation     grants available to HEIs      /       /
                                                                   Fund                    throughout the Western        sam.g www.
                         Department of State              19.790   Contributions to        Hemisphere.
                                                                                           US membershipFoster
                                                                                                             in          ov/fal/
                                                                                                                         https:/ usasp
                                                                                                                                 https:/
                                                                   International           organizations to which        /       /
                                                                   Organizations- CIO      fees are given to             sam.g www.
                                                                                           administer joint              ov/fal/ usasp
                         Department of State              19.791   Voluntary Contributions IO promotes U.S.              https:/ https:/
                                                                   to International        foreign policy strategic      /       /
                                                                   Organizations           goals and U.S. interests      sam.g www.
                         Department of State              19.792                           through
                                                                   Assessed Contributions IO        multilateral
                                                                                              promotes   U.S.            ov/fal/ https:/
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                                                                   to International        foreign policy strategic      /       /
                                                                   Organizations           goals and U.S. interests      sam.g www.
                         Department of State              19.793                           through multilateral
                                                                   Bureau of International Support     the foreign       ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                   Organization Affairs    assistance goals and          /       /
                                                                   Grants Program          objectives of the             sam.g www.
                                                                                           Department of State,          ov/fal/ usasp
                         Department of State              19.800   Weapons Removal and To reduce the threats             https:/ https:/
                                                                   Abatement               posed to civilian             /       /
                                                                                           security by at-risk,          sam.g www.
                         Department of State              19.801   Of ce of Global         illicitly proliferated, and
                                                                                           The Secretaryâ€™s             ov/fal/
                                                                                                                         https:/ usasp
                                                                                                                                 https:/
                                                                   Women's Issues           Of ce of Global              /       /
                                                                                            Womenâ€™s Issues             sam.g www.
                                                                                            (S/GWI) promotes the         ov/fal/ usasp
                         Department of State              19.808   Multilateral and Nuclear To support the goals of      https:/ https:/
                                                                   Affairs                  the U.S. Department of       /       /
                                                                                            State. This is for           sam.g www.
                         Department of State              19.878   EUR-Other                payments
                                                                                            The primaryonly
                                                                                                          goalby/for
                                                                                                                is to    ov/fal/ https:/
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                                                                                             promote democratic          /       /
                                                                                             and free market             sam.g www.
                         Department of State              19.888                         transitionssecurity
                                                                   Global Defense Reform Enhance      in the former
                                                                                                              sector     ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                   Program               governance and build            /       /
                                                                                         the institutional capacity      sam.g www.
                                                                                         of select U.S.                  ov/fal/ usasp
                         Department of State              19.900   AEECA/ESF PD          To provide civil society        https:/ https:/
                                                                   Programs              and democracy building          /       /
                                                                                         public diplomacy                sam.g www.
                         Department of State              19.901   Export Control and    programs    within
                                                                                         The U.S. Department      of     ov/fal/
                                                                                                                         https:/ usasp
                                                                                                                                 https:/
                                                                   Related Border Security Stateâ€™s Bureau of           /       /
                                                                                           International Security        sam.g www.
                                                                                           and Nonproliferation,         ov/fal/ usasp
                         Department of State              19.903   Cooperation on          The goal is to support        https:/ https:/
                                                                   Peaceful Uses of        the Sustained Dialogue        /       /
                                                                   Nuclear Energy          on Peaceful Uses, to          sam.g www.
                         Department of State              19.948   Organization of         provideshall
                                                                                           Funds    a continuing
                                                                                                        be for           ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                   American States           Organization of             /       /
                                                                   Programs                  American States             sam.g www.
                         Department of State              19.973                          development
                                                                   Assessed Contributions IO             assistance
                                                                                             promotes U.S.               ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                   to International       foreign policy strategic       /       /
                                                                   Organizations/CIPA     goals and U.S. interests       sam.g www.
                                                                                          through multilateral           ov/fal/ usasp
                         Department of State              19.979   Regional Peace and     The Of ce of Security          https:/ https:/
                                                                   Security               Affairs in the                 /       /
                                                                                          Department of                  sam.g www.
                         Department of State              19.980   Partnership for        Stateâ€™s
                                                                                          The objective Bureau
                                                                                                         of thisof       ov/fal/
                                                                                                                         https:/ usasp
                                                                                                                                 https:/
                                                                   Regional East Africa     program is to build the      /       /
                                                                   Counterterrorism         capacity and resilience      sam.g www.
                         Department of State              19.989   (PREACT):                of military,
                                                                   State/African Regional - This CFDAlaw number will     ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                   Other Economic            be for projects and         /       /
                                                                   Support Funds (ESF)       programs funded             sam.g www.
                         Department of State              19.990   Projects/Programs
                                                                   International Justice     through thejustice
                                                                                             Increased    Africaand      ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                   and Accountability        accountability              /       /
                                                                   Programming               worldwide.                  sam.g www.
                         Department of the Interior       15.011   Experienced Services      The Experienced             ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                   Program                   Services Program            /       /
                                                                                             (ESP) will provide          sam.g www.
                                                                                             support to the National     ov/fal/ usasp
                         Department of the Interior       15.012   Outdoor Schools in        The collaboration           https:/ https:/
                                                                   National Parks            between the NPS and         /       /
                                                                                             Outdoor Schools are         sam.g www.
                         Department of the Interior       15.013   Alaska Native Science     highly effective
                                                                                             The Bureau       in
                                                                                                           of Ocean      ov/fal/
                                                                                                                         https:/ usasp
                                                                                                                                 https:/
                                                                   and Engineering           Energy Management           /       /
                                                                                             (BOEM) provides major       sam.g www.
                         Department of the Interior       15.014   Supporting the Lower      economic
                                                                                             The      and energy
                                                                                                 program                 ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                   Mississippi Delta         establishes nancial         /       /
                                                                   Initiative                assistance agreements       sam.g www.
                                                                                             between the National        ov/fal/ usasp
                         Department of the Interior       15.015   Good Neighbor             The Good Neighbor           https:/ https:/
                                                                   Authority                 Authority (GNA) is          /       /
                                                                                             intended to expand          sam.g www.
                         Department of the Interior       15.016   Experienced Services      limited
                                                                                             The     federal capacity
                                                                                                  Experienced            ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                   Program                   Services Program            /       /
                                                                                             (ESP) will provide          sam.g www.
                                                                                             services to the Bureau      ov/fal/ usasp
                         Department of the Interior       15.017   Eastern Nevada            This program advances       https:/ https:/
                                                                   Conservation,             the Department of the       /       /
                                                                   Recreation and            Interiorâ€™s role as        sam.g www.
                         Department of the Interior       15.018   Development
                                                                   Energy Community          stewards
                                                                                             To reduceofmethane
                                                                                                          the public
                                                                                                                  and    ov/fal/
                                                                                                                         https:/ usasp
                                                                                                                                 https:/
                                                                   Revitalization Program    other greenhouse gas      /       /
                                                                   (ECRP)                    emissions, help clean     sam.g www.
                         Department of the Interior       15.019   Experienced Services      up water
                                                                                             The  ESP contamination,
                                                                                                        program        ov/fal/ usasp
                                                                                                                       https:/ https:/
                                                                                             provide funding that      /       /
                                                                                             allows agencies to enter sam.g www.
                                                                                             into agreements with      ov/fal/ usasp
                         Department of the Interior       15.020   Aid To Tribal             To provide funds to       https:/ https:/
                                                                   Governments               Indian tribal             /       /
                                                                                             governments to support sam.g www.
                         Department of the Interior       15.021   Consolidated Tribal       general
                                                                                             To       tribal
                                                                                                 promote   Indian self ov/fal/ https:/
                                                                                                                       https:/ usasp
                                                                   Government             determination and              /       /
                                                                                          improve the quality of         sam.g www.
                                                                                          life in Tribal                 ov/fal/ usasp
                         Department of the Interior       15.022   Tribal Self-Governance To further the goals of        https:/ https:/
                                                                                          Indian Self-                   /       /
                                                                                          Determination by               sam.g www.
                         Department of the Interior       15.024   Indian Self-           providing
                                                                                          To providefunds
                                                                                                       fundstoto         ov/fal/
                                                                                                                         https:/ usasp
                                                                                                                                 https:/
                                                                   Determination Contract Federally Recognized           /       /
                                                                   Support                Indian Tribal                  sam.g www.
                         Department of the Interior       15.025   Services to Indian     Governments
                                                                                          To            andtoto
                                                                                             provide funds               ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                   Children, Elderly and     Federally Recognized        /       /
                                                                   Families                  Indian Tribal               sam.g www.
                                                                                             Governments to              ov/fal/ usasp
                         Department of the Interior       15.026   Indian Adult Education    To improve the              https:/ https:/
                                                                                             educational                 /       /
                                                                                             opportunities for Indian    sam.g www.
                         Department of the Interior       15.027   Assistance to Tribally    adults
                                                                                             To     who grants
                                                                                                provide  lack the
                                                                                                                for      ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                   Controlled Community      the operation and           /       /
                                                                   Colleges and              improvement of Tribal       sam.g www.
                         Department of the Interior       15.028   Universities
                                                                   Tribally Controlled       Collegeshas
                                                                                             Funding  andnot been        ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                   Community College         provided for this           /       /
                                                                   Endowments                program. The listing        sam.g www.
                                                                                             remains active in           ov/fal/ usasp
                         Department of the Interior       15.029   Tribal Courts             To provide funds to         https:/ https:/
                                                                                             Federally Recognized        /       /
                                                                                             Indian Tribal               sam.g www.
                         Department of the Interior       15.030   Indian Law                Governments
                                                                                             To             to to
                                                                                                provide funds            ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                   Enforcement               Indian Tribal               /       /
                                                                                             Governments to              sam.g www.
                                                                                             operate police              ov/fal/ usasp
                         Department of the Interior       15.031   Indian Community Fire     To provide funds to         https:/ https:/
                                                                   Protection                perform re protection       /       /
                                                                                             services for Indian         sam.g www.
                         Department of the Interior       15.032   Indian Economic           Tribal
                                                                                             To     Governments
                                                                                                assist Federally that    ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                   Development               Recognized Indian           /       /
                                                                                             Tribal Governments by       sam.g www.
                         Department of the Interior       15.033   Road Maintenance          providing
                                                                                             To providethe resources
                                                                                                        limited          ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                   Indian Roads              routine and preventive      /       /
                                                                                             maintenance on BIA          sam.g www.
                                                                                             transportation facilities   ov/fal/ usasp
                         Department of the Interior       15.034   Agriculture on Indian     To protect and restore      https:/ https:/
                                                                   Lands                     the agricultural            /       /
                                                                                             (cropland and               sam.g www.
                         Department of the Interior       15.035   Forestry on Indian        rangeland)
                                                                                             To maintain,resources
                                                                                                           protect,      ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                   Lands                    enhance, and develop         /       /
                                                                                            Indian forest resources      sam.g www.
                                                                                            through the execution of     ov/fal/ usasp
                         Department of the Interior       15.036   Indian Rights Protection To protect Indian rights     https:/ https:/
                                                                                            guaranteed through           /       /
                                                                                            treaty or statute by         sam.g www.
                         Department of the Interior       15.037   Water Resources on       obtaining
                                                                                            To supportthe  services
                                                                                                        Indian tribes    ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                   Indian Lands           in the effective and           /       /
                                                                                          ef cient management,           sam.g www.
                         Department of the Interior       15.038                          planning,
                                                                   Minerals and Mining on The        and use
                                                                                               objectives      of
                                                                                                           of the        ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                   Indian Lands           Energy and Mineral             /       /
                                                                                          Development Program            sam.g www.
                                                                                          are to: (1) provide funds      ov/fal/ usasp
                         Department of the Interior       15.040   Real Estate Programs To provide real property         https:/ https:/
                                                                   Indian Lands           management,                    /       /
                                                                                          counseling, and land           sam.g www.
                         Department of the Interior       15.041   Environmental          usedetermine
                                                                                          To   planning services to      ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                   Management Indian       environmental impacts    /       /
                                                                                           of Federal projects on   sam.g www.
                         Department of the Interior       15.042   Indian School           Indian lands;
                                                                                           To provide    to conduct
                                                                                                      funding  for  ov/fal/
                                                                                                                    https:/ usasp
                                                                                                                            https:/
                                                                   Equalization            primary and secondary /          /
                                                                                           education.               sam.g www.
                         Department of the Interior       15.043   Indian Child and Family The Family And Child     ov/fal/ https:/
                                                                                                                    https:/ usasp
                                                                   Education              Education (FACE)               /       /
                                                                                          program is designed to         sam.g www.
                         Department of the Interior       15.044                          serve
                                                                   Indian Schools Student To    families
                                                                                             provide     with
                                                                                                      funds to           ov/fal/ https:/
                                                                                                                         https:/ usasp
                                                                   Transportation         each Bureau of Indian          /       /
                                                                                          Education (BIE) funded         sam.g www.
                                                                                          school for the round trip      ov/fal/ usasp




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                                                                                                                                                        #: 83
                         Department of the Interior            15.046   Administrative Cost       To provide grants to         https:/ https:/
                                                                        Grants for Indian         tribes and tribal            /       /
                                                                        Schools                   organizations operating      sam.g www.
                         Department of the Interior            15.047   Indian Education          schools
                                                                                                  To       for funds
                                                                                                      provide   the purpose
                                                                                                                      to BIE   ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                        Facilities, Operations,  funded elementary             /       /
                                                                        and Maintenance          schools, secondary            sam.g www.
                         Department of the Interior            15.048   Bureau of Indian Affairs schools  andfunds
                                                                                                 To provide    peripheral
                                                                                                                    for        ov/fal/
                                                                                                                               https:/ usasp
                                                                                                                                       https:/
                                                                        Facilities Operations    basic operating services      /       /
                                                                        and Maintenance          to Bureau-owned or            sam.g www.
                                                                                                 Bureau-operated non-          ov/fal/ usasp
                         Department of the Interior            15.051   Endangered Species on To comply with the               https:/ https:/
                                                                        Indian Lands             Endangered Species            /       /
                                                                                                 Act, the Northern             sam.g www.
                         Department of the Interior            15.052   Litigation Support for   Spotted
                                                                                                 To       Owl or
                                                                                                    establish  Recovery
                                                                                                                 defend        ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                        Indian Rights             Indian property or treaty /       /
                                                                                                  rights through judicial,  sam.g www.
                         Department of the Interior            15.053   Attorney Fees Indian      administrative,
                                                                                                  To              or
                                                                                                     assist Federally       ov/fal/ usasp
                                                                                                                            https:/ https:/
                                                                        Rights                    Recognized Tribes in      /       /
                                                                                                  protecting their treaty   sam.g www.
                                                                                                  rights and other rights   ov/fal/ usasp
                         Department of the Interior            15.057   Navajo-Hopi Indian        To implement those        https:/ https:/
                                                                        Settlement                provisions of the         /       /
                                                                                                  Navajo-Hopi Settlement sam.g www.
                         Department of the Interior            15.058   Indian Post Secondary     Act of 1974,
                                                                                                  To provide   as           ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                        Schools                   postsecondary                /       /
                                                                                                  educational                  sam.g www.
                                                                                                  opportunities for            ov/fal/ usasp
                         Department of the Interior            15.059   Indian Graduate           To provide nancial aid       https:/ https:/
                                                                        Student Scholarships      to eligible Indian           /       /
                                                                                                  students to enable them      sam.g www.
                         Department of the Interior            15.060   Indian Vocational         to obtain
                                                                                                  To provideadvanced
                                                                                                               vocational      ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                        Training United Tribes    training to individual       /       /
                                                                        Technical College         American Indians             sam.g www.
                         Department of the Interior            15.061   Indian Job Placement      through
                                                                                                  To       thejob
                                                                                                      provide   United         ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                        United Sioux Tribes       development,                 /       /
                                                                        Development               counseling, social           sam.g www.
                                                                        Corporation               adjustment guidance,         ov/fal/ usasp
                         Department of the Interior            15.062   Replacement and           Providing safe,              https:/ https:/
                                                                        Repair of Indian          functional, code-            /       /
                                                                        Schools                   compliant, economical,       sam.g www.
                         Department of the Interior            15.063   Improvement and           and energysafe,
                                                                                                  To provide   ef cient        ov/fal/
                                                                                                                               https:/ usasp
                                                                                                                                       https:/
                                                                        Repair of Indian          functional, code and         /       /
                                                                        Detention Facilities      standards compliant,         sam.g www.
                                                                                                  economical, and              ov/fal/ usasp
                         Department of the Interior            15.065   Safety of Dams on         To improve the               https:/ https:/
                                                                        Indian Lands              structural integrity of      /       /
                                                                                                  dams on Indian lands,        sam.g www.
                         Department of the Interior            15.066   Tribal Great Lakes        including
                                                                                                  The       operations
                                                                                                       BIA Tribal GLRI         ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                        Restoration Initiative    Program provides             /       /
                                                                                                   nancial assistance to       sam.g www.
                         Department of the Interior            15.067   Strengthening Tribal      Great
                                                                                                  To    Lakes
                                                                                                     provide   tribes to
                                                                                                             funding  to       ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                        Nations                   advance nation-to-           /       /
                                                                                                  nation relationships,        sam.g www.
                                                                                                  support Indian families      ov/fal/ usasp
                         Department of the Interior            15.068   Native Hawaiian           The Of ce of Native          https:/ https:/
                                                                        Community Guest           Hawaiian                     /       /
                                                                        Stewardship               Relationsâ€™ (ONHR)          sam.g www.
                         Department of the Interior            15.069   Zoonotic Disease          Heritage
                                                                                                  Assistance(Tourism)
                                                                                                               will be         ov/fal/
                                                                                                                               https:/ usasp
                                                                                                                                       https:/
                                                                        Initiative                available for a range of /         /
                                                                                                  activities with the focus sam.g www.
                         Department of the Interior            15.070   Experienced Services      of the
                                                                                                  The  ESPprogram
                                                                                                             programbeing on ov/fal/ usasp
                                                                                                                             https:/ https:/
                                                                        Program                   provides funding that      /       /
                                                                                                  allows agencies to enter sam.g www.
                         Department of the Interior            15.071   Paci c Northwest and      into agreements
                                                                                                  Provide   enhanced with    ov/fal/ https:/
                                                                                                                             https:/ usasp
                                                                        Hawaiian Islands Arts     Paci c Northwest and         /       /
                                                                                                  Hawaiian Islands art         sam.g www.
                         Department of the Interior            15.072   USGS Experienced          programs
                                                                                                  To          that legislation
                                                                                                      implement     promote ov/fal/    usasp
                                                                                                                               https:/ https:/
                                                                        Services Program          that authorizes              /       /
                                                                                                  cooperative agreements sam.g www.
                                                                                                  with eligible nonpro t       ov/fal/ usasp
                         Department of the Interior            15.073   Earth Mapping             The primary purpose of https:/ https:/
                                                                        Resources Initiative      the Earth Mapping            /       /
                                                                                                  Resources Initiative is      sam.g www.
                         Department of the Interior            15.074   Small Surface Water       to facilitate
                                                                                                  The Bipartisannew            ov/fal/
                                                                                                                               https:/ usasp
                                                                                                                                       https:/
                                                                        and Groundwater        Infrastructure Law,             /       /
                                                                        Storage Projects       Public Law 117-58,              sam.g www.
                         Department of the Interior            15.075                          established
                                                                        Blackfeet Water Rights In 2016, the the Small
                                                                                                             Blackfeet         ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                        Settlement             Water Rights                    /       /
                                                                                               Settlement passed (PL           sam.g www.
                                                                                               114-322) and the                ov/fal/ usasp
                         Department of the Interior            15.076   Musselshell-Judith     The purpose of this act         https:/ https:/
                                                                        Rural Water System     is to ensure a safe and         /       /
                                                                                               adequate municipal,             sam.g www.
                         Department of the Interior            15.077   Rehabilitation,        rural, and
                                                                                               Section    industrial
                                                                                                        40904(b)  of the       ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                        Reconstruction, or        Bipartisan Infrastructure    /       /
                                                                        Replacement of Carey      Law, also known as the       sam.g www.
                                                                        Act Dams                  Infrastructure               ov/fal/ usasp
                         Department of the Interior            15.078   Snow Water Supply         To fund activities to        https:/ https:/
                                                                        Forecasting               improve the skill of         /       /
                                                                                                  water supply forecasts       sam.g www.
                         Department of the Interior            15.079   Experienced Services      via
                                                                                                  Theenhancing
                                                                                                       ESP programsnow         ov/fal/
                                                                                                                               https:/ usasp
                                                                                                                                       https:/
                                                                        Program (ESP)             provide funding that       /       /
                                                                                                  allows agencies to enter sam.g www.
                         Department of the Interior            15.088   Department of Interior    into agreements
                                                                                                  Provide  funding towith
                                                                                                                       local ov/fal/ usasp
                                                                                                                             https:/ https:/
                                                                        Wild re Management -      governments with re        /       /
                                                                        Preparedness              protection                 sam.g www.
                                                                                                  responsibilities to        ov/fal/ usasp
                         Department of the Interior            15.089   DOI - HQ Experienced      The Experienced            https:/ https:/
                                                                        Services Program          Services Program           /       /
                                                                                                  (ESP) will provide         sam.g www.
                         Department of the Interior            15.098   Native Hawaiian           support
                                                                                                  The  goaltoofDepartment
                                                                                                                the Native   ov/fal/ https:/
                                                                                                                             https:/ usasp
                                                                        Climate Resilience        Hawaiian Climate             /       /
                                                                        Program                   Resilience Program is        sam.g www.
                                                                                                  to enhance the ability of    ov/fal/ usasp
                         Department of the Interior            15.099   Abandoned Hardrock        The U.S. Department of       https:/ https:/
                                                                        Mine Reclamation          the Interior has been        /       /
                                                                        (AHMR/AML) Grants         authorized to establish      sam.g www.
                         Department of the Interior            15.108   Indian Employment         a
                                                                                                  ToHardrock   Abandoned
                                                                                                     provide vocational        ov/fal/
                                                                                                                               https:/ usasp
                                                                                                                                       https:/
                                                                        Assistance                training and                 /       /
                                                                                                  employment                   sam.g www.
                         Department of the Interior            15.113   Indian Social Services    opportunities to eligible
                                                                                                  To provide nancial           ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                        Welfare Assistance      assistance for basic           /       /
                                                                                                needs for eligible             sam.g www.
                                                                                                American Indians who           ov/fal/ usasp
                         Department of the Interior            15.114   Indian Education Higher To provide nancial aid         https:/ https:/
                                                                        Education Grant         to eligible Indian             /       /
                                                                                                students to enable them        sam.g www.
                         Department of the Interior            15.124   Indian Loans Economic Toto attend
                                                                                                   provideaccredited
                                                                                                             assistance to     ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                        Development               Federally Recognized         /       /
                                                                                                  Indian Tribal                sam.g www.
                         Department of the Interior            15.130   Indian Education          Governments,
                                                                                                  To            Native
                                                                                                     fund programs that        ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                        Assistance to Schools    meet the unique and           /       /
                                                                                                 specialized needs of          sam.g www.
                                                                                                 eligible Indian students.     ov/fal/ usasp
                         Department of the Interior            15.133   Native American          Under its Native              https:/ https:/
                                                                        Business Development American Business                 /       /
                                                                        Institute                Development Institute         sam.g www.
                         Department of the Interior            15.141   Indian Housing           (NABDI)
                                                                                                 To  use theconceived
                                                                                                              Housing in       ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                        Assistance               Improvement Program           /       /
                                                                                                 (HIP) resources of the        sam.g www.
                                                                                                 Bureau of Indian Affairs      ov/fal/ usasp
                         Department of the Interior            15.144   Indian Child Welfare Act To promote the stability      https:/ https:/
                                                                        Title II Grants          and security of               /       /
                                                                                                 American Indian tribes        sam.g www.
                         Department of the Interior            15.146   Ironworker Training      andprovide
                                                                                                 To   familiesironworker
                                                                                                                by             ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                                                  vocational training,         /       /
                                                                                                  apprenticeships, and         sam.g www.
                         Department of the Interior            15.147   Tribal Courts Trust       jobprovide
                                                                                                  To  placement   to funds
                                                                                                              grant   eligible ov/fal/ usasp
                                                                                                                               https:/ https:/
                                                                        Reform Initiative         to Federally                 /       /
                                                                                                  Recognized Indian            sam.g www.
                                                                                                  Tribal Governments that ov/fal/ usasp
                         Department of the Interior            15.148   Tribal Energy             To provide development https:/ https:/
                                                                        Development Capacity      grants to Indian tribes      /       /
                                                                        Grants                    for use in developing        sam.g www.
                         Department of the Interior            15.149   FOCUS on Student          and sustaining
                                                                                                  The              the
                                                                                                       FOCUS program           ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                        Achievement               targets schools where        /       /
                                                                                                  student achievement is       sam.g www.
                                                                                                  close to meeting annual      ov/fal/ usasp
                         Department of the Interior            15.150   Juvenile Detention        The Juvenile Detention       https:/ https:/
                                                                        Education                 Education Program was        /       /
                                                                                                  designed to provide          sam.g www.
                         Department of the Interior            15.151   Education                 education services
                                                                                                  Education  Programto         ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                        Enhancements              Enhancements provide         /       /
                                                                                                  resources for special        sam.g www.
                         Department of the Interior            15.155   Of ce of the Special      studies,
                                                                                                  The      projects,
                                                                                                      objectives  of new
                                                                                                                     these     ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                        Trustee for American      Of ce of the Special         /       /
                                                                        Indians, Field            Trustee (OST) grants         sam.g www.
                                                                        Operations                will be to support and       ov/fal/ usasp
                         Department of the Interior            15.156   Tribal Climate            The Cooperative              https:/ https:/
                                                                        Resilience                Landscape                    /       /
                                                                                                  Conservation (CLC)           sam.g www.
                         Department of the Interior            15.159   Cultural Resources        program
                                                                                                  To  ensureprovides funds
                                                                                                              the proper       ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                        Management                management,                  /       /
                                                                                                  protection, and              sam.g www.
                         Department of the Interior            15.160   BIA Wildland Urban        preservation
                                                                                                  To implementofthe
                                                                                                                  cultural     ov/fal/
                                                                                                                               https:/ usasp
                                                                                                                                       https:/
                                                                        Interface Community       National Fire Plan and       /       /
                                                                        Fire Assistance           assist communities at        sam.g www.
                         Department of the Interior            15.161   Native Language           risk fromcapacity
                                                                                                  Provide   catastrophic       ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                        Immersion Grant           building grants for          /     /
                                                                                                  Bureau-funded schools        sam.g www.
                         Department of the Interior            15.162   Tiwahe Housing            to expand
                                                                                                  Tiwahe  is aexisting
                                                                                                               coordinated ov/fal/ https:/
                                                                                                                           https:/ usasp
                                                                                                  service delivery model   /       /
                                                                                                  that increases access to sam.g www.
                                                                                                  family and social        ov/fal/ usasp




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                                         Department of the Interior       15.163   Tribal Education          Make grants and              https:/ https:/
                                                                                   Departments               provide technical            /       /
                                                                                                             assistance to tribes for     sam.g www.
                                         Department of the Interior       15.164   Land Acquisition          the development
                                                                                                             Assist federally and         ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                   Funding Program           recognized Tribes in         /       /
                                                                                                             acquiring land               sam.g www.
                                         Department of the Interior       15.165   Tribal Electri cation     consistent with
                                                                                                             Tribal Electri cation        ov/fal/
                                                                                                                                          https:/ usasp
                                                                                                                                                  https:/
                                                                                   Program                Program through the             /       /
                                                                                                          In ation Reduction Act          sam.g www.
                                                                                                          to provide zero                 ov/fal/ usasp
                                         Department of the Interior       15.214   Non-Sale Disposals of To permit free use of            https:/ https:/
                                                                                   Mineral Material       certain mineral material        /       /
                                                                                                          from federally owned            sam.g www.
                                         Department of the Interior       15.222                          lands
                                                                                   Cooperative Inspection To     underfor
                                                                                                             provide    the
                                                                                                                          the             ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                   Agreements with States Bureau of Land                  /       /
                                                                                   and Tribes             Management (BLM) to             sam.g www.
                                         Department of the Interior       15.224   Cultural and           enterpurpose
                                                                                                          The   into cooperative
                                                                                                                         of the           ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                   Paleontological           program is to manage         /       /
                                                                                   Resources                 cultural and                 sam.g www.
                                                                                   Management                paleontological              ov/fal/ usasp
                                         Department of the Interior       15.225   Recreation and Visitor    The BLM makes it a           https:/ https:/
                                                                                   Services                  priority to enhance          /       /
                                                                                                             access to the outdoors       sam.g www.
                                         Department of the Interior       15.228   BLM Fuels                 and  to promote
                                                                                                             Wildland   Fire Fuels        ov/fal/
                                                                                                                                          https:/ usasp
                                                                                                                                                  https:/
                                                                                   Management and            Management and               /       /
                                                                                   Community Fire            Community Assistance         sam.g www.
                                                                                   Assistance Program        Program activities           ov/fal/ usasp
                                         Department of the Interior       15.229   Wild Horse and Burro      The Bureau of Land           https:/ https:/
                                                                                   Resource Management       Management (BLM)             /       /
                                                                                                             manages and protects         sam.g www.
                                         Department of the Interior       15.230   Invasive and Noxious      wild horses
                                                                                                             This programand  burros
                                                                                                                           continues      ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                   Plant Management          to advance the               /       /
                                                                                                             Department of the            sam.g www.
                                         Department of the Interior       15.232   Joint Fire Science        Interiorâ€™s
                                                                                                             This          priorities
                                                                                                                   program continues      ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                   Program               to advance the                   /       /
                                                                                                         Administrationâ€™s               sam.g www.
                                                                                                         priorities to to prioritize      ov/fal/ usasp
                                         Department of the Interior       15.233   Forest and Woodlands The Bureau of Land                https:/ https:/
                                                                                   Resource Management Management (BLM)                   /       /
                                                                                                         Forest and Woodland              sam.g www.
                                         Department of the Interior       15.234   Secure Rural Schools Resource     Management
                                                                                                         Since its initial passage        ov/fal/
                                                                                                                                          https:/ usasp
                                                                                                                                                  https:/
                                                                                   and Community Self-   in 2000, the Secure              /       /
                                                                                   Determination         Rural Schools (SRS)              sam.g www.
                                                                                                         and Community Self-              ov/fal/ usasp
                                         Department of the Interior       15.235   Southern Nevada       The Southern Nevada              https:/ https:/
                                                                                   Public Land           Public Land                      /       /
                                                                                   Management            Management Act                   sam.g www.
                                         Department of the Interior       15.236                         (SNPLMA)
                                                                                   Environmental Quality The  Bureauadvances
                                                                                                                        of Land           ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                   and Protection            Management (BLM)             /       /
                                                                                                             and its cooperative          sam.g www.
                                         Department of the Interior       15.237   Rangeland Resource        government
                                                                                                             The         and
                                                                                                                 Bureau of  Land          ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                   Management             Management (BLM)                /       /
                                                                                                          Rangeland                       sam.g www.
                                                                                                          Management Program              ov/fal/ usasp
                                         Department of the Interior       15.239   Management Initiatives To provide a variety of         https:/ https:/
                                                                                                          Bureau of Land                  /       /
                                                                                                          Management nancial              sam.g www.
                                         Department of the Interior       15.241   Indian Self-           assistance awards not
                                                                                                          To provide maximum              ov/fal/
                                                                                                                                          https:/ usasp
                                                                                                                                                  https:/
                                                                                   Determination Act         Indian participation in      /       /
                                                                                   Contracts, Grants and     the government and           sam.g www.
                                         Department of the Interior       15.243   Cooperative
                                                                                   Youth Conservation      education
                                                                                                           BLMâ€™sofcontinued
                                                                                                                        the Indian        ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                   Opportunities on Public commitment to reduce           /     /
                                                                                   Lands                   and streamline its             sam.g www.
                                         Department of the Interior       15.244   Aquatics Resources      processes
                                                                                                           The Bureauand
                                                                                                                       of Land     ov/fal/ usasp
                                                                                                                                   https:/ https:/
                                                                                   Management             Managementâ€™s           /       /
                                                                                                          Aquatic Resources        sam.g www.
                                         Department of the Interior       15.245                          Program
                                                                                   Plant Conservation and The       conserves
                                                                                                               Bureau  of Land and https:/
                                                                                                                                   ov/fal/ https:/
                                                                                                                                           usasp
                                                                                   Restoration            Managementâ€™s           /       /
                                                                                   Management             Plant Conservation and sam.g www.
                                                                                                          Restoration Program      ov/fal/ usasp
                                         Department of the Interior       15.246   Threatened and         The T&E Species          https:/ https:/
                                                                                   Endangered Species     Program has an           /       /
                                                                                                          important role in        sam.g www.
                                         Department of the Interior       15.247   Wildlife Resource      furthering the
                                                                                                          The Wildlife Program     ov/fal/
                                                                                                                                   https:/ usasp
                                                                                                                                           https:/
                                                                                   Management                ful lls the Department       /       /
                                                                                                             of the Interior visions of   sam.g www.
                                         Department of the Interior       15.248   National Landscape        improving
                                                                                                             This        the aims to
                                                                                                                   program                ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                   Conservation System       increase the                 /       /
                                                                                                             effectiveness of             sam.g www.
                                                                                                             resource management          ov/fal/ usasp
                                         Department of the Interior       15.250   Regulation of Surface     To assist the States and     https:/ https:/
                                                                                   Coal Mining and           Tribes with active coal      /       /
                                                                                   Surface Effects of        mining in administering      sam.g www.
                                         Department of the Interior       15.252   UndergroundMine
                                                                                   Abandoned     CoalLand    approved
                                                                                                             The        regulatory
                                                                                                                  objectives of the       ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                   Reclamation (AMLR)        Abandoned Mine Lands         /       /
                                                                                                             (AML) Program are            sam.g www.
                                                                                                             de ned in the Surface        ov/fal/ usasp
                                         Department of the Interior       15.253   Not-for-Pro t AMD         The Not-for-Pro t, Acid      https:/ https:/
                                                                                   Reclamation               Mine Drainage (AMD)          /       /
                                                                                                             Reclamation -                sam.g www.
                                         Department of the Interior       15.254   OSM/VISTA                 Watershed
                                                                                                             The purposeCooperative
                                                                                                                          of the          ov/fal/
                                                                                                                                          https:/ usasp
                                                                                                                                                  https:/
                                                                                   AmeriCorps                OSMRE Youth Program /            /
                                                                                                             is to carry out          sam.g www.
                                         Department of the Interior       15.255   Science and               appropriate
                                                                                                             The goal of the OSMRE ov/fal/    usasp
                                                                                                                                      https:/ https:/
                                                                                   Technology Projects       Applied Science          /       /
                                                                                   Related to Coal Mining    Program is to develop    sam.g www.
                                                                                   and Reclamation           and demonstrate          ov/fal/ usasp
                                         Department of the Interior       15.406   National Park Service     The National Park        https:/ https:/
                                                                                   Centennial Challenge      Centennial Initiative is /       /
                                                                                                             an effort to prepare     sam.g www.
                                         Department of the Interior       15.407   Keweenaw National         national
                                                                                                             The       parks forNHP
                                                                                                                   Keweenaw           ov/fal/ https:/
                                                                                                                                      https:/ usasp
                                                                                   Historical Park (NHP)     Preservation Grant           /       /
                                                                                   Preservation Grants       program is intended to       sam.g www.
                                                                                                             provide annual ONPS          ov/fal/ usasp
                                         Department of the Interior       15.408   Bureau of Ocean           The Renewable Energy         https:/ https:/
                                                                                   Energy Management         Program oversees the         /       /
                                                                                   Renewable Energy          leasing of areas on the      sam.g www.
                                         Department of the Interior       15.421   Alaska Coastal Marine     outer continental
                                                                                                             The Bureau        shelf
                                                                                                                          of Ocean        ov/fal/
                                                                                                                                          https:/ usasp
                                                                                                                                                  https:/
                                                                                   Institute                 Energy Management            /       /
                                                                                                             (BOEM) provides major        sam.g www.
                                         Department of the Interior       15.423   Bureau of Ocean           economic
                                                                                                             The      and
                                                                                                                 Bureau of energy
                                                                                                                           Ocean          ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                   Energy Management         Energy Management            /       /
                                                                                   (BOEM) Environmental      (BOEM) provides major        sam.g www.
                                                                                   Studies (ES)              economic and energy          ov/fal/ usasp
                                         Department of the Interior       15.424   Marine Minerals           BOEM provides                https:/ https:/
                                                                                   Activities                 nancial assistance to       /       /
                                                                                                             quali ed partners to         sam.g www.
                                         Department of the Interior       15.427   Federal Oil and Gas       identify
                                                                                                             To ensureandthat
                                                                                                                           evaluate
                                                                                                                              all oil,    ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                   Royalty Management        gas, and solid minerals      /       /
                                                                                   State and Tribal          originated on the public     sam.g www.
                                         Department of the Interior       15.429   Coordination
                                                                                   State Select              lands and
                                                                                                             ONRR       on the
                                                                                                                     shares 90 Outer      ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                                           percent of oil and gas         /       /
                                                                                                           royalties with the State       sam.g www.
                                                                                                           to be paid monthly             ov/fal/ usasp
                                         Department of the Interior       15.430   8(g) State Coastal Zone ONRR shares 27                 https:/ https:/
                                                                                                           percent of mineral             /       /
                                                                                                           leasing revenue derived        sam.g www.
                                         Department of the Interior       15.431   Alaska Settlement       from any
                                                                                                           ONRR      lease100
                                                                                                                   shares   issued        ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                   Agreement               percent with the State         /       /
                                                                                                           of Alaska to be paid           sam.g www.
                                                                                                           monthly subject to late        ov/fal/ usasp
                                         Department of the Interior       15.432   California Refuge       ONRR shares 40.87              https:/ https:/
                                                                                   Account                 percent of Oil and Gas         /       /
                                                                                                           Rents, Royalties, and          sam.g www.
                                         Department of the Interior       15.433                           Bonus Bids
                                                                                   Flood Control Act Lands ONRR   shareswith
                                                                                                                           75the          ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                                        percent of mineral                /       /
                                                                                                        leasing revenue with              sam.g www.
                                         Department of the Interior       15.434                        the State,
                                                                                   Geothermal Resources ONRR       paid 50
                                                                                                               shares   monthly           ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                                        percent of mineral                /       /
                                                                                                        leasing revenue with              sam.g www.
                                                                                                        the State, and 25                 ov/fal/ usasp
                                         Department of the Interior       15.435   GoMESA               ONRR shares 37.5                  https:/ https:/
                                                                                                        percent of selected               /       /
                                                                                                        revenue with Gulf                 sam.g www.
                                         Department of the Interior       15.436   Late Disbursement    producing
                                                                                                        ONRR   paysstates
                                                                                                                     late and             ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                   Interest                  disbursement interest        /       /
                                                                                                             on subject payments          sam.g www.
                                                                                                             made to States after the     ov/fal/ usasp
                                         Department of the Interior       15.437   Minerals Leasing Act      As directed by the           https:/ https:/
                                                                                                             Minerals Leasing Act,        /       /
                                                                                                             the Of ce of Natural         sam.g www.
                                         Department of the Interior       15.438   National Forest           Resources
                                                                                                             ONRR       Revenue
                                                                                                                    shares  25            ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                   Acquired Lands            percent of minerals          /       /
                                                                                                             leasing revenue with         sam.g www.
                                         Department of the Interior       15.439   National Petroleum        the State
                                                                                                             ONRR      in which
                                                                                                                    shares  50 such       ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                   Reserve - Alaska          percent of NPR-A oil         /       /
                                                                                                             and gas mineral leasing      sam.g www.
                                                                                                             revenue with the State       ov/fal/ usasp
                                         Department of the Interior       15.440   South Half of the Red     ONRR shares 37.5             https:/ https:/
                                                                                   River                     percent of mineral           /       /
                                                                                                             leasing revenue with         sam.g www.
                                         Department of the Interior       15.441   Safety and                the State
                                                                                                             The       of Oklahoma
                                                                                                                  Bureau  of Safety       ov/fal/ https:/
                                                                                                                                          https:/ usasp
                                                                                   Environmental             and Environmental            /     /
                                                                                   Research and Data         Enforcement (BSEE)           sam.g www.
                                         Department of the Interior       15.442   Collection for Offshore
                                                                                   Alaska Native  Science    provides major
                                                                                                             The Bureau of Safety    ov/fal/
                                                                                                                                     https:/ usasp
                                                                                                                                             https:/
                                                                                   and Engineering           and Environmental       /       /
                                                                                                             Enforcement (BSEE)      sam.g www.
                                         Department of the Interior       15.443   Not For Pro t             program
                                                                                                             The     provides
                                                                                                                 Bureau        major ov/fal/
                                                                                                                         of Ocean            usasp
                                                                                                                                     https:/ https:/
                                                                                                             Energy Management       /       /
                                                                                                             (BOEM) provides major sam.g www.
                                         Department of the Interior       15.444   Take Pride                economic
                                                                                                             The Bureauand
                                                                                                                         of energy
                                                                                                                            Ocean    ov/fal/ https:/
                                                                                                                                     https:/ usasp
                                                                                                             Energy Management            /       /
                                                                                                             (BOEM) provides major        sam.g www.
                                                                                                             economic and energy          ov/fal/ usasp




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                                                                                                                                                         #: 85
                              Department of the Interior       15.504   Water Recycling and   To make funding             https:/ https:/
                                                                        Desalination          available for water         /       /
                                                                        Construction Programs recycling and               sam.g www.
                              Department of the Interior       15.506   Water Desalination    desalination
                                                                                              There         projects.
                                                                                                     are three   goals To ov/fal/
                                                                                                                          https:/ usasp
                                                                                                                                  https:/
                                                                        Research and          for the program: (1)        /       /
                                                                        Development           augment the supply of       sam.g www.
                              Department of the Interior       15.507   WaterSMART (Sustain To provide cost-shared https:/ usasp
                                                                                              usable  water  in the       ov/fal/ https:/
                                                                        and Manage                  funding for various         /       /
                                                                        Americaâ€™s                 types of water              sam.g www.
                                                                        Resources for               management                  ov/fal/ usasp
                              Department of the Interior       15.508   Providing Water to At-      All funding has been        https:/ https:/
                                                                        Risk Natural Desert         obligated; no new           /       /
                                                                        Terminal Lakes              projects expected           sam.g www.
                              Department of the Interior       15.509   Title II, Colorado River    before
                                                                                                    To      the Desert
                                                                                                        provide  nancial and    ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Basin Salinity Control      technical assistance to: /         /
                                                                                                    (1) identify salt source   sam.g www.
                              Department of the Interior       15.510   Colorado Ute Indian         areas;
                                                                                                    To     (2) municipal
                                                                                                        supply  develop and ov/fal/    usasp
                                                                                                                               https:/ https:/
                                                                        Water Rights                industrial water supply    /       /
                                                                        Settlement Act              to the Ute Mountain        sam.g www.
                                                                                                    Ute, Southern Ute          ov/fal/ usasp
                              Department of the Interior       15.511   Cultural Resources          To manage and protect https:/ https:/
                                                                        Management                  cultural resources on      /       /
                                                                                                    Reclamation land;          sam.g www.
                              Department of the Interior       15.512   Central Valley              provide  for the  curation
                                                                                                    The purposes of the        ov/fal/
                                                                                                                               https:/ usasp
                                                                                                                                       https:/
                                                                        Improvement Act, Title      Central Valley Project      /       /
                                                                        XXXIV                       Improvement Act             sam.g www.
                                                                                                    (CVPIA) are (1) to          ov/fal/ usasp
                              Department of the Interior       15.514   Reclamation States          Funding under the           https:/ https:/
                                                                        Emergency Drought           Drought Response            /       /
                                                                        Relief                      Program will be             sam.g www.
                              Department of the Interior       15.516   Fort Peck Reservation       provided
                                                                                                    To ensureto: (1) develop
                                                                                                              a safe  and       ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Rural Water System          adequate municipal,         /       /
                                                                                                    rural and industrial        sam.g www.
                              Department of the Interior       15.517   Fish and Wildlife           water
                                                                                                    To     supplynancial
                                                                                                       provide    for the       ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Coordination Act        assistance, through             /       /
                                                                                                grants or cooperative           sam.g www.
                                                                                                agreements, to public or        ov/fal/ usasp
                              Department of the Interior       15.518   Garrison Diversion Unit To meet the water               https:/ https:/
                                                                                                needs within the State          /       /
                                                                                                of North Dakota by              sam.g www.
                              Department of the Interior       15.519   Indian Tribal Water     providing
                                                                                                To increasefunds on a           ov/fal/
                                                                                                                                https:/ usasp
                                                                                                                                        https:/
                                                                        Resources               opportunities for Indian        /       /
                                                                        Development,            tribes to develop,              sam.g www.
                                                                        Management, and         manage, and protect             ov/fal/ usasp
                              Department of the Interior       15.520   Lewis and Clark Rural To provide safe and               https:/ https:/
                                                                        Water System            adequate municipal,             /       /
                                                                                                rural, and industrial           sam.g www.
                              Department of the Interior       15.521   Lower Rio Grande        water supplies,
                                                                                                Awards   will be made to        ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Valley Water Resources investigate and identify /        /
                                                                        Conservation and        opportunities to improve sam.g www.
                              Department of the Interior       15.522   Improvement
                                                                        Mni                     theensure
                                                                             Wiconi Rural Water To  supply aofsafe
                                                                                                               water
                                                                                                                   andin ov/fal/ usasp
                                                                                                                         https:/ https:/
                                                                        Supply Project          adequate municipal,      /       /
                                                                                                rural, and industrial    sam.g www.
                                                                                                water supply for the     ov/fal/ usasp
                              Department of the Interior       15.524   Recreation Resources To provide cost-share       https:/ https:/
                                                                        Management              opportunities with non- /        /
                                                                                                Federal recreation       sam.g www.
                              Department of the Interior       15.525   Rocky Boy's/North       partners (e.g., state,
                                                                                                To ensure a safe and     ov/fal/
                                                                                                                         https:/ usasp
                                                                                                                                 https:/
                                                                        Central Montana       adequate rural,           /       /
                                                                        Regional Water System municipal, and industrial sam.g www.
                              Department of the Interior       15.526   San Gabriel Basin     water
                                                                                              To     supply
                                                                                                 design,     for the
                                                                                                          construct,    ov/fal/ usasp
                                                                                                                        https:/ https:/
                                                                        Restoration           operate, and maintain     /       /
                                                                                              water quality projects    sam.g www.
                              Department of the Interior       15.529   Upper Colorado and    within
                                                                                              To     the San
                                                                                                 authorize  theGabriel  ov/fal/ https:/
                                                                                                                 Bureau https:/ usasp
                                                                        San Juan River Basins of Reclamation to                 /       /
                                                                        Endangered Fish         provide cost sharing for        sam.g www.
                              Department of the Interior       15.530   Recovery
                                                                        Water Conservation      the
                                                                                                Theendangered       sh
                                                                                                     goal of the Water          ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Field Services (WCFS) Conservation Field                /       /
                                                                                                Services Program                sam.g www.
                                                                                                (WCFSP) is to                   ov/fal/ usasp
                              Department of the Interior       15.531   Yakima River Basin      Within the Yakima River         https:/ https:/
                                                                        Water Enhancement       Basin: (1) to protect,          /       /
                                                                        (YRBWE)                 mitigate, and enhance           sam.g www.
                              Department of the Interior       15.532   Central Valley, Trinity  shaddress
                                                                                                To   and wildlife through
                                                                                                             impacts   of       ov/fal/
                                                                                                                                https:/ usasp
                                                                                                                                        https:/
                                                                        River Division, Trinity     the Central Valley          /       /
                                                                        River Fish and Wildlife     Project (CVP) on sh,        sam.g www.
                              Department of the Interior       15.533   Management
                                                                        California Water            wildlife,
                                                                                                    The       and associated
                                                                                                         purpose   of the       ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Security and                CALFED Bay-Delta            /       /
                                                                        Environmental               Authorization Act           sam.g www.
                                                                        Enhancement                 authorizes the              ov/fal/ usasp
                              Department of the Interior       15.535   Upper Colorado River        Assistance is provided      https:/ https:/
                                                                        Basin Fish and Wildlife     to recipients to protect,   /       /
                                                                        Mitigation                  restore and enhance         sam.g www.
                              Department of the Interior       15.537   Middle Rio Grande           wetland
                                                                                                    The      andRio
                                                                                                         Middle   upland
                                                                                                                     Grande     ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Endangered Species          Endangered Species          /       /
                                                                        Collaborative               Collaborative Program       sam.g www.
                                                                                                    (Program) is a              ov/fal/ usasp
                              Department of the Interior       15.538   Lower Colorado River        The MSCPâ€™s                https:/ https:/
                                                                        Multi-Species               purposes are: (1)           /       /
                                                                        Conservation                Protect the lower           sam.g www.
                              Department of the Interior       15.539   Equus Beds Division         Colorado
                                                                                                    To design River
                                                                                                               and construct    ov/fal/
                                                                                                                                https:/ usasp
                                                                                                                                        https:/
                                                                        Acquifer Storage            the City of                 /       /
                                                                        Recharge                    Wichitaâ€™s Aquifer         sam.g www.
                              Department of the Interior       15.540   Lake Mead/Las Vegas         Storage
                                                                                                    The      and Recovery
                                                                                                        objective of this       ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Wash                        program is to develop       /       /
                                                                                                    and implement               sam.g www.
                                                                                                    management strategies       ov/fal/ usasp
                              Department of the Interior       15.541   Colorado River Basin        The Colorado River          https:/ https:/
                                                                        Act of 1968                 Basin Project Act of        /       /
                                                                                                    1968, authorized the        sam.g www.
                              Department of the Interior       15.542   Arizona Water               Secretaryto
                                                                                                    Pursuant  ofthe
                                                                                                                 theArizona
                                                                                                                    Interior    ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Settlement Act of 2004Water Settlements Act             /       /
                                                                                              of 2004, the Secretary            sam.g www.
                                                                                              of the Interior was               ov/fal/ usasp
                              Department of the Interior       15.543   Lake Tahoe Regional   To assist in addressing           https:/ https:/
                                                                        Wetlands Development the past degradation of            /       /
                                                                                              Lake Tahoe and its                sam.g www.
                              Department of the Interior       15.544   Platte River Recovery watershed   by of the
                                                                                              Implementation                    ov/fal/
                                                                                                                                https:/ usasp
                                                                                                                                        https:/
                                                                        Implementation              Platte River Recovery       /       /
                                                                                                    Program Cooperative         sam.g www.
                              Department of the Interior       15.546   Youth Conservation          Agreement
                                                                                                    Promote     which
                                                                                                              and stimulate     ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                                                    public purposes such as     /       /
                                                                                                    education, job training,    sam.g www.
                                                                                                    development of              ov/fal/ usasp
                              Department of the Interior       15.550   FISH-ABLE Fun with          To provide opportunities    https:/ https:/
                                                                        Reclamation                 for disabled and            /       /
                                                                                                    disadvantaged children      sam.g www.
                              Department of the Interior       15.552   Navajo-Gallup Water         to use
                                                                                                    To      and enjoy
                                                                                                        provide       public
                                                                                                                 nancial        ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Supply                      assistance to design        /       /
                                                                                                    and construct portions      sam.g www.
                              Department of the Interior       15.553   Eastern New Mexico          of the Navajo-Gallup
                                                                                                    Provide potable surface     ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Rural Water System          water to communities in     /       /
                                                                                                    Eastern New Mexico.         sam.g www.
                                                                                                                                ov/fal/ usasp
                              Department of the Interior       15.554   Cooperative Watershed Reclamationâ€™s                   https:/ https:/
                                                                        Management            WaterSMART                        /       /
                                                                                              Cooperative Watershed             sam.g www.
                              Department of the Interior       15.555   San Joaquin River     Management
                                                                                              The objective Program
                                                                                                            of the              ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Restoration            San Joaquin River                /       /
                                                                                               Restoration Program              sam.g www.
                                                                                               (SJRRP) is to                    ov/fal/ usasp
                              Department of the Interior       15.557   Applied Science Grants The objective of the             https:/ https:/
                                                                                               Applied Science Grants           /       /
                                                                                               is to improve access to          sam.g www.
                              Department of the Interior       15.558                          and use oftohydrologic
                                                                        White Mountain Apache Pursuant      the White           ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Tribe Rural Water           Mountain Apache Tribe       /       /
                                                                        System                      Water Rights                sam.g www.
                              Department of the Interior       15.559   New Mexico Rio              Quanti cation
                                                                                                    Rehabilitate  Actrepair
                                                                                                                 and  of        ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Grande Basin Pueblos irrigation infrastructure          /       /
                                                                        Irrigation Infrastructure
                                                                                             of the Rio Grande                  sam.g www.
                                                                                             Pueblos to conserve                ov/fal/ usasp
                              Department of the Interior       15.560   SECURE Water Act â€“ To fund research                   https:/ https:/
                                                                        Research Agreements activities that are                 /       /
                                                                                             designed to conserve               sam.g www.
                              Department of the Interior       15.563   Suisun Marsh         water resources,
                                                                                             Execute   and implement            ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Preservation Agreement the agreement between            /       /
                                                                                               the Department of the            sam.g www.
                                                                                               Interior, the State of           ov/fal/ usasp
                              Department of the Interior       15.564   Central Valley Project Provide nancial                  https:/ https:/
                                                                        Conservation           support for activities to        /       /
                                                                                               bene t federally listed          sam.g www.
                              Department of the Interior       15.565                          endangered
                                                                        Implementation of the The             and
                                                                                                    Claims Resolution           ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Taos Pueblo Indian     Act of 2010 was signed           /       /
                                                                        water rights settlementinto law on December             sam.g www.
                              Department of the Interior       15.566   Upper Klamath Basin    8, 2010,
                                                                                               To         authorizing and
                                                                                                   plan, implement,   the       ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                        Water Supply Alignment administer programs to           /       /
                                                                                               align water supplies and         sam.g www.
                                                                                               demand for irrigation            ov/fal/ usasp
                              Department of the Interior       15.567   Colorado River System This program supports             https:/ https:/
                                                                        Conservation Pilot     conservation projects            /       /
                                                                                               that create â€œsystem            sam.g www.
                              Department of the Interior       15.569                          waterâ€
                                                                        Educational Outreach The    Water Education             ov/fal/ https:/
                                                                                                                                https:/ usasp
                                                                                                    Foundation has              /     /
                                                                                                    developed several           sam.g www.
                              Department of the Interior       15.570   Bay-Delta Restoration       programs and Water
                                                                                                    The CALFED              ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                        Program                     Use Ef ciency Grant     /       /
                                                                                                    program promotes        sam.g www.
                              Department of the Interior       15.571   Salton Sea Program          projects that
                                                                                                    Objectives  ofemphasize
                                                                                                                   this     ov/fal/ usasp
                                                                                                                            https:/ https:/
                                                                                                    program are to develop /        /
                                                                                                    and implement           sam.g www.
                              Department of the Interior       15.572   Agricultural Water Use      restoration
                                                                                                    The         andof the
                                                                                                         objective          ov/fal/ https:/
                                                                                                                            https:/ usasp
                                                                        Ef ciency Program           Agricultural Water          /       /
                                                                                                    Conservation Ef ciency      sam.g www.
                                                                                                    Program is to invite        ov/fal/ usasp




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                                                                                                                                                              #: 86
                               Department of the Interior            15.574   Water Storage            Section 4007 of Public        https:/ https:/
                                                                              Enhancement              Law 114-322, also             /       /
                                                                                                       known as The Water            sam.g www.
                               Department of the Interior            15.576   Yakima River Basin      Infrastructure
                                                                                                      To  fund grants or             ov/fal/ https:/
                                                                                                                                     https:/ usasp
                                                                              Water Enhancement       cooperative agreements         /       /
                                                                              Phase III (Yakima Basin for the purpose of land        sam.g www.
                               Department of the Interior            15.577   Integrated Plan) Supply and
                                                                              Domestic Water                water transfers,
                                                                                                      To provide   funding for       ov/fal/
                                                                                                                                     https:/ usasp
                                                                                                                                             https:/
                                                                              Projects                 planning, design, or          /       /
                                                                                                       construction of water         sam.g www.
                                                                                                       projects with the             ov/fal/ usasp
                               Department of the Interior            15.580   Aquatic Ecosystem        The objective of the          https:/ https:/
                                                                              Restoration Program      Aquatic Ecosystem             /       /
                                                                                                       Restoration Program is        sam.g www.
                               Department of the Interior            15.605   Sport Fish Restoration   to work
                                                                                                       Sport   cooperatively
                                                                                                             Fish Restoration        ov/fal/ https:/
                                                                                                                                     https:/ usasp
                                                                                                       funds support activities      /       /
                                                                                                       designed to restore,          sam.g www.
                               Department of the Interior            15.608   Fish and Aquatic         conserve,
                                                                                                       Details    manage,
                                                                                                               vary by      or       ov/fal/ https:/
                                                                                                                                     https:/ usasp
                                                                              Conservation - Aquatic   subprogram. Brief             /       /
                                                                              Invasive Species         summaries provided            sam.g www.
                                                                                                       here. See the                 ov/fal/ usasp
                               Department of the Interior            15.611   Wildlife Restoration and The Pittman-Robertson         https:/ https:/
                                                                              Basic Hunter Education Wildlife Restoration Act        /       /
                                                                              and Safety               provides grants to            sam.g www.
                               Department of the Interior            15.614   Coastal Wetlands         State, Commonwealth,
                                                                                                       To provide competitive        ov/fal/
                                                                                                                                     https:/ usasp
                                                                                                                                             https:/
                                                                              Planning, Protection     matching grants to            /       /
                                                                              and Restoration          coastal States for            sam.g www.
                                                                                                       coastal wetlands              ov/fal/ usasp
                               Department of the Interior            15.615   Cooperative              Cooperative                   https:/ https:/
                                                                              Endangered Species       Endangered Species            /       /
                                                                              Conservation Fund        Conservation Fund             sam.g www.
                               Department of the Interior            15.616   Clean Vessel Act         grants
                                                                                                       This   provideprovides
                                                                                                            program   Federal        ov/fal/ https:/
                                                                                                                                     https:/ usasp
                                                                                                       funding to States, the        /       /
                                                                                                       District of Columbia,         sam.g www.
                               Department of the Interior            15.619   Rhinoceros and Tiger     Commonwealths,
                                                                                                       To provide nancial and        ov/fal/ https:/
                                                                                                                                     https:/ usasp
                                                                              Conservation Fund        assistance for projects       /       /
                                                                                                       for the effective long-       sam.g www.
                                                                                                       term conservation of          ov/fal/ usasp
                               Department of the Interior            15.620   African Elephant         To provide nancial            https:/ https:/
                                                                              Conservation Fund        assistance to support         /       /
                                                                                                       projects that will            sam.g www.
                               Department of the Interior            15.621   Asian Elephant           enhance
                                                                                                       To providesustainable
                                                                                                                    nancial          ov/fal/
                                                                                                                                     https:/ usasp
                                                                                                                                             https:/
                                                                              Conservation Fund        assistance to support         /       /
                                                                                                       the effective long-term       sam.g www.
                                                                                                       conservation of Asian         ov/fal/ usasp
                               Department of the Interior            15.622   Sport shing and          This program provides         https:/ https:/
                                                                              Boating Safety Act       funding to States, the        /       /
                                                                                                       District of Columbia,         sam.g www.
                               Department of the Interior            15.623   North American           Commonwealths,
                                                                                                       To                 and
                                                                                                          provide grant funds        ov/fal/ https:/
                                                                                                                                     https:/ usasp
                                                                              Wetlands Conservation for wetlands                     /       /
                                                                              Fund                  conservation projects in         sam.g www.
                               Department of the Interior            15.626   Enhanced Hunter       the United
                                                                                                    This       States,
                                                                                                         program  provides           ov/fal/ https:/
                                                                                                                                     https:/ usasp
                                                                              Education and Safety    funds for the                  /       /
                                                                                                      enhancement of hunter          sam.g www.
                                                                                                      and archery education          ov/fal/ usasp
                               Department of the Interior            15.628   Multistate Conservation This program provides          https:/ https:/
                                                                              Grant                   funding for sport sh           /       /
                                                                                                      and wildlife restoration       sam.g www.
                               Department of the Interior            15.629   Great Ape Conservation projects  andnancial
                                                                                                      To provide                     ov/fal/
                                                                                                                                     https:/ usasp
                                                                                                                                             https:/
                                                                              Fund - Africa            assistance for projects       /     /
                                                                                                       for the effective long-       sam.g www.
                               Department of the Interior            15.630   Coastal                  term
                                                                                                       To    conservation
                                                                                                           provide technicalof  ov/fal/ usasp
                                                                                                                                https:/ https:/
                                                                                                       and nancial assistance /         /
                                                                                                       to partners to           sam.g www.
                               Department of the Interior            15.631   Partners for Fish and    implement
                                                                                                       Deliver     voluntaryof
                                                                                                                Department      ov/fal/ usasp
                                                                                                                                https:/ https:/
                                                                              Wildlife                 the Interior priorities  /       /
                                                                                                       and US Fish and          sam.g www.
                               Department of the Interior            15.634   State Wildlife Grants    Wildlife
                                                                                                       The      Service
                                                                                                            primary             ov/fal/ https:/
                                                                                                                     purpose of https:/ usasp
                                                                                                       the State Wildlife Grant      /       /
                                                                                                       (SWG) Program is to           sam.g www.
                                                                                                       help State, Territory,        ov/fal/ usasp
                               Department of the Interior            15.635   Neotropical Migratory    To assist in the              https:/ https:/
                                                                              Bird Conservation        conservation of               /       /
                                                                                                       neotropical migratory         sam.g www.
                               Department of the Interior            15.636   Alaska Subsistence       birds by providing
                                                                                                       To identify and provide       ov/fal/
                                                                                                                                     https:/ usasp
                                                                                                                                             https:/
                                                                              Management               information needed to         /       /
                                                                                                       sustain subsistence           sam.g www.
                               Department of the Interior            15.637   Migratory Bird Joint      sheries
                                                                                                       The      and wildlife
                                                                                                            objectives of this       ov/fal/ https:/
                                                                                                                                     https:/ usasp
                                                                              Ventures                 program are to support        /       /
                                                                                                       projects that protect,        sam.g www.
                                                                                                       restore, and enhance          ov/fal/ usasp
                               Department of the Interior            15.639   Tribal Wildlife Grants   Support the                   https:/ https:/
                                                                                                       development and               /       /
                                                                                                       implementation of             sam.g www.
                               Department of the Interior            15.640   Latin America and        programs
                                                                                                       The        forof
                                                                                                            mission  the  bene
                                                                                                                        the Latint   ov/fal/ https:/
                                                                                                                                     https:/ usasp
                                                                              Caribbean Regional       America Regional              /       /
                                                                                                       Program is to provide         sam.g www.
                                                                                                       technical and nancial         ov/fal/ usasp
                               Department of the Interior            15.643   Alaska Migratory Bird    To facilitate and             https:/ https:/
                                                                              Co-Management            administer regional           /       /
                                                                              Council                  programs to involve           sam.g www.
                               Department of the Interior            15.645   Marine Turtle            subsistence
                                                                                                       This programhunters
                                                                                                                       funds of      ov/fal/
                                                                                                                                     https:/ usasp
                                                                                                                                             https:/
                                                                              Conservation Fund       Marine Turtle and        /       /
                                                                                                      Tortoise and Freshwater sam.g www.
                               Department of the Interior            15.647   Migratory Bird          Turtle
                                                                                                      To     (TFT) and
                                                                                                          maintain  projects.  ov/fal/ usasp
                                                                                                                               https:/ https:/
                                                                              Conservation            enhance populations      /       /
                                                                                                      and habitats of          sam.g www.
                                                                                                      migratory bird species   ov/fal/ usasp
                               Department of the Interior            15.648   Central Valley Project  To protect, restore, and https:/ https:/
                                                                              Improvement Act         enhance sh, wildlife,    /       /
                                                                              (CVPIA)                 and associated habitats sam.g www.
                               Department of the Interior            15.651                           in theCentral
                                                                              Central Africa Regional The    CentralAfrica
                                                                                                                     Valley    ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                                                      Regional Program         /       /
                                                                                                      supports projects in     sam.g www.
                                                                                                      Central Africa that      ov/fal/ usasp
                               Department of the Interior            15.652   Invasive Species        To encourage             https:/ https:/
                                                                                                      coordination and         /       /
                                                                                                      integration of efforts   sam.g www.
                               Department of the Interior            15.653                           between
                                                                              National Outreach and To improve  the U.S.  Fish ov/fal/
                                                                                                                               https:/ usasp
                                                                                                                                       https:/
                                                                              Communication            communications with           /       /
                                                                                                       anglers, boaters, and         sam.g www.
                               Department of the Interior            15.654                            theprovide
                                                                              National Wildlife Refuge To   generaltechnical
                                                                                                                     public          ov/fal/ https:/
                                                                                                                                     https:/ usasp
                                                                              System Enhancements and nancial assistance             /       /
                                                                                                       to identify, conserve,        sam.g www.
                                                                                                       manage, and enhance           ov/fal/ usasp
                               Department of the Interior            15.655   Migratory Bird           Working with others to        https:/ https:/
                                                                              Monitoring, Assessment conserve, enhance, and          /       /
                                                                              and Conservation         better understand the         sam.g www.
                               Department of the Interior            15.657   Endangered Species       ecology and habitats of
                                                                                                       Recovery                      ov/fal/ https:/
                                                                                                                                     https:/ usasp
                                                                              Recovery                 Implementation: To      /       /
                                                                              Implementation           provide federal nancial sam.g www.
                               Department of the Interior            15.658   Natural Resource         assistance
                                                                                                       The  purposeto of
                                                                                                                      secure
                                                                                                                         the   ov/fal/ usasp
                                                                                                                               https:/ https:/
                                                                              Damage Assessment        Natural Resource        /       /
                                                                              and Restoration          Damage Assessment       sam.g www.
                                                                                                       and Restoration         ov/fal/ usasp
                               Department of the Interior            15.660   Candidate Species        The objective is to     https:/ https:/
                                                                              Conservation             secure candidate and    /       /
                                                                                                       other at-risk species   sam.g www.
                               Department of the Interior            15.661   Lower Snake River        information
                                                                                                       To           or the
                                                                                                          mitigate for         ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                              Compensation Plan        losses of sh and              /       /
                                                                                                       wildlife caused by the        sam.g www.
                                                                                                       construction of four          ov/fal/ usasp
                               Department of the Interior            15.662   Great Lakes              To provide technical          https:/ https:/
                                                                              Restoration              and nancial assistance        /       /
                                                                                                       to implement the              sam.g www.
                               Department of the Interior            15.663   NFWF-USFWS               highest priority
                                                                                                       Partnering  with actions      ov/fal/ https:/
                                                                                                                                     https:/ usasp
                                                                              Conservation             individuals, government       /       /
                                                                              Partnership              agencies, nonpro t            sam.g www.
                               Department of the Interior            15.664   Fish and Wildlife        organizations
                                                                                                       The            and
                                                                                                            FWS established          ov/fal/ https:/
                                                                                                                                     https:/ usasp
                                                                              Coordination and         this assistance listing to    /       /
                                                                              Assistance               be used: 1) temporarily       sam.g www.
                                                                                                       by new nancial                ov/fal/ usasp
                               Department of the Interior            15.665   National Wetlands        Emergency Wetlands            https:/ https:/
                                                                              Inventory                Resources Act -               /       /
                                                                                                       National Wetlands             sam.g www.
                               Department of the Interior            15.666   Endangered Species       Inventory,
                                                                                                       To  provide16 U.S.C.
                                                                                                                   federal           ov/fal/ https:/
                                                                                                                                     https:/ usasp
                                                                              Conservation-Wolf        nancial assistance to         /       /
                                                                              Livestock Loss         livestock producers             sam.g www.
                                                                              Compensation and       undertaking proactive,          ov/fal/ usasp
                               Department of the Interior            15.667   Highlands Conservation To conserve priority            https:/ https:/
                                                                                                     lands and natural               /       /
                                                                                                     resources and                   sam.g www.
                               Department of the Interior            15.668   Coastal Impact         recognize
                                                                                                     The  USFWS theis no             ov/fal/ https:/
                                                                                                                                     https:/ usasp
                                                                              Assistance               longer making awards    /       /
                                                                                                       under this program. The sam.g www.
                               Department of the Interior            15.669                         Assistance
                                                                              Cooperative Landscape The         Listing
                                                                                                        Collaborative          ov/fal/ https:/
                                                                                                                               https:/ usasp
                                                                              Conservation          Landscape                        /       /
                                                                                                    Conservation program             sam.g www.
                                                                                                    promotes an inclusive            ov/fal/ usasp
                               Department of the Interior            15.670   Adaptive Science      The U.S. Fish and                https:/ https:/
                                                                                                    Wildlife Service                 /       /
                                                                                                    (USFWS) uses a                   sam.g www.
                               Department of the Interior            15.671   Yukon River Salmon    science-based,
                                                                                                    The U.S. Fish and                ov/fal/ https:/
                                                                                                                                     https:/ usasp
                                                                              Research and             Wildlife Service          /       /
                                                                              Management               (Service) receives funds sam.g www.
                               Department of the Interior            15.674   Assistance
                                                                              National Fire Plan-      for implementation
                                                                                                       To implement   the of     ov/fal/
                                                                                                                                 https:/ usasp
                                                                                                                                         https:/
                                                                              Wildland Urban           National Cohesive         /       /
                                                                              Interface Community      Wildland Fire             sam.g www.
                               Department of the Interior            15.676   Fire Assistance
                                                                              Youth  Engagement,       Management
                                                                                                       To             Strategy
                                                                                                           provide experiential, ov/fal/ https:/
                                                                                                                                 https:/ usasp
                                                                              Education, and           education, and                /     /
                                                                              Employment               employment                    sam.g www.
                               Department of the Interior            15.677   Hurricane Sandy          opportunities
                                                                                                       To            for youth
                                                                                                          provide technical   ov/fal/ https:/
                                                                                                                              https:/ usasp
                                                                              Disaster Relief          and nancial assistance /       /
                                                                              Activities-FWS           to identify, protect,  sam.g www.
                                                                                                       conserve, manage,      ov/fal/ usasp




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                                                                    Department of the Interior       15.678   Cooperative Ecosystem The Cooperative                  https:/ https:/
                                                                                                              Studies Units         Ecosystem Studies                /       /
                                                                                                                                    Units (CESU) Network             sam.g www.
                                                                    Department of the Interior       15.679   Combating Wildlife    is a national,
                                                                                                                                    The  goal of this grant          ov/fal/ https:/
                                                                                                                                                                     https:/ usasp
                                                                                                              Traf cking            program is to provide            /       /
                                                                                                                                     nancial assistance to           sam.g www.
                                                                    Department of the Interior       15.680   Mexican Wolf Recovery innovative
                                                                                                                                    To provide projects
                                                                                                                                               federal that          ov/fal/
                                                                                                                                                                     https:/ usasp
                                                                                                                                                                             https:/
                                                                                                                                       nancial assistance to         /       /
                                                                                                                                      secure Mexican Wolf            sam.g www.
                                                                                                                                      information, undertake         ov/fal/ usasp
                                                                    Department of the Interior       15.681   Cooperative Agriculture The objectives for the         https:/ https:/
                                                                                                                                      use of cooperative             /       /
                                                                                                                                      agriculture in the             sam.g www.
                                                                    Department of the Interior       15.682   Experienced Services To National
                                                                                                                                         enableWildlife  Refuge
                                                                                                                                                 the agency   to     ov/fal/ https:/
                                                                                                                                                                     https:/ usasp
                                                                                                                                      work with select NGOs          /       /
                                                                                                                                      to ll a wide variety of        sam.g www.
                                                                    Department of the Interior       15.683   Prescott Marine         temporary
                                                                                                                                      To provide human
                                                                                                                                                   nancial           ov/fal/ https:/
                                                                                                                                                                     https:/ usasp
                                                                                                              Mammal Rescue             assistance to eligible       /       /
                                                                                                              Assistance                entities for: response,      sam.g www.
                                                                                                                                        recovery, rescue,            ov/fal/ usasp
                                                                    Department of the Interior       15.684   White-nose Syndrome       To conserve and              https:/ https:/
                                                                                                              National Response         recover bat species          /       /
                                                                                                              Implementation            affected by the fungal       sam.g www.
                                                                    Department of the Interior       15.685   National Fish Passage     disease
                                                                                                                                        To restorewhite-nose
                                                                                                                                                    native sh        ov/fal/
                                                                                                                                                                     https:/ usasp
                                                                                                                                                                             https:/
                                                                                                                                        and other aquatic            /       /
                                                                                                                                        species to self-             sam.g www.
                                                                                                                                        sustaining levels by         ov/fal/ usasp
                                                                    Department of the Interior       15.686   National Fish Habitat     To comprehensively           https:/ https:/
                                                                                                              Partnership               address the causes of        /       /
                                                                                                                                         sh habitat decline by       sam.g www.
                                                                    Department of the Interior       15.687   Great Lakes Sea           working
                                                                                                                                        To       together
                                                                                                                                           work with      with to
                                                                                                                                                     partners        ov/fal/ https:/
                                                                                                                                                                     https:/ usasp
                                                                                                              Lamprey Control          assess sea lamprey            /       /
                                                                                                                                       abundance in the Great        sam.g www.
                                                                    Department of the Interior       15.688   Great Lakes Fish and     Lakes
                                                                                                                                       To      by monitoring
                                                                                                                                           provide  assistancethe
                                                                                                                                                                to   ov/fal/ https:/
                                                                                                                                                                     https:/ usasp
                                                                                                              Wildlife Restoration Act States, Indian Tribes,        /       /
                                                                                                                                       and other interested          sam.g www.
                                                                                                                                       entities to encourage         ov/fal/ usasp
                                                                    Department of the Interior       15.689   Great Ape Conservation To provide nancial              https:/ https:/
                                                                                                              Fund-Asia                assistance for projects       /       /
                                                                                                                                       for the effective long-       sam.g www.
                                                                    Department of the Interior       15.690   Rhinoceros               term  conservation
                                                                                                                                       Provide    nancial of the     ov/fal/
                                                                                                                                                                     https:/ usasp
                                                                                                                                                                             https:/
                                                                                                              Conservation Fund-        assistance for projects      /       /
                                                                                                              Africa                    for the effective, long-     sam.g www.
                                                                                                                                        term conservation of         ov/fal/ usasp
                                                                    Department of the Interior       15.785   Nicodemus National        The town of                  https:/ https:/
                                                                                                              Historic Site             Nicodemus, in Kansas,        /       /
                                                                                                                                        has national                 sam.g www.
                                                                    Department of the Interior       15.805   Assistance to State       signi
                                                                                                                                        To     cance nancial
                                                                                                                                            provide   as the only    ov/fal/ https:/
                                                                                                                                                                     https:/ usasp
                                                                                                              Water Resources           support to Water             /       /
                                                                                                              Research Institutes       Resources Research           sam.g www.
                                                                    Department of the Interior       15.807   Earthquake Hazards        Institutes
                                                                                                                                        To supportlocated at
                                                                                                                                                    earthquake       ov/fal/ https:/
                                                                                                                                                                     https:/ usasp
                                                                                                              Program Assistance     hazards research and            /       /
                                                                                                                                     monitoring in order to          sam.g www.
                                                                                                                                     develop information,            ov/fal/ usasp
                                                                    Department of the Interior       15.808   U.S. Geological Survey To support research             https:/ https:/
                                                                                                              Research and Data      complementary to                /       /
                                                                                                              Collection             USGS program efforts            sam.g www.
                                                                    Department of the Interior       15.810   National Cooperative   in
                                                                                                                                     Toclassi cation
                                                                                                                                        produce       of the
                                                                                                                                                 geologic            ov/fal/
                                                                                                                                                                     https:/ usasp
                                                                                                                                                                             https:/
                                                                                                              Geologic Mapping       maps of areas in which          /     /
                                                                                                                                     knowledge of geology is         sam.g www.
                                                                    Department of the Interior       15.812   Cooperative Research Toimportant
                                                                                                                                        work into the
                                                                                                                                                partnership      ov/fal/ usasp
                                                                                                                                                                 https:/ https:/
                                                                                                              Units                   with States and            /       /
                                                                                                                                      universities to address    sam.g www.
                                                                    Department of the Interior       15.814                           thepreserve
                                                                                                              National Geological and To  information
                                                                                                                                                    andneeds  of ov/fal/
                                                                                                                                                        provide          usasp
                                                                                                                                                                 https:/ https:/
                                                                                                              Geophysical Data        access to geological,      /       /
                                                                                                              Preservation            geophysical, and           sam.g www.
                                                                    Department of the Interior       15.815   National Land Remote To engineering
                                                                                                                                         promote thesamples      ov/fal/ https:/
                                                                                                                                                       uses of https:/   usasp
                                                                                                              Sensing Education     space-based land                 /       /
                                                                                                              Outreach and Research remote sensing data              sam.g www.
                                                                                                                                    and technologies                 ov/fal/ usasp
                                                                    Department of the Interior       15.817   National Geospatial   To promote the uses of           https:/ https:/
                                                                                                              Program: Building The space-based land                 /       /
                                                                                                              National Map          remote sensing data              sam.g www.
                                                                    Department of the Interior       15.818   Volcano Hazards       and technologies
                                                                                                                                    To advance the                   ov/fal/
                                                                                                                                                                     https:/ usasp
                                                                                                                                                                             https:/
                                                                                                              Program Research and scienti c understanding           /       /
                                                                                                              Monitoring            of volcanic processes            sam.g www.
                                                                    Department of the Interior       15.820                         andenable
                                                                                                              National and Regional To   to lessen
                                                                                                                                                the the
                                                                                                                                                    National         ov/fal/ https:/
                                                                                                                                                                     https:/ usasp
                                                                                                              Climate Adaptation        and Regional Climate         /       /
                                                                                                              Science Centers           Adaptation Science           sam.g www.
                                                                                                                                        Centers (NRCASC) to          ov/fal/ usasp
                                                                    Department of the Interior       15.821   USGS Cooperative          To support risk              https:/ https:/
                                                                                                              Landslide Hazard          communication,               /       /
                                                                                                              Mapping and               planning and                 sam.g www.
                                                                    Department of the Interior       15.875   Assessment
                                                                                                              Economic,   Program
                                                                                                                         Social, and    coordination,
                                                                                                                                        The           mapping
                                                                                                                                            Of ce of Insular         ov/fal/ https:/
                                                                                                                                                                     https:/ usasp
                                                                                                              Political Development of Affairs will pursue the       /       /
                                                                                                              the Territories          Departmentâ€™s                sam.g www.
                                                                                                                                       mission of Ful lling Our      ov/fal/ usasp
                                                                    Department of the Interior       15.904   Historic Preservation    To provide                    https:/ https:/
                                                                                                              Fund Grants-In-Aid       congressionally               /       /
                                                                                                                                       mandated grants to            sam.g www.
                                                                    Department of the Interior       15.912   National Historic        States, Tribes, of the
                                                                                                                                       The Secretary                 ov/fal/
                                                                                                                                                                     https:/ usasp
                                                                                                                                                                             https:/
                                                                                                              Landmark                  Interior, through the        /       /
                                                                                                                                        National Park Service,       sam.g www.
                                                                    Department of the Interior       15.916   Outdoor Recreation        for provide
                                                                                                                                        To  the purpose  of
                                                                                                                                                      nancial        ov/fal/ https:/
                                                                                                                                                                     https:/ usasp
                                                                                                              Acquisition,              assistance to the States     /       /
                                                                                                              Development and           and their political          sam.g www.
                                                                                                              Planning                  subdivisions projects        ov/fal/ usasp
                                                                    Department of the Interior       15.921   Rivers, Trails and        The Rivers, Trails and       https:/ https:/
                                                                                                              Conservation              Conservation                 /       /
                                                                                                              Assistance                Assistance Program           sam.g www.
                                                                    Department of the Interior       15.922   Native American           implements
                                                                                                                                        To          the natural
                                                                                                                                           provide grants   to       ov/fal/ https:/
                                                                                                                                                                     https:/ usasp
                                                                                                              Graves Protection and     museums to assist in         /       /
                                                                                                              Repatriation Act          the consultation on and      sam.g www.
                                                                                                                                        documentation of             ov/fal/ usasp
                                                                    Department of the Interior       15.923   National Center for       The purposes of the          https:/ https:/
                                                                                                              Preservation              Center shall be toâ€”        /       /
                                                                                                              Technology and                                         sam.g www.
                                                                    Department of the Interior       15.925   Training
                                                                                                              National Maritime         To provide matching          ov/fal/
                                                                                                                                                                     https:/ usasp
                                                                                                                                                                             https:/
                                                                                                              Heritage Grants           grants for preservation      /       /
                                                                                                                                        or education projects        sam.g www.
                                                                    Department of the Interior       15.926   American Battle eld       thatprovide
                                                                                                                                        To   foster aFederal
                                                                                                                                                      greater        ov/fal/ https:/
                                                                                                                                                                     https:/ usasp
                                                                                                              Protection                 nancial assistance to       /       /
                                                                                                                                        State, local and tribal      sam.g www.
                                                                                                                                        governments, other           ov/fal/ usasp
                                                                    Department of the Interior       15.928   Battle eld Land           To assist States and         https:/ https:/
                                                                                                              Acquisition Grants        local communities            /       /
                                                                                                                                        acquire and preserve         sam.g www.
                                                                    Department of the Interior       15.929   Save America's            threatened
                                                                                                                                        To          battle eld
                                                                                                                                           provide matching          ov/fal/ https:/
                                                                                                                                                                     https:/ usasp
                                                                                                              Treasures                grants for preservation    /       /
                                                                                                                                       or conservation work on sam.g www.
                                                                    Department of the Interior       15.930   Chesapeake Bay           nationally
                                                                                                                                       The         signi
                                                                                                                                             National    cant
                                                                                                                                                      Park        ov/fal/ usasp
                                                                                                                                                                  https:/ https:/
                                                                                                              Gateways Network         Service â€                 /       /
                                                                                                                                       “ Chesapeake Bay           sam.g www.
                                                                                                                                       Of ce connects people ov/fal/ usasp
                                                                    Department of the Interior       15.931   Youth and Veteran        This program seeks to      https:/ https:/
                                                                                                              Organizations            utilize quali ed non-      /       /
                                                                                                              Conservation Activities pro t youth and veteran sam.g www.
                                                                    Department of the Interior       15.932                            serving
                                                                                                              Preservation of Historic In 1988,organizations
                                                                                                                                                 the National to https:/
                                                                                                                                                                  ov/fal/ https:/
                                                                                                                                                                          usasp
                                                                                                              Structures on the        Park Service               /       /
                                                                                                              Campuses of              established the            sam.g www.
                                                                                                              Historically Black       Historically Black         ov/fal/ usasp
                                                                    Department of the Interior       15.933   Preservation of          To provide for the         https:/ https:/
                                                                                                              Japanese American        preservation and           /       /
                                                                                                              Con nement Sites         interpretation of historic sam.g www.
                                                                    Department of the Interior       15.935   National Trails System Toconpreserve,
                                                                                                                                             nement sites
                                                                                                                                                      protect,    ov/fal/ https:/
                                                                                                                                                                  https:/ usasp
                                                                                                              Projects                  and develop the              /       /
                                                                                                                                        components of the            sam.g www.
                                                                    Department of the Interior       15.938   Boston African-           National
                                                                                                                                        As       Trails
                                                                                                                                           set forth in System,      ov/fal/ https:/
                                                                                                                                                                     https:/ usasp
                                                                                                              American National         authorizing legislation,     /       /
                                                                                                              Historic Site             this programâ€™s             sam.g www.
                                                                                                                                        objective is to enter into   ov/fal/ usasp
                                                                    Department of the Interior       15.939   Heritage Partnership      The purpose of the           https:/ https:/
                                                                                                                                        Heritage Partnership         /       /
                                                                                                                                        Program funding is to        sam.g www.
                                                                    Department of the Interior       15.941   Mississippi National      carryMississippi
                                                                                                                                        The   out programs and       ov/fal/ https:/
                                                                                                                                                                     https:/ usasp
                                                                                                              River and Recreation      National River and           /       /
                                                                                                              Area State and Local      Recreation Area is rich      sam.g www.
                                                                                                              Assistance                with historical and          ov/fal/ usasp
                                                                    Department of the Interior       15.942   Environmental             Provide eld-based            https:/ https:/
                                                                                                              Outreach and              environmental outreach       /       /
                                                                                                              Conservation - North      (focusing on natural and     sam.g www.
                                                                    Department of the Interior       15.943   Cascades
                                                                                                              Challenge Cost Share      cultural
                                                                                                                                        This     history),
                                                                                                                                             program    does not     ov/fal/ https:/
                                                                                                                                                                     https:/ usasp
                                                                                                                                        award grants or              /       /
                                                                                                                                        cooperative                  sam.g www.
                                                                    Department of the Interior       15.944   Natural Resource          agreements.
                                                                                                                                        The         The
                                                                                                                                            Natural Resource         ov/fal/ https:/
                                                                                                                                                                     https:/ usasp
                                                                                                              Stewardship           Stewardship program is           /       /
                                                                                                                                    the principle means              sam.g www.
                                                                                                                                    through which the                ov/fal/ usasp
                                                                    Department of the Interior       15.945   Cooperative Research To establish and                  https:/ https:/
                                                                                                              and Training Programs maintain cooperative             /       /
                                                                                                              â€“ Resources of the  study units, in                  sam.g www.
                                                                    Department of the Interior       15.946   National Resources
                                                                                                              Cultural Park System The
                                                                                                                                    partnership
                                                                                                                                         Nationalwith federal,
                                                                                                                                                   Park              ov/fal/ https:/
                                                                                                                                                                     https:/ usasp
                                                                                                              Management            Service (NPS) conducts           /     /
                                                                                                                                    cultural resource                sam.g www.
                                                                    Department of the Interior       15.948   National Fire Plan-   stewardship   largely at
                                                                                                                                    To assist communities           ov/fal/
                                                                                                                                                                    https:/ usasp
                                                                                                                                                                            https:/
                                                                                                              Wildland Urban            at risk from catastrophic /         /
                                                                                                              Interface Community       wildland res by             sam.g www.
                                                                    Department of the Interior       15.954   Fire Assistance
                                                                                                              National Park Service     providing
                                                                                                                                        This        assistance
                                                                                                                                              program    supportsin ov/fal/ usasp
                                                                                                                                                                    https:/ https:/
                                                                                                              Conservation,             projects complementary /            /
                                                                                                              Protection, Outreach,     to National Park Service sam.g www.
                                                                    Department of the Interior       15.955   and Education
                                                                                                              Martin Luther King        program
                                                                                                                                        The        efforts
                                                                                                                                              Martin       in King, https:/
                                                                                                                                                      Luther        ov/fal/ https:/
                                                                                                                                                                            usasp
                                                                                                              Junior National Historic Junior, National Historic     /       /
                                                                                                              Site and Preservation    Site and Preservation         sam.g www.
                                                                                                              District                 District was established      ov/fal/ usasp




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                    Department of the Interior       15.956   Cooperative           Objectives of this listing       https:/ https:/
                                                              Management of Ebey's include:                          /       /
                                                              Landing National                                       sam.g www.
                    Department of the Interior       15.957   Historical Reserve.
                                                              Emergency             â€¢
                                                                                    EmergencyManagement              ov/fal/ https:/
                                                                                                                     https:/ usasp
                                                              Supplemental Historic supplemental Historic            /       /
                                                              Preservation Fund     Preservation Fund                sam.g www.
                    Department of the Interior       15.958   Route 66 Corridor     funding is intended
                                                                                    To preserve           to
                                                                                                  the cultural       ov/fal/
                                                                                                                     https:/ usasp
                                                                                                                             https:/
                                                              Preservation              resources of the Route       /       /
                                                                                        66 corridor and to           sam.g www.
                                                                                        authorize the Secretary      ov/fal/ usasp
                    Department of the Interior       15.959   Education Program         To improve the               https:/ https:/
                                                              Management                administration and           /       /
                                                                                        management of                sam.g www.
                    Department of the Interior       15.961   Federal Historic          education programs
                                                                                        Commonly    known as         ov/fal/ https:/
                                                                                                                     https:/ usasp
                                                              Preservation Tax          the Rehabilitation Tax       /       /
                                                              Incentive                 Credit or the Historic       sam.g www.
                    Department of the Interior       15.962   National Wild and         Tax Credit,
                                                                                        The         the of
                                                                                            Secretary   program
                                                                                                           the       ov/fal/ https:/
                                                                                                                     https:/ usasp
                                                              Scenic Rivers System    Interior shall assist,         /       /
                                                                                      advise, and cooperate          sam.g www.
                                                                                      with States or their           ov/fal/ usasp
                    Department of the Interior       15.963   Southwest Border        Provide nancial                https:/ https:/
                                                              Resource Protection     assistance to                  /       /
                                                              Program                 educational institutions,      sam.g www.
                    Department of the Interior       15.964   9/11 Memorial Act Grant nonpro
                                                                                      The 9/11t Memorial
                                                                                                 organizations,
                                                                                                            Act      ov/fal/
                                                                                                                     https:/ usasp
                                                                                                                             https:/
                                                              Program                   Grant Program provides       /       /
                                                                                        competitive grants for       sam.g www.
                                                                                        the continued operation,     ov/fal/ usasp
                    Department of the Interior       15.965   Groundwork -              Groundwork furthers          https:/ https:/
                                                              Brown eld to              the mission of the           /       /
                                                              Greenspace                National Park Service        sam.g www.
                    Department of the Interior       15.966   Historic Preservation     by extending
                                                                                        The  objectivesthe
                                                                                                         of the      ov/fal/ https:/
                                                                                                                     https:/ usasp
                                                              Fund Grants-in-Aid for    competitive grant            /       /
                                                              Competitive Grants        programs under this          sam.g www.
                    Department of the Interior       15.969                           Assistance
                                                              National Wildland Fire The   goal of Listing  are is
                                                                                                   this listing      ov/fal/ https:/
                                                                                                                     https:/ usasp
                                                              Management and          to provide nancial             /       /
                                                              Natural Resource        assistance to reduce           sam.g www.
                                                              Training and Workforce and mitigate the risk of        ov/fal/ usasp
                    Department of the Interior       15.978   Upper Mississippi River To provide decision            https:/ https:/
                                                              Restoration Long Term makers with information          /       /
                                                              Resource Monitoring     needed to maintain the         sam.g www.
                    Department of the Interior       15.980   National Ground-Water Upper    Mississippi
                                                                                      To support  data River         ov/fal/
                                                                                                                     https:/ usasp
                                                                                                                             https:/
                                                              Monitoring Network        providers for the            /       /
                                                                                        National Ground-Water        sam.g www.
                                                                                        Monitoring Network.          ov/fal/ usasp
                    Department of the Interior       15.981   Water Use and Data        To support State water       https:/ https:/
                                                              Research                  resource agencies in         /       /
                                                                                        developing water use         sam.g www.
                    Department of the Interior       15.984   NPS Alaska                and availability
                                                                                        Through  a       datasets    ov/fal/ https:/
                                                                                                                     https:/ usasp
                                                              Subsistence            multidisciplinary               /       /
                                                              Management             collaborative program,          sam.g www.
                    Department of the Interior       15.991                          identify
                                                              September 11 National This      andsupports
                                                                                          listing  provide the       ov/fal/ https:/
                                                                                                                     https:/ usasp
                                                              Memorial Trail         designation of the              /       /
                                                                                     â€˜â€˜September 11th            sam.g www.
                                                                                     National Memorial Trail         ov/fal/ usasp
                    Department of the Treasury       21.004   Exchange of Federal    To increase state tax           https:/ https:/
                                                              Tax Information With   revenues and taxpayer           /       /
                                                              State Tax Agencies     compliance, and to              sam.g www.
                    Department of the Treasury       21.006   Tax Counseling for the reduce
                                                                                     Authorizeduplicate
                                                                                                 the Internal        ov/fal/
                                                                                                                     https:/ usasp
                                                                                                                             https:/
                                                              Elderly                   Revenue Service to        /       /
                                                                                        enter into an agreement sam.g www.
                    Department of the Treasury       21.008   Low Income Taxpayer       with private
                                                                                        This         or public
                                                                                             assistance           ov/fal/ usasp
                                                                                                                  https:/ https:/
                                                              Clinics                   opportunity provides a    /       /
                                                                                        matching grant of up to sam.g www.
                    Department of the Treasury       21.009   Volunteer Income Tax      $200,000
                                                                                        This grantper  grant year https:/
                                                                                                   authorizes     ov/fal/ https:/
                                                                                                                          usasp
                                                              Assistance (VITA)         the Internal Revenue         /       /
                                                              Matching Grant            Service to provide a         sam.g www.
                    Department of the Treasury       21.011   Program
                                                              Capital Magnet Fund       matching
                                                                                        The       grant
                                                                                             Capital    to
                                                                                                     Magnet          ov/fal/ https:/
                                                                                                                     https:/ usasp
                                                                                        Fund helps to create         /       /
                                                                                        and preserve affordable      sam.g www.
                                                                                        housing for low-income       ov/fal/ usasp
                    Department of the Treasury       21.012   Native Initiatives        To promote economic          https:/ https:/
                                                                                        revitalization and           /       /
                                                                                        community                    sam.g www.
                    Department of the Treasury       21.014   Community                 development    through
                                                                                        To support community         ov/fal/
                                                                                                                     https:/ usasp
                                                                                                                             https:/
                                                              Development Financial development lending              /       /
                                                              Institutions Bond       and investment by              sam.g www.
                    Department of the Treasury       21.015   Guarantee Program
                                                              Resources    and        providing a source of
                                                                                      Treasury administers           ov/fal/ https:/
                                                                                                                     https:/ usasp
                                                              Ecosystems              the Direct Component           /       /
                                                              Sustainability, Tourist program and Centers of         sam.g www.
                                                              Opportunities, and      Excellence Research            ov/fal/ usasp
                    Department of the Treasury       21.016   Equitable Sharing       The Department of the          https:/ https:/
                                                                                      Treasury Asset                 /       /
                                                                                      Forfeiture Program is a        sam.g www.
                    Department of the Treasury       21.017   Social Impact           nationwide
                                                                                      The         lawof this
                                                                                           purposes                  ov/fal/ https:/
                                                                                                                     https:/ usasp
                                                              Partnerships to Pay for program are the                /       /
                                                              Results Act (SIPPRA) following:                        sam.g www.
                                                                                      (1) To improve the lives       ov/fal/ usasp
                    Department of the Treasury       21.018   Coronavirus Relief -    The Payroll Support            https:/ https:/
                                                              Pandemic Relief for     Program (PSP1),                /       /
                                                              Aviation Workers        Payroll Support                sam.g www.
                    Department of the Treasury       21.019   Coronavirus Relief      Program  Extension
                                                                                      Section 5001  of the           ov/fal/
                                                                                                                     https:/ usasp
                                                                                                                             https:/
                                                              Fund                  Coronavirus Aid, Relief,         /       /
                                                                                    and Economic Security            sam.g www.
                    Department of the Treasury       21.020   Community             Actpromote
                                                                                    To  ("CARES     Act")
                                                                                                  economic           ov/fal/ https:/
                                                                                                                     https:/ usasp
                                                              Development Financial revitalization and               /       /
                                                              Institutions Program  community                        sam.g www.
                                                                                    development through              ov/fal/ usasp
                    Department of the Treasury       21.021   Bank Enterprise Award The Bank Enterprise              https:/ https:/
                                                              Program               Award Program (BEA               /       /
                                                                                    Program) provides                sam.g www.
                    Department of the Treasury       21.023   Emergency Rental      monetary
                                                                                    The  fundingawards  to by
                                                                                                   provided          ov/fal/ https:/
                                                                                                                     https:/ usasp
                                                              Assistance Program        Emergency Rental             /       /
                                                                                        Assistance (ERA) will        sam.g www.
                                                                                        among other things,          ov/fal/ usasp
                    Department of the Treasury       21.024   Community                 To support the ability of    https:/ https:/
                                                              Development Financial     Community                    /       /
                                                              Institutions Rapid        Development Financial        sam.g www.
                    Department of the Treasury       21.025   Response
                                                              Small DollarProgram
                                                                            Loan        Institutions
                                                                                        Through the(CDFIs)
                                                                                                     Small to        ov/fal/
                                                                                                                     https:/ usasp
                                                                                                                             https:/
                                                              Program                   Dollar Loan Program,   /       /
                                                                                        the CDFI Fund provides sam.g www.
                    Department of the Treasury       21.026                        (1) grants
                                                              Homeowner Assistance Section    to enable
                                                                                            3206  of the a     ov/fal/ https:/
                                                                                                               https:/ usasp
                                                              Fund                 American Rescue Plan              /       /
                                                                                   Act of 2021, (the                 sam.g www.
                                                                                   â€œActâ€                          ov/fal/ usasp
                    Department of the Treasury       21.027   CORONAVIRUS STATE Sections 602 and 603                 https:/ https:/
                                                              AND LOCAL FISCAL     of the Social Security            /       /
                                                              RECOVERY FUNDS       Act as added by section           sam.g www.
                    Department of the Treasury       21.028                        9901 of the
                                                              Coronavirus Economic Division    American
                                                                                            N, Title IV,             ov/fal/ https:/
                                                                                                                     https:/ usasp
                                                              Relief for Transportation Section 421 of the           /       /
                                                              Services Act              Consolidated                 sam.g www.
                    Department of the Treasury       21.029   Coronavirus Capital       Appropriations
                                                                                        Section        Act,
                                                                                                604 of the           ov/fal/ https:/
                                                                                                                     https:/ usasp
                                                              Projects Fund             Social Security Act, as      /       /
                                                                                        added by section 9901        sam.g www.
                                                                                        of the American Rescue       ov/fal/ usasp
                    Department of the Treasury       21.030   Emergency Capital         Under the ECIP,              https:/ https:/
                                                              Investment Program        Treasury invested            /       /
                                                                                        $8,570,109,000 in            sam.g www.
                    Department of the Treasury       21.031   State Small Business      capital directly
                                                                                        Section  3301 ofinthe
                                                                                                           175       ov/fal/ https:/
                                                                                                                     https:/ usasp
                                                              Credit Initiative       American Rescue Plan           /       /
                                                              Technical Assistance    Act of 2021 (ARPA),            sam.g www.
                                                              Grant Program           Public Law No. 117-2           ov/fal/ usasp
                    Department of the Treasury       21.032   Local Assistance and    Section 605 of the             https:/ https:/
                                                              Tribal Consistency Fund Social Security Act (the       /       /
                                                                                      Act), as added by              sam.g www.
                    Department of the Treasury       21.033   Community               section
                                                                                      To      9901
                                                                                         provide   of the
                                                                                                 grants to           ov/fal/ https:/
                                                                                                                     https:/ usasp
                                                              Development Financial Community                        /       /
                                                              Institutions Fund      Development Financial           sam.g www.
                    Department of the Treasury       21.034   Equitable
                                                              State  SmallRecovery
                                                                            Business Institutions
                                                                                     Through the(CDFIs)
                                                                                                     State for       ov/fal/ https:/
                                                                                                                     https:/ usasp
                                                              Credit Initiative      Small Business Credit           /       /
                                                              Competitive Technical Initiative (SSBCI)               sam.g www.
                                                              Assistance Program     Investing in America            ov/fal/ usasp
                    Department of the Treasury       IN.001   Interest on the Public The federal government
                                                              Debt                   is charged interest for
                                                                                     the use of lendersâ€™
                    Department of the Treasury       TC.001   Exclusion of bene ts   money,the
                                                                                     Under     in the sametax
                                                                                                  baseline way
                                                              and allowances to      system, all
                                                              armed forces personnel compensation, including
                                                                                     dedicated payments
                    Department of the Treasury       TC.002   Exclusion of income    Under the baseline tax
                                                              earned abroad by U.S. system, all
                                                              citizens               compensation received
                    Department of the Treasury       TC.003   Exclusion of certain   by general,
                                                                                     In U.S. citizens
                                                                                                 all and
                                                              allowances for Federal    compensation received
                                                              employees abroad          by U.S. citizens and
                    Department of the Treasury       TC.004   Reduced tax rate on      residents
                                                                                       Under  theisbaseline
                                                                                                    properlytax
                                                              active income of         system, worldwide
                                                              controlled foreign       income forms the tax
                                                              corporations (normal     base of U.S.
                    Department of the Treasury       TC.005   Deduction for foreign- Under the baseline tax
                                                              derived intangible       system, the United
                                                              income derived from      States taxes income
                    Department of the Treasury       TC.006   trade or Charge
                                                              Interest business within Under
                                                                                       earnedthe
                                                                                               by baseline
                                                                                                   U.S.     tax
                                                              Domestic International system, taxpayer
                                                              Sales Corporations (IC- earnings are subject to
                    Department of the Treasury       TC.007   DISCs)
                                                              Expensing of research tax
                                                                                      Theusing the regular
                                                                                          baseline tax     tax
                                                              and experimentation       system allows a
                                                              expenditures (normal      deduction for the cost of
                    Department of the Treasury       TC.008   tax method)
                                                              Credit for increasing     producing
                                                                                        The       income.
                                                                                            baseline  tax It
                                                              research activities       system would uniformly
                                                                                        tax all returns to
                    Department of the Treasury       TC.009   Expensing of              investments
                                                                                        Under         and nottax
                                                                                                the baseline
                                                              exploration and           system, the costs of
                                                              development costs, oil    exploring and
                                                              and gas                   developing oil and gas




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                                Department of the Treasury       TC.010   Expensing of            This is similar to the
                                                                          exploration and         above provision but
                                                                          development costs, coal limited to coal. Current
                                Department of the Treasury       TC.011   Excess of percentage Thelaw allows  immediate
                                                                                                       baseline  tax
                                                                          over cost depletion, oil   system would allow
                                                                          and gas                    recovery of the costs of
                                Department of the Treasury       TC.012   Excess of percentage       developing   certain
                                                                                                     This is similar to theoil
                                                                          over cost depletion,       above provision but
                                                                          coal                       limited to coal.
                                Department of the Treasury       TC.013   Exception from passive The baseline tax
                                                                          loss limitation for       system accepts current
                                                                          working interests in oil lawâ€™s general rule
                                Department of the Treasury       TC.014   and gas properties
                                                                          Enhanced     oil recovery limiting
                                                                                                    A credit taxpayersâ€™
                                                                                                              is provided
                                                                          credit                    equal to 15 percent of
                                                                                                    the taxpayerâ€™s
                                Department of the Treasury       TC.015   Marginal wells credit     costs
                                                                                                    A      forisenhanced
                                                                                                       credit             oil
                                                                                                                 provided for
                                                                                                     crude oil and natural
                                                                                                     gas produced from a
                                                                                                     quali ed marginal well.
                                Department of the Treasury       TC.016   Amortize all geological    The baseline tax
                                                                          and geophysical            system allows
                                                                          expenditures over 2        taxpayers to deduct the
                                Department of the Treasury       TC.017   years
                                                                          Capital gains treatment    decline in the tax
                                                                                                     The baseline    economic
                                                                          of royalties on coal     system generally would
                                                                                                   tax all income under the
                                                                                                   regular tax rate
                                Department of the Treasury       TC.018   Exclusion of interest on The baseline tax
                                                                          energy facility bonds    system generally would
                                                                                                   tax all income under the
                                Department of the Treasury       TC.019   Quali ed energy          regular
                                                                                                   The       tax rate
                                                                                                        baseline   tax
                                                                          conservation bonds       system would uniformly
                                                                                                   tax all returns to
                                Department of the Treasury       TC.020   Exclusion of utility     investments
                                                                                                   The  baselineand
                                                                                                                  tax not
                                                                          conservation subsidies system generally takes
                                                                                                   a comprehensive view
                                                                                                   of taxable income that
                                Department of the Treasury       TC.021   Credit for holding clean The baseline tax
                                                                          renewable energy         system would uniformly
                                                                          bonds                    tax all returns to
                                Department of the Treasury       TC.022   Energy production        investments
                                                                                                   The baselineandtax not
                                                                          credit                     system would not allow
                                                                                                     credits for particular
                                                                                                     activities, investments,
                                Department of the Treasury       TC.023   Energy investment          The baseline tax
                                                                          credit                     system would not allow
                                                                                                     credits for particular
                                Department of the Treasury       TC.024   Advanced nuclear           activities,
                                                                                                     The         investments,
                                                                                                          baseline   tax
                                                                          power production credit system would not allow
                                                                                                  credits or deductions for
                                Department of the Treasury       TC.025                           particular
                                                                          Zero-emission nuclear The          activities,
                                                                                                       baseline  tax
                                                                          power production credit system would not allow
                                                                                                  credits or deductions for
                                                                                                  particular activities,
                                Department of the Treasury       TC.026   Reduced tax rate for    The baseline tax
                                                                          nuclear                 system would uniformly
                                                                          decommissioning funds tax all returns to
                                Department of the Treasury       TC.027   Alcohol fuel credits    investments
                                                                                                  The baselineandtax not
                                                                                                  system would not allow
                                                                                                  credits for particular
                                Department of the Treasury       TC.028   Bio-Diesel and small    activities,
                                                                                                  The         investments,
                                                                                                       baseline   tax
                                                                          agri-biodiesel producer system would not allow
                                                                          tax credits             credits for particular
                                Department of the Treasury       TC.029   Clean fuel production   activities,
                                                                                                  The         investments,
                                                                                                       baseline   tax
                                                                          credit                     system would not allow
                                                                                                     credits for particular
                                Department of the Treasury       TC.030   Clean hydrogen             activities,
                                                                                                     The         investments
                                                                                                          baseline   tax
                                                                          production credit         system would not allow
                                                                                                    credits for particular
                                                                                                    activities, investments,
                                Department of the Treasury       TC.031   Tax credit for clean      The baseline tax
                                                                          vehicles                  system would not allow
                                                                                                    credits for particular
                                Department of the Treasury       TC.032   Tax credits for refueling activities,
                                                                                                    The baselineinvestments,
                                                                                                                    tax
                                                                          property                  system would not allow
                                                                                                    credits for particular
                                Department of the Treasury       TC.033   Tax credits for clean-    activities,
                                                                                                    The         investments,
                                                                                                         baseline   tax
                                                                          fuel burning vehicles   system would not allow
                                                                          and refueling property  credits for particular
                                                                                                  activities, investments,
                                Department of the Treasury       TC.034   Allowance of deduction The baseline tax
                                                                          for certain energy      system would not allow
                                                                          ef cient commercial     deductions in lieu of
                                Department of the Treasury       TC.035   building
                                                                          Credit forproperty
                                                                                     construction normal   depreciation
                                                                                                  The baseline    tax
                                                                          of new energy ef cient system would not allow
                                                                          homes                   credits for particular
                                                                                                  activities, investments,
                                Department of the Treasury       TC.036   Credit for energy       The baseline tax
                                                                          ef ciency improvements system would not allow
                                                                          to existing homes       credits for particular
                                Department of the Treasury       TC.037   Credit for residential  activities,
                                                                                                  The baselineinvestments,
                                                                                                                  tax
                                                                          energy ef cient property system would uniformly
                                                                                                   tax all returns to
                                Department of the Treasury       TC.038   Advanced energy          investments
                                                                                                   The  baselineand
                                                                                                                  tax not
                                                                          property credit            system would not allow
                                                                                                     credits for particular
                                                                                                     activities, investments,
                                Department of the Treasury       TC.039   Advanced                   The baseline tax
                                                                          manufacturing              system would not allow
                                                                          production credit          credits for particular
                                Department of the Treasury       TC.040   Expensing of               activities,
                                                                                                     The         investments,
                                                                                                          baseline   tax
                                                                          exploration and          system allows the
                                                                          development costs,       taxpayer to deduct the
                                                                          nonfuel minerals         depreciation of an asset
                                Department of the Treasury       TC.041   Excess of percentage     The baseline tax
                                                                          over cost depletion,     system allows the
                                                                          nonfuel minerals         taxpayer to deduct the
                                Department of the Treasury       TC.042   Exclusion of interest on decline in the tax
                                                                                                   The baseline    economic
                                                                          bonds for water,         system generally would
                                                                          sewage, and hazardous tax all income under the
                                Department of the Treasury       TC.043   waste facilities
                                                                          Capital                  regular
                                                                                  gains treatment The      tax rate
                                                                                                        baseline  tax
                                                                          of certain timber income system generally would
                                                                                                   tax all income under the
                                                                                                   regular tax rate
                                Department of the Treasury       TC.044   Expensing of             The baseline tax
                                                                          multiperiod timber       system requires the
                                                                          growing costs            taxpayer to capitalize
                                Department of the Treasury       TC.045   Tax incentives for       costsbaseline
                                                                                                   The    associated
                                                                                                                 tax with
                                                                          preservation of historic   system would not allow
                                                                          structures                 credits for particular
                                Department of the Treasury       TC.046   Carbon oxide               activities,
                                                                                                     The         investments,
                                                                                                          baseline   tax
                                                                          sequestration credit       system would uniformly
                                                                                                     tax all returns to
                                                                                                     investments and not
                                Department of the Treasury       TC.047   Deduction for              The baseline tax
                                                                          endangered species         system would not allow
                                                                          recovery expenditures      deductions in addition
                                Department of the Treasury       TC.048   Expensing of certain       to normal
                                                                                                     The         depreciation
                                                                                                          baseline  tax
                                                                          capital outlays            system requires the
                                                                                                     taxpayer to capitalize
                                                                                                     costs associated with
                                Department of the Treasury       TC.049   Expensing of certain       The baseline tax
                                                                          multiperiod production     system requires the
                                                                          costs                      taxpayer to capitalize
                                Department of the Treasury       TC.050   Treatment of loans         costs associated
                                                                                                     Because  loan     with
                                                                          forgiven for solvent     forgiveness increases a
                                                                          farmers                  debtors net worth the
                                Department of the Treasury       TC.051                            baseline
                                                                          Capital gains treatment The         tax system
                                                                                                        baseline   tax
                                                                          of certain agriculture   system generally would
                                                                          income                   tax all income under the
                                                                                                   regular tax rate
                                Department of the Treasury       TC.052   Income averaging for     The baseline tax
                                                                          farmers                  system generally taxes
                                                                                                   all earned income each
                                Department of the Treasury       TC.053                            year baseline
                                                                          Deferral of gain on sale The   at the rate
                                                                                                                   tax
                                                                          of farm re ners            system generally
                                                                                                     subjects capital gains to
                                                                                                     taxes the year that they
                                Department of the Treasury       TC.054   Expensing of               The baseline tax
                                                                          reforestation              system requires the
                                                                          expenditures               taxpayer to capitalize
                                Department of the Treasury       TC.055   Exemption of credit        costs associated
                                                                                                     Under             with
                                                                                                            the baseline  tax
                                                                          union income               system, corporations
                                                                                                     pay taxes on their
                                Department of the Treasury       TC.056   Exclusion of life          pro ts under
                                                                                                     Under        the regular
                                                                                                            the baseline tax
                                                                          insurance death           system, individuals and
                                                                          bene ts                   corporations would pay
                                                                                                    taxes on their income
                                Department of the Treasury       TC.057   Exemption or special      The baseline tax
                                                                          alternative tax for small system would require
                                                                          property and casualty     corporations to pay
                                Department of the Treasury       TC.058   insurance
                                                                          Tax        companies
                                                                               exemption   of       taxes
                                                                                                    Underonthetheir  pro tstax
                                                                                                                baseline
                                                                          insurance income          system, corporations
                                                                          earned by tax-exempt pay taxes on their
                                Department of the Treasury       TC.059   organizations
                                                                          Exclusion of interest     pro
                                                                                                    The ts under the
                                                                                                        baseline    tax regular
                                                                          spread of nancial        system generally would
                                                                          institutions             tax all income under the
                                Department of the Treasury       TC.060   Exclusion of interest on regular   tax rate
                                                                                                   The baseline    tax
                                                                          owner-occupied           system generally would
                                                                          mortgage subsidy         tax all income under the
                                Department of the Treasury       TC.061   bonds                    regular
                                                                          Exclusion of interest on The       tax rate
                                                                                                        baseline   tax
                                                                          rental housing bonds     system generally would
                                                                                                   tax all income under the
                                                                                                   regular tax rate




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                         Department of the Treasury       TC.062   Deductibility of       Under the baseline tax
                                                                   mortgage interest on   system, expenses
                                                                   owner-occupied homes incurred in earning
                         Department of the Treasury       TC.063   Deductibility of State incomethe
                                                                                          Under  would be tax
                                                                                                    baseline
                                                                   and local property tax  system, expenses
                                                                   on owner-occupied       incurred in earning
                         Department of the Treasury       TC.064   homes
                                                                   Deferral of income from income  wouldtax
                                                                                           The baseline   be
                                                                   installment sales       system generally would
                                                                                           tax all income under the
                                                                                           regular tax rate
                         Department of the Treasury       TC.065   Capital gains exclusion The baseline tax
                                                                   on home sales           system would not allow
                                                                                           deductions and
                         Department of the Treasury       TC.066   Exclusion of net        exemptions
                                                                                           Under         for certain
                                                                                                    the baseline tax
                                                                   imputed rental income     system, the taxable
                                                                                             income of a taxpayer
                         Department of the Treasury       TC.067   Exception from passive Thewho baseline
                                                                                                   is an owner-
                                                                                                            tax
                                                                   loss rules for $25,000 of system accepts current
                                                                   rental loss               lawâ€™s general rule
                                                                                             limiting taxpayersâ€™
                         Department of the Treasury       TC.068   Credit for low-income     The baseline tax
                                                                   housing investments       system would uniformly
                                                                                             tax all returns to
                         Department of the Treasury       TC.069   Accelerated               investments   and not
                                                                                             Under a comprehensive
                                                                   depreciation on rentaleconomic income tax,
                                                                   housing (normal tax   the costs of acquiring a
                                                                   method)               building are capitalized
                         Department of the Treasury       TC.070   Discharge of mortgage Under the baseline tax
                                                                   indebtedness          system, all income
                                                                                         would generally be
                         Department of the Treasury       TC.071                         taxed under
                                                                   Premiums for mortgage Under         the regular
                                                                                                the baseline  tax
                                                                   insurance deductible as system, expenses
                                                                   interest                incurred in earning
                         Department of the Treasury       TC.072                           incomethe
                                                                   Discharge of business Under     would  be tax
                                                                                                      baseline
                                                                   indebtedness                 system, all income
                                                                                                would generally be
                                                                                                taxed under the regular
                         Department of the Treasury       TC.073   Exceptions from              Under the baseline tax
                                                                   imputed interest rules       system, holders
                                                                                                (issuers) of debt
                         Department of the Treasury       TC.074   Treatment of quali ed        instruments
                                                                                                The baselineare
                                                                                                              tax
                                                                   dividends                 system generally would
                                                                                             tax all income under the
                                                                                             regular tax rate
                         Department of the Treasury       TC.075   Capital gains (except     The baseline tax
                                                                   agriculture, timber, iron system generally would
                                                                   ore, and coal)            tax all income under the
                         Department of the Treasury       TC.076                             regular
                                                                   Capital gains exclusion The         tax rate
                                                                                                  baseline   tax
                                                                   of small corporation     system would not allow
                                                                   stock                    deductions and
                         Department of the Treasury       TC.077   Step-up basis of capital exemptions   or provide
                                                                                            Under the baseline   tax
                                                                   gains at death           system, unrealized
                                                                                            capital gains would be
                                                                                            taxed when assets are
                         Department of the Treasury       TC.078   Carryover basis of       Under the baseline tax
                                                                   capital gains on gifts   system, unrealized
                                                                                            capital gains would be
                         Department of the Treasury       TC.079   Ordinary income          taxed when assets
                                                                                            The baseline  tax are
                                                                   treatment of loss from system limits to $3,000
                                                                   small business            the write-off of losses
                         Department of the Treasury       TC.080   corporation
                                                                   Deferral     stock sale
                                                                            of capital       frombaseline
                                                                                       gains The  capital assets,
                                                                                                            tax    with
                                                                   from like-kind               system generally would
                                                                   exchanges                    tax all income under the
                         Department of the Treasury       TC.081   Depreciation of              regularatax
                                                                                                Under       rate
                                                                                                          comprehensive
                                                                   buildings other than         economic income tax,
                                                                   rental housing (normal       the costs of acquiring a
                         Department of the Treasury       TC.082   tax method)
                                                                   Accelerated                  buildinga are
                                                                                                Under         capitalized
                                                                                                          comprehensive
                                                                   depreciation of           economic income tax,
                                                                   machinery and             the costs of acquiring
                                                                   equipment (normal tax     machinery and
                         Department of the Treasury       TC.083   Expensing of certain      Under the reference tax
                                                                   small investments         law baseline, the costs
                                                                   (normal tax method)       of acquiring tangible
                         Department of the Treasury       TC.084   Exclusion of interest on property    and computer
                                                                                             The baseline    tax
                                                                   small issue bonds         system generally would
                                                                                             tax all income under the
                         Department of the Treasury       TC.085                             regular
                                                                   Special rules for certain The       tax rate
                                                                                                  baseline   tax
                                                                    lm and TV production        system generally would
                                                                                                tax all income under the
                                                                                                regular tax rate
                         Department of the Treasury       TC.086   Allow 20-percent             The baseline tax
                                                                   deduction to certain         system generally would
                                                                   pass-through income          tax all income under the
                         Department of the Treasury       TC.087   Advanced                     regular
                                                                                                The       tax rate
                                                                                                     baseline   tax
                                                                   manufacturing                system would not allow
                                                                   investment credit            credits for particular
                                                                                                activities, investments,
                         Department of the Treasury       TC.088   Tonnage tax                  The baseline tax
                                                                                                system generally would
                                                                                                tax all pro ts and
                         Department of the Treasury       TC.089   Deferral of tax on           income   undertax
                                                                                                The baseline    the
                                                                   shipping companies           system generally would
                                                                                                tax all pro ts and
                         Department of the Treasury       TC.090                           incomethe
                                                                   Exclusion of reimbursed Under  under   the tax
                                                                                                      baseline
                                                                   employee parking        system, all
                                                                   expenses                compensation, including
                                                                                           dedicated payments
                         Department of the Treasury       TC.091   Exclusion for employer- Under the baseline tax
                                                                   provided transit passes system, all
                                                                                           compensation, including
                         Department of the Treasury       TC.092   Tax credit for certain  dedicated
                                                                                           The        payments
                                                                                               baseline  tax
                                                                   expenditures for             system would not allow
                                                                   maintaining railroad         credits for particular
                                                                   tracks                       activities, investments,
                         Department of the Treasury       TC.093   Exclusion of interest on     The baseline tax
                                                                   bonds for Highway            system generally would
                                                                   Projects and rail-truck      tax all income under the
                         Department of the Treasury       TC.094   transfer
                                                                   Exclusionfacilities
                                                                              of interest for   regular   tax rate
                                                                                                The baseline    tax
                                                                   airport, dock, and           system generally would
                                                                   similar bonds                tax all income under the
                         Department of the Treasury       TC.095   Exemption of certain         regularthe
                                                                                                Under     taxbaseline
                                                                                                              rate    tax
                                                                   mutuals' and              system, corporations
                                                                   cooperatives' income      pay taxes on their
                                                                                             pro ts under the regular
                         Department of the Treasury       TC.096   Empowerment zones         The baseline tax
                                                                                             system generally would
                                                                                             tax all income under the
                         Department of the Treasury       TC.097   New markets tax credit Theregular   tax rate
                                                                                                  baseline   tax
                                                                                             system would not allow
                                                                                             credits for particular
                         Department of the Treasury       TC.098                             activities,
                                                                   Credit to holders of Gulf The         investments,
                                                                                                  baseline   tax
                                                                   and Midwest Tax Credit system would not allow
                                                                   Bonds .                credits for particular
                                                                                          activities, investments,
                         Department of the Treasury       TC.099   Recovery Zone Bonds The baseline tax
                                                                                          system would not allow
                                                                                          credits for particular
                         Department of the Treasury       TC.100   Tribal Economic        activities,
                                                                                          The         investments,
                                                                                               baseline   tax
                                                                   Development Bonds            system generally would
                                                                                                tax all income under the
                                                                                                regular tax rate
                         Department of the Treasury       TC.101   Opportunity Zones            The baseline tax
                                                                                                system generally would
                                                                                                tax all income under the
                         Department of the Treasury       TC.102   Disaster employee            regular
                                                                                                The       tax rate
                                                                                                     baseline   tax
                                                                   retention credit             system would not allow
                                                                                                credits for particular
                         Department of the Treasury       TC.103                             activities, investments,
                                                                   Exclusion of scholarship Scholarships     and
                                                                   and fellowship income fellowships are
                                                                   (normal tax method)       excluded from taxable
                                                                                             income to the extent
                         Department of the Treasury       TC.104   Tax credits for post-     The baseline tax
                                                                   secondary education       system would not allow
                                                                   expenses                  credits for particular
                         Department of the Treasury       TC.105                             activities,
                                                                   Deductibility of student- The         investments,
                                                                                                  baseline   tax
                                                                   loan interest            system accepts current
                                                                                            lawâ€™s general rule
                                                                                            limiting taxpayersâ€™
                         Department of the Treasury       TC.106   Quali ed tuition         The baseline tax
                                                                   programs (includes       system generally would
                                                                   Education IRA)           tax all income under the
                         Department of the Treasury       TC.107                            regular
                                                                   Exclusion of interest on The       tax rate
                                                                                                  baseline  tax
                                                                   student-loan bonds       system generally would
                                                                                            tax all income under the
                         Department of the Treasury       TC.108                            regular
                                                                   Exclusion of interest on The       tax rate
                                                                                                  baseline  tax
                                                                   bonds for private        system generally would
                                                                   nonpro t educational     tax all income under the
                                                                   facilities               regular tax rate
                         Department of the Treasury       TC.109   Credit for holders of    The baseline tax
                                                                   zone academy bonds       system would not allow
                                                                                            credits for particular
                         Department of the Treasury       TC.110                            activities,
                                                                   Exclusion of interest on The         investments,
                                                                                                 baseline   tax
                                                                   savings bonds            system generally would
                                                                   redeemed to nance        tax all income under the
                         Department of the Treasury       TC.111   educational expenses
                                                                   Parental personal        regular
                                                                                            Under the taxbaseline
                                                                                                          rate    tax
                                                                   exemption for students system, a personal
                                                                   age 19 or over         exemption would be
                         Department of the Treasury       TC.112   Deductibility of       allowed
                                                                                          The     for thetax
                                                                                               baseline
                                                                   charitable contributions system would not allow
                                                                   to educational           a deduction for personal
                         Department of the Treasury       TC.113   institutionsof employer- expenditures.
                                                                   Exclusion                              In
                                                                                            Under the baseline  tax
                                                                   provided educational     system, all
                                                                   assistance               compensation, including
                                                                                            dedicated payments




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                Department of the Treasury                 TC.114   Special deduction for      The baseline tax
                                                                    teacher expenses           system would not allow
                                                                                               a deduction for personal
                Department of the Treasury                 TC.115   Discharge of student       expenditures.
                                                                                               Under         In
                                                                                                     the baseline  tax
                                                                    loan indebtedness          system, all
                                                                                               compensation, including
                Department of the Treasury                 TC.116   Quali ed school            dedicated  payments
                                                                                               The baseline  tax
                                                                    construction bonds      system would not allow
                                                                                            credits for particular
                                                                                            activities, investments,
                Department of the Treasury                 TC.117   Work opportunity tax    The baseline tax
                                                                    credit                  system would not allow
                                                                                            credits for particular
                Department of the Treasury                 TC.118                           activities,
                                                                    Employer provided child Under   theinvestments,
                                                                                                         baseline tax
                                                                    care exclusion             system, all
                                                                                               compensation, including
                Department of the Treasury                 TC.119                           dedicated
                                                                    Employer-provided child The  baselinepayments
                                                                                                            tax
                                                                    care credit             system would not allow
                                                                                            credits for particular
                                                                                            activities, investments,
                Department of the Treasury                 TC.120   Assistance for adopted Under the baseline tax
                                                                    foster children         system, all
                                                                                            compensation, including
                Department of the Treasury                 TC.121   Adoption credit and     dedicated
                                                                                            The baseline payments
                                                                                                            tax
                                                                    exclusion                  system would not allow
                                                                                               credits for particular
                                                                                               activities. In contrast,
                Department of the Treasury                 TC.122   Exclusion of employee      Under the baseline tax
                                                                    meals and lodging          system, all
                                                                    (other than military)      compensation, including
                Department of the Treasury                 TC.123   Credit for child and       dedicated
                                                                                               The  baselinepayments
                                                                                                               tax
                                                                    dependent care             system would not allow
                                                                    expenses                   credits for particular
                Department of the Treasury                 TC.124   Credit for disabled        activities
                                                                                               The        or targeted
                                                                                                    baseline   tax    at
                                                                    access expenditures       system would not allow
                                                                                              credits for particular
                                                                                              activities, investments,
                Department of the Treasury                 TC.125   Deductibility of          The baseline tax
                                                                    charitable contributions, system would not allow
                                                                    other than education      a deduction for personal
                Department of the Treasury                 TC.126   and health
                                                                    Exclusion of certain      expenditures
                                                                                              The baseline including
                                                                                                              tax
                                                                    foster care payments   system generally would
                                                                                           tax all income under the
                                                                                           regular tax rate
                Department of the Treasury                 TC.127   Exclusion of parsonage Under the baseline tax
                                                                    allowances             system, all
                                                                                           compensation, including
                Department of the Treasury                 TC.128   Indian employment      dedicated
                                                                                           The         payments
                                                                                                baseline  tax
                                                                    credit                     system would not allow
                                                                                               credits for particular
                Department of the Treasury                 TC.129                           activities,
                                                                    Employer-provided paid The          investments,
                                                                                                 baseline   tax
                                                                    family and medical      system would not allow
                                                                    leave credit            credits for particular
                                                                                            activities, investments,
                Department of the Treasury                 TC.130   Exclusion of employer Under the baseline tax
                                                                    contributions for       system, all
                                                                    medical insurance       compensation, including
                Department of the Treasury                 TC.131   premiums   and medical
                                                                    Self-employed   medical dedicated
                                                                                            Under the payments
                                                                                                         baseline tax
                                                                    insurance premiums         system, all
                                                                                               compensation and
                Department of the Treasury                 TC.132   Medical Savings            remuneration,
                                                                                               Under         including
                                                                                                     the baseline tax
                                                                    Accounts / Health        system, all
                                                                    Savings Accounts         compensation, including
                Department of the Treasury                 TC.133                            dedicated
                                                                    Deductibility of medical The        payments
                                                                                                 baseline  tax
                                                                    expenses                 system would not allow
                                                                                             a deduction for personal
                Department of the Treasury                 TC.134                            expenditures.
                                                                    Exclusion of interest on The            In
                                                                                                 baseline tax
                                                                    hospital construction      system generally would
                                                                    bonds                      tax all income under the
                                                                                               regular tax rate
                Department of the Treasury                 TC.135   Refundable Premium         The baseline tax
                                                                    Assistance Tax Credit      system would not allow
                                                                                               credits for particular
                Department of the Treasury                 TC.136   Credit for employee        activities or targeted
                                                                                               The baseline    tax    at
                                                                    health insurance           system would not allow
                                                                    expenses of small          credits for particular
                Department of the Treasury                 TC.137   business
                                                                    Deductibility of         activities or targeted
                                                                                             The baseline    tax    at
                                                                    charitable contributions system would not allow
                                                                    to health institutions   a deduction for personal
                                                                                             expenditures including
                Department of the Treasury                 TC.138   Tax credit for orphan    The baseline tax
                                                                    drug research            system would not allow
                                                                                             credits for particular
                Department of the Treasury                 TC.139                            activities,
                                                                    Special Blue Cross/Blue The          investments,
                                                                                                  baseline   tax
                                                                    Shield tax bene ts         system generally would
                                                                                               tax all pro ts under the
                                                                                               regular tax rate
                Department of the Treasury                 TC.140   Distributions from         Under the baseline tax
                                                                    retirement plans for       system, all
                                                                    premiums for health        compensation, including
                Department of the Treasury                 TC.141   and  long-term
                                                                    Credit          care
                                                                           for family and      dedicated
                                                                                               The baselineandtax
                                                                                                                deferred
                                                                    sick leave taken by self- system would not allow
                                                                    employed individuals      credits for particular
                Department of the Treasury                 TC.142   Child credit              activities
                                                                                              The        or targeted
                                                                                                   baseline   tax    as
                                                                                               system would not allow
                                                                                               credits for particular
                                                                                               activities or targeted at
                Department of the Treasury                 TC.143   Other Dependent Tax        The baseline tax
                                                                    Credit                     system would not allow
                                                                                               credits for particular
                Department of the Treasury                 TC.144   Exclusion of railroad      activities
                                                                                               Under   theorbaseline
                                                                                                             targetedtax
                                                                                                                      at
                                                                    retirement (Social         system, all
                                                                    Security equivalent)       compensation, including
                                                                    bene ts                    dedicated and deferred
                Department of the Treasury                 TC.145   Exclusion of workers'      Under the baseline tax
                                                                    compensation bene ts       system, all
                                                                                               compensation, including
                Department of the Treasury                 TC.146   Exclusion of public        dedicated
                                                                                               Under the payments
                                                                                                          reference tax
                                                                    assistance bene ts         law baseline, gifts and
                                                                    (normal tax method)        transfers are not treated
                Department of the Treasury                 TC.147   Exclusion of special       as income
                                                                                               Under      to the tax
                                                                                                      the baseline
                                                                    bene ts for disabled       system, all
                                                                    coal miners                compensation, including
                                                                                               dedicated payments
                Department of the Treasury                 TC.148   Exclusion of military      Under the baseline tax
                                                                    disability pensions        system, all
                                                                                               compensation, including
                Department of the Treasury                 TC.149   Net exclusion of           dedicated
                                                                                               Under the payments
                                                                                                          baseline tax
                                                                    pension contributions      system, all
                                                                    and earnings: De ned       compensation, including
                Department of the Treasury                 TC.150   beneexclusion
                                                                    Net   t employer
                                                                                  of plans   deferred
                                                                                             Under theand dedicated
                                                                                                        baseline tax
                                                                    pension contributions    system, all
                                                                    and earnings: De ned compensation, including
                                                                    contribution employer    deferred and dedicated
                Department of the Treasury                 TC.151   Net exclusion of         Under the baseline tax
                                                                    pension contributions    system, all
                                                                    and earnings: Individual compensation, including
                Department of the Treasury                 TC.152   Retirement
                                                                    Net         Accounts
                                                                        exclusion of         deferred
                                                                                             The      and dedicated
                                                                                                 baseline tax
                                                                    pension contributions   system would not allow
                                                                    and earnings: Low and credits for particular
                                                                    moderate income         activities or targeted at
                Department of the Treasury                 TC.153   Net exclusion of        Under the baseline tax
                                                                    pension contributions   system, all
                                                                    and earnings: Self-     compensation, including
                Department of the Treasury                 TC.154   Employed
                                                                    Small     plans pension The
                                                                          employer          deferred   and dedicated
                                                                                                 baseline   tax
                                                                    plan startup credit        system would not allow
                                                                                               credits for particular
                Department of the Treasury                 TC.155   Exclusion of other         activities
                                                                                               Under   theorbaseline
                                                                                                             targetedtax
                                                                                                                      at
                                                                    employee bene ts:          system, all
                                                                    Premiums on group          compensation, including
                                                                    term life insurance        deferred and dedicated
                Department of the Treasury                 TC.156   Exclusion of other         Under the baseline tax
                                                                    employee bene ts:          system, all
                                                                    Premiums on accident       compensation, including
                Department of the Treasury                 TC.157   and disability
                                                                    Income         insurance
                                                                             of trusts to      dedicated
                                                                                               Under  the payments
                                                                                                          baseline tax
                                                                     nance supplementary system, all
                                                                    unemployment bene ts compensation, including
                                                                                         dedicated payments
                Department of the Treasury                 TC.158   Income of trusts to  Under the baseline tax
                                                                     nance voluntary     system, all
                                                                    employee bene ts     compensation, including
                Department of the Treasury                 TC.159   associations
                                                                    Special Employee     dedicated
                                                                                         Under the payments
                                                                                                    baseline tax
                                                                    Stock Ownership Plan       system, all
                                                                    (ESOP) rules               compensation, including
                Department of the Treasury                 TC.160                             dedicated
                                                                    Additional deduction for Under   the payments
                                                                                                         baseline tax
                                                                    the blind                 system, the standard
                                                                                              deduction is allowed. An
                                                                                              additional standard
                Department of the Treasury                 TC.161   Additional deduction for Under the baseline tax
                                                                    the elderly               system, the standard
                                                                                              deduction is allowed. An
                Department of the Treasury                 TC.162                             additional
                                                                    Deductibility of casualty Under  the standard
                                                                                                         baseline tax
                                                                    losses                     system, neither the
                                                                                               purchase of property
                Department of the Treasury                 TC.163   Earned income tax          nor
                                                                                               Theinsurance  premiums
                                                                                                   baseline tax
                                                                    credit                     system would not allow
                                                                                               credits for particular
                Department of the Treasury                 TC.164                           activities
                                                                    Recovery rebate credits The        or targeted
                                                                                                 baseline   tax    at
                                                                                            system would not allow
                                                                                            credits for particular
                Department of the Treasury                 TC.165   Exclusion of social     activities
                                                                                            The        or targeted
                                                                                                 baseline   tax    at
                                                                    security bene ts: Social system would tax Social
                                                                    Security bene ts for     Security bene ts to the
                                                                    retired and disabled     extent that contributions




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                                    Department of the Treasury         TC.166   Exclusion of social      Under the baseline tax
                                                                                security bene ts: Credit system, employer
                                                                                for certain employer     contributions to Social
                                    Department of the Treasury         TC.167   contributions
                                                                                Exclusion      to social Under
                                                                                           of veterans   Security represent
                                                                                                                the baselinelabor
                                                                                                                             tax
                                                                                death bene ts and       system, all
                                                                                disability compensation compensation, including
                                    Department of the Treasury         TC.168   Exclusion of veterans   dedicated
                                                                                                        Under the payments
                                                                                                                   baseline tax
                                                                                pensions                 system, all
                                                                                                         compensation, including
                                                                                                         dedicated payments
                                    Department of the Treasury         TC.169   Exclusion of GI bill     Under the baseline tax
                                                                                bene ts                  system, all
                                                                                                         compensation, including
                                    Department of the Treasury         TC.170                            dedicated
                                                                                Exclusion of interest on The  baselinepayments
                                                                                                                         tax
                                                                                veterans housing bonds system generally would
                                                                                                         tax all income under the
                                    Department of the Treasury         TC.171                            regular
                                                                                Exclusion of interest on The       tax rate
                                                                                                              baseline   tax
                                                                                public purpose State      system generally would
                                                                                and local bonds           tax all income under the
                                                                                                          regular tax rate
                                    Department of the Treasury         TC.172   Build America Bonds       The baseline tax
                                                                                                          system would not allow
                                                                                                          credits for particular
                                    Department of the Treasury         TC.173   Deductibility of          activities
                                                                                                          Under theorbaseline
                                                                                                                       targetingtax
                                                                                nonbusiness State and     system, a deduction for
                                                                                local taxes other than    personal consumption
                                                                                on owner-occupied         expenditures would not
                                    Department of the Treasury         TC.174   Deferral of interest on   The baseline tax
                                                                                U.S. savings bonds        system would uniformly
                                                                                                          tax all returns to
                                    Department of Transportation       20.106   Airport Improvement       investments
                                                                                                          The  Federal and   not
                                                                                                                        Aviation        https:/ https:/
                                                                                Program, Infrastructure Administration (FAA)            /       /
                                                                                Investment and Jobs       has several strategic         sam.g www.
                                    Department of Transportation       20.108   Act Programs,
                                                                                Aviation        and
                                                                                          Research        goals:
                                                                                                          To     Safety, People,
                                                                                                             encourage   and            ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                Grants                    support innovative,           /       /
                                                                                                          advanced, and applied         sam.g www.
                                                                                                          research and                  ov/fal/ usasp
                                    Department of Transportation       20.109   Air Transportation        Conduct long term             https:/ https:/
                                                                                Centers of Excellence research in critical and          /       /
                                                                                                          speci c areas of              sam.g www.
                                    Department of Transportation       20.111   Aircraft Pilots Workforce aviation
                                                                                                          The goalrelated
                                                                                                                    of the Aircraft     ov/fal/
                                                                                                                                        https:/ usasp
                                                                                                                                                https:/
                                                                                Development Grant         Pilots Workforce              /       /
                                                                                Program                   Development Program           sam.g www.
                                                                                                          is to support the             ov/fal/ usasp
                                    Department of Transportation       20.112   Aviation Maintenance      The goal of the Aviation      https:/ https:/
                                                                                Technical Workforce       Maintenance Technical         /       /
                                                                                Grant Program             Workforce Grant               sam.g www.
                                    Department of Transportation       20.115   Fueling Aviationâ€™s      Program
                                                                                                          The       is to support
                                                                                                                objective is to         ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                Sustainable Transition make investments            /       /
                                                                                via Sustainable Aviation through a new FAST        sam.g www.
                                    Department of Transportation       20.200   Fuels (FAST-SAF)
                                                                                Highway  Researchand     Grant
                                                                                                    and The    Programistoto carry ov/fal/
                                                                                                              objective                    usasp
                                                                                                                                   https:/ https:/
                                                                                Development Program out the highway                /       /
                                                                                                         research and              sam.g www.
                                                                                                         development program       ov/fal/ usasp
                                    Department of Transportation       20.205   Highway Planning and This Assistance Listing https:/ https:/
                                                                                Construction             encompasses several       /       /
                                                                                                         transportation            sam.g www.
                                    Department of Transportation       20.215   Highway Training and This Assistance Listing https:/ usasp
                                                                                                         programs:                 ov/fal/ https:/
                                                                                Education                 encompasses several           /       /
                                                                                                          transportation training       sam.g www.
                                    Department of Transportation       20.218   Motor Carrier Safety      and education
                                                                                                          The  Motor Carrier            ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                Assistance                Safety Assistance             /       /
                                                                                                          Program (MCSAP) is a          sam.g www.
                                    Department of Transportation       20.219   Recreational Trails       Federal
                                                                                                          The     formula
                                                                                                              purpose      grant
                                                                                                                       of this          ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                Program                   program is to provide         /       /
                                                                                                          funds to the States to        sam.g www.
                                    Department of Transportation       20.223   Transportation            develop
                                                                                                          To  nanceand maintain
                                                                                                                     projects of        ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                Infrastructure Finance    national or regional          /       /
                                                                                and Innovation Act        signi cance by lling          sam.g www.
                                                                                (TIFIA) Program           market gaps and               ov/fal/ usasp
                                    Department of Transportation       20.224   Federal Lands Access      The goal of the Federal       https:/ https:/
                                                                                Program                   Lands Access Program          /       /
                                                                                                          is to improve                 sam.g www.
                                    Department of Transportation       20.231   Performance and           transportation facilities
                                                                                                          This program links            ov/fal/
                                                                                                                                        https:/ usasp
                                                                                                                                                https:/
                                                                                Registration Information Federal Motor Carrier          /       /
                                                                                Systems Management Safety information                   sam.g www.
                                    Department of Transportation       20.232   Commercial Driver's      systems
                                                                                                         Assist   with State
                                                                                                                States in               ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                License Program           complying with CDL            /       /
                                                                                Implementation Grant      requirements and              sam.g www.
                                                                                                          dedicate funding to           ov/fal/ usasp
                                    Department of Transportation       20.233   Border Enforcement        The Federal Motor             https:/ https:/
                                                                                Grants                    Carrier Safety                /       /
                                                                                                          Administrationâ€™s            sam.g www.
                                    Department of Transportation       20.234   Safety Data               objective is to ensure
                                                                                                           050 Objectives:              ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                Improvement Program                                     /       /
                                                                                                        The Federal Motor               sam.g www.
                                                                                                        Carrier Safety                  ov/fal/ usasp
                                    Department of Transportation       20.235   Commercial Motor        Expand the number of            https:/ https:/
                                                                                Vehicle Operator Safety commercial driverâ€™s           /       /
                                                                                Training Grants         license (CDL) holders           sam.g www.
                                    Department of Transportation       20.237   Motor Carrier Safety    possessing  enhanced
                                                                                                        Support, enrich, and            ov/fal/
                                                                                                                                        https:/ usasp
                                                                                                                                                https:/
                                                                                Assistance High Priority augment Commercial             /       /
                                                                                Activities Grants and    Motor Vehicle (CMV)            sam.g www.
                                    Department of Transportation       20.240   Cooperative
                                                                                Fuel Tax Evasion-        safety
                                                                                                         The    programs
                                                                                                             purpose  of this           ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                Intergovernmental         program is to increase        /       /
                                                                                Enforcement Effort        intergovernmental             sam.g www.
                                                                                                          activities and                ov/fal/ usasp
                                    Department of Transportation       20.243   Commercial Motor          The objective of the HP-      https:/ https:/
                                                                                Vehicle Enforcement       ETS grant program is to       /       /
                                                                                Training and Support      train non-federal             sam.g www.
                                    Department of Transportation       20.301   Railroad Safety           employees
                                                                                                          To  improve who    conduct
                                                                                                                       railroad         ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                                      safety and reduce                 /       /
                                                                                                      railroad-related                  sam.g www.
                                                                                                      casualties and                    ov/fal/ usasp
                                    Department of Transportation       20.313   Railroad Research and To foster long-range              https:/ https:/
                                                                                Development           enhancement of the                /       /
                                                                                                      Federal Railroad                  sam.g www.
                                    Department of Transportation       20.314   Railroad Development Administration's
                                                                                                      To provide nancial                ov/fal/
                                                                                                                                        https:/ usasp
                                                                                                                                                https:/
                                                                                                        assistance for: planning        /       /
                                                                                                        and developing railroad         sam.g www.
                                    Department of Transportation       20.315   National Railroad       corridors
                                                                                                        To provide(including
                                                                                                                     nancial            ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                Passenger Corporation assistance to support             /       /
                                                                                Grants                  the operation of and            sam.g www.
                                                                                                        capital investment in           ov/fal/ usasp
                                    Department of Transportation       20.316   Railroad Rehabilitation The Railroad                    https:/ https:/
                                                                                and Improvement         Rehabilitation and              /       /
                                                                                Financing Program       Improvement Financing           sam.g www.
                                    Department of Transportation       20.317   Capital Assistance to   (RRIF)
                                                                                                        To      program
                                                                                                           provide   nancial            ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                States - Intercity     assistance to fund               /       /
                                                                                Passenger Rail Service capital improvements             sam.g www.
                                    Department of Transportation       20.318   Maglev Project         (and
                                                                                                       To   related nancial
                                                                                                          provide   planning            ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                Selection Program -     assistance for a                /       /
                                                                                SAFETEA-LU              demonstration magnetic          sam.g www.
                                                                                                        levitation transportation       ov/fal/ usasp
                                    Department of Transportation       20.319   High-Speed Rail         To assist in nancing            https:/ https:/
                                                                                Corridors and Intercity the capital costs of            /       /
                                                                                Passenger Rail Service facilities, infrastructure,      sam.g www.
                                    Department of Transportation       20.320   â€“ Capital
                                                                                Rail        Assistance To
                                                                                     Line Relocation    andprovide
                                                                                                              equipmentnancial          ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                and Improvement         assistance for rail line        /       /
                                                                                                        relocation and                  sam.g www.
                                                                                                        improvement projects.           ov/fal/ usasp
                                    Department of Transportation       20.321   Railroad Safety         To facilitate the               https:/ https:/
                                                                                Technology Grants       deployment of train             /       /
                                                                                                        control technologies,           sam.g www.
                                    Department of Transportation       20.323   Fiscal Year 2013        train
                                                                                                        To    control component
                                                                                                            provide                     ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                Hurricane Sandy         supplemental                    /       /
                                                                                Disaster Relief Grants assistance to the                sam.g www.
                                    Department of Transportation       20.324   to the National
                                                                                Restoration andRailroad This
                                                                                                        National Railroad
                                                                                                             program  provides          ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                Enhancement               operating assistance          /       /
                                                                                                          grants for initiating,        sam.g www.
                                                                                                          restoring, or enhancing       ov/fal/ usasp
                                    Department of Transportation       20.325   Consolidated Rail         To fund projects that         https:/ https:/
                                                                                Infrastructure and        improve the safety,           /       /
                                                                                Safety Improvements       ef ciency, and/or             sam.g www.
                                    Department of Transportation       20.326   Federal-State             reliability
                                                                                                          To          of intercity
                                                                                                              fund capital   projects   ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                Partnership for Intercity that repair, replace, or      /       /
                                                                                Passenger Rail            rehabilitate publicly-        sam.g www.
                                                                                                          owned or controlled           ov/fal/ usasp
                                    Department of Transportation       20.327   Railroad Crossing         The goals of the              https:/ https:/
                                                                                Elimination               Program are (1) to            /       /
                                                                                                          eliminate highway-rail        sam.g www.
                                    Department of Transportation       20.328   Interstate Rail           grade
                                                                                                          The    crossings
                                                                                                               purpose       thatIRC
                                                                                                                         of the   are   ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                Compacts                  program is to provide a       /       /
                                                                                                          Federal funding               sam.g www.
                                    Department of Transportation       20.500   Federal Transit Capital   opportunity
                                                                                                          The Capital to entities
                                                                                                                       Investment       ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                Investment Grants       Grant Program is the            /       /
                                                                                                        Federal                         sam.g www.
                                                                                                        Governmentâ€™s                  ov/fal/ usasp
                                    Department of Transportation       20.505   Metropolitan            The purpose of the              https:/ https:/
                                                                                Transportation Planning Metropolitan                    /       /
                                                                                and State and Non-      Transportation Planning         sam.g www.
                                    Department of Transportation       20.507   Metropolitan
                                                                                Federal      Planning
                                                                                        Transit         and State
                                                                                                Formula The       and Non-
                                                                                                            Urbanized  Area             ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                Grants                    Formula Funding               /     /
                                                                                                          Program (49 U.S.C.            sam.g www.
                                    Department of Transportation       20.509   Formula Grants for        5307) makes
                                                                                                          Pursuant to 49federal
                                                                                                                          U.S.C. ov/fal/
                                                                                                                                 https:/ usasp
                                                                                                                                         https:/
                                                                                Rural Areas and Tribal  5311, FTA apportions or /        /
                                                                                Transit Program         awards funds for         sam.g www.
                                    Department of Transportation       20.513   Enhanced Mobility of    planning,
                                                                                                        To providepublic
                                                                                                                     nancial     ov/fal/ usasp
                                                                                                                                 https:/ https:/
                                                                                Seniors and Individuals assistance in meeting    /       /
                                                                                with Disabilities       the transportation       sam.g www.
                                    Department of Transportation       20.516   Job Access and          needs
                                                                                                        This    of seniors
                                                                                                              program      and
                                                                                                                       continues ov/fal/ https:/
                                                                                                                                 https:/ usasp
                                                                                Reverse Commute         to be repealed. On       /       /
                                                                                Program                 October 1, 2013, the     sam.g www.
                                                                                                        Job Access and           ov/fal/ usasp




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                                        Department of Transportation       20.519   Clean Fuels               To assist in nancing         https:/ https:/
                                                                                                              the acquisition of clean     /       /
                                                                                                              fuel vehicles and            sam.g www.
                                        Department of Transportation       20.520   Paul S. Sarbanes          related
                                                                                                              The     facilities
                                                                                                                   Paul          for
                                                                                                                         S. Sarbanes       ov/fal/ https:/
                                                                                                                                           https:/ usasp
                                                                                    Transit in the Parks    Transit in Parks               /       /
                                                                                                            Program was                    sam.g www.
                                        Department of Transportation       20.521   New Freedom Program established      to address
                                                                                                            The New Freedom                ov/fal/
                                                                                                                                           https:/ usasp
                                                                                                                                                   https:/
                                                                                                            program (Section 5317)         /       /
                                                                                                            provided grants for new        sam.g www.
                                                                                                            capital and operating          ov/fal/ usasp
                                        Department of Transportation       20.524   Passenger Rail          To assist in nancing           https:/ https:/
                                                                                    Investment and          part of the capital and        /       /
                                                                                    Improvement (PRIIA)     preventive maintenance         sam.g www.
                                        Department of Transportation       20.525   Projects
                                                                                    State    for Washington
                                                                                          of Good Repair    projects
                                                                                                            The      included
                                                                                                                 State of Goodin the       ov/fal/ https:/
                                                                                                                                           https:/ usasp
                                                                                    Grants Program            Repair Program (49         /       /
                                                                                                              U.S.C. 5337) provides      sam.g www.
                                        Department of Transportation       20.526   Buses and Bus             formula funding
                                                                                                              Provides  capital to
                                                                                                                                 funding ov/fal/ usasp
                                                                                                                                         https:/ https:/
                                                                                    Facilities Formula,       to replace, rehabilitate, /        /
                                                                                    Competitive, and Low      purchase, or lease         sam.g www.
                                                                                    or No Emissions           buses and bus related      ov/fal/ usasp
                                        Department of Transportation       20.527   Public Transportation     The Emergency Relief       https:/ https:/
                                                                                    Emergency Relief          Program is intended to /           /
                                                                                    Program                   provide operating          sam.g www.
                                        Department of Transportation       20.528   Rail Fixed Guideway       assistance  and
                                                                                                              To improve publiccapital   ov/fal/
                                                                                                                                         https:/ usasp
                                                                                                                                                 https:/
                                                                                    Public Transportation     transportation safety by     /       /
                                                                                    System State Safety       assisting States with the    sam.g www.
                                                                                    Oversight Formula           nancing of safety          ov/fal/ usasp
                                        Department of Transportation       20.529   Bus Testing               The purpose of the           https:/ https:/
                                                                                                              program is to provide        /       /
                                                                                                              assistance for testing       sam.g www.
                                        Department of Transportation       20.530   Public Transportation     new goals
                                                                                                              The  transitand
                                                                                                                           bus models      ov/fal/ https:/
                                                                                                                                           https:/ usasp
                                                                                    Innovation                 objectives of Public      /       /
                                                                                                               Transportation            sam.g www.
                                        Department of Transportation       20.531   Technical Assistance       Innovation
                                                                                                               The         projects vary ov/fal/
                                                                                                                     goals and                   usasp
                                                                                                                                         https:/ https:/
                                                                                    and Workforce              objectives for Technical /        /
                                                                                    Development                Assistance and            sam.g www.
                                                                                                               Workforce Development ov/fal/ usasp
                                        Department of Transportation       20.532   Passenger Ferry Grant The Passenger Ferry            https:/ https:/
                                                                                    Program, Electric or       Grant Program provides /          /
                                                                                    Low-Emitting Ferry Pilot funding for passenger       sam.g www.
                                        Department of Transportation       20.533   Program,   and Ferry       ferries through a
                                                                                    All Stations Accessibility To assist in nancing      ov/fal/
                                                                                                                                         https:/ usasp
                                                                                                                                                 https:/
                                                                                    Program                   capital and planning         /       /
                                                                                                              projects to upgrade the      sam.g www.
                                                                                                              accessibility of legacy      ov/fal/ usasp
                                        Department of Transportation       20.534   Community Project         Community Project            https:/ https:/
                                                                                    Funding                   Funding is made              /       /
                                                                                    Congressionally           available in amounts         sam.g www.
                                        Department of Transportation       20.600   Directed
                                                                                    State andSpending
                                                                                              Community       speciState
                                                                                                              The    ed by
                                                                                                                         andCongress       ov/fal/ https:/
                                                                                                                                           https:/ usasp
                                                                                    Highway Safety            Community Highway            /       /
                                                                                                              Safety funding program       sam.g www.
                                        Department of Transportation       20.606                            is administered
                                                                                    National Driver Register The             by the
                                                                                                                  NDR maintains   the      ov/fal/ https:/
                                                                                                                                           https:/ usasp
                                                                                                             computerized database         /       /
                                                                                                             known as the Problem          sam.g www.
                                                                                                             Driver Pointer System         ov/fal/ usasp
                                        Department of Transportation       20.607   Alcohol Open Container To encourage States to          https:/ https:/
                                                                                    Requirements             enact and enforce a           /       /
                                                                                                             compliant alcohol open        sam.g www.
                                        Department of Transportation       20.608   Minimum Penalties for container    law. States
                                                                                                             To encourage   Under to       ov/fal/
                                                                                                                                           https:/ usasp
                                                                                                                                                   https:/
                                                                                    Repeat Offenders for      enact and enforce            /     /
                                                                                    Driving While             Repeat Intoxicated           sam.g www.
                                        Department of Transportation       20.611   Intoxicated
                                                                                    Incentive Grant           Offender laws.
                                                                                                              Encourage      Under
                                                                                                                         States to      ov/fal/ usasp
                                                                                                                                        https:/ https:/
                                                                                    Program to Prohibit      enact and enforce laws /           /
                                                                                    Racial Pro ling          and programs that          sam.g www.
                                        Department of Transportation       20.614   National Highway         prohibit the
                                                                                                             Provide      use ofand
                                                                                                                      technical  racial ov/fal/ usasp
                                                                                                                                        https:/ https:/
                                                                                    Traf c Safety             nancial assistance to     /       /
                                                                                    Administration (NHTSA) State and local              sam.g www.
                                        Department of Transportation       20.616   Discretionary
                                                                                    National      Safety
                                                                                             Priority        government
                                                                                                      Safety The formula agencies,
                                                                                                                           grant        ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                    Programs                 program is designed to        /       /
                                                                                                             encourage States to           sam.g www.
                                                                                                             address national              ov/fal/ usasp
                                        Department of Transportation       20.617   State Electronic Data    To objective of this          https:/ https:/
                                                                                    Collection (SEDC)        program is to support         /       /
                                                                                    Program Grant            States to upgrade and         sam.g www.
                                        Department of Transportation       20.618   Driver Alcohol Detection standardize  state
                                                                                                             The goal of the    motor
                                                                                                                              DADSS        ov/fal/
                                                                                                                                           https:/ usasp
                                                                                                                                                   https:/
                                                                                    System for Safety         collaborative research       /       /
                                                                                                              program is to research       sam.g www.
                                        Department of Transportation       20.619   Motor Vehicle Safety      and develop
                                                                                                              This         alcohol
                                                                                                                   assistance  listing     ov/fal/ https:/
                                                                                                                                           https:/ usasp
                                                                                    Research                  encompasses: (1)             /       /
                                                                                                              motor vehicle safety         sam.g www.
                                                                                                              research, development,       ov/fal/ usasp
                                        Department of Transportation       20.620   Behavioral Traf c         The objective is to carry    https:/ https:/
                                                                                    Safety Cooperative        out a cooperative            /       /
                                                                                    Research                  research and evaluation      sam.g www.
                                        Department of Transportation       20.621   State Process for         program
                                                                                                              The      to research
                                                                                                                   objective is to         ov/fal/ https:/
                                                                                                                                           https:/ usasp
                                                                                    Informing Consumers of support States in               /       /
                                                                                    Recalls                developing a                    sam.g www.
                                                                                                           methodology for                 ov/fal/ usasp
                                        Department of Transportation       20.700   Pipeline Safety        To develop, support and         https:/ https:/
                                                                                    Program State Base     maintain inspection and         /       /
                                                                                    Grant                  enforcement activities          sam.g www.
                                        Department of Transportation       20.701   University             for
                                                                                                           TheState gas and
                                                                                                               program  awards             ov/fal/
                                                                                                                                           https:/ usasp
                                                                                                                                                   https:/
                                                                                    Transportation Centers grants to nonpro t         /       /
                                                                                    Program                 institutions of higher    sam.g www.
                                        Department of Transportation       20.703                           learning for Materials
                                                                                    Interagency Hazardous Hazardous       the purpose ov/fal/ usasp
                                                                                                                                      https:/ https:/
                                                                                    Materials Public Sector Emergency                 /       /
                                                                                    Training and Planning Preparedness Grant          sam.g www.
                                                                                    Grants                  (HMEP): To increase       ov/fal/ usasp
                                        Department of Transportation       20.706   Pipeline Emergency      Advance the abilities of https:/ https:/
                                                                                    Response Grant          emergency responders /            /
                                                                                    (PERG)                  to manage pipeline        sam.g www.
                                        Department of Transportation       20.707   Hazardous Materials     emergencies
                                                                                                            The   HM Statethrough     ov/fal/ https:/
                                                                                                                                      https:/ usasp
                                                                                    State Inspection (HMSI) Inspection Grant               /       /
                                                                                    Grant                    provides training and         sam.g www.
                                                                                                              nancial support for          ov/fal/ usasp
                                        Department of Transportation       20.708   Natural Gas Distribution Grant funds will be           https:/ https:/
                                                                                    Infrastructure Safety    made available to             /       /
                                                                                    and Modernization        municipality or               sam.g www.
                                        Department of Transportation       20.710   Grant  Program
                                                                                    Technical Assistance     community
                                                                                                             Advancement owned
                                                                                                                             of            ov/fal/
                                                                                                                                           https:/ usasp
                                                                                                                                                   https:/
                                                                                    Grants                    pipeline safety through      /       /
                                                                                                              the funding of local         sam.g www.
                                        Department of Transportation       20.720   State Damage              communities
                                                                                                              The           and
                                                                                                                   PHMSA State             ov/fal/ https:/
                                                                                                                                           https:/ usasp
                                                                                    Prevention Program    Damage Prevention                /       /
                                                                                    Grants                Program fosters                  sam.g www.
                                                                                                          improved damage                  ov/fal/ usasp
                                        Department of Transportation       20.721   PHMSA Pipeline Safety To provide funding to            https:/ https:/
                                                                                    Program One Call      State agencies in                /       /
                                                                                    Grant                 promoting damage                 sam.g www.
                                        Department of Transportation       20.723                         prevention,
                                                                                    PHMSA Pipeline Safety To          including
                                                                                                             sponsor research              ov/fal/ https:/
                                                                                                                                           https:/ usasp
                                                                                    Research and           and development (R&D)           /       /
                                                                                    Development            projects that focus on          sam.g www.
                                        Department of Transportation       20.724   â€œOther
                                                                                    Pipeline   Transaction providing
                                                                                             Safety        The CAAPnear-term
                                                                                                                        initiative is      ov/fal/ https:/
                                                                                                                                           https:/ usasp
                                                                                    Research Competitive intended to spur                  /       /
                                                                                    Academic Agreement     innovation by enabling          sam.g www.
                                                                                    Program (CAAP)         an academic research            ov/fal/ usasp
                                        Department of Transportation       20.725   PHMSA Pipeline Safety Participating state              https:/ https:/
                                                                                    Underground Natural    entities, through annual        /       /
                                                                                    Gas Storage Grant      Certi cation/                   sam.g www.
                                        Department of Transportation       20.802                          Agreements
                                                                                    Federal Ship Financing To             with
                                                                                                                nance eligible             ov/fal/ https:/
                                                                                                                                           https:/ usasp
                                                                                    Guarantees             vessels and shipyards           /       /
                                                                                                           to promote the growth           sam.g www.
                                                                                                           and modernization of            ov/fal/ usasp
                                        Department of Transportation       20.803   Maritime War Risk      To provide war risk             https:/ https:/
                                                                                    Insurance              insurance to U.S.- ag           /       /
                                                                                                           and foreign vessels             sam.g www.
                                        Department of Transportation       20.806                          whenever
                                                                                    State Maritime Schools To educateit and
                                                                                                                        appears
                                                                                                                            train to       ov/fal/ https:/
                                                                                                                                           https:/ usasp
                                                                                                           future merchant marine          /       /
                                                                                                           of cers at the State            sam.g www.
                                        Department of Transportation       20.807                          Maritime
                                                                                    U.S. Merchant Marine The        Academies
                                                                                                                USMMA    is a              ov/fal/ https:/
                                                                                                                                           https:/ usasp
                                                                                    Academy                   Federal Service              /       /
                                                                                                              Academy and an               sam.g www.
                                                                                                              accredited institution of    ov/fal/ usasp
                                        Department of Transportation       20.808   Capital Construction      To provide for               https:/ https:/
                                                                                    Fund                      replacement vessels,         /       /
                                                                                                              additional vessels or        sam.g www.
                                        Department of Transportation       20.812   Construction Reserve      reconstructed
                                                                                                              To promote thevessels,       ov/fal/ https:/
                                                                                                                                           https:/ usasp
                                                                                    Fund                    construction,                  /       /
                                                                                                            reconstruction,                sam.g www.
                                                                                                            reconditioning, or             ov/fal/ usasp
                                        Department of Transportation       20.813   Maritime Security Fleet The MSP helps sustain          https:/ https:/
                                                                                    Program or Ship         a eet of 60 active,            /       /
                                                                                    Operations Cooperation commercially viable,            sam.g www.
                                        Department of Transportation       20.814   Program to Small
                                                                                    Assistance              militarily
                                                                                                            To awarduseful,
                                                                                                                       grants for          ov/fal/ https:/
                                                                                                                                           https:/ usasp
                                                                                    Shipyards                 capital improvements         /       /
                                                                                                              and related                  sam.g www.
                                        Department of Transportation       20.816   United States Marine      infrastructure
                                                                                                              Mitigate landside            ov/fal/ https:/
                                                                                                                                           https:/ usasp
                                                                                    Highway Grants          congestion, expand             /       /
                                                                                                            transportation options,        sam.g www.
                                                                                                            and realize public             ov/fal/ usasp
                                        Department of Transportation       20.817   Air Emissions and       MARAD will use                 https:/ https:/
                                                                                    Energy Initiative       projects results and           /       /
                                                                                                            data for a variety of          sam.g www.
                                        Department of Transportation       20.819                           purposeswill
                                                                                    Ballast Water Treatment MARAD      including
                                                                                                                          use the          ov/fal/ https:/
                                                                                                                                           https:/ usasp
                                                                                    Technologies              projects results and         /       /
                                                                                                              data for a variety of        sam.g www.
                                        Department of Transportation       20.820   Maritime Studies and      purposes
                                                                                                              The purposeincluding
                                                                                                                             of this to    ov/fal/
                                                                                                                                           https:/ usasp
                                                                                                                                                   https:/
                                                                                    Innovations               program is to provide        /       /
                                                                                                              assistance for projects      sam.g www.
                                        Department of Transportation       20.821   Women on the Water        involving
                                                                                                              The       studies
                                                                                                                   purpose       and
                                                                                                                            of the         ov/fal/ https:/
                                                                                                                                           https:/ usasp
                                                                                    (WOW)                     WOW program is to            /       /
                                                                                                              promote diversity in the     sam.g www.
                                        Department of Transportation       20.823   Port Infrastructure       maritime
                                                                                                              The      industry.
                                                                                                                  program  makes The       ov/fal/ https:/
                                                                                                                                           https:/ usasp
                                                                                    Development Program       discretionary grants to      /       /
                                                                                                              improve port facilities at   sam.g www.
                                                                                                              coastal seaports, inland     ov/fal/ usasp




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                                   Department of Transportation         20.824   Cable Security Fleet      The CSF helps sustain        https:/ https:/
                                                                                 Program                   a eet of cable vessels       /       /
                                                                                                           active, commercially         sam.g www.
                                   Department of Transportation         20.825   Tanker Security           viable,
                                                                                                           The     privately-owned
                                                                                                                Tanker  Security        ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                 Program                  Program (TSP) will            /       /
                                                                                                          ensure that a core eet        sam.g www.
                                   Department of Transportation         20.901   Payments for Essential ofTheU.S.-based   product
                                                                                                               program provides         ov/fal/
                                                                                                                                        https:/ usasp
                                                                                                                                                https:/
                                                                                 Air Services             subsidies to air carriers     /       /
                                                                                                          to serve eligible             sam.g www.
                                                                                                          communities as                ov/fal/ usasp
                                   Department of Transportation         20.909   Transportation           The USDOT seeks               https:/ https:/
                                                                                 Research and             competitively selected        /       /
                                                                                 Technology               cooperative agreements        sam.g www.
                                   Department of Transportation         20.910   Advancement
                                                                                 Assistance               or grant
                                                                                             to Small and To enter recipients from
                                                                                                                    into successful     ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                 Disadvantaged           partnerships between           /       /
                                                                                 Businesses              OSDBU and chambers             sam.g www.
                                   Department of Transportation         20.930   Payments for Small      of commerce,
                                                                                                         The  SCASDP program            ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                 Community Air Service is designed to provide           /       /
                                                                                 Development              nancial assistance to         sam.g www.
                                                                                                         small communities, on a        ov/fal/ usasp
                                   Department of Transportation         20.931   Transportation          To provide funds to            https:/ https:/
                                                                                 Planning, Research and conduct research and            /       /
                                                                                 Education               development on                 sam.g www.
                                   Department of Transportation         20.933   National Infrastructure innovative
                                                                                                         RAISE (formerly                ov/fal/
                                                                                                                                        https:/ usasp
                                                                                                                                                https:/
                                                                                 Investments               BUILD) grants are for        /       /
                                                                                                           capital investments in       sam.g www.
                                                                                                           surface transportation       ov/fal/ usasp
                                   Department of Transportation         20.934   Nationally Signi cant     The Nationally               https:/ https:/
                                                                                 Freight and Highway       Signi cant Multimodal        /       /
                                                                                 Projects                  Freight and Highway          sam.g www.
                                   Department of Transportation         20.936   Transportation            Projects (NSMFHP)
                                                                                                           Transportation               ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                 Demonstration Program Demonstration grants         /       /
                                                                                                         are for infrastructure     sam.g www.
                                   Department of Transportation         20.937                           projects
                                                                                 National Infrastructure The  goalthat  expand
                                                                                                                    of the National ov/fal/ usasp
                                                                                                                                    https:/ https:/
                                                                                 Project Assistance      Infrastructure Project     /       /
                                                                                 (Mega Projects)         Assistance (Mega           sam.g www.
                                                                                                         Projects) program is to ov/fal/ usasp
                                   Department of Transportation         20.938   Rural Surface           The Rural Surface          https:/ https:/
                                                                                 Transportation Grant    Transportation Grant       /       /
                                                                                 Program                 Program will provide       sam.g www.
                                   Department of Transportation         20.939                           Federal    nancial
                                                                                 Safe Streets and Roads The purpose of SS4A         ov/fal/
                                                                                                                                    https:/ usasp
                                                                                                                                            https:/
                                                                                 for All                   grants is to improve         /       /
                                                                                                           roadway safety by            sam.g www.
                                                                                                           signi cantly reducing or     ov/fal/ usasp
                                   Department of Transportation         20.940   Reconnecting              The Reconnecting             https:/ https:/
                                                                                 Communities Pilot         Communities Pilot            /       /
                                                                                 (RCP) Discretionary       Program provides             sam.g www.
                                   Department of Transportation         20.941   Grant ProgramMobility
                                                                                 Strengthening             technical assistance
                                                                                                           Strengthening   Mobility     ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                 and Revolutionizing       and Revolutionizing          /       /
                                                                                 Transportation            Transportation               sam.g www.
                                   Department of Transportation         20.942   (SMART)Communities
                                                                                 Thriving Grants           (SMART)
                                                                                                           4 Capacityfunds  for
                                                                                                                       Builders         ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                 Program Capacity          were selected for FY22       /       /
                                                                                 Builders Cooperative      and 9 Capacity Builders      sam.g www.
                                                                                 Agreements                (6 Regional and 3            ov/fal/ usasp
                                   Department of Transportation         20.943   Rural and Tribal          The intent of this           https:/ https:/
                                                                                 Assistance Pilot          Program is to advance        /       /
                                                                                 Program                   transportation               sam.g www.
                                   Department of Transportation         20.944   Autonomous Vehicle        infrastructure
                                                                                                           The Autonomous projects in   ov/fal/
                                                                                                                                        https:/ usasp
                                                                                                                                                https:/
                                                                                 Research in Rural     Vehicle Research in         /       /
                                                                                 Communities Program   Rural Communities           sam.g www.
                                   Department of Transportation         20.945                         Program,
                                                                                 Asset Concessions and The        alsoof
                                                                                                            objective    known
                                                                                                                           this as ov/fal/ usasp
                                                                                                                                   https:/ https:/
                                                                                 Innovative Finance    program is to facilitate    /       /
                                                                                 Assistance            access to expert            sam.g www.
                                   Department of Transportation         20.946                         services
                                                                                 Research Partnership The        for, and
                                                                                                            climate   and to       ov/fal/
                                                                                                                                   https:/ usasp
                                                                                                                                           https:/
                                                                                 on Climate Change and transportation research /           /
                                                                                 Transportation        center shall advance        sam.g www.
                                   Department of Transportation         20.947   Advanced Bridge       the following
                                                                                                       Rutgers         research
                                                                                                                University         ov/fal/ https:/
                                                                                                                              has https:/  usasp
                                                                                 Technology                been awarded a               /       /
                                                                                 Clearinghouse (ABTC)      cooperative agreement        sam.g www.
                                                                                 Development               to develop and               ov/fal/ usasp
                                   Department of Transportation         20.948   MOBILITY EQUITY           The Mobility Equity          https:/ https:/
                                                                                 RESEARCH                  Research Initiative shall    /       /
                                                                                 INITIATIVE                advance research and         sam.g www.
                                   Department of Transportation         20.949   RESEARCH                  technology to study
                                                                                                           The research  expand will    ov/fal/
                                                                                                                                        https:/ usasp
                                                                                                                                                https:/
                                                                                 INITIATIVE ON THE         advance the                  /       /
                                                                                 USE OF STEEL SLAG         Decarbonization              sam.g www.
                                   Department of Transportation         20.950   IN CONCRETE
                                                                                 Bridge         AND
                                                                                        and Other        Research   Priority
                                                                                                         As stated in the and           ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                 Transportation          Consolidated                   /       /
                                                                                 Infrastructure Research Appropriations Act,            sam.g www.
                                                                                 Program                 2024, ARPA-I may fund          ov/fal/ usasp
                                   Department of Veterans Affairs       64.005   Grants to States for    To assist States to            https:/ https:/
                                                                                 Construction of State   acquire or construct           /       /
                                                                                 Home Facilities         State home facilities for      sam.g www.
                                   Department of Veterans Affairs       64.014   Veterans State          furnishing
                                                                                                         To providedomiciliary
                                                                                                                      nancial or        ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                 Domiciliary Care       assistance to States            /       /
                                                                                                        furnishing domiciliary          sam.g www.
                                                                                                        care to eligible veterans       ov/fal/ usasp
                                   Department of Veterans Affairs       64.015   Veterans State Nursing To provide nancial              https:/ https:/
                                                                                 Home Care              assistance to States            /       /
                                                                                                        furnishing nursing home         sam.g www.
                                   Department of Veterans Affairs       64.024   VA Homeless Providers care
                                                                                                        The VAto eligible
                                                                                                                 Homeless veterans      ov/fal/
                                                                                                                                        https:/ usasp
                                                                                                                                                https:/
                                                                                 Grant and Per Diem        Providers Grant and          /       /
                                                                                 Program                   Per Diem (GPD)               sam.g www.
                                   Department of Veterans Affairs       64.026   Veterans State Adult      Program
                                                                                                           To       is aVAâ€™s
                                                                                                              provide                   ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                 Day Health Care        community-based                 /       /
                                                                                                        program designed to             sam.g www.
                                                                                                        meet the needs of               ov/fal/ usasp
                                   Department of Veterans Affairs       64.028   Post-9/11 Veterans     To assist bene ciaries          https:/ https:/
                                                                                 Educational Assistance in receiving educational        /       /
                                                                                                        bene ts and training            sam.g www.
                                   Department of Veterans Affairs       64.031   Life Insurance for     andprovide
                                                                                                        To   to helpdirect
                                                                                                                     service            ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                 Veterans - Direct      insurance payments,             /       /
                                                                                 Payments for Insurance including advance               sam.g www.
                                                                                                        payments disbursed as           ov/fal/ usasp
                                   Department of Veterans Affairs       64.032   Montgomery GI Bill     To encourage                    https:/ https:/
                                                                                 Selected Reserve       membership in units of          /       /
                                                                                                        the Selected Reserve of         sam.g www.
                                   Department of Veterans Affairs       64.033   VA Supportive Services the  Ready Reserve
                                                                                                        To provide           and
                                                                                                                    supportive          ov/fal/
                                                                                                                                        https:/ usasp
                                                                                                                                                https:/
                                                                                 for Veteran Families      services grants to           /       /
                                                                                 Program                   private non-pro t            sam.g www.
                                   Department of Veterans Affairs       64.034                           organizations
                                                                                 VA Grants for Adaptive To               and to
                                                                                                             provide grants             ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                 Sports Programs for     eligible adaptive sports       /       /
                                                                                 Disabled Veterans and entities to plan,                sam.g www.
                                                                                 Disabled Members of     develop, manage, and           ov/fal/ usasp
                                   Department of Veterans Affairs       64.035   Veterans Transportation This program furthers          https:/ https:/
                                                                                 Program                 the Departmentâ€™s             /       /
                                                                                                         mission by establishing        sam.g www.
                                   Department of Veterans Affairs       64.037   VA U.S. Paralympics     a program
                                                                                                         To  promotetothe
                                                                                                                        provide
                                                                                                                          lifelong      ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                 Monthly Assistance        health and to motivate,      /       /
                                                                                 Allowance Program         encourage and sustain        sam.g www.
                                   Department of Veterans Affairs       64.039   CHAMPVA                   participationisand
                                                                                                           CHAMPVA         health       ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                                        care program that               /       /
                                                                                                        shares the cost of              sam.g www.
                                                                                                        health care services            ov/fal/ usasp
                                   Department of Veterans Affairs       64.051   Specially Adapted      Pursuant to the                 https:/ https:/
                                                                                 Housing Assistive      Veteransâ€™ Bene t              /       /
                                                                                 Technology Grant       Act of 2010, the                sam.g www.
                                   Department of Veterans Affairs       64.053   Program to States for In
                                                                                 Payments               Secretary
                                                                                                           accordanceof Veterans
                                                                                                                          with the      ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                 Programs to Promote    provisions of 38 U.S.C.         /       /
                                                                                 the Hiring and         1744, this part sets forth      sam.g www.
                                                                                 Retention of Nurses at the mechanism for a             ov/fal/ usasp
                                   Department of Veterans Affairs       64.054   Research and           In accordance with the          https:/ https:/
                                                                                 Development            provisions of Title 38          /       /
                                                                                                        U.S.C. 7303, this part          sam.g www.
                                   Department of Veterans Affairs       64.055   Staff Sergeant Parker  setsprovide
                                                                                                        To    forth the
                                                                                                                      resources         ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                 Gordon Fox Suicide        toward community-            /       /
                                                                                 Prevention Grant          based suicide                sam.g www.
                                   Department of Veterans Affairs       64.056   Program
                                                                                 Legal Services for        prevention
                                                                                                           To         efforts to
                                                                                                              provide legal             ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                 Veterans Grants           services grants to public    /       /
                                                                                                           and non-pro t private        sam.g www.
                                                                                                           entities who will provide    ov/fal/ usasp
                                   Department of Veterans Affairs       64.057   Suicide Mortality         This funding supports        https:/ https:/
                                                                                 Review Cooperative        States, territories, and     /       /
                                                                                 Agreements                Tribal entities in           sam.g www.
                                   Department of Veterans Affairs       64.058   Veteran and Spouse        establishing,
                                                                                                           The Secretary of             ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                 Transitional Assistance   Veterans Affairs will        /       /
                                                                                 Grant Program             make grants available        sam.g www.
                                                                                 (VSTAGP)                  to eligible organizations    ov/fal/ usasp
                                   Department of Veterans Affairs       64.100   Automobiles and           Provide nancial              https:/ https:/
                                                                                 Adaptive Equipment for    assistance to certain        /       /
                                                                                 Certain Disabled          disabled servicepersons      sam.g www.
                                   Department of Veterans Affairs       64.101   Veterans
                                                                                 Burial    and Members
                                                                                        Expenses           and
                                                                                                           If theVeterans
                                                                                                                  Veteran toward
                                                                                                                           died on or   ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                 Allowance for Veterans after October 1, 2024,     /       /
                                                                                                         VA will provide a         sam.g www.
                                   Department of Veterans Affairs       64.104   Pension for Non-        monetary
                                                                                                         To          allowance not ov/fal/
                                                                                                            assist wartime                 usasp
                                                                                                                                   https:/ https:/
                                                                                 Service-Connected       veterans in need whose /          /
                                                                                 Disability for Veterans non-service- connected sam.g www.
                                                                                                         disabilities are          ov/fal/ usasp
                                   Department of Veterans Affairs       64.105   Pension to Veterans     To assist needy           https:/ https:/
                                                                                 Surviving Spouses, and surviving spouses, and /           /
                                                                                 Children                children of deceased      sam.g www.
                                   Department of Veterans Affairs       64.106   Specially Adapted       war-time
                                                                                                         To         veterans
                                                                                                            help certain           ov/fal/ https:/
                                                                                                                          severely https:/ usasp
                                                                                 Housing for Disabled  disabled veterans                /       /
                                                                                 Veterans              acquire a home which is          sam.g www.
                                   Department of Veterans Affairs       64.109   Veterans Compensation suitably adapted
                                                                                                       Compensate          to
                                                                                                                       Veterans         ov/fal/
                                                                                                                                        https:/ usasp
                                                                                                                                                https:/
                                                                                 for Service-Connected for disabilities incurred        /       /
                                                                                 Disability            in or aggravated during          sam.g www.
                                   Department of Veterans Affairs       64.110   Veterans Dependency Tomilitary service
                                                                                                           compensate                   ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                 and Indemnity             surviving spouses,           /       /
                                                                                 Compensation for          children and parents for     sam.g www.
                                   Department of Veterans Affairs       64.114   Service-Connected
                                                                                 Veterans Housing          theassist
                                                                                                           To  deathveterans,
                                                                                                                     of any             ov/fal/ https:/
                                                                                                                                        https:/ usasp
                                                                                 Guaranteed and            certain service              /       /
                                                                                 Insured Loans             personnel, and certain       sam.g www.
                                                                                                           unmarried surviving          ov/fal/ usasp




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                                                   Department of Veterans Affairs        64.116   Veteran Readiness and To provide all services         https:/ https:/
                                                                                                  Employment            and assistance                  /       /
                                                                                                                        necessary to enable             sam.g www.
                                                   Department of Veterans Affairs        64.117   Survivors and         Veterans
                                                                                                                        To providewith service-
                                                                                                                                   educational          ov/fal/ https:/
                                                                                                                                                        https:/ usasp
                                                                                                  Dependents             opportunities to the           /       /
                                                                                                  Educational Assistance dependents of certain          sam.g www.
                                                   Department of Veterans Affairs        64.118   Veterans Housing       disabled and
                                                                                                                         To provide    deceased
                                                                                                                                    veterans            ov/fal/
                                                                                                                                                        https:/ usasp
                                                                                                                                                                https:/
                                                                                                  Direct Loans for Certain who are eligible for a       /       /
                                                                                                  Disabled Veterans        Specially Adapted            sam.g www.
                                                                                                                           Housing grant with a         ov/fal/ usasp
                                                   Department of Veterans Affairs        64.120   Post-Vietnam Era         To provide educational       https:/ https:/
                                                                                                  Veterans' Educational assistance to persons           /       /
                                                                                                  Assistance               entering the Armed           sam.g www.
                                                   Department of Veterans Affairs        64.124   All-Volunteer Force      Forces
                                                                                                                           To help after December
                                                                                                                                   servicepersons       ov/fal/ https:/
                                                                                                                                                        https:/ usasp
                                                                                                  Educational Assistance readjust to civilian life      /       /
                                                                                                                         after their separation         sam.g www.
                                                   Department of Veterans Affairs        64.125   Vocational and         from
                                                                                                                         To    military
                                                                                                                            offer       service.
                                                                                                                                  vocational   and      ov/fal/ https:/
                                                                                                                                                        https:/ usasp
                                                                                                  Educational Counseling educational counseling         /       /
                                                                                                  for Servicemembers     to service members             sam.g www.
                                                                                                  and Veterans           within 180 days of their       ov/fal/ usasp
                                                   Department of Veterans Affairs        64.126   Native American        To provide direct loans        https:/ https:/
                                                                                                  Veteran Direct Loan    to certain veterans who        /       /
                                                                                                  Program                are, or whose spouses          sam.g www.
                                                   Department of Veterans Affairs        64.127   Monthly Allowance for are,  Native Americans
                                                                                                                         To provide   nancial           ov/fal/
                                                                                                                                                        https:/ usasp
                                                                                                                                                                https:/
                                                                                                  Children of Vietnam       assistance to certain       /       /
                                                                                                  Veterans Born with        children born with spina    sam.g www.
                                                                                                  Spina Bi da               bi da who are children      ov/fal/ usasp
                                                   Department of Veterans Affairs        64.128   Vocational Training and   To provide services to      https:/ https:/
                                                                                                  Rehabilitation Bene ts    children of Vietnam         /       /
                                                                                                  for Children of Vietnam   Veterans born with          sam.g www.
                                                   Department of Veterans Affairs        64.130   VeteransRapid
                                                                                                  Veteran   and Certain     spinaVeteran
                                                                                                                            The    bi da (except
                                                                                                                                          Rapid for     ov/fal/ https:/
                                                                                                                                                        https:/ usasp
                                                                                                  Retraining Assistance     Retraining Assistance       /       /
                                                                                                  Program                   Program (VRRAP) was sam.g www.
                                                   Department of Veterans Affairs        64.201   National Cemeteries       enacted
                                                                                                                            To  verify on March
                                                                                                                                       military   11,
                                                                                                                                                service ov/fal/ usasp
                                                                                                                                                        https:/ https:/
                                                                                                                            and determine eligibility /         /
                                                                                                                            for burial in a VA          sam.g www.
                                                                                                                            national cemetery. To       ov/fal/ usasp
                                                   Department of Veterans Affairs        64.202   Procurement of            Provide Government-         https:/ https:/
                                                                                                  Headstones and            furnished headstones        /       /
                                                                                                  Markers and/or            and markers to mark         sam.g www.
                                                   Department of Veterans Affairs        64.203   Presidential Memorial
                                                                                                  Veterans Cemetery         the  graves  of  and
                                                                                                                            To assist States and        ov/fal/
                                                                                                                                                        https:/ usasp
                                                                                                                                                                https:/
                                                                                                  Grants Program         federally recognized           /       /
                                                                                                                         tribal governments in          sam.g www.
                                                                                                                         the establishment,             ov/fal/ usasp
                                                   Department of Veterans Affairs        64.204   Veterans Legacy Grants Veterans Legacy Grants         https:/ https:/
                                                                                                  Program                Program will provide           /       /
                                                                                                                         grants to eligible entities    sam.g www.
                                                   Department of Veterans Affairs        64.205   VA Casket or Urn       for provide
                                                                                                                         To  the purpose   of
                                                                                                                                     a monetary         ov/fal/ https:/
                                                                                                                                                        https:/ usasp
                                                                                                  Allowance Program         allowance for the           /       /
                                                                                                                            purchase of a casket or     sam.g www.
                                                   Department of Veterans Affairs        64.206   VA Outer Burial           urn used to
                                                                                                                            Monetary    inter
                                                                                                                                      allowance for     ov/fal/ https:/
                                                                                                                                                        https:/ usasp
                                                                                                  Receptacle Allowance    an outer burial               /       /
                                                                                                  Program                 receptacle (OBR) for          sam.g www.
                                                                                                                          any casketed burial in a      ov/fal/ usasp
                                                   Environmental Protection Agency       66.001   Air Pollution Control   The objectives of the         https:/ https:/
                                                                                                  Program Support         Â§105 program are to          /       /
                                                                                                                          assist state, tribal,         sam.g www.
                                                   Environmental Protection Agency       66.032   State and Tribal Indoor municipal,
                                                                                                                          EPA assists states and        ov/fal/
                                                                                                                                                        https:/ usasp
                                                                                                                                                                https:/
                                                                                                  Radon Grants            federally recognized          /       /
                                                                                                                          tribes to provide radon       sam.g www.
                                                   Environmental Protection Agency       66.033   Ozone Transport         risk reduction
                                                                                                                          The             through
                                                                                                                                overall goal of the     ov/fal/ https:/
                                                                                                                                                        https:/ usasp
                                                                                                  Commission                Ozone Transport             /       /
                                                                                                                            Commission (OTC)            sam.g www.
                                                   Environmental Protection Agency       66.034   Surveys, Studies,         grantobjectives
                                                                                                                            The   is to facilitate
                                                                                                                                              of this   ov/fal/ https:/
                                                                                                                                                        https:/ usasp
                                                                                                  Research,                 assistance listing are to   /       /
                                                                                                  Investigations,           fund surveys, research,     sam.g www.
                                                   Environmental Protection Agency       66.037   Demonstrations,
                                                                                                  Internships,      and
                                                                                                               Training     investigations,
                                                                                                                            To provide, Internships,    ov/fal/ https:/
                                                                                                                                                        https:/ usasp
                                                                                                  and Workshops for the Training, Workshops,            /       /
                                                                                                  Of ce of Air and          and Technical               sam.g www.
                                                                                                  Radiation                 Monitoring in support of    ov/fal/ usasp
                                                   Environmental Protection Agency       66.038   Training, Investigations, To support Federally-       https:/ https:/
                                                                                                  and Special Purpose       recognized Indian           /       /
                                                                                                  Activities of Federally- Tribes' efforts to           sam.g www.
                                                   Environmental Protection Agency       66.039   Recognized    Indian
                                                                                                  Diesel Emission           understand,  assess and
                                                                                                                            The Diesel Emissions        ov/fal/
                                                                                                                                                        https:/ usasp
                                                                                                                                                                https:/
                                                                                                  Reduction Act (DERA)  Reduction Act, 42         /       /
                                                                                                  National Grants       U.S.C. 16132 et seq.,     sam.g www.
                                                   Environmental Protection Agency       66.040   Diesel Emissions      as amended,
                                                                                                                        The            authorizes ov/fal/
                                                                                                                             Diesel Emissions             usasp
                                                                                                                                                  https:/ https:/
                                                                                                  Reduction Act (DERA)  Reduction Act, 42         /       /
                                                                                                  State Grants          U.S.C. 16131 et seq.,     sam.g www.
                                                                                                                        as amended, authorizes ov/fal/ usasp
                                                   Environmental Protection Agency       66.042   Temporally Integrated EPA will award            https:/ https:/
                                                                                                  Monitoring of         interagency and           /       /
                                                                                                  Ecosystems (TIME) and cooperative agreements sam.g www.
                                                   Environmental Protection Agency       66.044   Long-Term
                                                                                                  Wild       Monitoring EPA
                                                                                                       re Smoke         to study the chemical
                                                                                                                             is providing         ov/fal/ https:/
                                                                                                                                          grants https:/  usasp
                                                                                                  Preparedness in           to States, federally        /       /
                                                                                                  Community Buildings       recognized Tribes,          sam.g www.
                                                                                                  Grant Program             public pre-schools, local   ov/fal/ usasp
                                                   Environmental Protection Agency       66.045   Clean School Bus          Title XI, Section 71101     https:/ https:/
                                                                                                  Program                   of the Infrastructure       /       /
                                                                                                                            Investment and Jobs         sam.g www.
                                                   Environmental Protection Agency       66.046   Climate Pollution         Act
                                                                                                                            EPA(or   The Bipartisan
                                                                                                                                  is providing grants   ov/fal/
                                                                                                                                                        https:/ usasp
                                                                                                                                                                https:/
                                                                                                  Reduction Grants       to States, Locals,             /       /
                                                                                                                         Federally Recognized           sam.g www.
                                                   Environmental Protection Agency       66.047   Hydro uorocarbon       Indian Tribal
                                                                                                                         Section  60109(a)(3) of        ov/fal/ https:/
                                                                                                                                                        https:/ usasp
                                                                                                  Reclaim and Innovative the In ation Reduction         /       /
                                                                                                  Destruction Grants     Act provided EPA with          sam.g www.
                                                                                                                         $15 million for                ov/fal/ usasp
                                                   Environmental Protection Agency       66.048   Greenhouse Gas and     EPA is providing grants        https:/ https:/
                                                                                                  Zero Emission On-road to support state                /       /
                                                                                                  Mobile Source          governments that are           sam.g www.
                                                   Environmental Protection Agency       66.049   Standards
                                                                                                  Clean Heavy-Duty       interested
                                                                                                                         Section    in adopting
                                                                                                                                  60101  of the         ov/fal/ https:/
                                                                                                                                                        https:/ usasp
                                                                                                  Vehicles Program          In ation Reduction Act      /       /
                                                                                                                            of 2022 (or IRA)            sam.g www.
                                                                                                                            amended the Clean Air       ov/fal/ usasp
                                                   Environmental Protection Agency       66.051   Clean Ports Program       Section 60102 of the        https:/ https:/
                                                                                                                            In ation Reduction Act      /       /
                                                                                                                            of 2022 (or IRA)            sam.g www.
                                                   Environmental Protection Agency       66.110   Healthy Communities       amended   the Clean Air
                                                                                                                            The Healthy                 ov/fal/
                                                                                                                                                        https:/ usasp
                                                                                                                                                                https:/
                                                                                                  Grant Program           Communities Grant             /       /
                                                                                                                          Program is a                  sam.g www.
                                                   Environmental Protection Agency       66.121                           competitive
                                                                                                  Geographic Programs - Puget    Soundgrant
                                                                                                                                        has been        ov/fal/ https:/
                                                                                                                                                        https:/ usasp
                                                                                                  Puget Sound Protection designated as one of 28        /       /
                                                                                                  and Restoration: Tribal estuaries of National         sam.g www.
                                                                                                  Implementation          Signi cance under             ov/fal/ usasp
                                                   Environmental Protection Agency       66.123   Geographic Programs - Puget Sound has been            https:/ https:/
                                                                                                  Puget Sound Action      designated as one of 28       /       /
                                                                                                  Agenda: Technical       estuaries of National         sam.g www.
                                                   Environmental Protection Agency       66.124   Investigations
                                                                                                  Geographic     and
                                                                                                               Programs   SigniEPA
                                                                                                                          The   cance  under
                                                                                                                                   Region   6           ov/fal/ https:/
                                                                                                                                                        https:/ usasp
                                                                                                  â€“ Coastal Wetlands Coastal Wetlands                 /       /
                                                                                                  Planning Protection and Planning, Protection          sam.g www.
                                                   Environmental Protection Agency       66.125   Restoration Act
                                                                                                  Geographic              and Restoration
                                                                                                              Programs - The              Act
                                                                                                                              purpose of the            ov/fal/ https:/
                                                                                                                                                        https:/ usasp
                                                                                                  Lake Pontchartrain        Clean Water Act             /       /
                                                                                                  Basic Restoration         Section 121 (33 U.S.C.      sam.g www.
                                                                                                  Program (PRP)             1273) Lake                  ov/fal/ usasp
                                                   Environmental Protection Agency       66.126   Geographic Programs -     The goals of the SF Bay     https:/ https:/
                                                                                                  San Francisco Bay         Restoration Program         /       /
                                                                                                  Water Quality             (formally SF Bay Grant      sam.g www.
                                                   Environmental Protection Agency       66.129   ImprovementPrograms
                                                                                                  Geographic    Fund  -     Program)
                                                                                                                            To  developare
                                                                                                                                        andto support   ov/fal/ https:/
                                                                                                                                                        https:/ usasp
                                                                                                  Southeast New England the Southeast New               /       /
                                                                                                  Coastal Watershed     England Program                 sam.g www.
                                                                                                  Restoration Program   (SNEP) for coastal              ov/fal/ usasp
                                                   Environmental Protection Agency       66.130   Geographic Programs - The primary objective of        https:/ https:/
                                                                                                  Gulf Coast Ecosystem this program is to               /       /
                                                                                                  Restoration Council   disburse funds to               sam.g www.
                                                   Environmental Protection Agency       66.202   Comprehensive Plan
                                                                                                  Congressionally       eligible
                                                                                                                        To       entitiesspecial
                                                                                                                            implement                   ov/fal/ https:/
                                                                                                                                                        https:/ usasp
                                                                                                  Mandated Projects      Congressionally                /       /
                                                                                                                         mandated spending for          sam.g www.
                                                   Environmental Protection Agency       66.203                          projects
                                                                                                  Environmental Finance The        or programs
                                                                                                                              Environmental             ov/fal/ https:/
                                                                                                                                                        https:/ usasp
                                                                                                  Center Grants          Finance Center Grant           /       /
                                                                                                                         Program provides               sam.g www.
                                                                                                                         funding to support             ov/fal/ usasp
                                                   Environmental Protection Agency       66.204   Multipurpose Grants to Multipurpose Grants            https:/ https:/
                                                                                                  States and Tribes      (MPGs) are intended to         /       /
                                                                                                                         be used at state and           sam.g www.
                                                   Environmental Protection Agency       66.305                          tribal discretion,
                                                                                                  Compliance Assistance Since    1996, in for           ov/fal/ https:/
                                                                                                                                                        https:/ usasp
                                                                                                  Support for Services to   partnership with            /       /
                                                                                                  the Regulated             industry associations,      sam.g www.
                                                                                                  Community and Other       universities and other      ov/fal/ usasp
                                                   Environmental Protection Agency       66.306   Environmental Justice     The Environmental           https:/ https:/
                                                                                                  Collaborative Problem-    Justice Collaborative       /       /
                                                                                                  Solving Cooperative       Problem-Solving             sam.g www.
                                                   Environmental Protection Agency       66.309   Agreement
                                                                                                  Surveys,    Program
                                                                                                           Studies,         (EJCPS)
                                                                                                                            The       Cooperative
                                                                                                                                 program's  objective   ov/fal/ https:/
                                                                                                                                                        https:/ usasp
                                                                                                  Investigations, Training is to provide funding in     /       /
                                                                                                  and Special Purpose      support of surveys,          sam.g www.
                                                   Environmental Protection Agency       66.312   Activities Relating
                                                                                                  Environmental       to
                                                                                                                   Justice studies  and of this
                                                                                                                           The purpose                  ov/fal/ https:/
                                                                                                                                                        https:/ usasp
                                                                                                  Government-to-           cooperative agreement        /       /
                                                                                                  Government (EJG2G) program is to support              sam.g www.
                                                                                                  Program                  and/or create model          ov/fal/ usasp
                                                   Environmental Protection Agency       66.313   International            The primary purpose of       https:/ https:/
                                                                                                  Compliance and           this program is to           /       /
                                                                                                  Enforcement Projects     support projects that        sam.g www.
                                                   Environmental Protection Agency       66.418                            protect
                                                                                                  Construction Grants for To        human
                                                                                                                               assist      health
                                                                                                                                      and serve as      ov/fal/ https:/
                                                                                                                                                        https:/ usasp
                                                                                                  Wastewater Treatment    an incentive in               /       /
                                                                                                  Works                   construction of               sam.g www.
                                                   Environmental Protection Agency       66.419   Water Pollution Control municipal  wastewater
                                                                                                                          To assist States              ov/fal/
                                                                                                                                                        https:/ usasp
                                                                                                                                                                https:/
                                                                                                  State, Interstate, and  (including territories and    /       /
                                                                                                  Tribal Program Support the District of                sam.g www.
                                                   Environmental Protection Agency       66.424   Surveys, Studies,       Columbia),
                                                                                                                          To          Indian
                                                                                                                             support developing,        ov/fal/ https:/
                                                                                                                                                        https:/ usasp
                                                                                                  Investigations,           expanding, planning,        /       /
                                                                                                  Demonstrations, and       implementing, and           sam.g www.
                                                   Environmental Protection Agency       66.432   Training
                                                                                                  State    Grants
                                                                                                        Public    -
                                                                                                               Water        improving
                                                                                                                            The objective of these      ov/fal/ https:/
                                                                                                                                                        https:/ usasp
                                                                                                  System Supervision        grants is to provide        /       /
                                                                                                                             nancial assistance to      sam.g www.
                                                                                                                            eligible States and         ov/fal/ usasp




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                                                                      Case 1:25-cv-00039-JJM-PAS                                                             Document 1-2   Filed 01/28/25   Page 49 of 53 PageID
                                                                                                                                                                    #: 96
                                    Environmental Protection Agency       66.433   State Underground          To foster development        https:/ https:/
                                                                                   Water Source               and implementation of        /       /
                                                                                   Protection                 underground injection        sam.g www.
                                    Environmental Protection Agency       66.436   Surveys, Studies,          control
                                                                                                              To      (UIC)
                                                                                                                 support  theprograms      ov/fal/ https:/
                                                                                                                                           https:/ usasp
                                                                                   Investigations,            coordination and             /       /
                                                                                   Demonstrations, and        acceleration of              sam.g www.
                                    Environmental Protection Agency       66.437   Training Grants
                                                                                   Geographic      and
                                                                                                Programs      research,
                                                                                                              The Long Island Sound        ov/fal/
                                                                                                                                           https:/ usasp
                                                                                                                                                   https:/
                                                                                   â€“ Long Island Sound Program: (1)                      /       /
                                                                                   Program               implements the Long               sam.g www.
                                                                                                         Island Sound Study                ov/fal/ usasp
                                    Environmental Protection Agency       66.441   Healthy Watersheds    To support strategically          https:/ https:/
                                                                                   Consortium Grant      protecting healthy                /       /
                                                                                   Program               watersheds across the             sam.g www.
                                    Environmental Protection Agency       66.442   Water Infrastructure  country.
                                                                                                         The      The focus
                                                                                                              objective is to of           ov/fal/ https:/
                                                                                                                                           https:/ usasp
                                                                                   Improvements for the       assist small and             /       /
                                                                                   Nation Small and           underserved                  sam.g www.
                                    Environmental Protection Agency       66.443   Underserved
                                                                                   Reducing Lead in        communities    to comply
                                                                                                           The grant program               ov/fal/ https:/
                                                                                                                                           https:/ usasp
                                                                                   Drinking Water (SDWA funds activities to                /       /
                                                                                   1459B)                  reduce lead in drinking         sam.g www.
                                                                                                           water in disadvantaged          ov/fal/ usasp
                                    Environmental Protection Agency       66.444   Voluntary School and    Funding is awarded to           https:/ https:/
                                                                                   Child Care Lead Testing states, territories, and        /       /
                                                                                   and Reduction Grant     Tribal Consortia to             sam.g www.
                                    Environmental Protection Agency       66.445   Program
                                                                                   Innovative(SDWA
                                                                                               Water       assist local
                                                                                                           To inform  theeducational
                                                                                                                           public          ov/fal/
                                                                                                                                           https:/ usasp
                                                                                                                                                   https:/
                                                                                   Infrastructure Workforce about the role of water        /       /
                                                                                   Development Program and wastewater                      sam.g www.
                                                                                   (SDWA 1459E)             systems in their               ov/fal/ usasp
                                    Environmental Protection Agency       66.446   Technical Assistance for The objective is to            https:/ https:/
                                                                                   Treatment Works          provide technical              /       /
                                                                                   (Clean Water Act [CWA] assistance and training          sam.g www.
                                    Environmental Protection Agency       66.447   SectionOver
                                                                                   Sewer    104(b)(8))
                                                                                                 ow and     to rural,
                                                                                                            The       small,of
                                                                                                                 objective   and
                                                                                                                               thetribal   ov/fal/ https:/
                                                                                                                                           https:/ usasp
                                                                                   Stormwater Reuse       OSG Program is to                /       /
                                                                                   Municipal Grant        award grants to the              sam.g www.
                                    Environmental Protection Agency       66.448   Program                states,
                                                                                   Drinking Water System The       the District
                                                                                                                purpose  of thisof         ov/fal/ https:/
                                                                                                                                           https:/ usasp
                                                                                   Infrastructure         grant program is to              /       /
                                                                                   Resilience and         increase drinking water          sam.g www.
                                                                                   Sustainability Program system resilience to             ov/fal/ usasp
                                    Environmental Protection Agency       66.454   Water Quality          This program assists             https:/ https:/
                                                                                   Management Planning States (including                   /       /
                                                                                                          territories and the              sam.g www.
                                    Environmental Protection Agency       66.456   National Estuary       District of Columbia),
                                                                                                          The National   Estuary           ov/fal/
                                                                                                                                           https:/ usasp
                                                                                                                                                   https:/
                                                                                   Program                    Program (NEP) goal is        /       /
                                                                                                              to protect and restore       sam.g www.
                                                                                                              the water quality and        ov/fal/ usasp
                                    Environmental Protection Agency       66.458   Clean Water State          To create State              https:/ https:/
                                                                                   Revolving Fund             Revolving Funds              /       /
                                                                                                              (SRFs) through a             sam.g www.
                                    Environmental Protection Agency       66.460   Nonpoint Source            program
                                                                                                              To assist of
                                                                                                                        States, the        ov/fal/ https:/
                                                                                                                                           https:/ usasp
                                                                                   Implementation Grants District of Columbia,             /       /
                                                                                                         American Samoa,                   sam.g www.
                                    Environmental Protection Agency       66.461   Regional Wetland      Guam,
                                                                                                         To assistNorthern
                                                                                                                    state, territory,      ov/fal/ https:/
                                                                                                                                           https:/ usasp
                                                                                   Program Development   tribal, and/or local              /       /
                                                                                   Grants                government agencies               sam.g www.
                                                                                                         in building programs              ov/fal/ usasp
                                    Environmental Protection Agency       66.462   National Wetland      To assist state, Tribal,          https:/ https:/
                                                                                   Program Development territory and/or local              /       /
                                                                                   Grants and Five-Star  government agencies               sam.g www.
                                    Environmental Protection Agency       66.466   Restoration
                                                                                   Geographic Programs - in
                                                                                               Training  Thebuilding programs
                                                                                                              Chesapeake      Bay is       ov/fal/
                                                                                                                                           https:/ usasp
                                                                                                                                                   https:/
                                                                                   Chesapeake Bay        a national treasure and           /       /
                                                                                   Program               unique as North                   sam.g www.
                                    Environmental Protection Agency       66.468   Drinking Water State  America's
                                                                                                         To  providelargest   and
                                                                                                                     a low-cost,           ov/fal/ https:/
                                                                                                                                           https:/ usasp
                                                                                   Revolving Fund         long-term source of              /       /
                                                                                                          drinking water                   sam.g www.
                                    Environmental Protection Agency       66.469                          infrastructure
                                                                                   Geographic Programs - The   Great Lakesnancing,         ov/fal/ https:/
                                                                                                                                           https:/ usasp
                                                                                   Great Lakes            Restoration Initiative           /       /
                                                                                   Restoration Initiative (GLRI) was launched in           sam.g www.
                                    Environmental Protection Agency       66.472   Beach Monitoring and To2010  as aCoastal and
                                                                                                              assist                       ov/fal/ https:/
                                                                                                                                           https:/ usasp
                                                                                   Noti cation Program   Great Lakes States,               /       /
                                                                                   Implementation Grants Territories, and Tribes           sam.g www.
                                                                                                         eligible under Section            ov/fal/ usasp
                                    Environmental Protection Agency       66.473   Direct Implementation Direct Implementation             https:/ https:/
                                                                                   Tribal Cooperative    Tribal Cooperative                /       /
                                                                                   Agreements            Agreements (DITCAs)               sam.g www.
                                    Environmental Protection Agency       66.475   Geographic Programs enable     EPA to award
                                                                                                         The objectives  of the            ov/fal/
                                                                                                                                           https:/ usasp
                                                                                                                                                   https:/
                                                                                   â€“ Gulf of Mexico         Gulf of Mexico               /       /
                                                                                   Program                    Program, housed within       sam.g www.
                                    Environmental Protection Agency       66.481   Geographic Programs        the Gulf
                                                                                                              The  goalofofMexico
                                                                                                                           this            ov/fal/ https:/
                                                                                                                                           https:/ usasp
                                                                                   â€“ Lake Champlain     program is to implement          /       /
                                                                                   Basin Program          the Lake Champlain               sam.g www.
                                                                                                          Basin Management                 ov/fal/ usasp
                                    Environmental Protection Agency       66.484   Geographic Programs - The EPA South Florida             https:/ https:/
                                                                                   South Florida          Program provides                 /       /
                                                                                   Geographic Initiatives competitive grants to            sam.g www.
                                    Environmental Protection Agency       66.485   Programfor the Gulf
                                                                                   Support                address
                                                                                                          The       the immediate
                                                                                                               Infrastructure              ov/fal/ https:/
                                                                                                                                           https:/ usasp
                                                                                   Hypoxia Action Plan    Investment and Jobs              /       /
                                                                                                          Act (Public Law 117-58)          sam.g www.
                                                                                                          which is generally               ov/fal/ usasp
                                    Environmental Protection Agency       66.486   Underground Injection The Infrastructure                https:/ https:/
                                                                                   Control Program        Investment and Jobs              /       /
                                                                                   Grants: Class VI       Act (Public Law 117-58,          sam.g www.
                                    Environmental Protection Agency       66.487   Carbon  Sequestration
                                                                                   Non-State  Member      Nov.  15, 2021), also
                                                                                                          The Infrastructure               ov/fal/
                                                                                                                                           https:/ usasp
                                                                                                                                                   https:/
                                                                                   Support for the Gulf       Investment and Jobs          /       /
                                                                                   Hypoxia Action Plan        Act (Public Law 117-58)      sam.g www.
                                    Environmental Protection Agency       66.489   Response to            which
                                                                                                          To     is generally
                                                                                                             assist  in responding         ov/fal/ https:/
                                                                                                                                           https:/ usasp
                                                                                   Emergency Situations to and alleviating                 /       /
                                                                                   Affecting Public Water emergency situations             sam.g www.
                                                                                   Systems (SDWA 1442b) affecting public water             ov/fal/ usasp
                                    Environmental Protection Agency       66.490   Centers of Excellence To improve the                    https:/ https:/
                                                                                   for Stormwater Control effectiveness, cost              /       /
                                                                                   Infrastructure         ef ciency, and                   sam.g www.
                                    Environmental Protection Agency       66.508   Technologies
                                                                                   Senior         Grant
                                                                                           Environmental  protection
                                                                                                          To use the of  publicof
                                                                                                                       talents             ov/fal/ https:/
                                                                                                                                           https:/ usasp
                                                                                   Employment Program         Americans 55 years of        /       /
                                                                                                              age or older to provide      sam.g www.
                                                                                                              technical assistance to      ov/fal/ usasp
                                    Environmental Protection Agency       66.509   Science To Achieve         The Science to Achieve       https:/ https:/
                                                                                   Results (STAR)             Results (STAR)               /       /
                                                                                   Research Program           Program's goal is to         sam.g www.
                                    Environmental Protection Agency       66.510   Surveys, Studies,          stimulate
                                                                                                              The Of ceand   support
                                                                                                                         of Research       ov/fal/
                                                                                                                                           https:/ usasp
                                                                                                                                                   https:/
                                                                                   Investigations and      and Development                 /       /
                                                                                   Special Purpose Grants (ORD) supports                   sam.g www.
                                    Environmental Protection Agency       66.511   within
                                                                                   Of  ce the Of ce of and The
                                                                                          of Research      surveys,
                                                                                                               Of cestudies, and
                                                                                                                      of Research          ov/fal/ https:/
                                                                                                                                           https:/ usasp
                                                                                   Development            and Developmentâ€™s              /       /
                                                                                   Consolidated Research/ (ORD) Consolidated               sam.g www.
                                                                                   Training/Fellowships   Research/Training/               ov/fal/ usasp
                                    Environmental Protection Agency       66.516   P3 Award: National     The P3 program                   https:/ https:/
                                                                                   Student Design         supports research,               /       /
                                                                                   Competition for        development, and                 sam.g www.
                                    Environmental Protection Agency       66.518   Sustainability
                                                                                   State Senior           design
                                                                                                          To     of innovative
                                                                                                             use the  talents of           ov/fal/ https:/
                                                                                                                                           https:/ usasp
                                                                                   Environmental              Americans 55 years of        /       /
                                                                                   Employment Program         age or older to provide      sam.g www.
                                    Environmental Protection Agency       66.521   Innovative Water           technical
                                                                                                              The       assistance
                                                                                                                  purpose   of this to     ov/fal/ https:/
                                                                                                                                           https:/ usasp
                                                                                   Technology Grant        program is to accelerate        /       /
                                                                                   Program                 the development and             sam.g www.
                                                                                                           deployment of                   ov/fal/ usasp
                                    Environmental Protection Agency       66.522   Enhanced Aquifer Use The purpose of this                https:/ https:/
                                                                                   and Recharge Program program is to carry out            /       /
                                                                                                           groundwater research            sam.g www.
                                    Environmental Protection Agency       66.600   Environmental           on enhanced
                                                                                                           The  Omnibus aquifer
                                                                                                                          Territories      ov/fal/ https:/
                                                                                                                                           https:/ usasp
                                                                                   Protection Consolidated Act (OTA) allows the            /       /
                                                                                   Grants for the Insular  Insular Areas to                sam.g www.
                                                                                   Areas - Program         consolidate their               ov/fal/ usasp
                                    Environmental Protection Agency       66.604   Environmental Justice The Environmental                 https:/ https:/
                                                                                   Small Grant Program     Justice Small Grants            /       /
                                                                                                           (EJSG) Program                  sam.g www.
                                    Environmental Protection Agency       66.605   Performance             provides funding
                                                                                                           Fostering EPAâ€™s               ov/fal/ https:/
                                                                                                                                           https:/ usasp
                                                                                   Partnership Grants         partnership with the         /       /
                                                                                                              states and Tribes is         sam.g www.
                                    Environmental Protection Agency       66.608   Environmental          critical
                                                                                                          The      to accelerating
                                                                                                                National                   ov/fal/ https:/
                                                                                                                                           https:/ usasp
                                                                                   Information Exchange Environmental                      /       /
                                                                                   Network Grant Program Information Exchange              sam.g www.
                                                                                   and Related Assistance Network (EN) is an               ov/fal/ usasp
                                    Environmental Protection Agency       66.609   Protection of Children To support efforts by            https:/ https:/
                                                                                   from Environmental     organizations;                   /       /
                                                                                   Health Risks           educational institutions;        sam.g www.
                                    Environmental Protection Agency       66.610   Surveys, Studies,      and/or
                                                                                                          The      State,
                                                                                                                goals      local, and
                                                                                                                       of these            ov/fal/ https:/
                                                                                                                                           https:/ usasp
                                                                                   Investigations and      assistance programs             /       /
                                                                                   Special Purpose Grants are to: (1) support              sam.g www.
                                                                                   within the Of ce of the surveys, studies,               ov/fal/ usasp
                                    Environmental Protection Agency       66.611   Environmental Policy    The goals of this               https:/ https:/
                                                                                   and Innovation Grants assistance program are            /       /
                                                                                                           to (1) support analyses,        sam.g www.
                                    Environmental Protection Agency       66.614   Financial Assistance    studies,
                                                                                                           The      evaluations,
                                                                                                                objective of this          ov/fal/ https:/
                                                                                                                                           https:/ usasp
                                                                                   For Community Support program is to provide             /       /
                                                                                   Activities To Address    nancial assistance to          sam.g www.
                                    Environmental Protection Agency       66.615   Environmental Justice
                                                                                   Environmental   Justice The
                                                                                                           eligible entities
                                                                                                                goals  of thisto           ov/fal/ https:/
                                                                                                                                           https:/ usasp
                                                                                   Thriving Communities       program are to make          /       /
                                                                                   Grantmaking Program        awards for the design        sam.g www.
                                                                                   (EJ TCGM)                  and management of a          ov/fal/ usasp
                                    Environmental Protection Agency       66.616   Environmental and          The objective of this        https:/ https:/
                                                                                   Climate Justice            program is to provide        /       /
                                                                                   Community Change            nancial assistance to       sam.g www.
                                    Environmental Protection Agency       66.700   Grants Program
                                                                                   Consolidated  Pesticide    eligibleterritorial,
                                                                                                              State,   entities toand      ov/fal/ https:/
                                                                                                                                           https:/ usasp
                                                                                   Enforcement                tribal agencies              /       /
                                                                                   Cooperative                participating in this        sam.g www.
                                    Environmental Protection Agency       66.701   Agreements
                                                                                   Toxic Substances      cooperative  agreement
                                                                                                         The objectives  of this           ov/fal/
                                                                                                                                           https:/ usasp
                                                                                                                                                   https:/
                                                                                   Compliance Monitoring program are to: 1)                /       /
                                                                                   Cooperative           assist Grantees,                  sam.g www.
                                    Environmental Protection Agency       66.707   Agreements
                                                                                   TSCA Title IV State   including
                                                                                                         The        States,
                                                                                                              goal of EPA'sthe
                                                                                                                             lead-         ov/fal/ https:/
                                                                                                                                           https:/ usasp
                                                                                   Lead Grants           based paint program is            /     /
                                                                                   Certi cation of Lead- to eliminate childhood            sam.g www.
                                    Environmental Protection Agency       66.708   Based Paint
                                                                                   Pollution Prevention  lead P2
                                                                                                         The   poisoning. The
                                                                                                                  grant program        ov/fal/ https:/
                                                                                                                                       https:/ usasp
                                                                                   Grants Program             was enacted under the /          /
                                                                                                              Pollution Prevention Act sam.g www.
                                                                                                              of 1990 to: 1) Provide   ov/fal/ usasp




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                                         Environmental Protection Agency                 66.714   Pesticide Environmental The objective of this        https:/ https:/
                                                                                                  Stewardship Program program is to                    /       /
                                                                                                  (PESP) Grants           encourage smart,             sam.g www.
                                         Environmental Protection Agency                 66.716   Research,               sensibleare
                                                                                                                          Grants   andawarded to       ov/fal/ https:/
                                                                                                                                                       https:/ usasp
                                                                                                  Development,             support research,           /       /
                                                                                                  Monitoring, Public       development,                sam.g www.
                                         Environmental Protection Agency                 66.717   Education, Outreach,
                                                                                                  Source Reduction         monitoring,
                                                                                                                           The goal of public
                                                                                                                                       the Source      ov/fal/
                                                                                                                                                       https:/ usasp
                                                                                                                                                               https:/
                                                                                                  Assistance               Reduction Assistance        /       /
                                                                                                                           (SRA) program is to         sam.g www.
                                                                                                                           award grants that           ov/fal/ usasp
                                         Environmental Protection Agency                 66.720   PRIA 5: Farm Worker      Grants are awarded to       https:/ https:/
                                                                                                  and Health Care          support education,          /       /
                                                                                                  Provider Training and    outreach, training, and     sam.g www.
                                         Environmental Protection Agency                 66.721   Education Embodied
                                                                                                  Reducing   Grants        technical
                                                                                                                           The       assistance
                                                                                                                               goal of the       to    ov/fal/ https:/
                                                                                                                                                       https:/ usasp
                                                                                                  Greenhouse Gas           Reducing Embodied           /       /
                                                                                                  Emissions for            Greenhouse Gas              sam.g www.
                                         Environmental Protection Agency                 66.722   Construction
                                                                                                  Pesticide    Materials
                                                                                                            Registration   Emissions
                                                                                                                           The        for of this
                                                                                                                               objective               ov/fal/ https:/
                                                                                                                                                       https:/ usasp
                                                                                                  Improvement Act          program, required by        /       /
                                                                                                  Employee Training        TITLE VIâ€”                 sam.g www.
                                                                                                                           PESTICIDES, Subtitle        ov/fal/ usasp
                                         Environmental Protection Agency                 66.801   Hazardous Waste          To assist State             https:/ https:/
                                                                                                  Management State         governments in the          /       /
                                                                                                  Program Support          development and             sam.g www.
                                         Environmental Protection Agency                 66.802   Superfund State,         implementation
                                                                                                                           The goals of thisof an      ov/fal/
                                                                                                                                                       https:/ usasp
                                                                                                                                                               https:/
                                                                                                  Political Subdivision,   assistance listing are to   /       /
                                                                                                  and Indian Tribe Site-   (1) conduct site            sam.g www.
                                                                                                  Speci c Cooperative      characterization            ov/fal/ usasp
                                         Environmental Protection Agency                 66.804   Underground Storage      To assist states,           https:/ https:/
                                                                                                  Tank (UST) Prevention,   territories, tribes, or     /       /
                                                                                                  Detection, and           intertribal consortia       sam.g www.
                                         Environmental Protection Agency                 66.805   Compliance
                                                                                                  Leaking      Program
                                                                                                            Underground    (leaking
                                                                                                                           To        underground
                                                                                                                               support   state         ov/fal/ https:/
                                                                                                                                                       https:/ usasp
                                                                                                  Storage Tank Trust     (including territories that   /       /
                                                                                                  Fund Corrective Action are included in the           sam.g www.
                                         Environmental Protection Agency                 66.806   Program
                                                                                                  Superfund Technical    de
                                                                                                                         Thenition   of state
                                                                                                                               statutory      in the
                                                                                                                                          authority    ov/fal/ https:/
                                                                                                                                                       https:/ usasp
                                                                                                  Assistance Grants      for this project is           /       /
                                                                                                  (TAG) for Community    CERCLA 117(e) as              sam.g www.
                                                                                                  Groups at National     amended by 42 USC             ov/fal/ usasp
                                         Environmental Protection Agency                 66.808   Solid Waste            To promote use of             https:/ https:/
                                                                                                  Management             integrated solid waste        /       /
                                                                                                  Assistance Grants      management systems            sam.g www.
                                         Environmental Protection Agency                 66.809   Superfund State and    to
                                                                                                                         To solve  solid implement
                                                                                                                             effectively  waste        ov/fal/
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                                                                                                  Indian Tribe Core         the statutory              /       /
                                                                                                  Program Cooperative       requirements of            sam.g www.
                                                                                                  Agreements                CERCLA Section 121(f)      ov/fal/ usasp
                                         Environmental Protection Agency                 66.812   Hazardous Waste           The Hazardous Waste        https:/ https:/
                                                                                                  Management Grant          Management Grant           /       /
                                                                                                  Program for Tribes        Program for Tribes         sam.g www.
                                         Environmental Protection Agency                 66.813                             provides
                                                                                                  Alternative or Innovative To supportassistance for
                                                                                                                                        grants and     ov/fal/ https:/
                                                                                                                                                       https:/ usasp
                                                                                                  Treatment Technology     cooperative agreements /       /
                                                                                                  Research,                for (1) a program of   sam.g www.
                                         Environmental Protection Agency                 66.814   Demonstration,
                                                                                                  Brown elds Training,   research,
                                                                                                                         Brown eldevaluation,     ov/fal/ https:/
                                                                                                                                     sites are real
                                                                                                                                                  https:/ usasp
                                                                                                  Research, and          property, the expansion,      /       /
                                                                                                  Technical Assistance   redevelopment, or             sam.g www.
                                                                                                  Grants and Cooperative reuse of which may be         ov/fal/ usasp
                                         Environmental Protection Agency                 66.815   Brown elds Job         Brown eld sites are real      https:/ https:/
                                                                                                  Training Cooperative   property, the expansion,      /       /
                                                                                                  Agreements             redevelopment, or             sam.g www.
                                         Environmental Protection Agency                 66.816   Headquarters and       reuse of which
                                                                                                                         This grant      may be
                                                                                                                                     program           ov/fal/
                                                                                                                                                       https:/ usasp
                                                                                                                                                               https:/
                                                                                                  Regional Underground funds activities in both    /       /
                                                                                                  Storage Tanks Program the LUST prevention        sam.g www.
                                         Environmental Protection Agency                 66.817   State and Tribal      and cleanup
                                                                                                                        Brown         programs.
                                                                                                                               eld sites  are real ov/fal/ usasp
                                                                                                                                                   https:/ https:/
                                                                                                  Response Program      property, the expansion, /         /
                                                                                                  Grants                redevelopment, or          sam.g www.
                                         Environmental Protection Agency                 66.818   Brown elds            reuse ofeld
                                                                                                                        Brown    which
                                                                                                                                    sitesmay
                                                                                                                                          are be   ov/fal/ https:/
                                                                                                                                              real https:/ usasp
                                                                                                  Multipurpose,            property, the expansion,    /       /
                                                                                                  Assessment, Revolving redevelopment, or              sam.g www.
                                         Environmental Protection Agency                 66.820   Loan Fund,
                                                                                                  STATE        and
                                                                                                          PROGRAMS         reuse  of which
                                                                                                                           The overall  goalmay   be
                                                                                                                                              of the   ov/fal/ https:/
                                                                                                                                                       https:/ usasp
                                                                                                  FOR CONTROL OF           CCR Grant program is        /       /
                                                                                                  COAL COMBUSTION to provide grants to                 sam.g www.
                                                                                                  RESIDUALS                assist states in the        ov/fal/ usasp
                                         Environmental Protection Agency                 66.920   Solid Waste              The objectives of the       https:/ https:/
                                                                                                  Infrastructure for       Post-Consumer               /       /
                                                                                                  Recycling Infrastructure Materials Management        sam.g www.
                                         Environmental Protection Agency                 66.921   Grants
                                                                                                  Reduce, Reuse,           Infrastructure
                                                                                                                           The objective Grant
                                                                                                                                          of the       ov/fal/
                                                                                                                                                       https:/ usasp
                                                                                                                                                               https:/
                                                                                                  Recycling Education      grant program is to         /       /
                                                                                                  and Outreach Grants      improve the                 sam.g www.
                                         Environmental Protection Agency                 66.926   Indian Environmental     effectiveness
                                                                                                                           EPA  provides of
                                                                                                                                         Indian        ov/fal/ https:/
                                                                                                                                                       https:/ usasp
                                                                                                  General Assistance      Environmental General        /       /
                                                                                                  Program (GAP)           Assistance Program           sam.g www.
                                                                                                                          (GAP) nancial and            ov/fal/ usasp
                                         Environmental Protection Agency                 66.931   International Financial The Of ce of                 https:/ https:/
                                                                                                  Assistance Projects     International and Tribal     /       /
                                                                                                  Sponsored by the Of ce Affairs (OITA) engages        sam.g www.
                                         Environmental Protection Agency                 66.950   of International
                                                                                                  National         and
                                                                                                            Environmental both purpose
                                                                                                                          The  bilaterally
                                                                                                                                         ofand
                                                                                                                                            the        ov/fal/ https:/
                                                                                                                                                       https:/ usasp
                                                                                                  Education Training      teacher training             /       /
                                                                                                  Program                 program is to train          sam.g www.
                                                                                                                          education professionals      ov/fal/ usasp
                                         Environmental Protection Agency                 66.951   Environmental           The Environmental            https:/ https:/
                                                                                                  Education Grants        Education Grants             /       /
                                                                                                  Program                 Program supports             sam.g www.
                                         Environmental Protection Agency                 66.956   Targeted Airshed Grant projects  to design,
                                                                                                                          The overall  goal of the     ov/fal/
                                                                                                                                                       https:/ usasp
                                                                                                                                                               https:/
                                                                                                  Program                  Targeted Airshed Grant /         /
                                                                                                                           program is to reduce air sam.g www.
                                         Environmental Protection Agency                 66.957   Greenhouse Gas           pollution
                                                                                                                           The       in the
                                                                                                                                In ation  Reduction ov/fal/ usasp
                                                                                                                                                    https:/ https:/
                                                                                                  Reduction Fund:          Act (IRA) amends the     /       /
                                                                                                  National Clean           Clean Air Act to include sam.g www.
                                                                                                  Investment Fund          Section 134 (42 USC      ov/fal/ usasp
                                         Environmental Protection Agency                 66.958   Water Infrastructure     To accelerate            https:/ https:/
                                                                                                  Finance and Innovation   investment in our        /       /
                                                                                                  (WIFIA)                  nation's water and       sam.g www.
                                         Environmental Protection Agency                 66.959   Greenhouse Gas           wastewater
                                                                                                                           The                      ov/fal/ https:/
                                                                                                                                In ation Reduction https:/  usasp
                                                                                                  Reduction Fund: Solar    Act amends the Clean        /       /
                                                                                                  for All                  Air Act to include          sam.g www.
                                                                                                                           Section 134 (42 USC         ov/fal/ usasp
                                         Environmental Protection Agency                 66.960   Greenhouse Gas           The In ation Reduction      https:/ https:/
                                                                                                  Reduction Fund: Clean    Act amends the Clean        /       /
                                                                                                  Communities              Air Act to include          sam.g www.
                                         Environmental Protection Agency                 66.961   Investment Accelerator
                                                                                                  Superfund State and      Section  134 (42
                                                                                                                           To effectively    USC
                                                                                                                                          implement    ov/fal/
                                                                                                                                                       https:/ usasp
                                                                                                                                                               https:/
                                                                                                  Indian Tribe Combined the statutory                  /       /
                                                                                                  Cooperative            requirements of               sam.g www.
                                         Environmental Protection Agency                 66.962   Agreements Programs
                                                                                                  Geographic   (Site-  - CERCLA
                                                                                                                         To supportforthe
                                                                                                                                        state or       ov/fal/ https:/
                                                                                                                                                       https:/ usasp
                                                                                                  Columbia River Basin protection and                  /       /
                                                                                                  Restoration (CRBR)     restoration of the            sam.g www.
                                                                                                  Program                Columbia River Basin          ov/fal/ usasp
                                         Environmental Protection Agency                 66.964   Geographic Programs - The Chesapeake Bay is          https:/ https:/
                                                                                                  Chesapeake Bay         a national treasure and       /       /
                                                                                                  Program                unique as North               sam.g www.
                                         Environmental Protection Agency                 66.965   Implementation,
                                                                                                  CONTAMINATED           America's appropriated
                                                                                                                         Congress   largest and        ov/fal/ https:/
                                                                                                                                                       https:/ usasp
                                                                                                  ALASKA NATIVE     funding starting in scal           /       /
                                                                                                  CLAIMS SETTLEMENT year 2023 for EPA to               sam.g www.
                                         Equal Employment Opportunity Commission         30.005   ACT LANDS
                                                                                                  Employment        establish
                                                                                                                    a)        and
                                                                                                                       To assist individuals           ov/fal/ https:/
                                                                                                                                                       https:/ usasp
                                                                                                  Discrimination Private   who have led a charge       /       /
                                                                                                  Bar Program              with the Commission, or     sam.g www.
                                                                                                                           on whose behalf a           ov/fal/ usasp
                                         Executive Of ce of the President                95.001   High Intensity Drug      To reduce drug              https:/ https:/
                                                                                                  Traf cking Areas         traf cking and drug         /       /
                                                                                                  Program                  production in the United    sam.g www.
                                         Executive Of ce of the President                95.003   DFC NATIONAL             States
                                                                                                                           Per  theby-- (A)
                                                                                                                                    authorizing        ov/fal/ https:/
                                                                                                                                                       https:/ usasp
                                                                                                  COMMUNITY               legislation, for the Drug-   /       /
                                                                                                  ANTIDRUG                Free Communities             sam.g www.
                                                                                                  COALITION               (DFC) Support                ov/fal/ usasp
                                         Executive Of ce of the President                95.004   Anti-Doping Activities  The Of ce of National        https:/ https:/
                                                                                                                          Drug Control Policy          /       /
                                                                                                                          (ONDCP), Executive           sam.g www.
                                         Executive Of ce of the President                95.005                           Of ce
                                                                                                  Drug Court Training and The    of the President,
                                                                                                                               Administration          ov/fal/ https:/
                                                                                                                                                       https:/ usasp
                                                                                                  Technical Assistance     supports a combined         /       /
                                                                                                                           public health and public    sam.g www.
                                         Executive Of ce of the President                95.006   Model Acts Program       safety
                                                                                                                           The    approach
                                                                                                                               purpose       to
                                                                                                                                         of the        ov/fal/ https:/
                                                                                                                                                       https:/ usasp
                                                                                                                           Model Acts Program          /       /
                                                                                                                           includes: A) advising       sam.g www.
                                                                                                                           states on establishing      ov/fal/ usasp
                                         Executive Of ce of the President                95.007   Research and Data        The purpose of              https:/ https:/
                                                                                                  Analysis                 research and data           /       /
                                                                                                                           analysis is to inform       sam.g www.
                                         Executive Of ce of the President                95.010   Congressional            policy
                                                                                                                           To     formulation
                                                                                                                              implement        and
                                                                                                                                           special     ov/fal/ https:/
                                                                                                                                                       https:/ usasp
                                                                                                  Directives        Congressionally                    /       /
                                                                                                                    directed projects or               sam.g www.
                                                                                                                    programs identi ed in              ov/fal/ usasp
                                         Export - Import Bank of the United States       31.007   Export - Loan     The Export-Import Bank             https:/ https:/
                                                                                                  Guarantee/Insured of the United States               /       /
                                                                                                  Loans             (Ex-Im Bank or the                 sam.g www.
                                         Federal Communications Commission               32.002                     Bank) is an
                                                                                                  UNIVERSAL SERVICE Universal  service has             ov/fal/ https:/
                                                                                                                                                       https:/ usasp
                                                                                                  FUND - HIGH COST  been de ned by                     /       /
                                                                                                                    Congress as â€œan                  sam.g www.
                                         Federal Communications Commission               32.003                     evolving level
                                                                                                  UNIVERSAL SERVICE Universal      of has
                                                                                                                               service                 ov/fal/ https:/
                                                                                                                                                       https:/ usasp
                                                                                                  FUND - LIFELINE    been de ned by                    /       /
                                                                                                                     Congress as â€œan                 sam.g www.
                                                                                                                     evolving level of                 ov/fal/ usasp
                                         Federal Communications Commission               32.004   UNIVERSAL SERVICE The schools and                    https:/ https:/
                                                                                                  FUND - SCHOOLS and libraries universal               /       /
                                                                                                  LIBRARIES          service support                   sam.g www.
                                         Federal Communications Commission               32.005                      program,
                                                                                                  UNIVERSAL SERVICE The   Ruralcommonly
                                                                                                                                 Health Care           ov/fal/ https:/
                                                                                                                                                       https:/ usasp
                                                                                                  FUND - RURAL             Program, one of the     /       /
                                                                                                  HEALTH CARE              FCCâ€™s Universal       sam.g www.
                                         Federal Communications Commission               32.006   COVID-19 Telehealth      Service Fundtoprograms,
                                                                                                                           In response    the      ov/fal/
                                                                                                                                                   https:/ usasp
                                                                                                                                                           https:/
                                                                                                  Program                  coronavirus disease     /       /
                                                                                                                           2019 (COVID-19)         sam.g www.
                                         Federal Communications Commission               32.007   Connected Care Pilot     pandemic, has
                                                                                                                           Telehealth communities https:/
                                                                                                                                                   ov/fal/ https:/
                                                                                                                                                           usasp
                                                                                                  Program                 assumed a critical role      /       /
                                                                                                                          in health care delivery      sam.g www.
                                         Federal Communications Commission               32.008   Affordable Connectivity as
                                                                                                                          Ontechnology
                                                                                                                              December and
                                                                                                                                         27, 2020,     ov/fal/ https:/
                                                                                                                                                       https:/ usasp
                                                                                                  Program                 the Consolidated             /       /
                                                                                                                          Appropriations Act,          sam.g www.
                                                                                                                          2021 (Consolidated           ov/fal/ usasp




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                                    Federal Communications Commission                                                            32.009   Emergency                  In section 7402 of the       https:/ https:/
                                                                                                                                          Connectivity Fund          American Rescue Plan         /       /
                                                                                                                                          Program                    Act (Act), Congress          sam.g www.
                                    Federal Communications Commission                                                            32.010   Supply Chain               established
                                                                                                                                                                     On          a $7.171
                                                                                                                                                                         March 12, 2020, the      ov/fal/ https:/
                                                                                                                                                                                                  https:/ usasp
                                                                                                                                          Reimbursement           Secure and Trusted              /       /
                                                                                                                                          Program                 Communications                  sam.g www.
                                    Federal Communications Commission                                                            32.011   Affordable Connectivity Networks
                                                                                                                                                                  Millions ofAct of 2019
                                                                                                                                                                              low-income          ov/fal/
                                                                                                                                                                                                  https:/ usasp
                                                                                                                                                                                                          https:/
                                                                                                                                          Outreach Grant          households experience           /       /
                                                                                                                                          Program                 dif culty paying for            sam.g www.
                                                                                                                                                                  broadband service               ov/fal/ usasp
                                    Federal Communications Commission                                                            32.012   Cybersecurity Pilot     As broadband                    https:/ https:/
                                                                                                                                          Program                 connectivity and                /       /
                                                                                                                                                                  Internet access have            sam.g www.
                                    Federal Financial Institutions Examination Council Appraisal Subcommittee                    38.006                           become
                                                                                                                                          State Appraiser Agency To         essential
                                                                                                                                                                      provide  State for          ov/fal/ https:/
                                                                                                                                                                                                  https:/ usasp
                                                                                                                                          Support Grants             Appraiser Regulatory         /       /
                                                                                                                                                                     Agencies with funds to       sam.g www.
                                    Federal Financial Institutions Examination Council Appraisal Subcommittee                    38.008   Training and Technical     advance
                                                                                                                                                                     The     the appraiser
                                                                                                                                                                         objectives of this       ov/fal/ https:/
                                                                                                                                                                                                  https:/ usasp
                                                                                                                                          Assistance for State       federal assistance are       /       /
                                                                                                                                          Appraiser Regulatory       to expand and provide        sam.g www.
                                                                                                                                          Agencies                   training and technical       ov/fal/ usasp
                                    Federal Financial Institutions Examination Council Appraisal Subcommittee                    38.009   Board Support and          The Appraisal                https:/ https:/
                                                                                                                                          Innovation Grant           Subcommittee is              /       /
                                                                                                                                                                     making funds available       sam.g www.
                                    Federal Permitting Improvement Steering Council                                              90.800   Federal Permitting         to the Appraisal
                                                                                                                                                                     Providing  nancial           ov/fal/
                                                                                                                                                                                                  https:/ usasp
                                                                                                                                                                                                          https:/
                                                                                                                                          Improvement Steering       assistance to Tribal         /       /
                                                                                                                                          Council Environmental      governments to               sam.g www.
                                                                                                                                          Review Improvement         facilitate timely and        ov/fal/ usasp
                                    General Services Administration                                                              39.002   Disposal of Federal        To assist State and          https:/ https:/
                                                                                                                                          Surplus Real Property      local governments, and       /       /
                                                                                                                                                                     certain eligible (501(c)     sam.g www.
                                    General Services Administration                                                              39.003   Donation of Federal        (3) donate
                                                                                                                                                                     To  tax-exempt    status)
                                                                                                                                                                                  Federal         ov/fal/ https:/
                                                                                                                                                                                                  https:/ usasp
                                                                                                                                          Surplus Personal           personal property no         /       /
                                                                                                                                          Property                   longer required for          sam.g www.
                                    General Services Administration                                                              39.007                           Federal
                                                                                                                                          Sale of Federal Surplus To        use to eligible
                                                                                                                                                                      sell personal               ov/fal/ https:/
                                                                                                                                                                                                  https:/ usasp
                                                                                                                                          Personal Property       property no longer              /       /
                                                                                                                                                                  needed by the                   sam.g www.
                                                                                                                                                                  Government in an                ov/fal/ usasp
                                    Gulf Coast Ecosystem Restoration Council                                                     87.051   Gulf Coast Ecosystem The primary objective of           https:/ https:/
                                                                                                                                          Restoration Council     this program is to              /       /
                                                                                                                                          Comprehensive Plan      disburse funds to               sam.g www.
                                    Gulf Coast Ecosystem Restoration Council                                                     87.052   Component   Program
                                                                                                                                          Gulf Coast Ecosystem    eligible  entities
                                                                                                                                                                  The primary        for the of
                                                                                                                                                                                  objective       ov/fal/
                                                                                                                                                                                                  https:/ usasp
                                                                                                                                                                                                          https:/
                                                                                                                                          Restoration Council Oil this program is to              /       /
                                                                                                                                          Spill Impact Program    disburse funds to               sam.g www.
                                                                                                                                                                  eligible entities for the       ov/fal/ usasp
                                    Inter-American Foundation                                                                    85.750   IAF Assistance for      The primary objectives          https:/ https:/
                                                                                                                                          Overseas Programs       of the IAF Assistance           /       /
                                                                                                                                                                  for Programs Overseas           sam.g www.
                                    Inter-American Foundation                                                                    85.751   IAF Assistance for      in Latin
                                                                                                                                                                  The      America
                                                                                                                                                                       primary       and the
                                                                                                                                                                                 objectives       ov/fal/ https:/
                                                                                                                                                                                                  https:/ usasp
                                                                                                                                          Overseas Programs          of the IAF Assistance       /       /
                                                                                                                                                                     for Programs Overseas sam.g www.
                                    Japan-U.S. Friendship Commission                                                             90.300   Japan-U.S. Friendship      in Latin
                                                                                                                                                                     to       America
                                                                                                                                                                        promote          and the ov/fal/
                                                                                                                                                                                  educational,           usasp
                                                                                                                                                                                                 https:/ https:/
                                                                                                                                          Commission Grants          intellectual, artistic and /        /
                                                                                                                                                                     cultural exchange and       sam.g www.
                                                                                                                                                                     research between            ov/fal/ usasp
                                    Library of Congress                                                                          42.010   Teaching with Primary      Teaching with Primary       https:/ https:/
                                                                                                                                          Sources                    Sources (TPS) grants        /       /
                                                                                                                                                                     seek to ful ll the          sam.g www.
                                    Library of Congress                                                                          42.011   Library of Congress        mission  of the  Library
                                                                                                                                                                     To provide grants to     of ov/fal/
                                                                                                                                                                                                 https:/ usasp
                                                                                                                                                                                                         https:/
                                                                                                                                          Grants                     individuals and           /       /
                                                                                                                                                                     organizations.            sam.g www.
                                    Library of Congress                                                                          42.012   Connecting               The Connecting              ov/fal/ usasp
                                                                                                                                                                                               https:/ https:/
                                                                                                                                          Communities Digital      Communities Digital         /       /
                                                                                                                                          Initiative               Initiative (CCDI)           sam.g www.
                                    Library of Congress                                                                          42.013   Of the People:           encourages
                                                                                                                                                                   The            creators
                                                                                                                                                                         Library of         in ov/fal/
                                                                                                                                                                                     Congress  https:/ usasp
                                                                                                                                                                                                       https:/
                                                                                                                                          Community Collections seeks to award grants          /       /
                                                                                                                                          Grants                   to support                  sam.g www.
                                    Library of Congress                                                                          42.014                            contemporary
                                                                                                                                          Af liate Centers for the Through    a gift cultural  ov/fal/ https:/
                                                                                                                                                                                     from the https:/  usasp
                                                                                                                                          Book Programming         John Y. Cole and Nancy /            /
                                                                                                                                          Grants                   E. Gwinn Trust Fund,        sam.g www.
                                                                                                                                                                   the Library will support    ov/fal/ usasp
                                    Library of Congress                                                                          42.015   Lewis-Houghton Civics With this notice, the          https:/ https:/
                                                                                                                                          and Democracy            Library of Congress         /       /
                                                                                                                                          Initiative               invites education-          sam.g www.
                                    Millennium Challenge Corporation                                                             85.002   MCC Foreign              focused   organizations
                                                                                                                                                                   To provide United           ov/fal/
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                                                                                                                                                                                                       https:/
                                                                                                                                          Assistance for             States assistance for        /       /
                                                                                                                                          Overseas Programs          global development           sam.g www.
                                    Morris K. Udall Scholarship and Excellence in National Environmental Policy Foundation       85.400   Morris K. Udall            through
                                                                                                                                                                     The     the Millennium
                                                                                                                                                                         Udall                    ov/fal/ https:/
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                                                                                                                                          Scholarship Program        Undergraduate                /       /
                                                                                                                                                                     Scholarship identi es        sam.g www.
                                                                                                                                                                     future leaders in            ov/fal/ usasp
                                    Morris K. Udall Scholarship and Excellence in National Environmental Policy Foundation       85.401   Morris K. Udall            The Native American          https:/ https:/
                                                                                                                                          Fellowship Program         Graduate Fellowship          /       /
                                                                                                                                                                     Program supports             sam.g www.
                                    Morris K. Udall Scholarship and Excellence in National Environmental Policy Foundation       85.402   Morris K. Udall Native     outstanding
                                                                                                                                                                     The          Native
                                                                                                                                                                          Native American         ov/fal/ https:/
                                                                                                                                                                                                  https:/ usasp
                                                                                                                                          American                   Congressional                /       /
                                                                                                                                          Congressional              Internship Program           sam.g www.
                                                                                                                                          Internship Program         identi es future leaders     ov/fal/ usasp
                                    National Aeronautics and Space Administration                                                43.001   Science                    The Science Mission          https:/ https:/
                                                                                                                                                                     Directorate (SMD)            /       /
                                                                                                                                                                     pursues NASA's               sam.g www.
                                    National Aeronautics and Space Administration                                                43.002   Aeronautics                strategic
                                                                                                                                                                     The NASA  objectives,
                                                                                                                                                                                 Mission          ov/fal/
                                                                                                                                                                                                  https:/ usasp
                                                                                                                                                                                                          https:/
                                                                                                                                                                     draws support from           /       /
                                                                                                                                                                     NASAâ€™s world-              sam.g www.
                                    National Aeronautics and Space Administration                                                43.003   Exploration                classExploration
                                                                                                                                                                     The   capability for         ov/fal/ https:/
                                                                                                                                                                                                  https:/ usasp
                                                                                                                                                                     Systems Development          /       /
                                                                                                                                                                     Mission Directorate          sam.g www.
                                                                                                                                                                     (ESDMD) de nes and           ov/fal/ usasp
                                    National Aeronautics and Space Administration                                                43.007   Space Operations           NASAâ€™s Space               https:/ https:/
                                                                                                                                                                     Operations Mission           /       /
                                                                                                                                                                     Directorate is the heart     sam.g www.
                                    National Aeronautics and Space Administration                                                43.008   Of ce of Stem              of the agencyâ€™s
                                                                                                                                                                     NASAâ€™s      journeys       ov/fal/ https:/
                                                                                                                                                                                                  https:/ usasp
                                                                                                                                          Engagement (OSTEM) have propelled                       /       /
                                                                                                                                                             technological                        sam.g www.
                                                                                                                                                             breakthroughs, pushed                ov/fal/ usasp
                                    National Aeronautics and Space Administration                                                43.009   Mission Support    Provides effective and               https:/ https:/
                                                                                                                                                             ef cient institutional               /       /
                                                                                                                                                             support to enable                    sam.g www.
                                    National Aeronautics and Space Administration                                                43.012   Space Technology   successful
                                                                                                                                                             NASAâ€™s Space                       ov/fal/
                                                                                                                                                                                                  https:/ usasp
                                                                                                                                                                                                          https:/
                                                                                                                                                                     Technology Mission           /       /
                                                                                                                                                                     Directorate (STMD)           sam.g www.
                                    National Aeronautics and Space Administration                                                43.014   Congressionally            leads the
                                                                                                                                                                     NASA      development,
                                                                                                                                                                            Community             ov/fal/ https:/
                                                                                                                                                                                                  https:/ usasp
                                                                                                                                          Directed Programs          Projects/NASA Special        /       /
                                                                                                                                                                     Projects are provided        sam.g www.
                                                                                                                                                                     by Congress for speci c      ov/fal/ usasp
                                    National Archives and Records Administration                                                 89.001   National Archives          Objectives: To provide       https:/ https:/
                                                                                                                                          Reference Services         professional reference       /       /
                                                                                                                                          Historical Research        service to members of        sam.g www.
                                    National Archives and Records Administration                                                 89.003   National Historical        theundertake
                                                                                                                                                                     To  general public and
                                                                                                                                                                                   a wide-        ov/fal/ https:/
                                                                                                                                                                                                  https:/ usasp
                                                                                                                                          Publications and           range of activities          /       /
                                                                                                                                          Records Grants             related to the               sam.g www.
                                    National Council on Disability                                                               92.002   National Council on        preservation,
                                                                                                                                                                     NCD   is an independent      ov/fal/ https:/
                                                                                                                                                                                                  https:/ usasp
                                                                                                                                          Disability             federal agency charged           /       /
                                                                                                                                                                 with advising the                sam.g www.
                                                                                                                                                                 President, Congress,             ov/fal/ usasp
                                    National Credit Union Administration                                                         44.002   Community              The purpose of the               https:/ https:/
                                                                                                                                          Development Revolving Community                         /       /
                                                                                                                                          Loan Fund Program for Development Revolving             sam.g www.
                                    National Endowment for the Arts                                                              45.024   Credit Unions
                                                                                                                                          Promotion  of the Arts Loan
                                                                                                                                                                 To    Fund opportunities
                                                                                                                                                                    support  (CDRLF) is           ov/fal/ https:/
                                                                                                                                                                                                  https:/ usasp
                                                                                                                                          Grants to Organizations for all people to               /       /
                                                                                                                                          and Individuals         participate in the arts         sam.g www.
                                                                                                                                                                  and arts education,             ov/fal/ usasp
                                    National Endowment for the Arts                                                              45.025   Promotion of the Arts   To develop and                  https:/ https:/
                                                                                                                                          Partnership Agreements maintain partnerships            /       /
                                                                                                                                                                  with the state and              sam.g www.
                                    National Endowment for the Arts                                                              45.201   Arts and Artifacts      jurisdictional
                                                                                                                                                                  To  provide forarts             ov/fal/ https:/
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                                                                                                                                          Indemnity                  indemni cation against       /       /
                                                                                                                                                                     loss or damage for           sam.g www.
                                    National Endowment for the Humanities                                                        45.129   Promotion of the           eligible art works,
                                                                                                                                                                     Federal/State                ov/fal/ https:/
                                                                                                                                                                                                  https:/ usasp
                                                                                                                                          Humanities Federal/        Partnerships promote         /       /
                                                                                                                                          State Partnership          local, statewide, and        sam.g www.
                                                                                                                                                                     regional humanities          ov/fal/ usasp
                                    National Endowment for the Humanities                                                        45.130   Promotion of the           To strengthen                https:/ https:/
                                                                                                                                          Humanities Challenge       institutional base and       /       /
                                                                                                                                          Grants                     organizational capacity      sam.g www.
                                    National Endowment for the Humanities                                                        45.149   Promotion of the           for work in theand
                                                                                                                                                                     Preservation                 ov/fal/ https:/
                                                                                                                                                                                                  https:/ usasp
                                                                                                                                          Humanities Division of Access grants ensure             /       /
                                                                                                                                          Preservation and       the long-term and wide           sam.g www.
                                                                                                                                          Access                 availability of primary          ov/fal/ usasp
                                    National Endowment for the Humanities                                                        45.160   Promotion of the       Fellowships and                  https:/ https:/
                                                                                                                                          Humanities Fellowships Stipends provide                 /       /
                                                                                                                                          and Stipends           support for individual           sam.g www.
                                    National Endowment for the Humanities                                                        45.161   Promotion of the       scholars to produce
                                                                                                                                                                 Humanities    Research           ov/fal/ https:/
                                                                                                                                                                                                  https:/ usasp
                                                                                                                                          Humanities Research        awards advance               /       /
                                                                                                                                                                     knowledge and                sam.g www.
                                    National Endowment for the Humanities                                                        45.162   Promotion of the           understanding
                                                                                                                                                                     Teaching      of the
                                                                                                                                                                              and Learning        ov/fal/ https:/
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                                                                                                                                          Humanities Teaching        Resources and                /       /
                                                                                                                                          and Learning               Curriculum                   sam.g www.
                                                                                                                                          Resources and              Development programs         ov/fal/ usasp
                                    National Endowment for the Humanities                                                        45.163   Promotion of the           The Institutes program       https:/ https:/
                                                                                                                                          Humanities                 promotes better              /       /
                                                                                                                                          Professional               teaching and research        sam.g www.
                                    National Endowment for the Humanities                                                        45.164   Development
                                                                                                                                          Promotion of the           in the humanities
                                                                                                                                                                     Public            for
                                                                                                                                                                            Programs grants       ov/fal/ https:/
                                                                                                                                                                                                  https:/ usasp
                                                                                                                                          Humanities Public          provide opportunities for /       /
                                                                                                                                          Programs                   the American public to    sam.g www.
                                    National Endowment for the Humanities                                                        45.169   Promotion of the           explore
                                                                                                                                                                     The Of cehuman    history
                                                                                                                                                                                of Digital     ov/fal/
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                                                                                                                                                                                                       https:/
                                                                                                                                          Humanities Of ce of        Humanities supports       /       /
                                                                                                                                          Digital Humanities         innovative humanities     sam.g www.
                                    National Science Foundation                                                                  47.041   Engineering                projects
                                                                                                                                                                     "The NSF that utilize or
                                                                                                                                                                                Directorate    ov/fal/ https:/
                                                                                                                                                                                               https:/ usasp
                                                                                                                                                                     for Engineering (ENG)        /       /
                                                                                                                                                                     seeks to improve the         sam.g www.
                                    National Science Foundation                                                                  47.049   Mathematical and           quality
                                                                                                                                                                     To      of lifethe
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                                                                                                                                          Physical Sciences          progress of the              /       /
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                                    National Science Foundation                          47.050   Geosciences              To strengthen and           https:/ https:/
                                                                                                                           enhance the national        /       /
                                                                                                                           scienti c enterprise        sam.g www.
                                    National Science Foundation                          47.070   Computer and             through
                                                                                                                           To       theinvestigator-
                                                                                                                              support   expansion   ov/fal/ usasp
                                                                                                                                                    https:/ https:/
                                                                                                  Information Science     initiated research and    /       /
                                                                                                  and Engineering         education in all areas of sam.g www.
                                    National Science Foundation                          47.074   Biological Sciences     computing,
                                                                                                                          To promote the            ov/fal/
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                                                                                                                                                            https:/
                                                                                                                          progress of the           /       /
                                                                                                                          biological sciences and sam.g www.
                                                                                                                          thereby strengthen the    ov/fal/ usasp
                                    National Science Foundation                          47.075   Social, Behavioral, and To contribute to the      https:/ https:/
                                                                                                  Economic Sciences       scienti c strength and    /       /
                                                                                                                          welfare of the Nation     sam.g www.
                                    National Science Foundation                          47.076   STEM Education          through
                                                                                                                          To        theleadership
                                                                                                                              provide   promotion   ov/fal/ https:/
                                                                                                                                                    https:/ usasp
                                                                                                  (formerly Education and and ensure the vitality      /       /
                                                                                                  Human Resources)        of the Nation's science,     sam.g www.
                                    National Science Foundation                          47.078   Polar Programs          technology,
                                                                                                                          To           engineering
                                                                                                                              strengthen and           ov/fal/ https:/
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                                                                                                                           enhance the national        /       /
                                                                                                                           scienti c enterprise        sam.g www.
                                                                                                                           through the expansion       ov/fal/ usasp
                                    National Science Foundation                          47.079   Of ce of International   To enable the U.S. to       https:/ https:/
                                                                                                  Science and              maintain its leadership     /       /
                                                                                                  Engineering              within the global           sam.g www.
                                    National Science Foundation                          47.083   Integrative Activities   scienti
                                                                                                                           Enhance c community
                                                                                                                                     the        by     ov/fal/
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                                                                                                                                                               https:/
                                                                                                                           competitiveness of the      /       /
                                                                                                                           Nationâ€™s research         sam.g www.
                                                                                                                           through activities that     ov/fal/ usasp
                                    National Science Foundation                          47.084   NSF Technology,          The Directorate for         https:/ https:/
                                                                                                  Innovation, and          Technology, Innovation,     /       /
                                                                                                  Partnerships             and Partnerships (TIP)      sam.g www.
                                    Northern Border Regional Commission                  90.601   Northern Border          seeks
                                                                                                                           The   to (i) advance
                                                                                                                               Northern   Border       ov/fal/ https:/
                                                                                                                                                       https:/ usasp
                                                                                                  Regional Development Regional Commission is /        /
                                                                                                                        a Federal-State        sam.g www.
                                    Nuclear Regulatory Commission                        77.007   U.S. Nuclear          governmental
                                                                                                                        The             agency
                                                                                                                              Minority Serving ov/fal/ usasp
                                                                                                                                               https:/ https:/
                                                                                                  Regulatory Commission Institutions Grants    /       /
                                                                                                  Minority Serving      Program (MSIGP) funds sam.g www.
                                                                                                  Institutions Program  nuclear and/or STEM-   ov/fal/ usasp
                                    Nuclear Regulatory Commission                        77.008   U.S. Nuclear          This Scholarship and   https:/ https:/
                                                                                                  Regulatory Commission Fellowship program     /       /
                                                                                                  Scholarship and       provides funding for   sam.g www.
                                    Nuclear Regulatory Commission                        77.009   Fellowship
                                                                                                  U.S. Nuclear Program  undergraduate
                                                                                                                        The Of ce of Nuclear   ov/fal/
                                                                                                                                               https:/ usasp
                                                                                                                                                       https:/
                                                                                                  Regulatory Commission Regulatory Research            /       /
                                                                                                  Of ce of Research      (RES) furthers the            sam.g www.
                                                                                                  Financial Assistance   regulatory mission of         ov/fal/ usasp
                                    Of ce of the Director Of National Intelligence       54.001   Intelligence Community The Intelligence              https:/ https:/
                                                                                                  Centers for Academic   Community Centers for         /       /
                                                                                                  Excellence             Academic Excellence           sam.g www.
                                    Pension Bene t Guaranty Corporation                  86.001   Pension Plan           (ICencourage
                                                                                                                         To CAE) Programthe is         ov/fal/ https:/
                                                                                                                                                       https:/ usasp
                                                                                                  Termination Insurance    continuation and           /       /
                                                                                                                           maintenance of             sam.g www.
                                    Railroad Retirement Board                            57.001   Social Insurance for     voluntaryincome
                                                                                                                           Provide    privatesecurity ov/fal/ usasp
                                                                                                                                                      https:/ https:/
                                                                                                  Railroad Workers         for retired and disabled /         /
                                                                                                                           railroad workers, their    sam.g www.
                                                                                                                           family members, and        ov/fal/ usasp
                                    Railroad Retirement Board                            57.006   Social Insurance for     Provide income security https:/ https:/
                                                                                                  Railroad Workers         for retired and disabled /         /
                                                                                                                           railroad workers, their    sam.g www.
                                    Small Business Administration                        59.006   8(a) Business            family  members,
                                                                                                                           To foster business and     ov/fal/
                                                                                                                                                      https:/ usasp
                                                                                                                                                              https:/
                                                                                                  Development Program      ownership by             /       /
                                                                                                                           individuals who are both sam.g www.
                                    Small Business Administration                        59.007   7(j) Technical           socially
                                                                                                                           The      and of the
                                                                                                                                purpose             ov/fal/ usasp
                                                                                                                                                    https:/ https:/
                                                                                                  Assistance               program is to provide    /       /
                                                                                                                           Business Development sam.g www.
                                    Small Business Administration                        59.008   Disaster Assistance      Assistance
                                                                                                                           To          for Small
                                                                                                                              provide loans         ov/fal/ https:/
                                                                                                                                            to the https:/  usasp
                                                                                                  Loans                survivors of declared           /       /
                                                                                                                       disasters for uninsured         sam.g www.
                                    Small Business Administration                        59.011   Small Business       or otherwise
                                                                                                                       To  establish privately         ov/fal/ https:/
                                                                                                                                                       https:/ usasp
                                                                                                  Investment Companies owned and managed               /       /
                                                                                                                       Small Business                  sam.g www.
                                                                                                                       Investment Companies            ov/fal/ usasp
                                    Small Business Administration                        59.012   7(a) Loan Guarantees To provide guaranteed           https:/ https:/
                                                                                                                       loans from lenders to           /       /
                                                                                                                       eligible for pro t small        sam.g www.
                                    Small Business Administration                        59.016   Surety Bond          businesses
                                                                                                                       To guarantee  which are
                                                                                                                                       surety          ov/fal/
                                                                                                                                                       https:/ usasp
                                                                                                                                                               https:/
                                                                                                  Guarantees               bonds issued by             /       /
                                                                                                                           Treasury listed surety      sam.g www.
                                    Small Business Administration                        59.026   SCORE                    companies
                                                                                                                           To          for small
                                                                                                                              provide mentoring        ov/fal/ https:/
                                                                                                                                                       https:/ usasp
                                                                                                                           and workshops to            /       /
                                                                                                                           potential and existing      sam.g www.
                                                                                                                           small business owners       ov/fal/ usasp
                                    Small Business Administration                        59.037   Small Business           To provide management       https:/ https:/
                                                                                                  Development Centers      counseling, training,       /       /
                                                                                                                           and technical               sam.g www.
                                    Small Business Administration                        59.041   504 Certi ed             assistance
                                                                                                                           To          to the
                                                                                                                              assist small    small
                                                                                                                                            business   ov/fal/ https:/
                                                                                                                                                       https:/ usasp
                                                                                                  Development Loans        concerns by providing       /       /
                                                                                                                           long-term, xed-rate         sam.g www.
                                                                                                                             nancing for xed           ov/fal/ usasp
                                    Small Business Administration                        59.043   Women's Business         To fund private,            https:/ https:/
                                                                                                  Ownership Assistance     nonpro t organizations      /       /
                                                                                                                           to assist, through          sam.g www.
                                    Small Business Administration                        59.044   Veterans Outreach        training and counseling,
                                                                                                                           In accordance   with        ov/fal/
                                                                                                                                                       https:/ usasp
                                                                                                                                                               https:/
                                                                                                  Program                  Public Law 110-186, the /         /
                                                                                                                           organizations will        sam.g www.
                                    Small Business Administration                        59.046   Microloan Program        provide
                                                                                                                           To assistinformation on
                                                                                                                                      women, low-    ov/fal/ usasp
                                                                                                                                                     https:/ https:/
                                                                                                                           income, and minority      /       /
                                                                                                                           entrepreneurs, business sam.g www.
                                                                                                                           owners, and other         ov/fal/ usasp
                                    Small Business Administration                        59.050   Prime Technical          To increase the number https:/ https:/
                                                                                                  Assistance               of microenterprises and /         /
                                                                                                                           to enhance the            sam.g www.
                                    Small Business Administration                        59.052   Native American          management
                                                                                                                           To             capability https:/
                                                                                                                              fund economic          ov/fal/ https:/
                                                                                                                                                             usasp
                                                                                                  Outreach                 development projects        /       /
                                                                                                                           that will provide small     sam.g www.
                                                                                                                           business opportunities      ov/fal/ usasp
                                    Small Business Administration                        59.053   Ombudsman and            To assure equity and        https:/ https:/
                                                                                                  Regulatory Fairness      fairness in federal         /       /
                                                                                                  Boards                   regulation of small         sam.g www.
                                    Small Business Administration                        59.054   7(a)Export Loan          business   by receiving
                                                                                                                           Provides aid   and          ov/fal/
                                                                                                                                                       https:/ usasp
                                                                                                                                                               https:/
                                                                                                  Guarantees               assistance to small-        /       /
                                                                                                                           businesses to increase      sam.g www.
                                    Small Business Administration                        59.055   HUBZone Program          their purpose
                                                                                                                           The   ability toof
                                                                                                                                           compete
                                                                                                                                              the      ov/fal/ https:/
                                                                                                                                                       https:/ usasp
                                                                                                                         HUBZone program is to         /       /
                                                                                                                         provide federal               sam.g www.
                                                                                                                         contracting assistance        ov/fal/ usasp
                                    Small Business Administration                        59.058   Federal and State      The purpose of the            https:/ https:/
                                                                                                  Technology Partnership FAST program is to            /       /
                                                                                                  Program                strengthen the                sam.g www.
                                    Small Business Administration                        59.059                          technological
                                                                                                  Congressional Grants Provide    funding for          ov/fal/ https:/
                                                                                                                                                       https:/ usasp
                                                                                                                        small business                 /       /
                                                                                                                        development and                sam.g www.
                                    Small Business Administration                        59.061                         entrepreneurship
                                                                                                  State Trade Expansion Grants made to state           ov/fal/ https:/
                                                                                                                                                       https:/ usasp
                                                                                                                        governments to                 /       /
                                                                                                                        increase the number of         sam.g www.
                                                                                                                        small businesses that          ov/fal/ usasp
                                    Small Business Administration                        59.062   Intermediary Loan     Three year pilot               https:/ https:/
                                                                                                  Program               program in which SBA           /       /
                                                                                                                        made direct loans of up        sam.g www.
                                    Small Business Administration                        59.065   Growth Accelerator    to $1 million
                                                                                                                        Growth        at an
                                                                                                                                Accelerators           ov/fal/ https:/
                                                                                                                                                       https:/ usasp
                                                                                                  Fund Competition         provide focused             /       /
                                                                                                                           assistance to STEM/         sam.g www.
                                                                                                                           R&D entrepreneurs to        ov/fal/ usasp
                                    Small Business Administration                        59.066   Transition Assistance    Boots to Business           https:/ https:/
                                                                                                  â€“ Entrepreneurship     (B2B) grant/                /       /
                                                                                                  Track (Boots to          cooperative agreement       sam.g www.
                                    Small Business Administration                        59.067   Business)
                                                                                                  Regional Innovation      funding
                                                                                                                           The     enables
                                                                                                                               purpose      eligible
                                                                                                                                        of this        ov/fal/ https:/
                                                                                                                                                       https:/ usasp
                                                                                                  Clusters             program is to connect           /       /
                                                                                                                       and expand regional             sam.g www.
                                    Small Business Administration                        59.069                        innovationLeaders
                                                                                                  SBA Emerging Leaders Emerging   clusters is
                                                                                                                                           to a        ov/fal/ https:/
                                                                                                                                                       https:/ usasp
                                                                                                  initiative           free educational series         /       /
                                                                                                                       that provides executives        sam.g www.
                                                                                                                       with the organizational         ov/fal/ usasp
                                    Small Business Administration                        59.072   Economic Injury      In response to the              https:/ https:/
                                                                                                  Disaster Loan        Coronavirus                     /       /
                                                                                                  Emergency Advance    (COVID-19) pandemic,            sam.g www.
                                    Small Business Administration                        59.073   Paycheck Protection  smallPaycheck
                                                                                                                       The   business owners           ov/fal/ https:/
                                                                                                                                                       https:/ usasp
                                                                                                  Loan Program (PPP)       Protection Program          /       /
                                                                                                                           established by the          sam.g www.
                                                                                                                           CARES Act is                ov/fal/ usasp
                                    Small Business Administration                        59.075   Shuttered Venue          The SVOG Program            https:/ https:/
                                                                                                  Operators Grant          provided funds to           /       /
                                                                                                  Program                  support the ongoing         sam.g www.
                                    Small Business Administration                        59.076   Lab-to-Market            operations
                                                                                                                           Highlight   of eligible
                                                                                                                                     successful        ov/fal/ https:/
                                                                                                                                                       https:/ usasp
                                                                                                                          examples of innovation /           /
                                                                                                                          ecosystems, particularly sam.g www.
                                    Small Business Administration                        59.077   Community Navigator     existing
                                                                                                                          Per       resources that
                                                                                                                               the American          ov/fal/ usasp
                                                                                                                                                     https:/ https:/
                                                                                                  Pilot Program           Rescue Plan, the SBA       /       /
                                                                                                                          is authorized to create    sam.g www.
                                                                                                                          and administer a $100      ov/fal/ usasp
                                    Small Business Administration                        59.078   Restaurant              This program provided      https:/ https:/
                                                                                                  Revitalization Fund     emergency assistance       /       /
                                                                                                                          for eligible restaurants, sam.g www.
                                    Small Business Administration                        59.079                           bars, andopportunity
                                                                                                  Cybersecurity for Small Funding     other          ov/fal/ https:/
                                                                                                                                                 for https:/ usasp
                                                                                                  Business Pilot Program state governments to        /       /
                                                                                                                          assist small business      sam.g www.
                                    Social Security Administration                       96.001   Social Security         concerns    address
                                                                                                                          Social Security   pays     ov/fal/
                                                                                                                                                     https:/ usasp
                                                                                                                                                             https:/
                                                                                                  Disability Insurance     bene ts to people who  /       /
                                                                                                                           canâ€™t work because sam.g www.
                                    Social Security Administration                       96.002   Social Security          they Social
                                                                                                                           The  have aSecurity
                                                                                                                                       medical    ov/fal/ usasp
                                                                                                                                                  https:/ https:/
                                                                                                  Retirement Insurance     Retirement bene t is a /       /
                                                                                                                           monthly payment that   sam.g www.
                                    Social Security Administration                       96.004   Social Security          replaces
                                                                                                                           Social   part ofhelps
                                                                                                                                  Security  your  ov/fal/ https:/
                                                                                                                                                  https:/ usasp
                                                                                                  Survivors Insurance      survivors by providing      /       /
                                                                                                                           income for the families     sam.g www.
                                                                                                                           of workers who die.         ov/fal/ usasp




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     Social Security Administration                                    96.006   Supplemental Security     To ensure a minimum          https:/ https:/
                                                                                Income                    level of income to           /       /
                                                                                                          persons who have             sam.g www.
     Social Security Administration                                    96.007   Social Security           attained
                                                                                                          (1)       age 65social,
                                                                                                              To conduct   or are      ov/fal/ https:/
                                                                                                                                       https:/ usasp
                                                                                Research and              economic, and                /       /
                                                                                Demonstration             demographic research         sam.g www.
     Social Security Administration                                    96.008   Social Security - Work    on topics important
                                                                                                          To comply  with the to       ov/fal/
                                                                                                                                       https:/ usasp
                                                                                                                                               https:/
                                                                                Incentives Planning and Ticket-to-Work and             /       /
                                                                                Assistance Program       Work Incentives               sam.g www.
                                                                                                         Improvement Act               ov/fal/ usasp
     Social Security Administration                                    96.009   Social Security State    Support State                 https:/ https:/
                                                                                Grants for Work          designated Protection         /       /
                                                                                Incentives Assistance to and Advocacy (P&A)            sam.g www.
     Social Security Administration                                    96.011   Disabled Bene
                                                                                Analyzing       ciaries The
                                                                                           Relationships systems. The Protection
                                                                                                             objective of the          ov/fal/ https:/
                                                                                                                                       https:/ usasp
                                                                                between Disability,       program is to foster new /       /
                                                                                Rehabilitation, and       analysis of work,        sam.g www.
     Social Security Administration                                    96.012   Work
                                                                                Interventional         rehabilitation,
                                                                                                       (1) To conductand
                                                                                                                       social,     ov/fal/ https:/
                                                                                                                                   https:/ usasp
                                                                                Cooperative Agreement economic, and                    /       /
                                                                                Program                demographic research            sam.g www.
                                                                                                       on topics important to          ov/fal/ usasp
     Social Security Administration                                    96.013   Strengthening          Support State                   https:/ https:/
                                                                                Protections for Social designated Protection           /       /
                                                                                Security Bene ciaries and Advocacy (P&A)               sam.g www.
     Social Security Administration                                    96.020   Special Bene ts for    systems.   The
                                                                                                       To pay a special  bene t        ov/fal/
                                                                                                                                       https:/ usasp
                                                                                                                                               https:/
                                                                                Certain World War II  to certain World War II          /       /
                                                                                Veterans              veterans, who are                sam.g www.
                                                                                                      eligible for                     ov/fal/ usasp
     Southeast Crescent Regional Commission                            90.705   Southeast Crescent    The mission of the               https:/ https:/
                                                                                Regional Commission - Commission is to help            /       /
                                                                                Economic and          build sustainable                sam.g www.
     The Institute of Museum and Library Services                      45.031   Infrastructure
                                                                                American   Latino     communities
                                                                                                      This  initiative and
                                                                                                                       is              ov/fal/ https:/
                                                                                                                                       https:/ usasp
                                                                                Museum Internship and designed to provide              /       /
                                                                                Fellowship Initiative opportunities for                sam.g www.
     The Institute of Museum and Library Services                      45.032                         internships
                                                                                21st Century Museum The           and
                                                                                                           21st Century                ov/fal/ https:/
                                                                                                                                       https:/ usasp
                                                                                Professional Program    Museum Professional            /       /
                                                                                                        (21MP) program has             sam.g www.
                                                                                                        two goals with two or          ov/fal/ usasp
     The Institute of Museum and Library Services                      45.033   Museum Grants for       This program supports          https:/ https:/
                                                                                American Latino History projects that build the        /       /
                                                                                and Culture             capacity of American           sam.g www.
     The Institute of Museum and Library Services                      45.301   Museums for America Latino
                                                                                                        Museumshistory and
                                                                                                                   for America         ov/fal/
                                                                                                                                       https:/ usasp
                                                                                                                                               https:/
                                                                                                       (MFA) is designed to            /       /
                                                                                                       strengthen the ability of       sam.g www.
                                                                                                       individual museums to           ov/fal/ usasp
     The Institute of Museum and Library Services                      45.308   Native American/Native The Native American/            https:/ https:/
                                                                                Hawaiian Museum        Native Hawaiian                 /       /
                                                                                Services Program       Museum Services                 sam.g www.
     The Institute of Museum and Library Services                      45.309   Museum Grants for      program (NANH)
                                                                                                       Museum    Grants for            ov/fal/ https:/
                                                                                                                                       https:/ usasp
                                                                                African American          African American             /       /
                                                                                History and Culture       History and Culture          sam.g www.
     The Institute of Museum and Library Services                      45.310   Grants to States          (AAHC)
                                                                                                          The      is designed
                                                                                                               Grants  to Statesto     ov/fal/ https:/
                                                                                                                                       https:/ usasp
                                                                                                        program supports               /       /
                                                                                                        efforts across the nation      sam.g www.
                                                                                                        to provide access to           ov/fal/ usasp
     The Institute of Museum and Library Services                      45.311   Native American and     The Native American            https:/ https:/
                                                                                Native Hawaiian Library and Native Hawaiian            /       /
                                                                                Services                Library Services               sam.g www.
     The Institute of Museum and Library Services                      45.312   National Leadership     programs   (NANH-L)
                                                                                                        NLG supports          are
                                                                                                                        projects       ov/fal/
                                                                                                                                       https:/ usasp
                                                                                                                                               https:/
                                                                                Grants                    that address critical        /       /
                                                                                                          needs of the museum          sam.g www.
     The Institute of Museum and Library Services                      45.313   Laura Bush 21st           and library
                                                                                                          The         elds 21st
                                                                                                               Laura Bush   and        ov/fal/ https:/
                                                                                                                                       https:/ usasp
                                                                                Century Librarian         Century Librarian            /       /
                                                                                Program                   (LB21) grant progam          sam.g www.
     U.S. Agency for Global Media                                      90.500   International             supports
                                                                                                          To       thefreedom
                                                                                                             promote                   ov/fal/ https:/
                                                                                                                                       https:/ usasp
                                                                                Broadcasting              and democracy and            /       /
                                                                                Independent Grantee       enhance understanding        sam.g www.
     U.S. Election Assistance Commission                               90.400   Organizations
                                                                                Help America Vote         through
                                                                                                          The     multimedia
                                                                                                              purpose  of this         ov/fal/ https:/
                                                                                                                                       https:/ usasp
                                                                                College Program        program is: (1) to              /       /
                                                                                                       encourage students              sam.g www.
                                                                                                       enrolled at institutions        ov/fal/ usasp
     U.S. Election Assistance Commission                               90.401   Help America Vote Act HAVA Section 251                 https:/ https:/
                                                                                Requirements           authorizes requirements         /       /
                                                                                Payments               payments to assist              sam.g www.
     U.S. Election Assistance Commission                               90.404   HAVA Election Security States (including
                                                                                                       As authorized      the
                                                                                                                       under           ov/fal/
                                                                                                                                       https:/ usasp
                                                                                                                                               https:/
                                                                                Grants                 Section 101 of the Help         /       /
                                                                                                       America Vote Act of             sam.g www.
     United States Institute of Peace                                  91.005   Priority Grant         2002 (Public
                                                                                                       USIP          107-252)
                                                                                                             grants increase           ov/fal/ https:/
                                                                                                                                       https:/ usasp
                                                                                Competition               the breadth and depth        /       /
                                                                                                          of the Instituteâ€™s         sam.g www.
                                                                                                          work by supporting           ov/fal/ usasp
     United States International Development Finance Corporation       87.004   Equity Investments        The U.S. International       https:/ https:/
                                                                                                          Development Finance          /       /
                                                                                                          Corporation (DFC)            sam.g www.
     United States International Development Finance Corporation       87.005   Debt Financing            partners
                                                                                                          The  U.S.with  the private
                                                                                                                    International      ov/fal/ https:/
                                                                                                                                       https:/ usasp
                                                                                                         Development Finance           /       /
                                                                                                         Corporation (DFC)             sam.g www.
                                                                                                         partners with the private     ov/fal/ usasp
     United States International Development Finance Corporation       87.006   Political Risk Insurance The U.S. International        https:/ https:/
                                                                                                         Development Finance           /       /
                                                                                                         Corporation (DFC)             sam.g www.
     United States International Development Finance Corporation       87.101   Technical Assistance     partners
                                                                                                         The U.S.with  the private
                                                                                                                  International        ov/fal/
                                                                                                                                       https:/ usasp
                                                                                                                                               https:/
                                                                                and Feasibility Studies   Development Finance       /       /
                                                                                                          Corporation (DFC)         sam.g www.
                                                                                                          partners with the private ov/fal/ usasp




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